Filed 11/27/19                                                              Case 19-14974                                                                   Doc 1




 United States Bankruptcy Court for the:

 EASTERN DISTRICT OF CALIFORNIA

 Case number (if knowh)                                                         Chapter youare filing under
                                                                                   Chapter7

                                                                                0 Chapterli    I

                                                                                E Chapter12
                                                                                0 Chapter 13                                        Check if this is an
                                                                                                                                    amended filing




 Official Form 101
 Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                 12117
 The bankruptcy forms use you and Debtor Ito refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
 case—and In joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, "Do you own a car," the answer
 would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor I and Debtor 2 to distinguish
 between them. In joint cases, one of the spouses must report information as Debtor I and the other as Debtor 2. The same person must be Debtor 1' in
 all of the forms.

 Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
 more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
 every question.


 Iflijentify Yourself

                                     About Debtor 1:                                                 About Debtor 2 (Spouse Only in a Joint Case):
       Your full name

       Write the name that is on     Salvador                                                        Pamela
       your government-issued        First name                                                      First name
       picture identification (for
       example, your drivers         Louis                                                           Marie
       license or passport).
                                     Middle name                                                     Middle name
       Bring your picture
       identification to your        Chiaramonte                                                     Chiaramonte
       meeting with the trustee.     Last name and Suffix (Sr., Jr., Il, Ill)                        Last name and Suffix (Sr., Jr., II, Ill)




  2.   All other names you have
       used in the last 8 years
                                                                                                     Pam Pires Chiaramonte
       Include your married or
       maiden names.



  3. Only the last 4 digits of
      your Social Security
      number or federal
                                     xxx-xx-9201                                                     xxx-xx-2361
      Individual Taxpayer
      Identification number
      (lTlN)
Filed 11/27/19                                                         Case 19-14974                                                                                 Doc 1
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  Debtor 1   Salvador Louis Chiaramonte
  Debtor 2   Pamela Marie Chiaramonte                                                                       Case number (if known)




                                   About Debtor 1;                                                   AbOut Debtor 2 (Spouse Only in a Joint Case):


      Any business names and       0 I have not used any business name or EINs.                      U I have not used any business name or EINs.
      Employer
                dentificabon       dba Chiaramonte Construction & Plumbing,                          dba Chiaramonte Construction & Plumbing, Inc.;
      used in the last 8 years     Inc.; EIN #XX-XXXXXXX                                             EIN #XX-XXXXXXX
                                   fdba Chiaramonte Construction & Plumbing                          fdba Chiaramonte Construction & Plumbing
                                   (sole-prop); EIN #94-2851 464                                     (sole-prop); EIN #XX-XXXXXXX
      Include trade names and      Business name(s)                                                  Business name(s)
      doing business as names

                                   EINs                                                              EINs




      Where you live                                                                                 If Debtor 2 lives at a different address:

                                   1944 Tollin Road
                                   Tulare, CA 93274
                                   Number, Street, City, State & ZIP Code                            Number, Street, City, State & ZIP Code

                                   Tulare
                                   County                                                            County

                                   If your mailing address is different from the one                 If Debtor 2's mailing address is different from yours, fill it
                                   above, fill it in here. Note that the court will send any         in here. Note that the court will send any notices to this
                                   notices to you at this mailing address.                      •.   mailing address.



                                   Number, P.O. Box, Street, City, State & ZIP Code                  Number, P.O. Box, Street, City, State & ZIP Code




       Why you are choosing        Check one.                                                        Check one.'
       this district to file for
       bankruptcy                         Over the last 180 days before filing this petition,                Over the last 180 days before filing this petition, I
                                          I have lived in this district longer than in any                   have lived in this district longer than in any other
                                          other district,                                                    district.

                                   U      I have another reason.
                                          Explain. (See 28 U.S.C. § 1408.)
                                                                                                     0       I have another reason.
                                                                                                             Explain. (See 28 U.S.C. § 1408.)
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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                        Case number (if known)



             Tell the Court About Your Bankruptcy Case

        The chapter of the           Check one. (For a brief description of each, see Notice Required by 11 U. S.C. § 342(b) for individuals Filing for Bankruptcy
        Bankruptcy Code you are      (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
        choosing to file under
                                     EJ   Chapter 7

 •                                   0    Chapter 11

                                     o Chapter 12
                                     O    Chapter 13



         How you will pay the fee    2        I will pay the entire fee when I file my petition. Please check with the clerks office in your local court for more details
                                              about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier's check, or money
                                              order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                              a pre-printed address.
                                              I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                              The Filing Fee in Installments (Official Form I 03A).
                                              I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                              but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                              applies to your family size and you are unable to pay the tee in installments). If you choose this option, you must fill out
                                              the Application to I-/ave the Chapter 7 Filing Fee Waived (Official Form 1038) and file it with your petition.



         Have you filed for               No.
         bankruptcy within the
         last B years?                    Yes.
                                                   District                                 When                             Case number
                                                   District                                 When                             Case number
                                                   District                                 When                             Case number



         Are any bankruptcy
         cases pending or being
                                       J No
         filed by a spouse who is         Yes.
         not filing this case with
         you, or by a business
         partner, or by an
         affiliate?
                                                   Debtor                                                                   Relationship to you
                                                   District                                 When                            Case number, it known
                                                   Debtor                                                                   Relationship to you
                                                   District                                 When                            Case number, if known



     II. Do you rentyour             Z No.          Go to line 12.
          residence?
                                     0 Yes.          Has your landlord obtained an eviction judgment against you?

                                                    0         No. Go to line 12.
                                                              Yes. Fill out/nit/al StatemontAboutan Eviction Judgment Against You (Form 101A) and file it as part of
                                                              this bankruptcy petition.
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  Debtor I   Salvador Louis Chiaramonte
  Debtor 2   Pamela Marie Chiaramonte                                                                         Case number (if known)



 I1iI'       Report About Any Businesses You Own as a Sole Proprietor

      Are you a sole proprietor
      of any full- or part-time      jJ No,       Go to Part 4.
      business?

                                     U   Yes.     Name and location of business
      A sole proprietorship is a
      business you operate as                     Name of business,if any
      an individual, and is not a
      separate legal entity such
      as a corporation
      partnership, or LLC,
                                                  Number, Street, City, State & ZIP Code
      If you have more than one
      sole proprietorship, use a
      separate sheet and attach
      it to this petition.                        Check the appropriate box to describe your business:
                                                  o      Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                                  O       SingleAsset Real Estate (as defined in II U.S.C. § 101 (5113))

                                                  O       Stockbroker (as defined in 11 U.S.C. § 101(53A))

                                                  O       Commodity Broker (as defined in 11 U.S.C. § 101(6))

                                                  o       None of the above

      Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor so that it can set appropriate
      Chapter 11 of the              deadlines. If you indicate that you are a small business debtor, you must attach your most recent balance sheet, statement of
      Bankruptcy Code and are        operations, cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure
      you a small business           in 11 U S.C. 1116(1 )(B).
       debtor?
                                         No.      I am not filing under Chapter 11.
       For a definition of small
       business debtor, see 11
       U.S.C. § 101(51D).
                                     0 No.        lam filing under Chapter ii, but lam NOT a small business debtor according to the definition in the Bankruptcy
                                                  Code.

                                     0 Yes.       I am filing under Chapter 11 and I an, a small business debtor according to the definition in the Bankruptcy Code.


 in          Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

       Do you own or have any
       property that poses or is
       alleged to pose a threat          Yes.
       of imminent and                          What is the hazard?
       identifiable hazard to
       public health or safety?
       Or do you own any
       property that needs                      If immediate attention is
       immediate attention?                     needed, why Is it needed?

       For example, do you own
       perishable goods, or
       livestock that must be fed,              Where is the property?
       or a building that needs
       urgent repairs?
                                                                              Number, Street, City, State & Zip Code
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  Debtor 1    Salvador Louis Chiararnonte
  Debtor 2    Pamela Marie Chiaramonte                                                                         Case number (If known)

 I1'TiL      Explain Your Efforts to Receive a Briefing About Credit Counseling

                                        About Debtor I                                                     About Debtor 2 (Spouse Only in a Joint Case)
  15.   Tell the court whether          You must check one:                                                You must check one:
        you have received a                 I received a briefing from an approved credit                      I received a briefing from an approved credit
        briefing about credit               counseling agency within the 180 days before I                     counseling agency within the 180 days before I filed
        counseling,                         filed this bankruptcy petition, and I received a                   this bankruptcy petition, and I received a certificate of
                                            certificate of completion.                                         completion.
        The law requires that you
        receive a briefing about            Attach a copy of the certificate and the payment                   Attach a copy of the certificate and the payment plan, if
        credit counseling before            plan, if any, that you developed with the agency.                  any, that you developed with the agency.
        you file for bankruptcy.
        You must truthfuRy check
        one of the following
                                        0   I received a briefing from an approved credit
                                            counseling agency within the 180 days before I
                                                                                                               I received a briefing from an approved credit
                                                                                                               counseling agency within the 180 days before I filed
        choices, If you cannot do           filed this bankruptcy petition, but I do not have                  this bankruptcy petition, but I do not have a certificate
        so, you are not eligible to         a certificate of completion.                                       of completion.
         I e.
                                            Within 14 days after you file this bankruptcy                      Within 14 days after you file this bankruptcy petition, you
        if you file anyway, the court       petition you MUST file a copy of the certificate and               MUST file a copy of the certificate and payment plan, if
        can dismiss your case, you          payment plan, if any.                                              any.
        will lose whatever filing fee
        you paid, and your              0   I certify that I asked for credit counseling
                                            services from an approved agency, but was
                                                                                                           0   (certify that I asked for credit counseling services
                                                                                                               from an approved agency, but was unable to obtain
        creditors can begin
        collection activities again,        unable to obtain those services during the 7                       those services during the 1 days after I made my
                                            days after I made my request, and exigent                          request, and exigent circumstances merit a 30-day
                                            circumstances merit a 30-day temporary waiver                      temporary waiver of the requirement.
                                            of the requirement.
                                                                                                               To ask for a 30-day temporary waiver of the requirement,
                                            To ask for a 30-day temporary waiver of the                        attach a separate sheet explaining what efforts you made
                                            requirement, attach a separate sheet explaining                    to obtain the briefing, why you were unable to obtain it
                                            what efforts you made to obtain the briefing, why                  before you filed for bankruptcy, and what exigent
                                            you were unable to obtain it before you filed for                  circumstances required you to file this case.
                                            bankruptcy, and what exigent circumstances
                                            required you to file this case.                                    Your case may be dismissed if the court is dissatisfied
                                                                                                               with your reasons for not receiving a briefing before you
                                            Your case may be dismissed if the court is                         filed for bankruptcy.
                                            dissatisfied with your reasons for not receiving a
                                            briefing before you filed for bankruptcy.                          If the court is satisfied with your reasons, you must still
                                            If the court is satisfied with your reasons, you must              receive a briefing within 30 days after you file. You must
                                            still receive a briefing within 30 days after you file,            file a certificate from the approved agency, along with a
                                            You must file a certificate from the approved                      copy of the payment plan you developed, if any. If you do
                                            agency, along with a copy of the payment plan you                  not do so, your case may be dismissed.
                                            developed, if any. If you do not do so, your case
                                                                                                               Any extension of the 30-day deadline is granted only for
                                                Y be dismissed.
                                                                                                               cause and is limited to a maximum of 15 days.
                                            Any extension of the 30-day deadline is granted
                                            only for cause and is limited to a maximum of 15
                                            days.
                                        0   I am not required to receive a briefing about
                                            credit counseling because of:
                                                                                                           0   I am not required to receive a briefing about credit
                                                                                                               counseling because of:

                                            o      Incapacity.
                                                   I have a mental illness or a mental deficiency
                                                                                                               0     Incapacity.
                                                                                                                     I have a mental illness or a mental deficiency that
                                                   that makes me incapable of realizing or            --             makes me incapable of realizing or making rational
                                                   making rational decisions about finances,                         decisions about finances.

                                            [J     Disability.
                                                   My physical disability causes me to be
                                                                                                               fl    Disability.
                                                                                                                     My physical disability causes me to be unable to
                                                   unable to participate in a briefing in person,                    participate in a briefing in person, by phone, or
                                                   by phone, or through the internet, even after I                   through the internet, even after I reasonably tried to
                                                   reasonably tried to do so.                                        do so.

                                            o      Active duty.
                                                   I am currently on active military duty in a
                                                                                                               fl    Active duty.
                                                                                                                     I am currently on active military duty in a military
                                                   military combat zone.                                             combat zone.
                                            If you believe you are not required to receive a                    If you believe you are not required to receive a briefing
                                            briefing about credit counseling, you must file a                   about credit counseling, you must file a motion for waiver
                                            motion for waiver credit counseling with the court.                 of credit counseling with the court.
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                                                                 Certificate Number: 02998-CAE-CC-033603 857

                                                               0ID1101111111l 11111 I I 110111111111101011111111111111110 I11ll111111l Il 1111
                                                                                        O29-CAE.CC.033603857




                                     CERTWICATE OF COUNSELING


                 I CERTIFY that on October 25, 2019, at 1:09 o'clock PM EDT, Salvador L
                 Chahamonte received from Consumer Education Services, Inc., DBA Start Fresh
                 Today/DBA Affordable Bankruptcy Cours an agency approved pursuant to 1 I
                 U.S .C. 111 to provide credit counseling in the Eastern District of California, an
                 individual [or group] briefing that complied with the provisions of 11 U.S.C.

                 A debt repayment plan was not prep. If a debt repayment plan was prepared, a
                 copy of the debt repayment plan is attached to this certificate.
                 This counseling session was conducted by internet.




                 Date: October 25, 2019                          By:          Is/Angela MeMillan


                                                                 Name: Angela McMillan


                                                                 Title: Counselor




                 * Individuals who wish to file a bankruptcy case under title 11 of the United States B ankrutcy
                 Code are required to file with the United States Bankruptcy Court a completed certificate of
                 counseling from the nonprofit budget and credit counseling agency that provided the individual
                 the counseling services and a copy of the debt repayment plan, if any, developed through the
                 credit counseling agency. See 11 U.S.C. 109(h) and 521(b)
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                                                                 Certificate Number: 02998..CAE-CC-033603858

                                                                              I DII It I IDQI Il lI Il I D il I I I Il l IDI I I
                                                                                02998-CAE.CC.033603858




                                     CI1RT]IF]ECATFJ OF CouNSELING

                 I CERTIFY that on October 25, 2019, at 1:09 o'clock PM EDT, Pamela M
                 Chiaramonte received from Consumer Education Services, Inc., DBA Start Fresh
                 Today/)YBA Affordable bankruptcy Course, an agency approved pursuant to 11
                 U.S.C. 111 to provide credit counseling in the Eastern District of California, an
                 individual [or group] briefing that complied with the provisions of 11 U.S.C.

                 A debt repayment plan was not prepared. If a debt repayment pian was prepared, a
                 copy of the debt repayment plan is attached to this certificate.
                 This counseling session was conducted by internet.




                 Date: October 25, 2019                          By;     Is/Angela McMillan


                                                                 Name: Angela McMillan


                                                                 Title: Counselor




                 * Individuals who wish to file a bankruptcy case nnder title 11 of the United States Bankruptcy
                 Code are required to file with the United States Bankruptcy Court a completed certificate of
                 counseling from the nonprofit budget and credit counseling agency that provided the individual
                 the counseling services and a copy of the debt repayment plan, if any, developed through the
                 credit counseling agency. See. 11 U.S.C. 109(h) and 521(b).
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              Case Number: 2019-14974                                     Filed: 11/27/2019 2:23:15 PM                                            Doc#1
   Debtor I    Salvador Louis Chiaramonte
   Debtor 2    Pamela Marie Chiaramonte                                                                      Case number (f1irn,wn)

              Answer Those Questions for Reporting Purposes

   16, What kind of debts do       16a.       Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as "incurred by an
       you have?                              individual primarily for a personal, family, or household purpose,'

                                              1     No. Go to line 16b.
                                              DYes. Goto line 17.
                                   lob.       Are your debts primarily business debts? Business debts are debts that you Incurred to obtain
                                              money for a business or investment or through the operation of the business or investment,

                                              o No, Go to line 16c,
                                                    Yes. Go to line 17.
                                   16c.       State the type of debts you owe that are not consumer debts or business debts



   17. Are you filing under
        Chapter 7?
                                   0 No. I am not filing under Chapter 7. Go to lIne 18.
       Do you estimate that      Plyes.       I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
       after any exempt                       are paId that funds will be available to distribute to unsecured creditors?
       property is excluded and
       administrative expenses                      No
       are paid that funds will
       be available for                       0 Yes
       distribution to unsecured
       creditors?

       How many Creditors do
       you estimate that you
                                   0 1-49                                           fl 1,000-5,000                              025,001-50,000
                                   050-99                                           fl 5001-10,000                              o 000i-ioo.aoo
       owe?
                                   o 100-199                                        El 10,001-25,000                            0 More thanl 00,000
                                   lJ 2 D0-999
       How much do you
       estimate your assets to
                                        $0 -$50,000                                 D $1,000,001 -$10 million                   0 $500,000,001 -$1 billion
       be worth?
                                        $50,00 -$100,000                            U $10,000,001 -$50 million                  0 $1,000,000,001 -$10 billion
                                   0    $100,001 -$500,000                          0 $50,000,001 -$100 million                 El $10,000,000,001 -$50 billion
                                   L1   $500,001 -$1 million                        0 $100,000,001 -$500 million                0 More than $50 billion
       How much do you             0 $0- $50,000                                        $1,000,001 -$10 million                 0 $500,000,001 -$1 billion
       estimate your liabilities
       to be?
                                   0 $50,001 -$100,000                              0 $10,000,001 - $50 million                 0 $1,000,000,001 - $10 billion
                                   U $100,001 -$500,000                             0 $50,000,001 -$100 million                 0 $10,000,000,001 -$50 billion
                                   0 $500,001 - $1 million                          0 $100,000,001 -$500 million                0 More than $50 billion


  It1W        Sign Below

   For you                         I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                   If I have chosen to file under Chapter 7, 1 am aware that I may proceed, If eligible, under Chapter?, 11,12, or 13 of title 11,
                                   United States Code, I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                   If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                   document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                   I request relief In accordance with the chapter of title 11, United States Code, specified in this petition.

                                                  :Imakingaflses                                    or obtning1      ..çroperty by fraud In connection with a
                                                  case canA'suIt in                                      'tforupto..20y, or both. 16 U.S.C. §§ 152.1341,1519,



                                   Signature of Debtor 1                                              Signature of Debtor 2

                                   Executed on        /1 /                                            Executed on
                                                     lAM/IrDi YYYY                                                    MM' /DD !YYY
                                                                                                                                /




   Official Form 101                              Voluntary Petition for Individuals Filing for Bankruptcy                                                    page 6
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                                                                               Filed: 11/27/2019 2:23:15 PM
                                                                                                          ..                            Doe # 1

      Debtor I Salvador Louis Chiaramonte
      Debtor 2 Pamela Marie Charanionte                     .                                                Case number   nom;




      For your nttorney, II you are
      represonted by one

      If you are not represented by
                                                                                                      Date        IVOtJ    27
                                              -                                                                   MM I DD /MY
      an attorney, you do not need
      to file this page.
                                      Riley C. Walter 91839
                                      PrUited name

                                      Wanner Jones Heisley PC
                                      i9mt flfl1Q

                                      265 E. River Park Circle, Ste, 310
                                      Fresno, CA 93720-1563
                                      Number, Street, City, Stole & ZIP Code

                                      Coirlwtptne       (559) 233-4800                           Email addreos      twaIterwjhaftorneys,cbm
                                      91839 CA
                                      our numberS State




      OfflIal Form 101                               Voluntaty Petition for Individuat3 Filing for Bankruptcy                                 page 7
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             Case Number: 2019-14974                                                       Filed: 11/27/2019 2:23:15 PM                                                         Doe # 1

      Debtor 1                    Salvador Louis Chiaramonte
                                  First Name                           Middle Name                          Last Name

      Debtor 2                    Pamela Marie Chiaramonte
      (Spouse if, filing)         First Name                           Middle Name                          Last Name


      United States Bankruptcy Court for the:                   EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)
                                                                                                                                                                       0    Check if this (san
                                                                                                                                                          -                 amended filing



     Official Form 106Sum
     Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                                  12115
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
     your original forms, you must fill out a new Summary and check the box at the top of this page.

     I1i             Summarize Your Assets

                                                                                                                                                                           Your assets
                                                                                                                                                                           Vaiueof what you on

             Schedule A/B: Property (Official Form I D6NB)
             la. Copy line 55, Total real estate, from Schedule A/B                                                                                                                      708,000.00

              lb. Copy line 62, Total personal property, from Schedule NB.....................................................................................             $              82,745.43

              Ic. Copy line 63, Total of all property on Schedule A/B...............................................................................................       $             790,745.43

     ITiP            Summarize Your Liabilities

                                                                                                                                                                           Your liabilities
                                                                                                                                                                           Amount you ow e

             Schedule 0: Creditors Who Have Claims Secured by Property (Official Form 1 06D)
             2a. Copy the total you listed In Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule 0...                                         $             854,912.19

      3,      Schedule ElF: Creditors Who Have Unsecured Claims (Official Form I 06E/F)
              3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule ElF                                                               $                      0.00

             Sb. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule ElF............................                                 $          2,466,355.69


                                                                                                                                           Your total liabilities $                 3,321,267.88


     ITi             Summarize Your Income and Expenses

             Schedule I: Your Income (Official Form 1061)
             Copy your combined monthly income from line 12 of Schedule I                                                                                                                   8,556.00

              Schedule J: Your Expenses (Official Form I 06J)
              Copy your monthly expenses from line 22c of Schedule J                                                                                                                      11,347.80

     ITi             Answer These Questions for Administrative and Statistical Records

             Are you filing for bankruptcy under Chapters 7, 11, or 13?
             0 No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

              • Yes
              What kind of debt do you have?

              o      Your debts are primarily consumer debts. Consumer debts are those 'incurred by an individual primarily for a personal, family, or
                     household purpose.' 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

           • Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
                 the court with your other schedules.
      Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information
                                               I
                                                                                                                                   page 1 of 2
     Software Copyright (c) 1996-2019 Best Case, LLC - w.bestcase.con,                                                                                                           Beat case Bankruptcy
Filed 11/27/19                                                            Case 19-14974                                                                   Doc 1
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      Debtor 1 Salvador Louis Chiaramonte
      Debtor 2 Pamela Marie Chiaramonte                                                        Case number (if known)

            From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
            122A..1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                         $


            Copy the following special categories of claims from Part 4, line 6 of Schedule ElF:

                                                                                                              Total claim
             rom Part 4 on SchedUle E/F copy the fng;

                Domestic support obligations (Copy line 6a.)                                                   $              0.00

                Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              0.00

                Claims for death or personal injury while you were intoxicated. (Copy line BC.)                $              0.00

                Student loans. (Copy line 6f.)                                                                 $              0.00

                Obligations arising out of a separation agreement or divorce that you did not report as
                priority claims, (Copy line 6g.)                                                               $              0.00

               Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)             4$              0.00


                Total. Add lines 9a through 9f.                                                           $                 0.00




     Official Form 1 O6Sum                            Summary of Your Assets and Liabilities and Certain Statistical Information                 page 2 of 2
     Software Copyripht () 1996-2019 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
Filed 11/27/19                                                                            Case 19-14974                                                                                   Doc 1
             Case Number: 2019-14974                                                       Filed: 11/27/2019 2:23:15 PM                                               Doc#1

      Debtor I                       Salvador Louis Chiaramonte
                                     First Name                        Middle Name                        Last Name

      Debtor 2                       Pamela Marie Chlaramonte
      (Spouse, ifilling)             First Name                        Middle Name                        Last Name


      United States Bankruptcy Court for the:                 EASTERN DISTRICT OF CALIFORNIA

      Case number                                                                                                                                                 o    Check if this is   an
                                                                                                                                                                       amended filing




     Official Form 106A/B
     Schedule AIB: ProDertv                                                                                                                                           12115
     In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
     think It fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. if more space Is needed, attach a separate sheet to this form. On the top of any additional pages, wrIte your name and case number (if known).
     Answer every question.

                    Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

     1. Do you own or have any legal or equitable Interest In any residence, building, land, or similar property?

        o No. Go to Part 2.
        • Yes. Where is the property?




      im                                                                       What Is the property? Check all that apply
             1944 ToIlin Road                                                        o    Single-family home                            Do not deduct secured claims or exemptions. Put
             Street address, if available, or other                                                                                     the amount of any secured claims on ScheduleD:
                                                                                     O    Duplex or multi-unit building
                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                                     o    Condominium or cooperative

                                                                                     o    Manufactured or mobile home
                                                                                                                                        Current value of the       Current value of the
             Tulare                               CA 93274-0000                      O    Land                                          entire property?           portion you own?
             City                                 State     ZIP Code            o Investment property                                           $700,000.00
                                                                                o Timeshare                                             Describe the nature of your ownership interest
                                                                                o Other                                              (such as fee simple, tenancy by the entireties, or
                                                                               Who has an Interest in the property?        Check one    a life estate), if known.
                                                                                o Debtor 1         only                                 Fee
                                                                                o Debtor 2 only
             Tulare
             County                                                                  •
                                                                                     O
                                                                                          Debtor 1 and Debtor 2 only
                                                                                          At least one of the debtors and another
                                                                                                                                        •     Check if this is community property
                                                                                                                                              (see inshuctions)

                                                                               Other information you wish to add about this item, such as local
                                                                               property identification number:

                                                                               Appraisal dated August 7, 2018




     Official Form 1 O6NB                                                                Schedule A/B: Property                                                                      page 1
     Software Copyright    (C)   1996-2019 Sest Case. LLC -vMw.bestcase.com                                                                                               Best Case Bankruptcy
Filed 11/27/19                                                                            Case 19-14974                                                                                      Doc 1
              Case Number: 2019-14974                                                      Filed: 11/27/2019 2:23:15 PM                                                 Doc#1
      Debtor 1           Salvador Louis Chiaramonte
      Debtor 2           Pamela Marie Chiaramonte                                                                                   Case number (if known)

              If you own or have more than one, list her e:
      1.2                                                                         What is the property? Check all that apply
              Calrines                                                               D    Single-family home                               Do not deduct secured claims or exemptions. Put
              Street address, f available, or other description                                                                            the amount of any secured claims on Schedule D:
                                                                                     0    Duplex or multi-unit building
                                                                                                                                           Creditors Who Have Claims Secured by Pro periy.
                                                                                     o    Condominium or cooperative

                                                                                     O    Manufactured or mobile home
                                                                                                                                           Current value of the       Current value of the
              Alturas                          CA         96101-0000                      Land                                             entire property?           portion you own?
              City                             Stale              ZIP Code           0    Investment property                                       $8000.00
                                                                                     O    TImeshare
                                                                                                                                           Describe the nature of your ownership interest
                                                                                     0    Other                                            (Such as fee simple, tenancy by the entireties, or
                                                                                  Who has an interest in the property? Check one           a life estate), If known.
                                                                                     o    Debtor 1 only
              Modoc                                                                  0    Debtor 2 only
              County                                                                 0    Debtor 1 and Debtor 2 only
                                                                                                                                           • Check if this is community property
                                                                                     o    At least one of the debtors and another              (see Instructions)
                                                                                   Other information you wish to add about this item, such as local
                                                                                   property identification number:

                                                                                   Lot 69 041 -272-003
                                                                                   Lot 70 041-272-004

                                                                                   Two vacant lots


             Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
             pages you have attached for Part 1. Write that number here ........................................................................... ... $708,000.00


                     Describe Your Vehicles


     Do you own, lease, or have legal or equitable Interest in any vehicles, whether they are registered or not? Include any vehicles you own that
     someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

        Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        DNo
        • Yes


       3.1      Make:         Ford                                           Who has an interest In the property? Check one                Do not deduct secured claims or exemptions. Put
                                                                                                                                           the amount of any secured claims on Schedule D:
                Model:        F-150                                          o Debtor 1 only                                               Creditors Who Have Claims Secured by Properly.
                Year:         2001                                           o Debtor 2 only                                               Current value of the       Current value of the
                Approximate mileage:                     155,000             U   Debtor I and Debtor 2 only                                entire property?           portion you own?
                Other information:                                           o At least one of the debtors and another
                Encumbered (secured by Title
                Loan)                                                        • Check if this is community property                                   $2,000.00
                                                                                (see instructions)



       3.2 Make:              Ford                                                                                                         Do not deduct secured claims or exemptions. Put
                                                                             Who has an interest in the property? Check one
                                                                                                                                           the amount of any secured claims on Schedule 0:
                Model:        Fusion                                         o Debtor 1 only                                               Creditors Who Have Claims Secured by Property.
                Year:         2011                                           o Debtor 2 only                                               Current value of the       Current value of the
                Approximate mileage:                     162,000             • Debtor I and Debtor 2 only                                  entire property?           portion you own?
                Other information:                                           o At least one of the debtors and another
                Free and clear                                               • Check if this is community property                                   $1,646.00
                                                                                (see Instructions)




     Official Form 106A/13                                                            Schedule A/B: Property                                                                            page 2
     Software Copyright (c) 1996-2019 Best Case. LLC -www.bestcase.com                                                                                                       Best Case Bankruptcy
Filed 11/27/19                                                                      Case 19-14974                                                                                Doc 1
             Case Number: 2019-14974                                                  Filed: 11/27/2019 2:23:15 PM                                        Doc#1
      Debtor I Salvador Louis Chlaramonte
      Debtor 2  Pamela Marie Chiaramonte                                                                               Case number (if known)


       3.3 Make:          Chevy                                     Who has an interest in the property?   Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule 0.
              Model: Silverado           1500                       o Debtor I only                                           Creditors Who Have Claims Secured by Property.
              Year:       2002                                      o Debtor 2 only                                           Current value of the      Current value of the
              Approximate mileage:                160,000           O Debtor I and Debtor 2 Only                              entire property?          portion you own?
              Other information:                                    • At least one of the debtors and another

              Free and clear                                        • Check If this is community property                              $4,626.00
                                                                         (see instructions)



       3.4 Make:          Chevy                                     Who has an interest In the property?   Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule 0:
              Model:      Truck                                     O Debtor I only                                           Creditors Who Have Claims Secured by Property.
              Year:       1994                                      o Debtor 2 only                                           Current value of the      Current value of the
              Approximate mileage:                                  O Debtor 1 and Debtor 2 only                              entire property?          portion you own?
              Other information:                                    • At least one of the debtors and another


                                                                    • Check if this is community property                              Unknown
                                                                         (see instructions)




     4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
        Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        o No
        • Yes

       4.1 Make:          WVV                                       Who has an interest in the property?   Check one
                                                                                                                               Do not deduct secured claims or exemptions, Put
                                                                                                                              the amount of any secured claims on Schedule 0:
              Model:                                                o Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
              Year:       2000                                      o Debtor 2 only                                           Current value of the      Current value of the
                                                                    • Debtor 1 and Debtor 2 only                              entire property? .        portion you Own?
              Other information:                                    o At least one of the debtors and another
                                                                    • Check if this is community property                             $1,500.00
              Horse Trailer                                              (see instructions)




      5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
         pages you have attached for Part 2. Write that number here................................................................................$ 9 ,772.0


     Ifli'     Describe Your Personal and Household Items
     Do you own or have any legal or equitable interest in any of the following Items?                                                               Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
        Household goods and furnishings
        Examples: Major appliances, furniture, linens, china, kitchenware
        DNo
         • Yes. Describe.....


                                          Household goods                                                                                                           $3,500.00


        Electronics
        Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
                    including cell phones, cameras, media players, games
         • No
         o Yes. Describe.....


     Official Form I O6AIB                                                     Schedule A/B: Property                                                                     page 3
     Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcsse.com                                                                                         Best Case Bankruptcy
Filed 11/27/19                                                                                          Case 19-14974                                                                Doc 1
             Case Number: 2019-14974                                                                      Filed: 11/27/2019 2:23:15PM
                                                                                                                                    ..                          Doe # 1
      Debtor 1          Salvador Louis Chiaramonte
      Debtor 2          Pamela Mario Chiaramonte                                                                                    Case number (if known)

        Collectibles of value
        Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
                    other collections, memorabilia, collectibles
             No
         o Yes. Describe
        Equipment for sports and hobbies
        Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks: carpentry tools;
                  musical instruments
         • No
         O Yes. Describe
          Firearms
           Examples: Pistols, rifles, shotguns, ammunition, and related equipment
         O No
         • Yes. Describe.....

                                                   .380 handgun - $280
                                                   .45 handgun - $700                                                                                                       $980.00


          Clothes
           Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
         DNo
         U Yes. Describe.....


                                                 I Clothes                                                                                                                $1,000.00


          Jewelry
           Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
         0 No
         U   Yes. Describe.....

                                                   Jewelry                                                                                                                $1,000.00


          Non-farm animals
          Examples: Dogs, cats, birds, horses
         o No
         U   Yes, Describe.....

                                                 12 dogs and two old horses                                                                      I                          $500.00


          Any other personal and household items you did not already list, including any health aids you did not list
             No
         o Yes. Give specific information
             Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
             for Part 3. Write that number here ..............................................................................                                        $6,980.00


      j=         Describe Your Financial Assets
      Do you own or have any legal or equitable interest in any of the following?                                                                            Current value of the
                                                                                                                                                             portion you own?
                                                                                                                                                             Do not deduct secured
                                                                                                                                                             claims or exemptions.

          Cash
           Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
         DNo
         • Yes ............... ..................... ............................................................................
     Official Form I 06A/B                                                                         Schedule A/B: Property                                                       page 4
     Software Copyright () 1996-2019 Best Case, LLC - wew.bestcase.com                                                                                               Best Case Bankruptcy
Filed 11/27/19                                                                   Case 19-14974                                                                   Doc 1
            Case Number: 2019-14974                                              Filed: 11/27/2019 2:23:15 PM                               Doc# 1
      Debtor I       Salvador Louis Chiaramonte
      Debtor 2       Pamela Marie Chiaramônte                                                                      Case number (if known)


                                                                                                                      Cash                                $48.00


         Deposits of money
          Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                    institutions. If you have multiple accounts with the same institution, list each,
         ONo
         U Yes                                                         Institution name:


                                           17.1.    Checking 2238                Chase Bank                                                             $865.07.



                                           17.2. Checking-7717                   Chase Bank                                                              $295.16



                                           17.3. Checking                        Valley Oak Credit Union                                              $1,012.00


          Bonds, mutual funds, or publicly traded stocks
          Examples: Bond funds, investment accounts with brokerage firms, money market accounts
         • No
         o Yes                                     Institution or issuer name:

         Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
          joint venture
         DNa
         • Yes. Give specific information about them...................
                                       Name of entity:                                                              % of ownership:

                                              Chiaramonte Construction & Plumbing, Inc.                                 100%          %                     $0.00


                                              D & S Construction                                                     Unknown %                              $0.00


          Government and corporate bonds and other negotiable and non-negotiable Instruments
          Negotiable instruments include personal checks, cashiers' checks, promissory notes, and money orders.
          Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
         UNo
         o Yes. Give specific information about them
                                              Issuer name:

          Retirement or pension accounts
          Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
           No
         • Yes. List each account separately.
                                    Type of account:                             Institution name:

                                                                                 Plumbers and Pipefitters Union Defined
                                                                                 Contribution Plan                                                  $52,311.00


          Security deposits and prepayments
           Your share of all unused deposits you have made so that you may continue service or use from a company
           Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
         Uwo
         o Yes                                                                   Institution name or individual:

          Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
         IWo
         o Yes                       Issuer name and description.
     Official Form I 06AI'B                                               Schedule A/B: Property                                                            page 5
     Software Copyright (c) 1996-2019 Best Case, LLC -www.bastcase.com                                                                           Best Case Bankruptcy
Filed 11/27/19                                                              Case 19-14974                                                                         Doc 1
             Case Number: 2019-14974                                         Filed: 11/27/2019 2:23:15 PM                                    Doc # 1
      Debtor 1       Salvador Louis Chiaramonte
      Debtor 2       Pamela Marie Chiaramonte                                                                  Case number (if known)


         Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
         26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
             No
         DYes .............          Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

          Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
         RNo
         o Yes. Give specific information about them...
          Patents, copyrights, trademarks, trade secrets, and other intellectual property
          Exa,riples: lnternetdomain names, websites, proceeds from royalties and licensing agreements
         RNO
         0 Yes. Give specific information about them...
          Licenses, franchises, and other general intangibles
          Examples.' Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
         o  No
         • Yes. Give specific information about them...

                                                   Real Estate Broker's License - No value                                            I                      $0.00


                                                   NMLS License - No value                                                            I                      $0.00



                                                  I General Contractors License - No value                                            I                      $000


      Money or property owed to you?                                                                                                      Current value of the
                                                                                                                                          portion you own?
                                                                                                                                          Do not deduct secured
                                                                                                                                          claims or exemptions.

          Tax refunds owed to you
             No
         0 Yes. Give specific information about them, including whether you already filed the returns and the tax years.......


          Family support
          Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
             No
         o Yes. Give specific information......
          Other amounts someone owes you
          Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers' compensation, Social Security
                    benefits; unpaid loans you made to someone else
           No
         I Yes. Give specific information..

                                                           Unpaid wages owed by Chiaramonte Construction &
                                                           Plumbing, Inc.                                                                              Unknown


          Interests in insurance policies
           Examples: Health, disability, or life insurance; health savings account (I-ISA); credit, homeowner's, or renter's insurance
            No
         I Yes. Name the insurance company of each policy and list its value.
                                     Company name:                                                    Beneficiary:                         Surrender or refund
                                                                                                                                           value:

                                               New York Life (Term) - No value                                                                               $0.00

     Official Form I 06A/B                                                Schedule NB: Property                                                              page 6
     Software Copyright (o) 1995-2019 Best Case, LLC - www.bestcase.cOm                                                                           Best Case Bankruptcy
Filed 11/27/19
          Case              Number: 2019 - 14974                                             Case 19-14974                                                                                         Doc 1
                                                                                               Filed: 11/27/2019 2:23:15 PM                                                    Doc#1
     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                                                       Case number (if known)


                                                     Fidelity Life (Term) - No value                                                                                                           $0.00


                                                     Principal Financial                                                                                                                 $7,462.20


                                                     Principal Financial (Term) - No value                                                                                                     $0.00


                                                     Protective Life (Term) - No value                                                                                                         $0.00


           Any interest in property that is due you from someone who has died
            If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
           someone has died.
           • No
           O Yes. Give specific information..

           Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
           Examples: Accidents, employment disputes, insurance claims, or rights to sue
           •No
           O Yes. Describe each claim.........
           Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
               No
           o Yes. Describe each claim
           Any financial assets you did not already list
           •No
           o Yes. Give specific information..


               Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
               for Part 4. Write that number here .....................................................................................................................   .$61,993.43


      •.           Describe Any Business-Related Property You Own or Have an Interest In. List any real estate In Part 1.

           Do you own or have any legal or equitable interest in any business-related property?
        o No. Goto Part 6..
        • Yes. Go to line 38.

                                                                                                                                                                            Current value of the
                                                                                                                                                                            portion you own?
                                                                                                                                                                            Do not deduct secured
                                                                                                                                                                            claims or exemptions.

           Accounts receivable or commissions you already earned
                No
           o Yes. Describe
           Office equipment, furnishings, and supplies
           Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices
           • No
           o Yes. Describe.....
            Machinery, fixtures, equipment, supplies you use in business, and tools of your trade
           o No
           • Yes. Describe



     Official Form 106A/B                                                                Schedule NB: Property                                                                                 page 7
     Software Copyright () 1 9B52O19 Best Case, LIC - www.bestcase.com                                                                                                              Best Case Bankruptcy
Filed 11/27/19                                                                             Case 19-14974                                                                                      Doc 1
           Case Number: 2019-14974                                                          Filed: 11/27/2019 2:23:15 PM                                                   Doe # 1
      Debtor 1         Salvador Louis Chiaramonte
      Debtor 2         Pamela Marie Chiaramorite                                                                                          Case number (if known)



                                              Tools                                                                                                                                  $4,000.00



          Inventory
         • No
         O Yes. Describe

          Interests in partnerships or joint ventures
         INo
         0 Yes. Give specific information about them...................
                                                   Name of entity:                                                                          % of ownership:


          Customer lists, mailing lists, or other compilations
        • No.
        0 Do your lists include personally identifiable information (as defined in                    11 U.S.C. § 101 (41A))?



                    • No
                    0 Yes, Describe

          Any business-related property you did not already list
         INo
         o Yes. Give specific information

             Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
             forPartS. Write that number here .... .................................................................................................................          $4 000.00
                                                                                                                                                                                 ,            J
     ITh1 Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list itin Part 1.

     46, Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           • No. Go to Part 7.
           0 Yes. Go to line 47.

     lT1tI             Describe All Property You Own or Have an Interest in That You Did Not List Above

         Do you have other property of any kind you did not already list?
          Examples: Season tickets, country club membership
         DNo
         U    Yes. Give specific information.........


                                                   Timeshare - London Bridge. No value                                                                                 I                 $0.00


                                                  I Timeshare - Wyndam. No value                                                                                                         $0.00


             Add the dollar value of all of your entries from Part 7. Write that number here                                                                                          $0.00




     Official Form 106A/B                                                              Schedule A/B: Property                                                                            page 8
     Software Copyright () 1996.2019 Best Case, LLC .. aww.bestcase.com                                                                                                      Best Case Bankruptcy
Filed 11/27/19                                                                                Case 19-14974                                                                                  Doc 1
             Case Number: 2019-14974                                                              Filed: 11/27/2019 2:23:15 PIN.                                            Doc # 1
      Debtor I  Salvador Louis Chiaramonte
      Debtor 2 Pamela Marie Chiaramonte                                                                                                        Case number (if known)

        TL            List the Totals of Each Part of this          Form

      55, Part 1: Total real estate, line 2 ......................................................................................................................             $708,000.00
             Part 2: Total vehicles, line 5                                                                            $9,772.00
             Part 3: Total personal and household items, line 15                                                       $6,980.00
             Part 4: Total financial assets, line 36                                                                 $61,993.43
             Part 5: Total business-related property, line 45                                                         $4 000.00
             Part 6: Total farm- and fishing-related property, line 52                                                        $0.00
             Part 7: Total other property not listed, line 54                                           +                     $0.00

             Total personal property. Add lines 56 through 61...                                                     $82,745.43              Copy personal property total        $82,745.43

             Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $790,745.43




     Official Form 106A/B                                                                 Schedule A/B: Property                                                                         page 9
     Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                       -                                                                               Best Case Bankruptoy
Filed 11/27/19                                                                   Case 19-14974                                                                             Doc 1
               Case Number: 2019-14974                                            Filed: 11/27/2019 2:23:15 PM                                      lPIiTi1l

     Debtor I                 Salvador Louis Chiaranionte
                              First Name                        Middle Name                 Lest Name

     Debtor 2                 Pamela Marie Chiaramonte
     (Spouse if, filing)      First Name                        Middle Name                 Last Name


     United States Bankruptcy Court for the:             EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                               Check if this is an
                                                                                                                                              amended filing


    Official Form 106C
    Schedule C: The Property You Claim as Exempt                                                                                                                    4/19

    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
    the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
    needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
    case number (If known),
    For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
    specific dollar amount as exempt. Alternatively, you may claim the full lair market value of the property being exempted up to the amount of
    any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
    funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
    exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
    to the applicable statutory amount.

                     Identify the Property You Claim as Exempt

     1, Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
                  You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

          EJ You are claiming federal exemptions.             11 U.S.C. § 522(b)(2)
     2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
           Brief description of the property and line    on        Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
           Schedule A/B that lists this property                   portion you own
                                                                   Copy the value from    Check only one box for each exemption.
                                                                   Schedule A/B

           1944 Tollin Road Tulare, CA 93274                            $700,000.00       Ri                              $1.00    C.C.P. § 703.1 40(b)(1)
           Tulare County
           Appraisal dated August 7, 2018                                                 El   100% of fair market value, up to
                                                                                               any applicable statutory limit
           Line from Schedule A/B: 1.1

           CalPines Alturas, CA 96101 Modoc                                   $8,000.00                              $8,000.00     C.C.P. § 703.140(b)(1)
           County
           Lot 69 041-272-003                                                                  100% of fair market value, up to
                                                                                               any applicable statutory limit
           Lot 70 041 -272-004

           Two vacant lots
           Line from Schedule NB: 1.2

           2011 Ford Fusion 162,000 miles                                     $1,646.00                              $1,646.00     C.C.P. § 703.140(b)(2)

                                                                                               100% of fair market value, upto
            Free and clear
                                                                                               any applicable statutory limit
            Line from Schedule A/B: 3.2

                                                                                                                                   C.C.P. § 703.140(b)(2)
            2002 Chevy Sllverado 1500 160,000
            miles
                                                                              $4,626.00
                                                                                          RI                         $4,204.00

                                                                                               100% of lair marketvalue, upto
                                                                                               any applicable statutory limit
            Free and clear
            Line from Schedule A/B: 3.3




     Official Form 1 06C                                      Schedule C: The Property You Claim as Exempt                                                     page 1 of4
     Software Copyright (c) 1990-2019 Best Case, tIC - wwwbestcssecom                                                                                    Best Case Bankruptcy
Filed 11/27/19                                                                 Case 19-14974                                                                                 Doc 1
            Case Number: 2019-14974                                              Filed: 11/27/2019 2:23:15 PM                                         Doc # 1
     Debtor 1   Salvador Louis Chiaramonte
     Debtor 2   Pamela Marie Chiaramonte                                                                    Case number (if known)
         Bsief description of the property and line on            Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule NB that lists this property                     portion you own
                                                                  Copy the value from    Check only one box for each exempt/on.
                                                                  Schedule ,4/B
         2002 Chevy Silverado 1500 160,000                                $4,626.00        j                          $422.00        C.C.P. § 703.140(b)(5)
         miles
                                                                                         0     100%offairmarketvalue, upto
                                                                                               any applicable statutory limit
         Free and clear
         Line from Schedule A/B: 3.3

         1994 Chevy Truck                                                 Unknown        z                               $1.00       C.C.P. § 703.140(b)(5)
         Line from Schedule A/B: 3.4
                                                                                         0     100% of fair market value, up to
                                                                                               any applicable statutory limit

         2000 WW                                                          $1,500.00        j                        $1,500.00        C.C.P. § 703.1 40(b)(5)
         Horse Trailer
         Line from Schedule A/B: 4.1                                                     0     100% of fair market value, up to
                                                                                               any applicable statutory limit

         Household goods                                                  $3,500.00      RI                         $3,500.00        C.C.P. § 703.140(b)(3)
         Line from Schedule A/B: 6.1
                                                                                         0     100% of fair market value, up to
                                                                                               any applicable statutory limit

         .380 handgun - $280                                                $980.00                                    $980.00       C.C.P. § 703.140(b)(5)
         .45 handgun - $700
         Line from Schedule A/B: 10.1                                                    0     100% of fair market value, up to
                                                                                               any applicable statutory limit

         Clothes                                                          $1,000.00                                  $1,000.00       C.C.P. § 703.140(b)(3)
         Line from Schedule A/B: 11.1
                                                                                         0     100% of fair market value, upto
                                                                                               any applicable statutory limit

         Jewelry                                                          $1,000.00        j                         $1,750.00       C.C.P. § 703.140(b)(4)
         Line from Schedule A/B: 12.1
                                                                                         Li    100% of fair market value, up to
                                                                                               any applicable statutory limit

          2 dogs and two old horses                                          $500.00                                   $500.00       C.C.P. § 703.140(b)(5)
          Line from Schedule A/B: 13.1
                                                                                         0     100% of fair market value, up to
                                                                                               any applicable statutory limit

          Cash                                                                $48.00     Ri                              $48.00       C.C.P. § 703.140b)(5)
          Line from Schedule A/B: 16.1
                                                                                         0     100% of fair market value, up to
                                                                                               any applicable statutory limit

          Checking - 2238: Chase Bank                                        $865.07                                   $865.07        C.C.P. § 703.140(b)(5)
          Line from Schedule A/B: 17,1
                                                                                          0    100% of fair market value, up to
                                                                                               any applicable statutory limit

          Checking-7717: Chase Bank                                          $295.16                                   $295.16        C.C.P. § 703.140(b)(5)
          Line from Schedule NB: 17.2
                                                                                          Li    100% of fair market value, upto
                                                                                                any applicable statutory limit

          Checking: Valley Oak Credit Union                                $1,012.00                                 $1,012.00        C.C.P. § 703.140(b)(5)
          Line from Schedule A/B: 17.3
                                                                                          0     100% of fair market value, upto
                                                                                                any applicable statutory limit




     Official Form 106C                                     Schedule C: The Property You Claim as Exempt                                                          page 2 of 4
     Software copyright (c) 1996-2019 Beat Case, LLC -www.bestcaso.com                                                                                      Best Case flankruptcy
Filed 11/27/19                                                                 Case 19-14974                                                                                 Doc 1
           Case Number: 20 19-14974                                             Filed: 11/27/2019 2:23:15 PM                                            Doc # 1
    Debtor I Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                         Case number (if known)
        Brief description of the property and line on            Current value of the   Amount of the exemption you claim              Specific laws that allow exemption
        Schedule NBthatllsts this property                       portion you own
                                                                 Copy the value from    Check only one box for each exemption.
                                                                 Schedule NB

        Chiaramonte Construction &                                             $0.00                                       $1.00       C.C.P. § 703.140(b)(5)
        Plumbing, Inc.
                                                                                                  100% of fair market value, upto
        100%
                                                                                                  any applicable statutory limit
        Line from Schedule A/B: 19.1

        D & S Construction                                                     $0.00    W                                  $1.00       C.C.P. § 703.140(b)(5)
        Unknown
        Line from Schedule A/B: 19.2
                                                                                        0         100% of fair market value, up to
                                                                                                  any applicable statutory limit

        Plumbers and Pipefitters Union                                   $52,311.00     Ri                          $52,311.00         C.C.P. § 703.140(b)(10)(E)
        Defined Contribution Plan
        Line from Schedule A/B: 21,1
                                                                                        0         100% of fair market value, up to
                                                                                                  any applicable statutory limit

        Real Estate Broker's License - No                                      $0.00                                       $1.00       C.C.P. § 703.140(b)(5)
        value
        Line from Schedule A/B: 27.1
                                                                                        0         100% of fair market value, up to
                                                                                                  any applicable statutory limit

         NMLS License - No value                                               $0.00                                       $1.00       C.C.P. § 703.140(b)(5)
         Line from Schedule A/B: 27.2
                                                                                        0         100% of fair market value, up to
                                                                                                  any applicable statutory limit

         General Contractors License - No                                      $0.00                                        $1.00      C.C.P. § 703.140(b)(5)
         value
         Line from Schedule A/B: 27.3
                                                                                        0         100% of fair market value, up to
                                                                                                  any applicable statutory limit

                                                                                                                            $1.00       C.C.P. § 703.140(b)(5)
         Unpaid wages owed by Chiaramonte
         Construction & Plumbing, Inc.
                                                                          Unknown
                                                                                        EI
         Line from Schedule A/B: 30.1
                                                                                        0         100% of fair market value, up to
                                                                                                  any applicable statutory limit

         New York Life (Term) - No value                                       $0.00                                        $1.00       C.C.P. § 703.140(b)(5)
                                                                                         21
         Line from Schedule A/B: 31.1
                                                                                         0         100% of fair market value, up to
                                                                                                   any applicable statutory limit

         Fidelity Life (Term) - No value                                        $0.00                                       $1.00       C.C.P. § 703.140(b)(5)
         Line from Schedule A/B: 31.2
                                                                                         0         100% of fair market value, up to
                                                                                                   any applicable statutory limit


          Principal Financial                                              $7,462.20     Ri                            $7,462.20        C.C.P. § 703.1 40(b)(7)
          Line from Schedule A/B: 31.3
                                                                                         0         100% of fair market value, upto
                                                                                                   any applicable statutory limit


          Principal Financial (Term) - No value                                 $0.00         j                              $1.00      C.C.P. § 703.140(b)(5)
          Line from Schedule A/B: 31.4
                                                                                         0         100% of fair market value, up to
                                                                                                   any applicable statutory limit


          Protective Life (Term) - No value                                     $0.00    5z                                  $1.00       C.C.P. § 703.140(b)(5)
          Line from Schedule A/B: 31.5
                                                                                         0         100% of fair market value, up to
                                                                                                   any applicable statutory limit




                                                                                                                                                                    page 3 of 4
     Official Form   ioec                                   Schedule C: The Property You Claim as Exempt
                                                                                                                                                              Best Case Bankruptcy
     Software Copyright (c) 196-201 S Best Case LLC - www.beslcase.com
Filed 11/27/19                                                                    Case 19-14974                                                                             Doc 1
            Case Number: 2019-14974                                                Filed: 11/27/2019 2:23:13 PM                                        Doc # 1
     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                       Case number (if known)
         Brief   description of the property and line on           Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
         Schedule A/B     that lists this property                 portion you own
                                                                   Copy the value from    Check only one box for   each exemption.
                                                                   Schedule A/B

         Tools                                                            $4,000.00       Ri                           $4,000.00      C.C.P. § 703.140(b)(5)
         Line from Schedule NB: 40.1
                                                                                          U    100% of fair market value, upto
                                                                                               any applicable statutory limit

         Timeshare - London Bridge. No value                                      $0.00   91                                $1.00     C.C.P. § 703.140(b)(5)
         Line from Schedule NB: 53.1
                                                                                          0    100% of fair market value, up to
                                                                                               any applicable statutory limit

         Timeshare- Wyndam. No value                                              $0.00                                     $1.00     C.C.P. § 703.140(b)(5)
         Line from Schedule NB: 53.2
                                                                                          0    100% of fair market value, up to
                                                                                               any applicable statutory limit


     3. Are you claiming a homestead exemption of more than $170,350?
         (Subject to adjustment on 4/01122 and every 3 years after that for cases filed on or after the date of adjustment.)
                 No
                 Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                        No
                 U      Yes

        ANY AND ALL OTHER ASSETS UP TO $22,824.00 UNDER C.C.P. SECTIONS 703.140(b)(1) and
                                       (703.140(b)(5)




     Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 4 of 4
     Software Copyright (c) 1956-2019 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
Filed 11/27/19        1f1()               lflfllA                         Case 19-14974
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Filed 11/27/19                                                                  Case 19-14974                                                                                     Doc 1
             Case Number: 2019-14974                                              Filed: 11/27/2019 2:23:15 PM

      Debtor I                   Salvador Louis Chiaramonte
                                 First Name                     Middle Name                      Last Name

      Debtor       2             Pamela Marie Chiaramonte
      (Spouse if, filing)        First Name                     Middle Name                      Last Name


      United States Bankruptcy Court for the:             EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)                                                                                                                                     O Check if this is an
                                                                                                                                                         amended tiling


     Official Form 106D
     Schedule D: Creditors Who Have Claims Secured by Property                                                                                                            12/15
     Be as complete and accurate as possible. if two married people are filing together, both are equally responsible for supplying correct information. If more space
     is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form On the top of any additional pages, write your name and case
     number (if known).
     1. Do any creditors have claims secured by your property?
            O No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
            • Yes. Fill in all of the information below.

                       List All Secured Claims
                                                                                                                   Column A               Column B               Column C
      2. List all secured claims. Ifs creditor has more than one secured claim, list the creditor separately
      for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As     Amount of claim        Value of coilateral    Unsecured
      much as possible, iist the claims in alphabetical order according to the creditor's name.                    Do not deduct the      that supports this     portion
                                                                                                                   value of collateral,   claim                  If any
              Nor-Cal Financial
             I Develotment CorD.                       Describe the property that secures the claim:                           $0.00
              Creditors Name
                                                       Residence Loan Guarantee                                I
              Blaine Laney
              300 Frank H. Owen Plaza,
                                                       As of the date you file, the claim is: Check all that
              Suite 175                                apply.
              Oakland, CA 94612                        O Contingent
              Number, Street, City, State S Zip Code   O Unliquldated
                                                       0 Disputed
      Who owes the debt? Check one.                    Nature of lien. Check all that apply.
      o Debtor 1 only                                  • An agreement you made (Such as mortgage or secured
      0 Debtor 2 only                                      car loan)
      • Debtor I and Debtor 2 only              o Statutory lien (such as tax lien, mechanic's lien)
      o At least one of the debtors and another o Judgment lien from a lawsuit
      • Check if this claim reiates to a               O Other (including a right to offset)
          community debt

      Date debt was incurred                                    Last 4 digits of account number




     Official Form 106D                                Schedule 0: Creditors Who Have Claims Secured by Property                                                          page 1 of 3
     Software Copyright () 1996-2019 Best Case, LLC - www.bestcsse.com '                                                                                          Best Case Bankruptcy
Filed 11/27/19
          Case           Number: 2019-14974                                         Case 19-14974                                                               Doc 1
                                                                                     Filed: 11/27/2019 2:23:15 PM                              IioiiiII1
                                                                                                                    Case   number (if known)
     Debtor I Salvador           Louis Chiaramonte
                  First Name                  Middis Name                        Last Name

     Debtor 2     Pamela Marie Chiaramonte
                  First Name                  Middle Name                        Last Name


                                                       Describe the property that secures the claim:                         $50,276.00
    jIfl Pace SupplyCorp
            Creditor's Name                            Abstract of Judgement recorded
                                                       8/27/2019
            6000 State Farm Drive,                     As of the date you file, the claim is: Check all that
            #200                                       apply.
            Rohnert Park, CA 94928                      o Contingent
            Number, Street, City, State & Zip Cods      O unliquidated
                                                        o Disputed
     Who owes the debt? Check one.                      Nature of lien. Check all that apply.

     O    Debtor 1 only                                 o An agreement you made (such as mortgage or secured
     o Debtor 2 only                                            car loan)

     • Debtor 1 and Debtor 2 only                       o Statutory lien (such as tax lien, mechanic's lien)
     0 At least one of the debtors and another          $ Judgment lien from a lawsuit

      I   Check if this claim relates to a              O Other (including a right to offset)
          community debt

      Date debt was incurred                                         Last 4 dIgits of account number



             Poppy Bank                                 Describe the property that secures the claim:                       $410,000.00
             Creditors Name                             2nd DOT on residence.
                                                        guaranteed. Additionally secured by
                                                        corporate assets.
                                                        As of the date you file, the claim is: Check all that
             438 First Street, #200                     apply.
             Santa Rosa, CA 95401                           O contingent
             Number, Street, City, State & Zip Code         o Unllquidated
                                                            O  Disputed
      Who owes the debt? Check one.                         Nature of lien. Check all that apply.

      o Debtor I only                                       • An agreement you made (such as mortgage or secured
      o Debtor 2 only                                           car loan)

      I    Debtor 1 and Debtor 2 only                       O Statutory lien (such as tax lien, mechanic's lien)
      o At least one of the debtors and another             O Judgment lien from a lawsuit
      • Check if this claim relates to a                    O Other (including a right to offset)
          community debt

      Date debt was incurred                                         Last 4 dIgits of account number 6009


                                                            Describe the property that secures the claim:                    $387,000.00
     [II SPS Servicing
              Creditor's Name                           [   1st   DOT on Residence
                                                                                                                1
                                                            As of the date you file, the claim is: Check all that
              P0 Box 65250                                  apply.
              Salt Lake City, UT 84615                      tJ Contingent
              Number, Street, City, State & Zip Code        o tinliquidated
                                                            o Disputed
       Who owes the debt? Check one.                        Nature of lien. Check all that apply.

       o Debtor 1 only                                       • An agreement you made (such as mortgage or secured
       0    Debtor 2 only                                        car loan)

       • Debtor     1   and Debtor 2 only                    o Statutory lien (such as tax lien, mechanic's lien)
       0 At least one of the debtors and another             o Judgment lien from a lawsuit
         • Check if this claim relates to a                  o Other (including a right to offset)
             community debt

       Date debt was incurred                                         Last4 digits of account number 8270




                                                                                                                                                         page 2 of 3
       Official Form 1060                     Additional Page of Schedule D: Creditors Who Have Claims Secured by Property
                                                                                                                                                   Best Case Bankruptcy
       Software Copyright (C) 19982019 Best Case, LLC -www.bestcase.com
Filed 11/27/19                                                                    Case 19-14974                                                                              Doc 1
           Case Number: 2019-14974                                                 Filed: 11/27/2019 2:23:15 PM                                        Doc # 1
      Debtor I    Salvador Louis Chiaramonte                                                                        Case number (if known)
                  First Name                   Middle Name                     Lest Name
      Debtor 2 Pamela Marie Chiaram ante
                  First Name                   Middle Name                     Last Name


            Valley Oak Credit Onion                     Describe the property that secures the claim:                         $7,636.19
            Creditor's Name                             2001 Ford F-150                                         I

                                                        As of the date you file, the claim is: Check all that
            600 W. Main Street                          apply.
            Visalia, CA 93291                           o ContIngent
            Number, Street, City, State & Zip Code      o tinliquidated
                                                        O  Disputed
      Who owes the debt? Check one.                     Nature of lien. Check all that apply.
      o Debtor 1 only                                   o An agreement you made (such as mortgage or secured
      o Debtor 2 only                                        car loan)

         Debtor 1 and Debtor 2 only                     0 Statutory lien (such as tax lien, mechanics lien)
      o At least one of the debtors and another         0 Judgment lien from a lawsuit
      • Check if this claim relates to a                • Other (including a right to offset)
         community debt

      Date debt was incurred                                    Last 4 dIgits of account number



       Add the dollar value of your entries in Column A on this page. Write that number here:                             1       $854,912.19   I
       If this is the last page ofyourform, add the dollar vaiue totals from all pages.
       Write that number here:
                                                                                                                          I       $854,912.19   1
     17-TM       List Others to Be Notified for a Debt That You Already Listed
      Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
      trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. SimIlarly, if you have more
      than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
      debts in Part 1, do not fill out or submit this page.




     Official Form I06D                     Additional Page of ScheduleD: Creditors Who i-iave Claims Secured by Property                                          page 3 of3
     Software Copyright (c) 1996-2019 Beat Case, LLC - www.beslcasecom                                                                                       Best Case Bankruptcy
Filed 11/27/19                                                                     Case 19-14974                                                                                          Doc 1
             Case Number: 20 19-14974                                               Filed: 11/27/2019 2:23:15 PM                                                     Doc#1
      I1lIIIthis information to identify

      Debtor 1                     Salvador Louis Chiaramonte
                                   First Name                    Middle Name                        Last Name

      Debtor 2                     Pamela Marie Chiaramonte
      (Spouse if, filing)          First Name                    Middle Name                        Lest Name


      United States Bankruptcy Court            for the:   EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if known)
                                                                                                                                                             O   Check if this   is an
                                                                                                                                                                 amended filing


     Official Form 1 06 ElF
     Schedule ElF: Creditors Who Have Unsecured Claims                                                                                                                     12/15
     Be as complete and accurate as possible. Use Part I for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
     any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A)B: Property (Official Form 106MB) and on
     Schedule 3: Executory Contracts and Unexpired Leases (Official Form 1063). Do not include any creditors with partially Secured claims that are listed in
     Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
     left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pa9es, write your
     name and case number (if known).
                        List All of Your PRIORITY Unsecured Claims
      I. Do any creditors have priority unsecured claims against you?
           o No. Go to Part 2.
           • Yes.
      2. List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
           identify what type of claim It is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
           possible, list the claims in alphabetical order according to the creditors name. If you have more than two priority unsecured claims, fill out the Continuation Page of
           Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
           (For an explanation of each type of claim, see the instructions for this form In the Instruction booklet.)
                                                                                                                            Total claim           Priority               Nonpriority
                                                                                                                                                  amount                 amount
     IiI1          California Attorney General
                   Priority Creditor's Name
                                                                         Last 4 digIts of account number                                  $0.00
                   P.O. Box 944255                                       When was the debt incurred?
                   Sacramento, CA 94255
                   Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.                           o Contingent
             O     Debtor 1 only
                                                                         o Unliquidated
             o Debtor 2 only                                             o DIsputed
             • Debtor 1 and Debtor 2 only                                Type of PRIORITY unsecured claim:

             o At least one of the debtors and another                   O   DomestIc support obligations

             • Check if this claim is for a community debt               I Taxes and certain other debts you owe the government
             Is the claim subject to offset?                             O Claims for death or personal injury while you were intoxicated
                   No                                                    o Other. Specify
             O Yes




     Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                                Page 1 of 199
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Filed 11/27/19                                                                     Case 19-14974                                                               Doc 1
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      Debtor I       Salvador Louis Chiaramonte
      Debtor 2       Pamela Marie Chiaramonte                                                                   Case number (if known)


                California Dept of Tax and                               Last 4 digits of account number                               $0.00
                Priority Creditors Name
                Fee Administration                                       When was the debt incurred?
                Account Information Group MIC:
                29
                P.O. Box 942879
                Sacramento, CA 94279-0029
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                            O Contingent
            o Debtor 1 only                                              O   lJnhiquidated
            O Debtor 2 only                                              O Disputed
            • Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured clalm

            o At least one of the debtors and another                    o Domestic support obligations
            I   Check if this claim is for a community debt              I   Taxes and certain other debts you owe the government
            Is the claim subject to Offset?                              o ClaIms for death or personal injury while you were intoxicated
                No                                                       o Other. Specify
            o Yes
                Employment Development
      2.3       Department                                               Last 4 digits of account number                               $0.00
                Priority Creditors Name
                Bankruptcy/Special Procedures                            When was the debt incurred?
                Group
                P.O. Box 826880 MIC 92E
                Sacramento. CA 94280-0001
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                            o Contingent
            o Debtor 1 only                                              o Unliquidated
            o Debtor 2 only                                              o Disputed
            • Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

            o At least one of the debtors and another                    o Domestic support obligations
            • Check if this claim Is for a community debt                U Taxes and certain other debts you owe the government
            Is the claim subject to offset?                              0 Claims for death or personal injury while you were intoxicated
            • No                                                         0 Other. Specify
            o Yes
                Franchise Tax Board                                      Last 4 digits of account number                               $0.00
                Priority CredItors Name
                Bankruptcy Unit                                          When was the debt incurred?
                P0 Box 2952
                Sacramento, CA 95812-2952
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who Incurred the debt? Check one.                            o Contingent
            o Debtor I only                                              o Unliquldated
            o Debtor 2 Only                                              0   Disputed
            • Debtor I and Debtor 2 only                                 Type of PRIORITY unsecured claIm:

            o At least one of the debtors and another                    O   Domestic support obligations

            • Check if this claim Is for a community debt                I Taxes and certain other debts you owe the government
            Is the claim subject to offset?                              0 Claims for death or personal injury while you were intoxicated
            • No                                                         0 Other. Specify
            O Yes




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      Debtor I        Salvador Louis Chiaramonte
      Debtor 2       Pamela Marie Chiaramonte                                                                    Case number (if known)

                 Internal Revenue Service                                 Last4dlgitsofaccountnumber                                   $0.00
                 Priority Creditor's Name
                Centralized Insolvency Operation                         When was the debt incurred?
                P0 Box 7346
                Philadelphia, PA 19101-7346
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
                                                                          O Contingent
             o Debtor 1 only                                              O   Unliquidated
             o Debtor 2 only                                              o Disputed
             • Debtor I and Debtor 2 only                                Type of PRIORITY unsecured claim:
             o At least one of the debtors and another                    O   Domestic support obligations

             • Check If this claim is for a community debt                • Taxes and certain other debts you owe the government
            Is the claim subject to offset?                              o ClaIms for death or personal injury while you were intoxicated
             •No                                                         o Other. Specify
            O Yes

                Securities & Exchange
      2.6       Commission                                               Last 4 digits of account number                               $0.00
                Priority Creditors Name
                Attn: Bankruptcy Counsel                                 When was the debt incurred?
                5670 Wilshire Blvd., Fl. 11
                Los Angeles, CA 90036
                Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
            Who incurred the debt? Check one.                            0 Contingent
            o Debtor I only                                              o Unliquidated
            o Debtor 2 Only                                              o Disputed
            • Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:
            o At least one of the debtors and another                    o Domestic support obligations
            • Check If this claim is for a community debt                • Taxes and certain other debts you owe the government
            Is the claim subject to offset?                              o Claims for death or personal injury while you were intoxicated
                No                                                       o Other. Specify
            o Yes
                Tulare County Tax Collector                              Last 4 digits of account number                               $0.00
                Priority Creditor's Name
                221 S. Mooney Blvd.                                      When was the debt incurred?
                Visalia, CA 93291
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.                            O    Contingent
            o Debtor 1 only                                              o Unliquidated
            O   Debtor 2 only
                                                                         o Disputed
            • Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:
            o At least one of the debtors and another                    o Domestic support obligations
            • Check if this claim is bra community debt                  • Taxes and certain other debts you owe the government
            Is the claim subject to offset?                              O Claims for death or personal injury while you were intoxicated
                No                                                       o Other. Specify
            o Yes                                                                            2019 Property Taxes




    Official Form 106 E/F                                   Schedule ElF: Creditors Who Have Unsecured Claims                                      Page 3 of 199
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                                                                                                                                                Best Case Bankruptcy
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        Debtor I          Salvador Louis Chiaramonte
        Debtor 2          Pamela Marie Chiaramonte                                                                   Case number (Ir known)

                     United States Attorney                                Last 4 digits of account number
                                                                                                                                            $0.00
                     Priority Creditors Name
                     (IRS Division)                                        When was the debt Incurred?
                     2500 Tulare Street, Suite 4401
                     Fresno, CA 93721
                     Number Street City State Zip Code                     As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                                                                           o ContIngent
                o Debtor 1 only                                            O    Unhiquidated
                D   Debtor 2 only
                                                                           O    Disputed
                * Debtor 1 and Debtor 2 only                               Type of PRIORITY unsecured claim:
                O At least one of the debtàrs and another                  O Domestic support obligations
                1   Check if this claim Is for a community debt            1   Taxes and certain other debts you owe the government
                Is the claim subject to offset?                            O   Claims for death or personal injury white you were intoxicated
                •No                                                        o Other. Specify
                o Yes
                    United States Department of
       2.9          Justice                                                Last 4 digits of account number                                  $0.00
                    Priority Creditor's Name
                    Civil Trial Section, Western                          When was the debt incurred?
                    Region
                    Box 683, Ben Franklin Station
                    Washington, DC 20044
                    Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                                                                          o Contingent
               O    Debtor I only
                                                                          o Unliquidated
               o Debtor 2 only                                            O    Disputed
                    Debtor 1 and Debtor 2 only                            Type of PRIORITY unsecured claim:
               o At least one of the debtors and another                  O Domestic support obligations
               I Check If this claim is for a     community debt          I    Taxes and certain other debts you owe the government
               Is the claim subject to offset?                            O    Claims for death or personal injury while you were intoxicated
                    No                                                    o Other. Specify
               o Yes
     1TiI                List All of Your NONPRIORITY Unsecured Claims
             Do any creditors have nonpriority unsecured claims against you?
             o No. You have nothing to report In this pert. Submit this form to the court with your other schedules.
             • Yes.

             List all of your nonpriority unsecured claims in
                                                                     the alphabetical order of the creditor who holds each claim. if a creditor has more than one nonpriority
             unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
             than one creditor holds a particular claim, list the other creditors in Part 3.if you have more than three nonpriority unsecured Claims fill out the Continuation Page of
             Part 2.

                                                                                                                                                                     Total Claim




    Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims
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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pimela Marie Chiaramonte                                                                        Case   number (irlviown)


              AAA Overhead Door, Inc.                                    Last 4 digIts of account number                                                           $1,325.00
              Nonprlority Creditors Name
              P.O. Box 786                                               When was the debt incurred?
              Woodlake, CA 93286
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one,
              o Debtor 1 only                                            o ContIngent
              O    Debtor 2 only                                         o Unliquldated
                   Debtor I and Debtor 2 only                            • Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community                   o Student loans
              debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subjectto offset?                             report as priority claims

                   No                                                    o Debts to pension or profit-sharing plans, and other similar debts
              0    Yes                                                   I    Other, Specify   Corporate debt


    F4.       Aaron & Lisa Newman
              Non priority Creditors Name
                                                                         Last 4 digits of account number                                                           Unknown

              P0 Box 11249                                               When was the debt incurred?
              Santa Rosa, CA 95406
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
              Who Incurred the debt? Check one.
               o Debtor I only                                           o Contingent
               O   Debtor2only                                           o Unhiquldated
               • Debtor I and Debtor 2 only                              N    Disputed
               0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                  0    Student loans
               debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               • No                                                      0    Debts to pension or profit-sharing plans, and other similar debts

               O   Yea                                                   • Other. Specify



               Aaron & Lisa Newman                                       Last 4 digits of account number                                                           Unknown
               Nonpriority Creditors Name
               18 Oxford Court                                           When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                            O   Contingent
               o Debtor 2 only                                            o Unhiquidated
               U   Debtor 1 and Debtor 2 only                             • Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check If this claim Is for a community                   o
               debt                                                       o  ObligatIons arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                    No                                                    O   Debts to pension or profit-sharing plans, and other similar debts

               DYes                                                       N   Other. specify   Additional address




     Official Form 106 ElF                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                     Page 5    or 199
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     Debtor I    Salvador Louis Chiaramonte
     Debtor 2   Pamela Marie Chiaramonte                                                                       Case number (if known)


                             ply Co                                       Last 4 dIgits of account number                                                       $35,858.29
              Non priority Creditor's Name
              P.O. Box 748242                                             When was the debt Incurred?
              Los Angeles, CA 90074-8242
              Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
              0     Debtor 1 only                                         o Contingent
              0     Debtor 2 only                                         o Unhiquidated
               • Debtor 1 and Debtor 2 only                               • Disputed
               U At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              • Check if this claim Is for a community                    o Student loans
              debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

               •No                                                        O Debts to pensIon or profit-sharing plans, and other similar debts
               O    Yes                                                   I    Other. Specify   Corporate debt


              Accurate Mobile Testina_                                    Last 4 digIts of account number                                                         $2,760.11
               Nonpriority Creditor's Name
               1295 Hillcrest Rd.                                         When was the debt incurred?
               Tulare, CA 93274
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                            o Contingent
               U    Debtor 2 only                                         o Unliquidatd
               • Debtor I and Debtor 2 only                               • Disputed
               o Al least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                   0    Student loans
               debt                                                       O  ObligatIons arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               • No                                                       0    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                      I    Other. Specify   Corporate debt


     [Il       ACE Insulation, Inc.
               Nonpriority Creditor's Name
                                                                          Last 4 digIts of account number                                                         $7, 676 .5

               1306 Dynamic St.                                           When was the debt Incurred?
               Petaluma, CA 94954 -
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
                O   Debtor 1 only                                         O Contingent
                U   Debtor 2 only                                         O Unhiquidated
                • Debtor 1 and Debtor 2 only                               • Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community                   O   Student loans
                debt                                                       0  Obligations arising out of a separation agreement or divorce that you dId not
                Is the claim subject to offset?                            report as priority claims

                    No                                                     O   Debts to pension or profit-sharing plans, and other similar debts

                DYes                                                       • Other. Specify     Corporate debt




     Official Form 106 ElF                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                   Page 6 of 199
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     Debtor I       Salvador Louis Chiaramonte
     Debtor 2       Pamela Marie Chiaramonte                                                                   Case number (ii known)


              Acme Granite                                                Last 4 dlglt.s of account number                                                     $20,899 00
              Nonpriority Creditors Name
              1865 E. Tulare Ave.                                         When was the debt incurred?
              Tulare, CA 93274
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
                O   Debtor 1 only                                         o Contingent
                o Debtor 2 only                                           o Unliquldated
                • Debtor I and Debtor 2 only                              U    Disputed
                O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              I Check if this claim is for a community                    o Student loans
              debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

                    No                                                    O    Debts to pension or profit-sharing plans, and other similar debts

                O   Yes                                                   • Other. Specify      Corporate debt


                Action Rentals, Inc.                                      Last 4 digIts of account number                                                           $243.39
                Non priority Creditor's Name
                P.O. Box 1324                                             When was the debt Incurred?
                Hanford, CA 93232
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                O   Debtor I only                                         o Contingent
                o Debtor 2 only                                           o Unliquidated
                • Debtor 1 and Debtor 2 only                              U    Disputed
                0   At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                I   Check if this claim Is for a community                0 Student loans
                debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                    No                                                    0    Debts to pension or profit-sharing plans, and other similar debts

                O Yes                                                     I    Other. Specify   Corporate debt


     [] Action Rentals, Inc.                                              Last 4 digits of account number                                                              $0.00
                Non priority Creditor's Name
                10 South Brown Street                                     When was the debt incurred?
                Hanford CA 93230 -
                Number Street City State Zip Code                         As of the date you file, the claIm is: Check all that apply
                Who incurred the debt? Check one.
                0    Debtor 1 only                                         o Contingent
                O    Debtor 2 only                                         o Unliquidated
                • Debtor 1 and Debtor 2 only                               • Disputed
                o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                I Check If this claim Is for a community                   O   Student loans
                debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                UNo                                                        o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                     • Other. Specify      Additional addresses




     Official Form 106 ElF                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 7 of 199

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                                                                                                                                                               Doe # 1
    Debtor I Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                           Case number (if known)

    41
              Adalberto Carmona                                             Last 4 digits of account number                                                         Unknown
               Non priority Creditors Name
               1586 Mathew Avenue                                           When was the debt Incurred?
               Farmersville, CA 93223
               Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               0   Debtor 1 only                                            o Contingent
               0   Debtor 2 only                                            o Unliquldated
               • Debtor 1 and Debtor 2 only                                 • Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               • Check If this claim Is for a community                     o Student loans
               debt                                                         o  OblIgations arising out of a separation agreement or divorce that you did not
               Is the claIm subject to offset?                              report as priority claims

               •No                                                          o Debts to pension or profit-sharing plans, and other similar debts
               0   Yes                                                      • Other. Specify


    4.1
               Adobe Associates, Inc.                                       Last 4 digIts of account number                                                         $2,769.81
               Nonpriority Creditor's Name
               1220 N. Dutton Ave.                                          When was the debt Incurred?
               Santa Rosa, CA 95401
               Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor I only                                              o Contingent
               O   Debtor2 only                                             O   Unliquidated
               • Debtor 1 and Debtor 2 only                                 • Disputed
               0 At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                     0   Student loans
               debt                                                         0  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

                   No                                                       0   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                        • Other. Specify     Corporate debt


     4.1
               ADT Security Services                                        Last4dlglts of account number          0318                                                $1 56.97
               Nonpriority Creditor's Name
               P.O. Box 371878                                              When was the debt Incurred?
               Pittsburgh, PA 15250-7878                             -
               N umber Street City State Zip Code                           As of the date you file,.the claim Is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                              o Contingent
               0   Debtor 2 only                                            o Unliquidated
               • Debtor 1 and Debtor 2 only                                 • Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                     O   Student loans
               debt                                                         o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

                   No                                                       o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                        • Other. Specify




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     Debtor 1   Salvador Louis Chiaramonte
     Debtor 2    Pamela Marie Chiaramonte                                                                      Case number (if known)


     4,1

              ADT Security Services                                       Last 4 digIts of account number                                                               $0.00
    []

              Nonpriority Creditor's Name
              390 S. VAUGHN WAY                                           When was the debt incurred?
              Aurora, CO 80014
              Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
              Who Incurred the debt? Check one.
              D     Debtor I only
                                                                          o Contingent
              0     Debtor 2 only
                                                                          O unliquidated
              U     Debtor 1 and Debtor 2 only                            o DIsputed
              O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check if this claim Is for a community                    O    Student loans
              debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

                    No                                                    O    Debts to pension or profit-sharing plans, and other similar debts

              o Yes                                                       U    Other. specify    Additional address


    L  iii Air
              Nonpriority Creditors Name
                                                                          Last 4 digIts of account number                                                      $149,700.00

              1603 W. Beaumont Ct.                                        When was the debt Incurred?
              Tulare, CA 93274
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              0     Debtor 1 only                                         o Contingent
               o Debtor 2 only                                            o Unhiquidated
               • Debtor I and Debtor 2 only                               U    Disputed
               O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claIm Is for a communIty                   o Student loans
               debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               UNo                                                        O    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                       N   Other. Specify    Corporate debt



    ftIII      Alan Campbell
               Nonpriority Creditors Name
                                                                          Last 4 digIts of account number

                                                                          When was the debt incurred?
                                                                                                                                                                  Unknown

               3600 Sweetgum Street
               Santa Rosa, CA 95403
                Number Street City State Zip Code                         As of the date you fIle, the claim is: Check all that apply
               Who incurred the debt? Check one.
                0   Debtor I only                                          0   Conlingent
                0   Debtor 2 only                                          0   Unliquldated
                • Debtor I and Debtor 2 only                               U   Disputed
                D   At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community                   o Student loans
                debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                •No                                                        o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                      U    Other, Specify




                                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 9 of 199
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     Debtor 2     Pamela Marie Chiaramonte                                                                       Case number (if known)



     ~q       Alan Campbell
              Nonpriority Creditors Name
                                                                             Last 4 digits of account number                                                         Unknown

              569 Drake Drive                                                When was the debt incurred?
              Santa Rosa, CA 95409
              N umber Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                   Debtor 1 only                                             o Contingent
              o Debtor 2 only                                                O   Unliquidated
               • Debtor I and Debtor 2 only                                  • Disputed
              o At least one of the debtors and another                      Type of NONPRIOR1TY unsecured claim:

              • Check if this claim Is for a community                       O   Studentloans
              debt                                                           0  Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                                report as priority claims

               UNo                                                           o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         U   Other. Specify    Additional Address



    IiiI]     Albert Ruiz Ill
              Nonpriority Creditors Name
                                                                             Last 4 digIts of account number                                                         Unknown

               1435 Steven Avenue                                            When was the debt incurred?
               Farmersville, CA 93223
              Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               0   Debtor I only                                             o Contingent
               0   Debtor 2 only                                             0   Unliquidated
               • Debtor I and Debtor 2 only                                  • Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

              $ Check if this claim is for a community                       o Student loans
              debt                                                           o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                                report as priority claims

               • No                                                          D   Debts to pension or profit-sharing plans, and other similar debts

               DYes                                                          • Other. Specify


    4.1
    F81
              ALCAL Specialty Contracting, Inc.
               Nonpriority Creditor's Name
                                                                             Last 4 digits of account number                                                         $7,470.00

               879 N. Wright Rd.                                             When was the debt incurred?
               Santa Rosa, CA 95407.6605
               Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
              Who Incurred the debt? Check one.
               o Debtor 1 only                                               O   Contingent
               o Debtor 2 only                                               o Unhiquidated
               • Debtor 1 and Debtor 2 only                                  • Disputed
               O At least one of the debtors and another                     Type of NON PRIORITY unsecured claim:

               • Check if this claim isfora community                        o Student loans
               debt                                                          o OblIgations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims
                                                                             o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         • Other. Specify      Corporate debt




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Filed 11/27/19                                                                   Case 19-14974                                                                               Doc 1
            Case Number: 20 19-14974                                              Filed: 11/27/2019 2:23:15 PM                                              WIMIM
     Debtor 1      Salvador Louis Chiaramonte
     Debtor 2      Pamela Maria Chiaramnnte                                                                  Case    number (iqknown)



     F.1i
               Alejandro Tomas Miranda
               Nonpriority Creditor's Name
                                                                         Last 4 dIgits of account number                                                         Unknown

               1415 Steven Avenue                                        When was the debt incurred?
               Earmersville, CA 93223
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               0 Debtor 1 only                                           o ContIngent
               O Debtor 2 only                                           o Unhlguidated
               • Debtor I and Debtor 2 only                              • Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                  o Student loans
               debt                                                      o  ObligatIons arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               • No                                                      O   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                     U   Other. Specify


     4.2
               Alex Calderon                                             Last 4 digits of account number                                                         Unknown
               Nonpriority Creditor's Name
               1524 Mathew Avenue                                        When was the debt incurred?
               Farmersville, CA 93223
               N umber Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor I only                                           0   Contingent
               o Debtor 2 only                                           O   unliquidated
               • Debtor I and Debtor 2 only                              U   Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                           report as priority claims

               • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U   Other. Specify


     4,2
     Li        Alex Enriquez
               Nonpriority Creditor's Name
                                                                         Last 4 digits of account number                                                         Unknown

               1455 Steven Avenue                                        When was the debt incurred?
               FarmersvUCA 93223
               Number Street City Slate Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                           o Contingent
               O   Debtor 2 only                                         o Unliquidated
               U   Debtor 1 and Debtor 2 only                            • DIsputed
               O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
               U Check if this claim Is for a community                  0   Student loans
               debt                                                      O  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                   No                                                    0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                    • Other. Specify




     Official Form 106 ElF                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page II of 199
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            Case Number: 20 19-14974                                               Filed: 11/27/2019 2:23:15 PM                                             IPIIMIII
     Debtor I     Salvador Louis Chiaramonte
     Debtor 2    Pamela Marie Chiaramonte                                                                     Case number (if known)

     4.2
               AIlStarz Pumping Service                                   Last 4 digits of account number                                                           $650.00
               Nonpriority Creditor's Name
               P.O. Box 5606                                              When was the debt incurred?
               Santa Rosa, CA 95402
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               O Debtor 1 only                                            o Contingent
               O Debtor 2 only                                            o Unhlquidated
               • Debtor I and Debtor 2 only                               U Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check If this claim Is for a community                   0 Student loans
               debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               UNo                                                        O Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                      • Other. Specify    Corporate debt


     4.2
               Altus Receivables Management                               Last 4 dIgits of account number                                                               $0.00
               Nonpriortty Creditor's Name
               2400 Veterans Memorial Blvd., Suite                        When was the debt Incurred?
               300
               Kenner, LA 70062
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                            0 Contingent
               o Debtor 2 only                                            0 Unhlquldated
               • Debtor 1 and Debtor 2 only                               U Disputed
               O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
               U Check If this claim Is for a community                   0 Student loans
               debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claIm subject to offset?                            report as priority claims

               •No                                                        O Debts to pension or profit-sharing plans, and other similar debts
                                                                                               Collection agency for Healdsburg Lumber
               0 Yes                                                      • Other. Specify     Co. for noticepurposes


     4.2
               American Bureau of Collections                             Last 4 digits of account number                                                               $0.00
     .4—] Nonpriority Creditor's Name
               500 Seneca Street, Suite 400                               When was the debt Incurred?
               Buffalo, NY 14204
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one,
                o Debtor 1 only                                           O Contingent
                0 Debtor 2 only                                           0 Unliquidated
                U Debtor I and Debtor 2 only                              • Disputed
                O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               U Check if this claim Is fore community                    O Student loans
               debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims
                U No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                                                                                           Collection agency for HD Supply - for
                0 Yes                                                     U Other. Specify notice purposes




     Official Form 106 ElF                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 12 of 199
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     Debtor 1     Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                    Case    number (if known)


     4.2       American Contractors Indemnity
     5         Company                                                    Last 4 digIts of account number                                                              $0.00
               Nonpriority Creditors Name
               801 South Figueroa, Suite 700                              When was the debt incurred?
               Los Angeles, CA 90017
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                            O   Contingent
               o Debtor 2 only                                            O   Unhiquldated
                • Debtor 1 and Debtor 2 only                              I   Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claim isfora community                     O   Student loans
               debt                                                       o OblIgations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                •No                                                       O   Debts to pension or profit-sharing plans, and other similar debts

                                                                                                Cross-Complaintant in lawsuit Ferguson
                                                                                                Enterprises v. Chiaramonte Construction &
                0 Yes                                                     • Other. Specify      Plumbing and Salvador Chiaramonte

     4.21
    [LJ        Amy Perry
               Non priority Creditors Name
                                                                          Last 4 digIts of account number                                                               $0.00


               1579 Mirasson Court                                        When was the debt Incurred?
               Tulare, CA 93274
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
                o Debtor 1 only                                           O Contingent
                o Debtor 2 only                                           o Unhiquldated
                • Debtor 1 and Debtor 2 only                              • Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                  o Student loans
                debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                UNo                                                       0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                     • Other. Specify      For notice purposes


     42
     [Li Amy Tonks                                                        Last 4 dIgits of account number                                                         Unknown
                Non priority Creditors Name
                477 Walnut Grove Street                                   When was the debt Incurred?
                Santa Rosa, CA 95403
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                o Debtor 1 only                                           o Contingent
                o Debtor 2 only                                           o linliquidated
                $ Debtor 1 and Debtor 2 only                              • Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                  o Student loans
                debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                • No                                                      0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                     • Other. Specify




     Official Form 106 E/F                                    Schedule ElF: Creditors Who Have Unsecured ClaIms                                                  Page 13 of 199
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Filed 11/27/19                                                                       Case 19-14974                                                                               Doc 1
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     Debtor 2       Pamela Marie Chiaramonte                                                                      Case number (if known)

     4.2
               Amy Tonks                                                     Last 4 digits of account number                                                        Unknown
                Non priority Creditor's Name
               2115 Kawana Springs Rd Apt#103                                When was the debt incurred?
               Santa Rosa, CA 95404
                Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                J Debtor 1 only                                              o Contingent
                o Debtor 2 only                                              o Unhiquidated
                • Debtor 1 and Debtor 2 only                                 I   Disputed
                0 At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:
               I Check if this claim is for a community                      o Student loans
               debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                • No                                                         o Debts to pension or profit-sharing plans, and other similar debts
                O Yes                                                        U   Other. Specify   Additional address



    LQ...J     Ana Rosa Rodriguez                                            Last 4 digits of account number                                                        Unknown
                Nonpriority Creditor's Name
                1495 Steven Avenue                                           When was the debt incurred?
                FarmersviUe3223
                Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
                O   Debtor 1 only                                            o Contingent
                0   Debtor 2 only                                            o Unliquidated
                • Debtor I and Debtor 2 only                                 U   Disputed
                DAt least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community                     o Student loans
                debt                                                         o  Obligations arising out ola separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims
                •No                                                          0   Debts to pension or profit-sharing plans, and other similar debts

                O Yes                                                        U   Other. Specify



     43        Andres Bravo Larlos & Erica
     0         Aguilar                                                       Last 4 digits of account number                                                        Unknown
                Non priority Creditor's Name
                1445 Mathew Avenue                                           When was the debt incurred?
                Farmersville, CA 93223
                Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                0   Debtor 1 only                                            O   Contingent
                o Debtor 2 only                                              O   Unhiquidated
                U   Debtor 1 and Debtor 2 only                               • Disputed
                0 At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:
                • Check if this claim is for a community                     0   Student loans
                debt                                                         O  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                UNo                                                          O   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                        • Other. Specify




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            Case Number: 20 19-14974                                                      Filed: 11/27/2019 2:23:15 PM                                              Doc# 1
     Debtor 1       Salvador Louis Chiaramonte
     Debtor 2       Pamela Marie Chiaramonte                                                                         Case number (if known)

     43
               Andy & Kimberly Guy                                               Last 4 digIts of account number                                                         Unknown
               Non priority Creditors Name
               4544 Brighton Drive                                               When was the debt Incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                                 As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                                   • Contingent
               o Debtor 2 only                                                   N   Unhiquldated
                • Debtor 1 and Debtor 2 only                                     • DIsputed
               o At least one of the debtors and another                         Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                          o Student loans
               debt                                                              o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                   report as priority claims

                NNo                                                              O   Debts to pension or profit-sharing plans, and other similar debts

                                                                                                      Plaintiffs in lawsuit titled Andy & Kimberly
                                                                                                      Guy v. Chiaramonte Construction &
                0 Yes                                                            N   Other. Specify   Plumbinq. inc.


     4,3
               Andy & Kimberly Guy                                               Last 4 dIgits of account number                                                         Unknown
               Nonpriority Creditor's Name
                1083 Vine Street, #121                                           When was the debt Incurred?
                Healdsburg, CA 95448
               Number Street City State Zip Code                                 As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one,
                0   Debtor 1 only                                                • Contingent
                0   Debtor 2 only                                                • Unhiquldated
                • Debtor 1 and Debtor 2 only                                     • Disputed
                0 At least one of the debtors and another                        Type of NONPRIORITY unsecured claIm:

                • Check if this claim Is for a community                         0   Student loans
                debt                                                             o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                                  report as priority claims

                    No                                                           o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                            • Other. Specify      Additional address


     4.3
                Anesthesia Consultants of Fresno                                 Last 4 digits of account number        1068                                                $147.01
                Nonpriority Creditors Name
                P0 Box 65006                                                     When was the debt Incurred?
                Fresno, CA 93650
                N umber Street City State Zip Code                               As of the date you tile, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                0   Debtor 1 only
                                                                                 o Contingent
                0   Debtor 2 only
                                                                                 o Unhiquidated
                N   Debtor I and Debtor 2 only                                   O   Disputed
                o At least one of the debtors and another                        Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                         o Student loans
                debt                                                             0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                                  report as priority claims

                • No                                                             o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                            N   Other. Specify




     Official Form 106 ElF                                           Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 15 of 199
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     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                          Case number      (if known)


    F1
     4,3
    [LJ Angehna Sarrias                                                     Last 4 digIts of account number                                                        Unknown
              Nonpriority Creditors Name
              1341 E. Apsen Avenue                                          When was the debt incurred?
              Tulare3274
              Number Street City State Zip Code                             As of the date you file the claim Is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                               0   Contingent
              o Debtor 2 only                                               0   Unhiquldated
                  Debtor 1 and Debtor 2 only                                • Disputed
              o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:
              I Check if this claim is for a community                      o Student loans
              debt                                                          o  Obligations arising out of.a separation agreement or divorce that you did not
              is the claim subject to offset?                               report as priority claims

               •No                                                          O   Debts to pension or profit-sharing plans, and other similar debts

               O Yes                                                        • Other. Specify


     4.3
              Anna Garcia                                                   Last 4 dIgits of account number                                                        Unknown
              Nonpriority Creditors Name
              1576 Steven Avenue                                            When was the debt incurred?
              Farmersville, CA 93223
              Number Street City State Zip Code                             As of the date you file, the claim is; Check all that apply
              Who incurred the debt? Check one.
               o Debtor I only                                              o Contingent
               o Debtor 2 only                                              o Unliquidated
               • Debtor I and Debtor 2 only                                 • Disputed
               O At least one of the debtors and another                    Type of NONPRIORITY unsecured claim;

              • Check if this claim is for a community                      O   Student loans
              debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                               report as priority claims
               •No                                                              Debts to pension or profit-sharing plans, and other similar debts

               O Yes                                                        • Other. Specify


     4,3
              Anthem Blue Cross                                             Last 4 digIts of account number                                                       $33,342.14
               Nonpriority Creditor's Name
               P.O. Box 51011                                               When was the debt Incurred?
               Los Angeles, CA 90051-5311
               Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                              0   Contingent
               o Debtor 2 only                                              o Unhiquidated
               • Debtor 1 and Debtor 2 only                                 • Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim;

               • Check If this claim Is for a community                     O   Student loans
               debt                                                         O Obligations arIsIng out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

                   No                                                       O   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                        • Other. Specify




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     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                     Case number (tknown)


     IiEI1      Anthem Blue Cross
                Nonprlority Creditors Name
                                                                       Last 4 digits of account number                                                               $0.00

                P0 Box 6112                                            When was the debt incurred?
                Indianapolis, IN 46206
                Number Street City State Zip Code                      As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                0    Debtor 1 only                                     o Contingent
                0    Debtor 2 only                                     0   Unliquidated
                I    Debtor 1 and Debtor 2 Only                        • Disputed
                o At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community               0   Student loans
                debt                                                   O  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                        report as priority claims

                •No                                                    o Debts to pension or profit-sharing plans, and other similar debts
                O    Yes                                               • Other. Specify     Additional address



    [
     4
           J    ASI Administrative Solutions
                Nonpriority Creditois Name
                                                                       Last 4 digits of account number                                                            $442.80

                P.O. Box 5809                                          When was the debt incurred?
                Fresno, CA 93755
                Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor 1 only                                        o Contingent
                o Debtor 2 Only                                        o Unliquidated
                I    Debtor I and Debtor 2 only                        I   Disputed
                o At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community               O   Studentloans
                debt                                                   o  Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                        report as priority claims
                UNO                                                    o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                  I   Other. Spify     Corporate debt


     4.3        Associated Design and
                   ineering, Inc.                                      Last 4 dIgits of account number                                                         $3,544.50
                Nonpriority Creditor's Name
                351 W. Cromwell Ave., Ste. #108                        When was the debt Incurred?
                Fresno, CA 93711-6115
                Number Street City State Zip Code                      As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                0    Debtor 1 only                                     o Contingent
                o Debtor 2 only                                        o Unllquldated
                • Debtor I and Debtor 2 only                           • Disputed
                o At least one of the debtors and another              Type of NONPRIORITY unsecured claIm:

                • Check if this claim is for a community               o StUdent loans
                debt                                                   O Obligations arising out 01 a separation agreement or divorce that you did not
                Is the claim subject to offset?                        report as priority claims
                • No                                                   O   Debts to pension or profit-sharing plans, and other similar debts

                El   Yes                                               • Other. Specify     Corporate debt




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         Debtor   I Salvador Louis Chiaramonte
         Debtor   2 Pamela Marie Chiaramonte                                                                 Case number (if known)



     1            Baldry Brothers Drilling
                  Nonpriority Creditors Name
                                                                        Last4diglts of account number                                                           $22,565.00

                  P.O. Box 1055                                         When was the debt incurred?
                  Pen ngrove,CA 94951-1055
                  Number Street City State Zip Code                     As of the date you file, the claim Is: Check all that apply
                  Who Incurred the debt? Check one.
                  o Debtor 1 only                                       0   Contingent
                  o Debtor 2 only                                       O   Unhiquldated
                  I   Debtor 1 and Debtor 2 only                        • Disputed
                  0 At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  • Check if this claim Is for a community              o Student loans
                  debt                                                  o  OblIgations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                       report as priority Claims
                      No                                                O   Debts to pension or profit-sharing plans, and other similar debts

                  o Yes                                                 • Other. Specify     Corporate debt


    F
    4.4
                  Barry Hong & Edward Mason                             Last 4 digIts of account number                                                          Unknown
                  Nonpriority Creditor's Name
                  4667 Katie Lee Way                                    When was the debt incurred?
                  Santa Rosa, CA 95403
                  Number Street City State Zip Code                     As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.
                  o Debtor I only                                       o Contingent
                  o Debtor 2 only                                       0   Unhiquidated
                  I   Debtor I and Debtor 2 only                        • Disputed
                  o At least one of the debtors and another             Type of NONPRIORITY unsecured claim:
                  I Check if this claim Is for a community              0   Student loans
                  debt                                                  o  Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                       report as priority claims
                  • No                                                  o Debts to pension or profit-sharing plans, and other similar debts
                  o Yes                                                 I   Other, Specify




    F    4.4 ]
                  Barry Hong & Edward Mason
                  Nonpriority Creditor's Name
                                                                        Last 4 digits of account number                                                          Unknown

                  2139 Waltzer Rd                                       When was the debt incurred?
                  Santa Rosa, CA 95403
                  Number Street City State Zip Code                     As of the date you file, the claIm is: Check all that apply
                  Who incurred the debt? Check one.
                  o Debtor I only                                       o Contingent
                  0   Debtor 2 only                                     0   Unhiquidated
                  • Debtor I and Debtor 2 only                          • Disputed
                  O At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  • Check if this claim Is for a community              o Student loans
                  debt                                                  O Obligations arising out of a separation agreement or divorce that you did not
                  is the claim subject to offset?                       report as priority claims
                  • No                                                  o Debts to pension or profit-sharing plans, and other similar debts
                  o Yes                                                 • Other, specify     Additional address




     Official Form 106 ElF                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                 Page 16 of 199
    Software Copyright (c) 1096-2019 Best Case. LIC -www.bestcase.com                                                                                        Best Case eankruptcy
Filed 11/27/19                                                                  Case 19-14974                                                                               Doc 1
             Case Number: 20 19-14974                                            Filed: 11/27/2019 2:23:15 PM                                              Doc#1
     Debtor 1     Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                  Case number (it known)

    [4;,41
               Bay Alarm Company                                        Last 4 digIts of account number                                                         $4,090.33
               Nonpriority Creditors Name
               P.O. Box 7137                                            When was the debt Incurred?
               San Francisco, CA 94120.7137 -
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               O Debtor I only                                          o Contingent
               o Debtor 2 only                                          O unliquidated
                   Debtor I and Debtor 2 only                           U Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check If this claim is for a community                o Student loans
               debt                                                     o  Obligations arising out of a separation agreement or divorce that you did not
               Is the Claim subject to offset?                          report as priority claims

               •No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    • Other. Specify     Corporate debt



    F4.4
     4         Bay Alarm Company
               Nonprlority Creditors Name
                                                                        Last 4 dIgits of account number                                                               $0.00

               5130 Commercial Circle                                   When was the debt Incurred?
               Concord, CA 94520
               Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                          o Contingent
               O Debtor 2 only                                          o Untiquidated
               • Debtor I and Debtor 2 only                             • Disputed
               0 At least one of the debtors and another                Type of NONPRIORITY unsecured claim;
               U Check If this claim is for a community                 O Student loans
               debt                                                     o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

                   No                                                   O Debts to pension or profit-sharing plans, and other similar debts
                0 Yes                                                   • Other. Specify     Additionaladdress



           j Bay Alarm Company                                          Last 4 digits of account number                                                               $0.00
               Nonpriority Creditors Name
               1016 Clegg Court                                         When was the debt incurred?
               Petaluma. CA 94954
               Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                0 Debtor I only                                         o Contingent
                0 Debtor 2 only                                         o Unliquidated
                • Debtor 1 and Debtor 2 only                            • Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim;

               • Check if this claim is fora community                  O Student loans
               debt                                                     O Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                          report as priority claims
                • No                                                    o Debts to pension or profitsharing plans, and other similar debts
                o Yes                                                   • Other. Specify     Additional address




     Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 19 of 199
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Filed 11/27/19                                                                   Case 19-14974                                                                                Doc 1
          Case           Number: 20 19-14974                                      Filed: 11/27/2019 2:23:15 PM                                              Doc#1
     Debtor 1      Salvador Louis Chiaramonte
     Debtor 2      Pamela_Marie Chiaramonte                                                                   Case number (if known)

     4.4
              BC Engineering                                             Last 4 dIgits of account number                                                            $968.54
              Nonpriority Creditors Name
              2800 Cleveland Ave., Ste. C                                When was the debt Incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
              Who Incurred the debt? Check one.
              o Debtor 1 only                                            o Contingent
              O    Debtor 2 only                                         o Unhtquldated
              • Debtor 1 and Debtor 2 only                               • Disputed
              El At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              • Check if this claim Is for a community                   o Student loans
              debt                                                       0  Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                            report as priority claims
                   No                                                    0   Debts to pension or profit-sharing plans, and other similar debts

              El   Yes                                                   • Other. Specify     Corporate debt


     4.
    [U        Bedrosians                                                 Last 4 digIts of account number                                                         $1,477.05
              Nonpriority Creditors Name
              Corp Office 4460 W. Shaw Ave.,                             When was the debt incurred?
              #197
              Fresno, CA 93722
              Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
              El   Debtor 1 only                                         o Contingent
              0    Debtor 2 only                                         o linliquldated
              • Debtor I and Debtor 2 only                               • Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured clafm:

              • Check if this claim is for a community                   o Student loans
              debt                                                       o  OblIgations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

              • No                                                       o Debts to pension or profit-sharing plans, and other similar debts
              0 Yes                                                      • Other. Specify     Corporate debt


    [j Bedrosians                                                        Last 4 dIgits of account number                                                               $0.00
              Nonprlority Creditor's Name
              4285 N. Golden State Blvd.                                 When was the debt incurred?
              Fresno, CA 93122
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
              o Debtor 1 only                                            o Contingent
              o Debtor 2 only                                            o Iinllquidated
              • Debtor I and Debtor 2 only                               • Disputed
              0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community                   o Student loans
              debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                            report as priority claims

              • No                                                       o Debts to pension or profit-sharing plans, and other sImilar debts
              o Yes                                                      U   Other. Specify   Additionak address




    Official Form lOS E/F                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                   Page 20 of 199
    Software Copyright (c) 1996-2019 Best Case, LLC - wew.bestcase.com                                                                                       Sest Case eankroptcy
Filed 11/27/19                                                                  Case 19-14974                                                                                Doc 1
            Case Number: 2019-14974                                              Filed: 11/27/2019 2:23:15 PM                                              Doc#1
     Debtor I     Salvador Louis Chiaramonte
     Debtor 2    Pamela Marie Chiaramonte                                                                    Case number (if known)


               Benitez Landscape and Maint                              Last 4 digits of account number                                                       $10,415.19
               Nonpriority Creditor's Name
               12640 Ave. 320                                           When was the debt Incurred?
               Visalia, CA 93291
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                          D   Contingent
               o Debtor 2 Only                                          a Unhiquidated
               • Debtor 1 and Debtor 2 only                             U   Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                 a Student loans
               debt                                                     0 Obligations arising Out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

                   No                                                   O   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                    • Other. Specify     Corporate debt



    F
    La         Best Buy
               Nonpriority Creditor's Name
                                                                        Last 4 digIts of account number        2310                                             $301 6.80

               P0 Box 78009                                             When was the debt Incurred?
               Phoenix, AZ 85062
               Number Street City State Zip Code                        As of the data you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                          0   Contingent
               o Debtor 2 only                                          0   Unliquidated
               • Debtor 1 and Debtor 2 only                             o Disputed
               0 At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                 0   Student loans
               debt                                                     O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

               • No                                                     0   Debts to pensIon or profit-sharing plans, and other similar debts

               o Yes                                                    U   Other. specify   Credit Card



    E          Best Buy
               Nonpriority Creditor's Name
                                                                        Last 4 dIgits of account number        2370                                                   $0.00

               P0 Box 790441                                            When was the debt Incurred?
               Saint Louis, MO 63179
               Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               0   Debtor I only
                                                                        o Contingent
               o Debtor 2 only                                          o Unliquidated
               • Debtor 1 and Debtor 2 only                             0   Disputed
               0 At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check if this claim is fore community                  0   Student loans
               debt                                                     0  Obligations arising out of a separation agreement or divorce that you did not
               lathe claim subject to offset?                           report as priority claims

               • No                                                     o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    • Other. Specify     Additional address




     Official Form 106 ElF                                  Schedule ElF; Creditors Who Have Unsecured Claims                                                  Page 21 of 199
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Filed 11/27/19                                                                  Case 19-14974                                                                                Doc 1
            Case Number: 20 19-14974                                             Filed: 11/27/2019 2:23:15 PM                                              Doc#1
     Debtor 1      Salvador Louis Chiaramonte
     Debtor 2      Pamela Marie Chiaramonte                                                                 Case number (if known)

     45
    [j Beyers Costin Simon                                              Last 4 digIts of account number                                                               $0.00
               Nonpriority Creditors Name
               200 4th Street, #400                                     When was the debt Incurred?
               Santa Rosa, CA 95401
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
               O   Debtor 1 only                                        o Contingent
               o Debtor 2 only                                          o Unliquidaled
               • Debtor 1 and Debtor 2 only                             • Disputed
               O   At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community                  O   Student loans
              debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                           report as priority claims
               'No                                                      0   Debts to pension or profitsharing plans, and other similar debts

                                                                                              Attorneys for Osmun Construction, Inc. -
               0 Yes                                                    • Other. Specify      for notice purposes

     4.5
               BGM Construction                                         Last 4 dIgits of account number                                                         Unknown
               Nonpriority Creditors Name
              Mark Freeman                                              When was the debt incurred?
              813 Stonehill Court
              Vacaville,CA 95687
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                          o Contingent
               o Debtor 2 only                                          O Unliquidated
               • Debtor 1 and Debtor 2 only                             • Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                 O   Student loans
               debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

               'No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    • Other, Specify


     45
               Big Brand Tire and Service                               Last 4 dIgits of account number                                                         $2,105.21
               Nonprii Creditor's Name
               809 Calle Piano                                          When was the debt Incurred?
               Camarillo, CA 93012
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor I only                                          o Contingent
               0   Debtor 2 only                                        o Unliquidated
               • Debtor 1 and Debtor 2 only                             • Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                 o Student loans
               debt                                                     O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims
                   No                                                   o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    • Other. Specify      Corporate debt/ credit card (9260)




    Official Form 106 E/F                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                 Page 22 of 199
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Filed 11/27/19                                                                   Case 19-14974                                                                                Doc 1
            Case Number: 2019-14974                                               Filed: 11/27/2019 2:23:1.5 PM                                             Doc#1
     Debtor 1     Salvador Louis Chiaramonte
     Debtor 2      Pamela Marie Chiaramonte                                                                   Case number (ii known)



    E          Big Brand Tire and Service
               Non priority Creditors Name
                                                                         Last 4 digits of account number                                                               $0.00

               P0 Box 51193                                              When was the debt incurred?
               Los Angeles, CA 90051
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor 1 only                                          o ContIngent
                o Debtor 2 only                                          O   Unliquidated
                • Debtor I and Debtor 2 only                             • Disputed
                o At least one of the debtors and another                Type of NONPRiORITY unsecured claim:

               • Check if this claim Is for a community                  O   Student loans
               debt                                                      O  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
                • No                                                     0   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                     • Other. specify     Additional address


    [l Big Brand Tire and Service
    [Li    Commercial
               Nonpriority Creditors Name
                                                                         Last 4 digits of account number        3035                                             Unknown

               809 CatIe Piano                                           When was the debt Incurred?
               Camarillo, CA 93012
               Number Street City State ZIP Code                         As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                           o Contingent
                O   Debtor 2 only                                        O Unliquidated
                • Debtor 1 and Debtor 2 only                             • Disputed
                0 At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                • No                                                     0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                    U   Other. Specify   for notice purpose



    E           Big Lots
                Nonpriority Creditors Name
                                                                         Last 4 digIts of account number        7533                                                $985.00

               P.O. Box 659707                                           When was the debt incurred?
               San Antonio, TX 78265-9707
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
                o Debtor 1 only                                          o Contingent
                o Debtor 2 only                                          0   Unliquidated
                • Debtor 1 and Debtor 2 only                             o Disputed
                o At least one of the debtors and another                Type of NONPRIORiTY unsecured claIm:

               • Check if this claim is for a community                  o StUdent loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                • No                                                     O   Debts to pension or profit-sharing plans, and other similar debts

                O Yes                                                    • Other. specify     Credit card




     Official Form 106 E/F                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                 Page 23 of 199
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Filed 11/27/19                                                                     Case 19-14974                                                             Doc#1             Doc 1
               Case Number:2019-14974                                               Filed: 11/27/2019 2:23:15 PM
     Debtor 1       Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                          Case number (it known)


                Bill & Lynn Glesson                                       Last 4 digIts of account number                                                         Unknown
                Nonpriority Creditors Name
                51 Oxford Court                                           When was the debt Incurred?
                Santa Rosa, CA 95403
                Number Street City State Zip Code                         As   of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                0   Debtor I only                                         O ContIngent
                0   Debtor 2 only                                         o Unliquidated
                U   Debtor 1 and Debtor 2 only                            U    Disputed
                0   At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                  0    Student loans
                debt                                                      O  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims
                    No                                                    o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     I    Other. Specify




    F4~5   ]

                Bill & Lynn Glesson
                Nonpriority Creditors Name
                                                                          Last 4 digIts of account number                                                         Unknown

                1333 Montreal Lane                                        When was the debt Incurred?
                Sebastopol, CA 95472
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor I only                                           o Contingent
                0   Debtor 2 only                                         o Unliquidated
                • Debtor 1 and Debtor 2 only                              I    Disputed
                0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
                I Check if this claim Is for a community                  0    Student loans
                debt                                                      0  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims
                • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     I    Other. Specify   Additional Address



    F           Billy & Elissa Andre
                Nonpriorityiditor's Name
                                                                          Last 4 digits of account number                                                         Unknown

                1691 Randon Way                                           When was the debt incurred?
                Santa Rosa. CA 95403
                Number Street City State ZIp Code                         As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                0   Debtor 1 only                                         O Contingent
                0   Debtor 2 only                                         O Unhlquidated
                U   Debtor 1 and Debtor 2 only                            I Disputed
                DAt least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
                1  Check If this claim is for a community                 0    Student loans
                debt                                                      o ObligatIons arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims
                •No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                DYes                                                      I Other. Specify




    Official Form 106 ElF                                     Schedule ElF: Creditors Who Have Unsecured ClaIms                                                  Page 24 of 199
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     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                        Case number (if known)

    E,-
      6 -
              Billy     & Elissa Andre                                    Last 4 dIgits of account number                                                        Unknown
              Nonpriority Creditors Name
              7913 Winter Born Way                                        When was the debt incurred?
              Windsor, CA 95492
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                            0   ContIngent
               0   Debtor 2 only                                          0   linhiquidated
               •   Debtor 1 and Debtor 2 only                             •   Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               •  Check if this claim is for a community                  0 Student loans
              debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset7                             report as priority claims
               I   No                                                     0   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                      I   Other. Specify    Additional Address


     4.6
               BlueLine Rental/United Rentals                             Last 4 dIgits of account number        0123                                           $30,341.16
               Nonpriority Creditors Name
               27775 Dutcher Creek Rd.                                    When was the debt incurred?
               Cloverdale, CA 95425
               Number Street City State Zip Code                          As of the date you tile, the claim is: Check all that apply
               Who incurred the debt? Check one.
               0   Debtor 1 only                                          0   Contingent
               o Debtor 2 only                                            0   Unliquidated
               I   Debtor 1 and Debtor 2 only                             I   Disputed
               0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               •   Check If this claim is for a community                 0   Student loans
               debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims
               •   No                                                     0   Debts 10 pension or profit-sharing plans, and other similar debts

               O Yes                                                      U   Other. Specify    Corporate debt


     4.6
               BlueLine Rental/United Rentals                             Last 4 dlgit.s of account number 0123                                                         $0.00
               Nonpriority Creditor's Name
               6125 Lakeview Rd.                                          When was the debt incurred?
               Charlotte, NC 28269
               N umber Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               O   Debtor 1 only                                          O ContIngent
               o Debtor 2 only                                            0 Unhiquidated
               1   Debtor 1 and Debtor 2 only                              • Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               I Check If this claim Is for a community                   o
               debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               INo                                                         o Debts to pension or profit-sharing plans, and other similar debts

               O Yes                                                       • Other. Specify     Additional address




     Official Form 106 ElF                                   Schedule ElF: Creditors Who Have Unsecured ClaIms                                                   Page 25 of 199

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Filed 11/27/19                                                                    Case 19-14974                                                                                Doc 1
            Case Number: 20 19-14974                                               Filed: 11/27/2019 2:23:15 PM                                              Doc#1
      Debtor 1 Salvador Louis Chiaramonte
      Debtor 2 Pamela Marie Chiaramonte                                                                       Case number (ir known)

     4.6
                BODEAN Company, Inc.                                      Last 4 digits of account number                                                         $6,894.39
                Nonpriority Creditors Name
                1060 North Dutton Ave.                                    When was the debt Incurred?
                Santa Rosa, CA 94501-5011
                Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor 1 only                                           0   Contingent
                o Debtor 2 only                                           0   Uniiquiciatei
                    Debtor I and Debtor 2 only                            U   Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
                • Check if this claim Is for a community                  O Studentloans
               debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims
                    No                                                    o Debts to pension or profit-sharing plans, and other similar debts
                O Yes                                                     • Other. Specify      Corporate debt


     4.6
                Brad & Kim Tarnutzer                                      Last 4 digits of account number                                                         Unknown
                Non priority Creditor's Name
               510 Jean Marie Drive                                       When was the debt incurred?
               Santa Rosa, CA 95403
                Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                0   Debtor 1 only                                         o Contingent
                O   Debtor 2 only                                         o Unliquidated
                • Debtor 1 and Debtor 2 only                              • Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
               • Check If this claim Is for a community                   O   Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims
                • No                                                      O   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                     • Other. Specify



                Brad & Kim Tarnutzer                                      Last 4 digIts of account number                                                         Unknown
                Non priority Creditors Name
               P.O. Box 687                                               When was the debt Incurred?
               Windsor, CA 95492
                Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                0   Debtor 1 only                                         O   Contingent
                o Debtor 2 only                                           O   Unllquldated
                U   Debtor 1 and Debtor 2 only                            • Disputed
                0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
                • Check If this claim Is for a community                  o Student loans
                debt                                                      o  Obligations arising Out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims                    -
                    No                                                    o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     • Other. Specify      Additional Address




     Offlciai Form 106 ElF                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 26 of 199
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     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                           Case number (if known)

     4.
                Breanna Black                                                Last 4 digits of account number                                                         Unknown
                Nonpriority Creditors Name
                2065 Stagecoach Road                                         When was the debt incurred?
                Santa Rosa,
                Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                O    Debtor 1 only                                           O Contingent
                o Debtor 2 only                                              o Unliquidated
                • Debtor 1 and Debtor 2          only                        I   Disputed
                o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                I Check if this claim is fora community                      o Student loans
                debt                                                         O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                • No                                                         o Debts to pension or profit-sharing plans, and other similar debts
                O    Yes                                                     • Other. Specify


     4.6
     BE         Breanna Black
                Nonpriority Creditor's Name
                                                                             Last 4 digits of account number                                                         Unknown

                2319 Sierra Creek Ct                                         When was the debt incurred?
                Santa Rosa, CA 95405
                Number Street City State Zlp Code                            As of the date you rile, the claim is: Check all that apply
                Who incurred the debt? Check one.
                O    Debtor I only                                           o Contingent
                o Debtor 2 only                                              o Unhiquidated
                • Debtor 1 and Debtor 2 only                                 • Disputed
                0 At least one of the debtors and anolher                    Type of NONPRIORITY unsecured claim:

                I Check If this claim is for a community                     o Student loans
                debt                                                         o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                • No                                                         o Debts to pension or profit-sharing plans, and other similar debts
                O    Yes                                                     • Other, Specify     Additional address


     4.6
                Brian & Jacqueline Scott                                     Last 4 digits of account number                                                          Unknown
                Nonpriority Creditor's Name                         -
                4551 Brighton Dr                                             When was the debt incurred?
                Santa Rosa, CA 95403
                Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                o Debtor 1 only                                              o Contingent
                O    Debtor 2 only                                           o Unliquidated
                • Debtor 1 and Debtor 2 only                                 • Disputed
                o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                I Check if this claim Is for a community                     O   Student loans
                debt                                                         O  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                • No                                                         o Debts to pension or profit-sharing plans, and other similar debts
                 O   Yes                                                     I   Other. Specify




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     Debtor 1       Salvador Louis Chiaramonte
     Debtor 2       Pamela Marie Chiaramonte                                                                       Case   number (if known)


     4.7
               Brian & Jacqueline Scott                                       Last 4 digIts of account number                                                        Unknown
               Nonpriority Creditor's Name
              831 Howards St                                                  When was the debt incurred?
              Santa Rosa, CA 95404
               Number Street City State Zip Code                              As of the date you file, the claim is; Check all that apply
              Who Incurred the debt? Check one.
               O    Debtor I only                                             o Contingent
               o Debtor 2 only                                                o Unhiquidated
               I    Debtor 1 and Debtor 2 only                                • Disputed
               o At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

                I  Check if this claim is for a community                     O    Student loans
               debt                                                           O  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                report as priority claims

                INo                                                           o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                         U    Other, Specify   Additionaladdress


     4.7
                Brian & Jacqueline Scott                                      Last 4 digits of account number                                                        Unknown
                Nonpriority Creditors Name
                1488 Sunrise Pkwy                                             When was the debt incurred?
                Petaluma, CA 94954
                Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one
                0   Debtor 1 only                                             o Contingent
                o Debtor 2 only                                               o Unliquidated
                • Debtor 1 and Debtor 2 only                                  • Disputed
                o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community                      O    Studentloans
                debt                                                          0 Obligations arising out of a separation agreement or divorce that you did not
                lathe claim subject to offset?                                report as priority claims

                • No                                                          0    Debts to pension or profit-sharing plans, and other similar debts

                O Yes                                                         I    Other. Specify   Additional address



     F
     4j 7]
                Brian Geary
                Nonpriority Creditors Name
                                                                              Last 4 digits of account number                                                        Unknown

                Carver Pump Service                                           When was the debt Incurred?
                139 N. Cain Street
                Visalia, CA 93292
                N umber Street City State Zip Code                            As of the date you file, the claim Is: Check all that appiy
                Who incurred the debt? Check one.
                o Debtor 1 only                                               o Contingent
                O    Debtor 2 only                                             O   Unhiquidated
                • Debtor 1 and Debtor 2 only                                   • Disputed
                o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community                       O   Student loans
                debt                                                           o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                                report as priority claims

                • No                                                           o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                          • Other. Specify      for notice purpose




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     Debtor 2    Pamela Marie Chiaramonte                                                                     Case number (jIknown)


     4.7
              Bruce & Lisa Smith                                         Last 4 digIts of account number                                                        Unknown
              Non priority Creditor's Name
              1392 Bourbon Street                                        When was the debt Incurred?
              Springville, CA 93265
              Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
              O     Debtor 1 only                                        o Contingent
              O Debtor 2 only                                            O Unliquldated
              • Debtor 1 and Debtor 2 only                               • Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              • Check if this claim Is for a community                   El   Student loans
              debt                                                       o  ObligatIons arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                            report as priority claims

                    No                                                   O    Debts to pension or profit-sharing plans, and other similar debts

               0    Yes                                                  U    Other. Specify


     4.7
               Build-Tek Inc.                                            Last 4 digIts of account number                                                      $43,994.99
               Nonpriority Creditor's Name
              55 Howe Rd.                                                When was the debt incurred?
              Martinez, CA 94553
               Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
               O    Debtor I only                                        o Contingent
               O    Debtor 2 only                                        o Unllquldated
               • Debtor 1 and Debtor 2 only                              N    Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                           report as priority claims

               •No                                                       O    Debts to pension or profit-sharing plans, and other similar debts

               O    Yes                                                  N    Other. Specify   Corporate debt


     4.7                                                                                                                                                       $11,398.46
     [] Burgess Lumber                                                   Last 4 dIgits of account number
               Nonpriority Creditor's Name
               3610 Copperhill Lane                                      When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                            o Contingent
               0    Debtor 2 only                                         o Unhlquidated
               N    Debtor 1 and Debtor 2 only                            • Disputed
               O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               U Check If this cIalm is for a community                   O   Studentloans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                            report as priority claims
                N   No                                                    O   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                     N   Other. Specify    Corporate debt




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     Debtor 2 Pamela Marie Chiaramonte                                                                         Case number (tknown)

    [J Burgess Lumber                                                     Last 4 digits of account number                                                               $0.00
               Nonpriority Creditors r'Jame
               855 Lakeville Street, #200                                 When was the debt incurred?
               Petaluma, CA 94952
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               O    Debtor 1 only                                         O   Contingent
               O    Debtor 2 only                                         o Unliquidated
                    Debtor 1 and Debtor 2 only                            • Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                   0   Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                    No                                                    O   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                      • Other. Specify     Additional address


     4.7       C.H. Brown Co., LLC/Platt Valley
     7         Bank                                                       Last 4 digits of account number                                                         Unknown
               Nonpriority CredItors Name
               20 W. Frontage Road                                        When was the debt incurred?
               Wheatland, WY 82201
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                            o Contingent
               o Debtor 2 only                                            o Unliquldated
               • Debtor 1 and Debtor 2 only                               • Disputed
               o At least one of the debtors and another                  Type of NONPRIOR1TY unsecured claim:
               • Check if this claim is for a community                   O   Student loans
               debt                                                       0  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               •No                                                        0   Debts to pension or profit-sharing plans, and other similar debts

               D    Yes                                                   • Other. Specify      Possible deficency balance owed


     4.7       C.H. Brown Co., LLC/Platt Valley
     8         Bank                                                       Last 4 digits of account number                                                               $0.00
               Nonpriority Creditors Name
               P0 Box 789                                                 When was the debt incurred?
               Wheatland, WY 82201
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                0   Debtor 1 only                                         o Contingent
                0 Debtor 2 only                                           o Unllquldated
                • Debtor 1 and Debtor 2 only                              U   Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                   O   Student loans
               debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                            report as priority claims
                    No                                                    o Debts to pension or profit-sharing plans, and other similar debts
                0 Yes                                                     U   Other, specify    Additional address




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     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Parripla Marie ehirmônt                                                                        Case number     (if known)


    [7
           ] C2C Resources, LLC                                          Last 4 digits of account number                                                               $0.00
              Nonpriority Creditor's Name
              56 Perimeter Center East, Suite 100                        When was the debt incurred?
              Atlanta, GA 30346
              Number Street City State Zip Code                          As of the date you tile, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                            0 contingent
              o Debtor 2 only                                            0 Uniiquidated
                  Debtor I and Debtor 2 only                             IN Disputed
              0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              • Check if this claim isfora community                     o Student loans
              debt                                                       O OblIgations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

              INo                                                        0 Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Collection agency for Cinquini & Passarino,
              0 Yes                                                      R Other, Specify     Inc. - for notice purposes



    EEEI1     Cal Coast Credit Service, Inc.
              Nonpriority Creditors Name
                                                                         Last 4 digIts of account number                                                               $0.00

              1442 State Farm Drive                                      When was the debt incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                          As of the date you flue, the ciaim Is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                           O Contingent
               O Debtor 2 only                                           o Unhiquidated
               • Debtor 1 and Debtor 2 only                              • Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim is fora community                   9 Student ioans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                           report as priority claims

               RNO                                                       o Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Collection agency for Power Pole Service -
               0 Yes                                                     • Other. Specify     for


     4,8       California American Water
     I         Company                                                   Last 4 digits of account number                                                          $3,470.45
               Nonpriority Creditor's Name
               P.O. Box 7150                                             When was the debt incurred?
               Pasadena, CA 91109-7150
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               O Debtor I only                                            O contingent
               o Debtor 2 only                                            o Unliquidated
               U Debtor 1 and Debtor 2 only                               • Disputed
               O At least one of the debtors and another                 Type of NONPRIORiTY unsecured claim:

               • Check If this claim is for a community                   o Student loans
               debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                            report as priority claims

                   No                                                     O Debts to pension or profit-sharing plans, and other similar debts
               0 Yes                                                      IN Other. Specify   Corporate debt




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     Debtor 1       Salvador Louis Chiaramonte
     Debtor 2       Pamela Marie Chiaramonte                                                                   Case   number (if known)

     4.8
     2         California Dairy                                           Last 4 dIgits of account number                                                          Unknown
               Nonpriority Creditor's Name
               2000 N. Plaza Drive                                        When was the debt incurred?
               Visa Ha, CA 93291
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor I only                                            o Contingent
               o Debtor 2 only                                            o Unliquidated
               • Debtor 1 and Debtor 2 only                               I   Disputed
               0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
               • Check If this claim Is for a community                   o Student loans
               debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               UNo                                                        O   Debts to pension or profit-sharing plans, and other similar debts

               DYes                                                       • Other. Specify




    EiEI 1     California Mantel & Fireplace, Inc.
               NonpriorityCreditor's Name
                                                                          Last 4 digits of account number                                                        $43,480.00

               P.O. Box 340037                                            When was the debt Incurred?
               Sacramento, CA 95834-0037
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               O Debtor 1 only                                            0   Contingent
               O Debtor 2 only                                            o Unliquidated
               • Debtor 1 and Debtor 2 only                               • Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
               • Check II this claim Is bra community                     o Student loans
               debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                •No                                                       o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                      U   Other. Specify   Corporate debt


     4.8
               California Seamless Gutters                                Last 4 digits of account number                                                            $625.00
               Nonpriority Creditor's Name
               4209 Miles Ave.                                            When was the debt Incurred?
               Santa Rosa, CA 95407
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
                o Debtor 1 only                                           O   contingent
                o Debtor 2 only                                           o Unhiquidated
                I   Debtor I and Debtor 2 only                            • Disputed
                O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               I Check If this claim is for a community                   o Student loans
               debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                            report as priority claims

                • No                                                      0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                     • Other. Specify




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     Debtor 2 Pamela Marie Chiaramonte                                                                         Case number (if known)

     4.8
              California Truss Frame, LLC                                  Last 4 digits of account number                                                    -      $15,723.00
               Nonpriority Creditor's Name
               23665 Cajalco Rd., LIC #4003339537                          When was the debt Incurred?
               Perris, CA 92570
               Number Street City State Zip Code                           As of the date you file, the claim Is: Cheek all that apply
              Who incurred the debt? Cheek one.
               o Debtor 1 only                                             o ContIngent
               o Debtor 2 only                                             o Unhiquidated
               • Debtor 1 and Debtor 2 only                                I     Disputed
               0 At least one of the debtors and another                   Type of NONPRIOR1TY unsecured claim:

               • Check if this claim is fora community                     o Student loans
               debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

               •No                                                         o Debts to pension or profit-sharing plans, and other similar debts
               0   Yes                                                     • Other. Specify       Corporate_debt



    E.iEIi     California Truss Frame, LLC
               Nonpriority Creditor's Name
                                                                           Last 4 dIgits of account number                                                                   $0.00

               25220 Hancock Ave., suite 350                               When was the debt incurred?
               Murrieta,CA92562
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               0     Debtor 1 only                                         o Contingent
               o Debtor 2 only                                             El    Unliquidated
               • Debtor 1 and Debtor 2 only                                U     DIsputed
               0 At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                    O     Studentloans
               debt                                                         ElObligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                             report as priority claims

                •No                                                         o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                       U    Other. Specify   Additional address


      4.8                                                                                                                                                                    $0.00
     [j Cannon Law Group                                                    Last 4 digits of account number
                Non priority    ditor's Name
                53 S. 600 E                                                 When was the debt Incurred?
                Salt LakeCity,UT84102
                Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor I only                                             El   Contingent
                o Debtor 2 only                                             O unliquidated
                • Debtor 1 and Debtor 2 only                                • Disputed
                o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                    El    Student loans
                debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                UNo                                                         o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                  Attorneys for Sunbelt Rentals, Inc. - for
                El   Yes                                                    • Other. Specify      noticepurposes




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     Debtor 2 Pamela Marie Chiaramonte                                                                        Case number      (if known)

     4.8
               CareCredit, LLC                                            Last 4 dIgits of account number        7263                                                   $0.00
                Nonpriority Creditors Name
               P0 Box 960061                                              When was the debt Incurred?
               Orlando, FL 32896
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                            o Contingent
               0    Debtor 2 only
                                                                          o Unliquidated
               • Debtor 1 and Debtor 2 only                               o Disputed
               0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
               N Check If this claim Is for a corn munity                 o Student loans
               debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                    No                                                    o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                      I   Other, Specify   Credit card


     4.8
               Carlos Adrian Cerros                                       Last 4 digits of account number                                                         Unknown
               Nonpriority Creditors Name
               1505 Mathew Avenue                                         When was the debt incurred?
               Farmersville, CA 93223
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               0    Debtor 1 only                                         o Contingent
               0    Debtor 2 only                                         o linliquldated
                N   Debtor 1 and Debtor 2 only                            • Disputed
               0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
               N Check If this claim Is for a community                   o Student loans
               debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims
                    No                                                    o Debts to pension or profit-sharing plans, and other similar debts
               0    Yes                                                   N   Other. Specify


     4.9
               Carol McHale                                               Last 4 dIgits of account number                                                         Unknown
               Nonpriority Creditors Name
               Erin Murphey                                               When was the debt incurred?
               1420 Starview Court
               Santa Rosa, CA 95403
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
                o Debtor 1 only                                           • Contingent

                o Debtor 2 only                                           • Unhiquidated

                • Debtor I and Debtor 2 only                              N   Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
                                                                          0   Student loans
               • Check if this claim Is for a community
               debt                                                       0  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims
                o No                                                      0   Debts to pension or profit-sharing plans, and other similar debts

                                                                                               Plaintiffs in lawsuit titled Carol McHale &
                                                                                               Erin Murphey v. Chiaramonte Construction
                • Yes                                                     N   Other. Specify   & Plumbing and Sal Chiaramonte. (Loj). .




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     Debtor 1 Salvador Louis Chiaramorite
     Debtor 2 PmI             M2rk Chirimnnt                                                                  Case number (tknown)

     4.9
              Carol McHaIe                                               Last 4 digIts of account number                                                                $0.00
              Non priority Creditor's Name
              Erin Murphey                                               When was the debt Incurred?
              2513 Caballo CT
              Santa Rosa, CA 95401
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               fl   Debtor 1 only                                        • Contingent

               0    Debtor 2 only                                        • Unliquidated

               • Debtor I and Debtor 2 only                              • Disputed
               0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
                                                                         O    Student loans
              • Check if this claim is for a community
              debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               ONO                                                       o Debts to pension or profit-sharing plans, and other similar debts
               • Yes                                                     U    Other. specify   Additional Address


     4.9
     2         Carver Pump Service                                       Last 4 digIts of account number                                                          Unknown
               Non priority Creditors Name
              139 N. Cain Street                                         When was the debt Incurred?
              Visalia, CA 93292
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               O    Debtor 1 only                                        o Contingent
               O    Debtor 2 only                                        o Unhiquidated
               • Debtor 1 and Debtor 2 only                              • Disputed
               U At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               I Check If this claim is for a community                  U    stuctentioans
               debt                                                      O  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               UNo                                                       O    Debts to pension or profit-sharing plans, and other similar debts

               DYes                                                      U    Other. Specify


     4.9
               Casa Blanca Apts                                          Last 4 digIts of account number                                                           Unknown
               Nonpriority Creditors Name
               2212 N. Marks Avenue                                      When was the debt Incurred?
               Fresno, CA 93722
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one
               o Debtor 1 only                                           O    Contingent
               o Debtor 2 only                                            o Unhiquldated
               • Debtor 1 and Debtor 2 only                               • Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               U Check If this claim is for a community                   0   Student loans
               debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subjectto offset?                            report as priority claims

               • No                                                       O   Debts to pension or profit-sharing plans, and other similar debts

               0 Yes                                                      • Other. Specify




     Official Form 106 E/F                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                     Page 35 of 199
     Software Copyright (C) 1996-2019 Best Case, LLC -www.bestcase.com                                                                                         Best Case Bankruptcy
Filed 11/27/19                                                                    Case 19-14974                                                                                 Doc 1
            Case Number: 20 19-14974                                               Filed: 11/27/2019 2:23:15 PM                                              IPiiiewi3
     Debtor I       Salvador Louis Chiaramonte
     Debtor 2       Pamela Marie Chiaramonte                                                                   Case number (5 known)

     4.9
               Castle Equipment Services, Inc.                            Last 4 digIts of account number                                                             $905.00
               Nonpriority Creditor's Name
               1220 Century Court                                         When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                          As of the date you file, the Claim is; Check all that apply
               Who incurred the debt? Check one.
               D    Debtor 1 only                                         o Contingent
               O    Debtor 2 only                                         O   Unliquidated
                    Debtor 1 and Debtor 2 only                            • Disputed
               O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                   o Student loans
               debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               •No                                                        O   Debts to pension or profit-sharing plans, and other similar debts

               0 Yes                                                      • Other. Specify     Corporate debt



     jj
               Cathy & Ryan McGuirre                                      Last 4 dIgIts of account number                                                           Unknown
               Nonpriority Creditor's Name
               Valvoline Instant Oil Change                               When was the debt Incurred?
               5424 W. Cypress Ave
               Visalia, CA 93277
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                            o ContIngent
                0   Debtor 2 only                                         o Unhtquidated
                • Debtor 1 and Debtor 2 only                              • Disputed
                O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                   0   Studentloans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                • No                                                      O   Debts to pension or profit-sharing plans, and other similar debts

                0 Yes                                                     • Other. Specify     for notice purpose


    [4
               Central Heating and Cooling Inc.                           Last 4 dIgits of account number                                                           $1,175.38
               Nonpriority Creditor's Name
               1648-B West Tulare Ave., LIC                               When was the debt Incurred?
               #1033451
               Tulare, CA 93274
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                O   Debtor 1 only                                         O Contingent
                o Debtor 2 only                                           O Unhiquidated
                • Debtor 1 and Debtor 2 only                              • Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                  O   Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                •No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                0   Yes                                                   • Other. Specify      Corporate debt




     Official Form 108 E/F                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                     Page 36 of 199
     Software Copyright (c)i 996-2019 Best Case, LIC - www.bestcase.com                                                                                         Best Case Bankruptcy
Filed 11/27/19                                                                    Case 19-14974                                                                              Doc 1
            Case Number: 2019-14974                                                Filed: 11/27/2019 2:23:15 PM                                             Doc#1
     Debtor 1     Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                    Case number (if known)



    i EIJ     Central Valley
              Nonpriority Creditors Name
                                                                         Last 4 digits of account number                                                      $19,804.23

              P.O. Box 5749                                              When was the debt incurred?
              Napa, CA 94581
              Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                            0 contingent
              o Debtor 2 only                                            0 Unliquidated
                • Debtor I and Debtor 2 only                             • Disputed
                O At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community                   o Student loans
              debt                                                       o OblIgations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                UNo                                                      0    Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                    U    Other, specify   Corporate debt


     4.
    L..J        Central Valley
                Nonprlority Creditors Name
                                                                         Last 4 dIgits of account number                                                              $0.00

                1804 Soscal Ave.                                         When was the debt incurred?

                  p       4559
                N umber Street City State Zip Code                       As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                0   Debtor 1 only                                        O    Contingent
                o Debtor 2 only                                          0    Unliquidated
                • Debtor I and Debtor 2 only                             U    Disputed
                o At least one of the debtors and another                Type of NONPRIORITY unsecured claim

                U Check If this claim is bra community                   o Student loans
                debt                                                     O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subjectto offset?                           report as priority claims

                    No                                                   o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                    U    Other. Specify   Additional address


     4.9
                CFMG California_Urology                                  Last 4 digits of account number         5126                                                  $6.20
                Nonpriority Creditor's Name
                P0 Box 38948                                             When was the debt Incurred?
                Fresno, CA 93729
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                o Debtor 1 only                                           O   Contingent
                o Debtor2only                                             0   Unhiquidated
                U   Debtor 1 and Debtor 2 only                           o Disputed
                o At least one of the debtors and another                Type of NONPRIOR1TY unsecured claim:

                • Check if this claim Is for a community                 o Student loans
                debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     U   Other. Specify




     Official Form 106 ElF                                  Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 37 of 199
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            Case Number: 2019-14974                                               Filed: 11/27/2019 2:23:15 PM                                              Doc#1
     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                       Case number (ii known)

       jjCharlene Amber Cantrell                                         Last 4 digits of account number                                                         Unknown
               Nonpriority Creditor's Name
               1385 Mathew Avenue                                        When was the debt incurred?
               Farmersville, CA 93223
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                           O   Contingent
               O   Debtor 2 only                                         0   Unliquidated
               I   Debtor 1 and Debtor 2 only                            N   Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
                   Check If this claim is for a community                O   Student loans
               debt                                                      O  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                           report as priority claims
               UNo                                                       o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     N   Other. Specify




    Eli!       CheckRlte Backflow Services
               Non priority Creditor's Name
                                                                         Last 4 digits of account number                                                         $1,260.00

               3618 Chanate Rd.                                          When was the debt incurred?
               Santa Rosa, CA 95404
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
              Who Incurred the debt? Check one.
               0   Debtor I only                                         0   Contingent
               O   Debtor 2 only                                         0   Unliquidated
               • Debtor 1 and Debtor 2 only                              • Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U   Other. Specify   Corporate debt


    [j Chris & Diane Winters                                             Last 4 dIgits of account number                                                         Unknown
               Nonpriority Creditor's Name
               4558 BrIghton Drive                                       When was the debt Incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor I only                                           0   Contingent
               O   Debtor 2 only                                         0   Unhiquidated
               • Debtor I and Debtor 2 only                              • Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                  0   Student loans
               debt                                                      o  OblIgations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
                   No                                                    o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     I   Other. Specify




    Official Form 106 ElF                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 38 of 199
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            Case Number: 2019-14974                                                   Filed: 11/27/2019 2:23:15 PM                                              Doc # 1
     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pampla Maria Chiramonfp                                                                           Case number     (iflnown)



     4.
     03        Chris & Diane Winters                                        Last 4 digits of account number                                                         Unknown
               Nonpriority Creditor's Name
               7563 13th Hole Drive                                         When was the debt incurred?
               Windsor, CA 954_92
               N umber Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                              o Contingent
               o Debtor 2 only                                              o Unliquidated
               I    Debtor 1 and Debtor 2 only                              • Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                     El   Student loans
               debt                                                         O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

                    No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               El   Yes                                                     • Other. Specify      Additional address



    EI         Chris Shaughnessy
               Nonpriority Creditor's Name
                                                                            Last 4 digits of account number                                                          Unknown

               2029 Stagecoach Road                                         When was the debt incurred?
               Santa Rosa, CA 95404
               Number Street City Slate ZIP Code                            As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                              O Contingent
               o Debtor 2 only                                              o Unliquidated
                • Debtor 1 and Debtor 2 only                                • Disputed
                0 At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                     0    Student loans
               debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

                    No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                O   Yes                                                      • Other. Specify



     4.1                                                                                                                                                             Unknown
                Chris Shaughnessy                                           Last 4 digits of account number
                Non priority Creditors Name
                2041 Stagecoach Road                                        When was the debt incurred?
                Santa Rosa, CA 95404
                Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                0   Debtor 1 only                                            o Contingent
                O   Debtor 2 only                                            o Unliquidated
                • Debtor 1 and Debtor 2 only                                 • Disputed
                0 At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community                     0 Student loans
                debt                                                         o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                    No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                        • Other. specify      Additional Address




                                                                Schedule ElF: Creditors Who Have Unsecured Ciaims                                                    Page 39 of 199
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     Software Copyright (c)   1996-2019   Best Case, LLC - wewbeatcasecom                                                                                         Best Case Bankruptcy
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     Debtor I        Salvador Louis Chiaramonte
     Debtor 2        Pamela Marie Chiaramonte                                                                Case number (it known)



    k4.1
     06          Chris Shaughnessy
                 Nonpriority Creditors Name
                                                           ______        Last 4 digits of account number                                                        Unknown

                 1879 Alan Dr                                            When was the debt incurred?
                 Penngrove, CA 94951
                 Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                 O   Debtor 1 only                                       o Contingent
                 O   Debtor 2 only                                       o Unhiquidated
                 • Debtor 1 and Debtor 2 only                            S   Disputed
                 0 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                 • Check if this claim Is for a community                o Student loans
                 debt                                                    o  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                         report as priority claims

                 UNO                                                     o Debts to pension or profit-sharIng plans, and other similar debts
                 o Yes                                                   • Other. Specify     Additional Address



    EEII         Christensen Residence
                 Nonpriority Creditors Name
                                                                         Last 4 digits of account number                                                        Unknown

                 4671 Katie Lee Way                                      When was the debt incurred?
                 Santa Rosa, CA 95403
                 Number Street City State Zip Code                       As of the date you fiie, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                 o Debtor 1 only                                         0   Contingent
                 O   Debtor 2 only                                       0   Unhiquidated
                 • Debtor 1 and Debtor 2 only                            S   Disputed
                 O At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                 • Check if this claim is for a community                0   Student loans
                 debt                                                    O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                         report as priority claims
                 • No                                                    o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                   1   Other. Specify


     [4.1   1
     LOU         Ciriquini & Passarino Inc.                              Last 4 digits of account number                                                       $31,562.24
                 Nonpriority Creditors Name
                 1360 North Dutton Ave., Ste. 150                        When was the debt incurred?
                 Santa Rosa, CA 95401
                 Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                 O   Debtor 1 only                                       o Contingent
                 0   Debtor 2 only                                       o linhiquidated
                 • Debtor 1 and Debtor 2 only                            • Disputed
                 o At least one of the debtors and another               Type of NONPRIORITY unsecured claim:
                 I Chock if this claim is for a community                O Student loans
                 debt                                                    o  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                         report as priority claims
                     No                                                  o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                   • Other. Specify      Corporate debt




     Official Form 106 ElF                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 40 of 199
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Filed 11/27/19                                                                   Case 19-14974                                                                               Doc 1
               Case Number: 2019-14974                                            Filed: 11/27/2019 2:23:15 PM                                              Doc # 1
     Debtor I    Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                   Case number      (if known)




    F           City of Petaluma
                Nonpriority Creditors Name
                                                                        Last 4 digits of account number

                                                                        When was the debt incurred?
                                                                                                               1505; 2104                                          $792.15

                P.O. Box 6011
                Petaluma, CA 94953-6011
                Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                D   Debtor 1 only                                       0    Contingent
                0   Debtor 2 only                                       O    Unhlquidated
                • Debtor I and Debtor 2 only                            I    Disputed
                o At least one of the debtors and another               Type of NONPRIORITY unsecured ciaim:

                • Check if this claim is for a community                o Student loans
                debt                                                    o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                         report as priority claims

                UNo                                                     o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                   • Other. Specify     Corporate debt


     4.1
           1    City of Petaluma
                Nonpriority Creditor's Name
                                                                        Last 4 digits of account number

                                                                        When was the debt incurred?
                                                                                                                                                                       $0.00

                11 English Street
                Petaluma, CA 94952
                Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor 1 only                                         o Contingenl
                o Debtor 2 only                                         o Unhiquidated
                • Debtor 1 and Debtor 2 only                            • Disputed
                0 At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community                o Student loans
                debt                                                    o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                         report as priority claims

                     No                                                 O    Debts to pension or profit-sharing plans, and other similar debts

                0    Yes                                                • Other. Specity      Additional address


                City of Santa Rosa                                      Last 4 dIgits of account number                                                           $1,200.48
                Nonpriority Creditor's Name
                P.O. Box 1658                                           When was the debt incurred?
                Santa Rosa CA 95402
                N umber Street City State Zip Code                      As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                U    Debtor I only                                      U    Contingent
                0    Debtor 2 only                                       o Unliquidated
                 • Debtor I and Debtor 2 only                            • Disputed
                 o At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                 • Check if this claim is bra community                  o Student loans
                 debt                                                    o  Obligations arising out of a separation agreement or divorce that you did not
                 is the claim subject to offset?                         report as priority claims

                 'No                                                     o Debts to pension or profit-sharing plans, and other similar debts
                 O   Yes                                                 • Other. speciry     Corporate debt




     Official Form 106 ElF                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                   Page 41 of 199

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Filed 11/27/19                                                                         Case 19-14974                                                                               Doc 1
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     Debtor 1      Salvador Louis Chiaramonte
     Debtor 2      Pamela Marie Chiaramonte                                                                        Case number (if known)



     E1
     1~1
               City of Santa Rosa
                Non priority Creditors Name
                                                                               Last 4 digits of account number                                                               $0.00

                P0 Box 5013                                                    When was the debt Incurred?
                Hayward, CA 95540
                Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
                o Debtor I only                                                0 Contingent
                o Debtor 2 only                                                0 Unliquidated
                • Debtor I and Debtor 2 only                                   I DIsputed
                o At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

               • Check if this claim isfora community                          DStudentloans
               debt                                                            O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                 report as priority claims

                   No                                                          o Debts to pension or profit-sharing plans, and other similar debts
                O Yes                                                          • Other. Specify     Additional address



                Clement, Fitzpatrick & Kenworthy                               Last 4 dIgits of account number                                                               $0.00
                Nonpriority Creditor's Name
                Davin R. Bahco                                                 When was the debt incurred?
                3333 Mendocino Ave., Ste. 200
                Santa Rosa, CA 95403
                Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                0 Debtor 1 only                                                o Contingent
                o Debtor 2 only                                                o Unhiquidated
                I Debtor 1 and Debtor 2 only                                   • Disputed
                O At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                       o Student loans
                debt                                                           o Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                                report as priority claims

                INo                                                            o Debts to pension or profit-sharing plans, and olher similar debts
                                                                                                     Attorneys for William Rosa and Aaron Rosa
                0 Yes                                                          • Other. Specify      - for notice purposes


     4.1
      14        Clint & Jaclyn Jones                                           Last 4 digits of account number                                                         Unknown
                Nonpriority Creditor's Name
                557 N. Manor Street                                            When was the debt incurred?
                Tulare, CA 93274
                Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one
                o Debtor I only                                                0 Contingent
                o Debtor 2 only                                                o Unhiquldated
                • Debtor I and Debtor 2 only                                   • Disputed
                0 At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

                I Check If this claim is for a community                       0 Student loans
                debt                                                           0 Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                                report as priority claims

                    No                                                         0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                          • Other. Specify




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Filed 11/27/19                                                                  Case 19-14974                                                                                    Doc 1
            Case Number: 2019-14974                                              Filed: 11/27/2019 2:23:15 PM                                                  Doc # 1
     Debtor 1     Salvador Louis Chiaramonte
     Debtor 2     Parriala M2rIP Chirmnnt                                                                   Case number (a known)


     3i]      Coast to Coast Financial Solutions
              Nonprlority Creditors Name
                                                                        Last 4 digits of account number       1625                                                  Unknown

              101 Hodencamp Road #120                                   When was the debt incurred?
              Thousand Oaks, CA 91360
              Number Street City State Zip Code                         As of the date you file, the claIm is: Check all that apply
              Who Incurred the debt? Check one.
               O Debtor 1 only                                          o ContIngent
               El Debtor 2 only                                         o Unhiquidated
               • Debtor I and Debtor 2 only                             • Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                 OStudentloans
               debt                                                     o  ObligatIons arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

                UNO                                                     0 Debts to pension or profit-sharing plans, and other similar debts
                                                                                             Collecting for Recology Sonoma Mann -
                0 Yes                                                   • Other. Specify     Falcon Ridge - for notice purpose


     4.1
     EII1      Coast to Coast Financial Solutions
               Nonpriority Creditors Name
                                                                        Last 4 dIgits of account number        9360                                                 Unknown

               P0 Box 2086                                              When was the debt incurred?
               Thousand Oaks, CA 91358
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor 1 only                                         0 contingent
                o Debtor 2 only                                         0 Unliquidated
                • Debtor 1 and Debtor 2 only                            • Disputed
                El At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                • Check if this claim is fora community                 0 Student loans
                debt                                                    0 OblIgations arising out of a separation agreement or divorce that you did not
                Is the claim subject to Offset?                         report as priority claims

                • No                                                    0 Debts to pension or profit-sharing plans, and other similar debts
                                                                                             Collecting for Recology Sonoma Mann -
                0 Yes                                                   • Other. Specify     Falcon                                                        -



     E
     4.1
     17         Cody & Monique Walker
                Nonpriority Creditors Name
                                                                        Last 4 digits of account number                                                              Unknown

                3609 Sumatra Drive                                      When was the debt Incurred?
                Santa Rosa, CA 95403
                Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                El   Debtor 1 only                                      0 contingent
                El   Debtor 2 only                                      0 Unliquidated
                • Debtor 1 and Debtor 2 only                            • Disputed
                El At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                0 Student loans
                debt                                                    o  Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                         report as priority claims
                •No                                                     o Debts to pension or profit-sharing plans, and other similar debts
                                                                                             Cross-Comptaintaints in lawsuit titles Cody
                                                                                             and Monique Walker v. Chiaramonte
                0 Yes                                                    • Other. Specify    Constrution & Plumbinc. Inc.




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Filed 11/27/19                                                                    Case 19-14974                                                                               Doc 1
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     Debtor I    Salvador Louis Chiaramonte
     Debtor 2   Pamela Marie Chiaramonte                                                                     Case number (tt known)


              Cody & Monique Walker                                      Last 4 digits of account number                                                               $0.00
              Nonpriority Creditor's Name
               P0 Box 201                                                When was the debt incurred?
               Fulton, CA 9543_•
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
               o Debtor 1 only                                           O   Contingent
               o Debtor 2 only                                           o Unhiquidated
               • Debtor 1 and Debtor 2 only                              • Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              N Check If this claim Is for a community                   O Student loans
              debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                   No                                                    O Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     • Other. Specify     Additional address


                                                                                                                I 918;5570;9
                                                                                                                I 58;5978;92
     Collection Bureau of America
    E____                                                                Last 4 digIts of account number        85;9242                                          Unknown
              Nonpriority Creditor's Name
              25954 Eden Landing Road, 1st                               When was the debt Incurred?
              Floor
              Hayward, CA 94545-3816
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
              Who Incurred the debt? Check one.
               O   Debtor 1 only                                         o Contingent
               o Debtor 2 only                                           o Unhiquidated
               N   Debtor 1 and Debtor 2 only                            N   Disputed
               0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
              N Check If this claim Is for a community                   o Student loans
              debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                   No                                                    o Debts to pension or profit-sharing plans, and other similar debts
                                                                                               Collecting for C'ty of Santa Rosa - for
                                                                                               notice purpose - Addtional acct #: 9415,
               0 Yes                                                     N   Other. Specify    9412



    10         Comcast Business
               Nonpriority Creditor's Name
                                                                         Last 4 dIgits of account number                                                         $2,830.05

               P.O. Box 60533                                            When was the debt Incurred?
               City of Industry, CA 91716-0533
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
              Who Incurred the debt? Check one.
               0   Debtor 1 only
                                                                         0   Contingent
               O   Debtor 2 only
                                                                         0   Unliquldated
               • Debtor 1 and Debtor 2 only                              O   Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
               N Check if this claim Is tora community                   o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                           report as priority claims
               •No                                                       0   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                     I   Other. Specify




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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                         Case   number (f known)



     211 ]
    [E       Comcast Business                                             Last 4 digits of account number                                                                $0.00
              Nonpriority Creditor's Name
              1130 N. Chase Parkway, No. 150                              When was the debt Incurred?
              Marietta, GA 30067
              N umber Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
              D    Debtor I only
                                                                          o Contingent
              0    Debtor 2 only
                                                                          o Unhiquidated
               • Debtor 1 and Debtor 2 only                               o Disputed
               o At least one of the debtors and another                  Type of NONPR1ORITY unsecured claim:

              • Check if this claim is for a community                    o Student loans
              debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                             report as priority claims

               • No                                                       o Debts to pension or profit-sharing plans, and other similar debts
               0   Yes                                                    • Other. Specify     Additional address


    [] Comfort Medical                                                    Last 4 digits of account number                                                             $730.07
               Nonpriority Creditor's Name
               4240 NW 120th Ave.                                         When was the debt Incurred?
               Pornpano Beach, FL 33065
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               O   Debtor 1 only
                                                                          o Contingerkt
               O   Debtor 2 only
                                                                          o Unhiquidated
               • Debtor I and Debtor 2 only                               o Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                   O    Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                            report as priority claims

               • No                                                       O    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                      • Other. Specify



     4.1
     23        Conrad Murioz                                              Last 4 dIgits of account number                                                          Unknown
               Non priority Creditor's Name
               120W. School Ave.                                          When was the debt incurred?
               VIsaIIa L CA 93291
               Number Street City State Zip Code                          As of the date you file, the claIm Is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                             o Contingent
               0   Debtor 2 only                                           o tinhiquidated
               • Debtor I and Debtor 2 only                                • Disputed
               o At least one of the debtors and another                   Type of NONPRJORITY unsecured claim:

               • Check if this claim Is for a community                    0   Student loans
               debt                                                        O  obligations arising out of a separation agreement or divorce that you did not
               Is the claIm subject to offset?                             report as priority claims

               • No                                                        O   Debts to pension or profit-sharing plans, and other similar debts

               O Yes                                                       • Other. Specify




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     Debtor 2 Pamela Marie Chiaramonte                                                                        Case number      (if known)


     4,1
     24        Contractors State License Board                           Last 4 digIts of account number                                                                $0.00
               Nonpriority Creditor's Name
               P0 Box 26000                                              When was the debt incurred?
               Sacramento, CA 95826
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               Q Debtor 1 only
                                                                         0   Contingent
                   Debtor 2 only
                                                                         O   Unllquidated
               • Debtor 1 and Debtor 2 only
                                                                         o DIsputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                  o Student loans
               debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
                   No                                                    0   Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U   Other, Specify   For notice purposes



    E
    5          Corporate Direct, Inc.
               Nonpriority Creditor's Name
                                                                         Last 4 dig Its of account number                                                            $985.00

               2248 Meridian Blvd., Ste. H                               When was the debt Incurred?
               Minden, NV 89423
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               0   Debtor 1 only                                         O   ContIngent
               0   Debtor 2 only                                         0   Unliquidated
               U   Debtor I and Debtor 2 only                            • Disputed
               0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
                   No                                                    0 Debts to pension or profit-sharing plans, and other similar debts
               0   Yes                                                   • Other. Specify     Corporate debt


    [ij Corporation Service Company                                      Last 4 dIgIts of account number                                                                $0.00
               Non priority Creditors Name
               801 Adlai Stevenson Drive                                 When was the debt incurred?
                pieIIL 62703
               Number Street City State Zip Code                         As of the date you file, the claIm is: Check all that apply
               Who incurred the debt? Check one.
               0   Debtor I only
                                                                         O   Contingent
               0   Debtor 2 only
                                                                         O   tinliquldated
                   Debtor I and Debtor 2 only                            o Disputed
               0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
               • No                                                      0   Debts to pension or profit-sharing plans, and other similar debts

                                                                                              Agent for service of process for Poppy
               0   Yes                                                   I   Other, Specify   Bank - for notice purposes             -




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     Debtor 2 Pamela Marie Chiaramonte                                                                           Case number (if known)


    Eli       Corrine Labat
               Nonpriority Creditors Name
                                                                             Last 4 digits of account number                                                         Unknown

              3569 Sweetgum Street                                           When was the debt Incurred?
              Santa Rosa, CA 95403
               Number Street City State Zip Code                             As of the date you tile, the claim is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                               o Contingent
               o Debtor 2 only                                               o Unuquidated
               • Debtor 1 and Debtor 2 only                                  • Disputed
               O At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               • Check 11 this claim is for a community                      OStudentloans
               debt                                                          o  Obiigations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                               report as priority ciaims

               • No                                                          o Debts to pension or profit-sharing plans, and other simiiar debts
               o Yes                                                         • Other. Specify




     28        Corrine Labat                                                 Last 4 digIts of account number                                                         Unknown
               Non priority Creditors Name
               1993 Piner Court                                              When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that appiy
               Who incurred the debt? Check one.
               o Debtor I only                                               O    Contingent
               O    Debtor 2 only                                            O    unhquidated
               • Debtor 1 and Debtor 2 only                                  • Disputed
               o At ieast one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               • Check if this claim Is fora community                       O    Student loans
               debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                               report as priority claims

               • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         • Other. Specify      Additional Address


     [4.11
     [J Coulter s Flooring America                                           Last 4 digits of account number                                                        $27,311.92
               Nonpriority Creditors Name
               2309 East Tulare Ave.                                         When was the debt Incurred?
               Tulare, CA 93274
               Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
                o Debtor 1 only                                               0   contingent
                D   Debtor 2 only                                             0   Unliquidated
                • Debtor 1 and Debtor 2 only                                  U   Disputed
                o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                       0   Student loans
               debt                                                           o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                report as priority claims

                •No                                                           o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                    Corporate debi Plaintiff In lawsuit titled
                                                                                                    Coulter's Flooring America aka Coulter's
                                                                                                    Interiors Inc. v. Salvadore Chiaramonte dba
                0 yes                                                         U   Other. Specify    Chiaramonte Construction and Plumbing




     Official Form 106 ElF                                       Schedule ElF; Creditors Who Have Unsecured Claims                                                   Page 47 of 199

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     Debtor 1     Salvador Louis Chiaramonte
     Debtor 2      Pamela Marie Chiaramonte                                                                  Case number (if known)



    EI
     3i        Craig & Kristin Wheeler
               Nonpriority Creditor's Name
                                                                         Last 4 digits of account number                                                           Unknown

               4702 Lambert Drive                                        When was the debt incurred?
               Santa Rosa, CA 9503
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                11 Debtor 1 only                                         o Contingent
               O Debtor 2 only                                           o Unhiquldated
                • Debtor 1 and Debtor 2 Only                             • Disputed
               0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
               N Check if this claim is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                           report as priority claims
                   No                                                    O Debts to pension or profit-sharing plans, and other similar debts
                O Yes                                                    • Other. Specify




    Eli        Craig & Kristin Wheeler
               Nonprioi Creditor's Name
                                                                         Last 4 digits of account number                                                           Unknown

               690 Natalie Drive                                         When was the debt incurred?
               Windsor, CA 95492
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                           0 contingent
                O Debtor 2 only                                          0 tinliquidated
                • Debtor 1 and Debtor 2 only                             • Disputed
                0 At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                           report as priority claims
                • No                                                     o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                    • Other. Specify    Additional address


     4.1
               Credit Collection Services                                Last 4 dIgits of account number                                                                 $0.00
                Nonpriority Creditors Name
               725 Canton Street                                         When was the debt incurred?
               Norwood, MA 02062
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor 1 only                                          o Contingent
                o Debtor 2 only                                          O Unhiquidated
                • Debtor I and Debtor 2 only                             • Disputed
                O At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check If this claim is fora community                   o Student loans
               debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
                                                                         O Debts to pension or profit-sharing plans, and other similar debts
                                                                                             Collection agency for Progressive
                0 Yes                                                    • Other. Specify    Commercial - for notice purposes




     Official Form 106 E/F                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                    Page 48 of 199
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     Debtor 2 Pamela Marie Chiaramonte                                                                           Case number (a known)


    Elil I    Credit Collection Services
              Nonpriority Creditors Name
                                                                             Last 4 digits of account number

                                                                             When was the debt Incurred?
                                                                                                                                                                           $0.00

              P0 Box 55156
              Boston, MA 02205
              Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
              o Debtor 1 Only                                                O   Contingent
              o Debtor 2 only                                                o Unhiquidated
               • Debtor 1 and Debtor 2 only                                  • Disputed
               0 At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community                       0    Student loans
              debt                                                           o  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                                report as priority claims

                   No                                                        o Debts to pension or profit-sharing plans, and other similar debts
               O Yes                                                         • Other. Specify      Additional address


               Creditors Bureau USA                                          Last 4 digIts of account number        5019                                                   $0.00
               Non priority Creditors Name
               757 L Street                                                  When was the debt Incurred?
               Fresno, CA 93714
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               O   Debtor I only
                                                                             0    Contingent
               O   Debtor 2 only
                                                                             0    Unliquidated
               • Debtor 1 and Debtor 2 only                                  O  Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                      o Student loans
               debt                                                          0 Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                               report as priority claims

               • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                   Collecting for Fresno Surgical Hospital - for
               0   Yes                                                        • Other. Specify     notice purposes


     [1
     35        Crisanto Renteria                                             Last 4 digits of account number                                                               $0.00
               Non priority Creditors Name
               700 S. Encina #C                                              When was the debt Incurred?
               VisaIia, CA 93291
               N umber Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                                • Contingent

               o Debtor 2 only                                                • Unliquidated

                • Debtor 1 and Debtor 2 only                                  N   Disputed
                O At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:
                                                                              O   Student loans
               • Check if this claim Is for a community
               debt                                                           o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                report as priority claims

                   No                                                         o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                    Plaintiff in lawsuit Crisanto Renteria v.
                                                                                                    Chiaramonte Construction & Plumbing, Inc.
                • Yes                                                         • Other. Specify      - for notice purposes




     Official Form 106 E/F                                       Schedule ElF: creditors Who Have Unsecured Claims                                                   Page 49 of 199

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     Debtor 2    Pamela Marie Chiaramonte                                                                        Case   number (if known)


     4.1       Crown Cabinets101ym pla Sales
     36        Company                                                      Last 4 dIgits of account number                                                          $15,278.29
               Nonpriority Creditor's Name
               1537 South 700                                               When was the debt incurred?
               West Salt Lake City, Utah
               84104-0000
               Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                O
                O
                    Debtor I only
                                                                            o Contingent
                    Debtor 2 only
                                                                            o Unliquidated
                • Debtor 1 and Debtor 2 only                                o DIsputed
                O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               • Check If this claim Is bra community                       o Student loans
               debt                                                         9 Obligations arising out of a separation agreement or divorce that     you did not
               Is the claim subject to offset?                              report as priority claims
                    No                                                      0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                       I   Other, Specify


     4.1
     37        Crum & Forster                                               Last 4 dIgits of account number 3801                                                      Unknown
               Nonpriority Creditor's Name
               26600 Telegraph Rd                                           When was the debt Incurred?
               Southfield, Ml 48033
               Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor I only                                             o ContIngent
                o Debtor 2 only                                             o Unllquidaled
                • Debtor 1 and Debtor 2 only                                U   Disputed
                O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community                    o Student loans
                debt                                                        o  OblIgations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                •No                                                         0   Debts to pension or profit-sharing plans, and other similar debts

                                                                                                 Collecting for First Mercury Insurance -for
                0 Yes                                                       • Oiher, Specify
                                                                                                 notice Pi!!P2!__.._.__.

     41         Crystal G. Negrete & Rosario E.
     38         Negrete                                                      as 4 digIts of account number                                                             Unknown
                Nonpriority Creditor's Name
                1464 Steven Avenue                                          When was the debt incurred?
                Farmersville, CA 93223
                Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor 1 only                                             O Contingent
                o Debtor 2 only                                             o Unhlquidated
                • Debtor 1 and Debtor 2 only                                • Disputed
                O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community                    o Student loans
                debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                             report as priority claims

                • No                                                        o Debts to pension or profit-sharing plans, and other similar debts
                0 Yes                                                       U   Other. Specify




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     Debtor 2 Pamela Marie Chiaramonte                                                                          Case number      (tf known)



    41
     39          CSBS, Inc.                                                Last 4 digits of account number                                                              $1,129.02
                 Non priority Creditor's Name
                2208 Northpoint Parkway                                    When was the debt Incurred?
                Santa Rosa, CA 95407
                 Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                 0   Debtor 1 only
                                                                           O    Contingent
                 0   Debtor 2 only
                                                                           O    unhiquidated
                 U   Debtor 1 and Debtor 2 only                            o Disputed
                 0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                 U Check If this claim is for a community                  o Student loans
                 debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                           report as priority claims

                 UNo                                                       o Debts to pension or profit-sharing plans, and other similar debts
                 O Yes                                                     • Other. Specify



                 CSBS, Inc.                                                Last 4 digIts of account number                                                                    $0.00
                 Nonpriority Creditor's Name
                 P0 Box 6676                                               When was the debt Incurred?
                 Santa Rosa, CA 95406                               -
                 Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
                 Who incurred the debt? Check one.
                 O   Debtor 1 only
                                                                           o Contingent
                 O   Debtor 2 only
                                                                           o Unhiquidated
                 • Debtor 1 and Debtor 2 only                              o Disputed
                 O At least one of the debtors and another                 Type of NONPRIORITY unsecured claIm:

                 • Check If this claim is for a community                  o Student loans
                 debt                                                      0  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                           report as priority claims

                 UNo                                                       0    Debts to pension or profit-sharing plans, and other similar debts

                 o Yes                                                     U    Other, Specify   Additional address


                 CSC Lawyers Incorporating Service                         Last 4 digits of account number                                                                     $0.00
                 Nonpriority Creditor's Name
                 2710 Gateway Oaks Drive, Suite                            When was the debt Incurred?
                 I 50N
                 Sacramento, CA 95833
                 Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                 Who Incurred the debt? Check one
                  o Debtor 1 only                                           O   Contingent
                  o Debtor 2 only                                           0   Unhiquidated
                  • Debtor I and Debtor 2 only                              O   Disputed
                  o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                 • Check If this claim is for a community                   o Student loans
                 debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
                 lathe claim subject to offset?                             report as priority claims

                  • No                                                      0   Debts to pension or profit-sharing plans, and other similar debts

                                                                                                 Agent for Service of Process for Di-IC
                  0 Yes                                                     U   Other. Specify   Supplies - for notice purposes                                -




     Official Form 106 ElF                                     Schedule ElF: Creditors Who Have Unsecured Claims                                                        Page 51 of 199
     Software   Copyrihl (0) 1996-2019   Best Case, LLC -www.estcase,com                                                                                             Best Case Bankruptcy
Filed 11/27/19                                                                  Case 19-14974                                                                                Doc 1
            Case Number: 20 19-14974                                              Filed: 11/27/2019 2:23:15 PM                                              Doc#1
     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                       Case number     (it known)



    Eli        Dan & Cheryl Hale
               Nonpriority Creditors Name
                                                                         Last 4 digits of account number                                                         Unknown

               1309 Crestview Court                                      When was the debt Incurred?
               Santa Rosa, CA 95403
               N Umber Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               O Debtor 1 only                                           o Contingent
               O Debtor 2 only                                           o Unhiquidated
               • Debtor 1 and Debtor 2 only                              • Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
               UNo                                                       o Debts to pension or profit-sharing plans, and other similar debts
               O Yes                                                     U Other. Specify


     4.1
     43        Dan & Cheryl Hale                                         Last 4 digIts of account number                                                         Unknown
               Nonprlority Creditors Name
               2401 Appletree Drive                                      When was the debt Incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                           O Contingent
               o Debtor 2 only                                           o Unhlquldated
               • Debtor 1 and Debtor 2 only                              U Disputed
               O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim is fora community                   0 Student loans
               debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
                  No                                                     0 Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     U Other. Specify Additional Address


     4.1
    [j Dan Harrison                                                      Last 4 digits of account number                                                         Unknown
               Nonpriority Creditors Name
               809 E. Center Street                                      When was the debt Incurred?
               Visalia, CA 93291
               N umber Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               0 Debtor 1 only                                           O Contingent
               0 Debtor 2 only                                           o Unhlquidated
               • Debtor 1 and Debtor 2 only                              • Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                  O Student loans
               debt                                                      o  ObligatIons arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
               • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     • Other. Specify




     Official Form 106 E/F                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                   Page 52 of 199
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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                        Case number     (if known)


     4,1
     45       Dana & Suzi_Kelley                                          Last 4 digits of account number                                                        Unknown
              Nonpriority Creditors Name
              1689 Randonn Way                                            When was the debt Incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
               0 Debtor I only                                            O Contingent
               0 Debtor 2 only                                            O Unhlquidated
               R Debtor 1 and Debtor 2 only                               • Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                   Check if this claim is for a community                 o Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                  No                                                      o Debts to pension or profit.sharing plans, and other similar debts
               o Yes                                                      U   Other. Specify


     4.1
     46        Dana & Suzi Kelley                                         Last 4 digits of account number                                                         Unknown
               Non priority Creditor's Name
               P.O. Box 73                                                When was the debt incurred?
               GIenhavenCA 95443
               N umber Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               O Debtor I only                                            o Contingent
               o Debtor 2 only                                            o Unllquidated
               U Debtor 1 and Debtor 2 only                               • Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                   0 Student loans
               debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               UNo                                                        O Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                       • Other. Specify     Additional address


     [~
     4:
               Daniel & Elizabeth_Downing________                         Last 4 digIts of account number                                                         Unknown
               Nonpriority Creditor's Name
               2025 Shelbourne Way                                        When was the debt Incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               0 Debtor 1 only                                             o Contingent
               0 Debtor 2 only                                             O unuquidated
                • Debtor 1 and Debtor 2 only                               • Disputed
                O At least one of the debtors and another                  Type of NONFRIORITY unsecured claim:

               • Check if this claim is fora community                     o Student loans
               debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims
                UNo                                                        o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                      • Other. Specify




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     Soflware Copyright (c) I 996-2019 Best Case, LLC - ww,bestcase.com                                                                                        Best Case Bankruptcy
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      Debtor 1     Salvador Louis Chiaramonte
      Debtor 2    _me1a Marie Chiaramonte                                                                           Case number (it known)



    EEII        Darren & Michelle Howe
                Nonpriority Creditor's Name
                                                                               Last 4 digIts of account number                                                         Unknown

                1286 Tuilptree Road                                            When was the debt Incurred?
                Santa Rosa, CA 95403
                Number Street City State Zip Code                              As   or the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                0   Debtor 1 only                                              o Contingent
                0   Debtor 2 only                                              o Unhiquldated
                • Debtor 1 and Debtor 2 only                                   • Disputed
                El At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                • Check If this claim Is for a community                       o Student loans
                debt                                                           o  ObligatIons arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                                report as priority claims

                • No                                                           o Debts to pension or profit-sharing plans, and other similar debts
                DYes                                                           • Other. Specify



                Dave Madsen                                                    Last 4 digits of account number                                                         Unknown
                Nonpriority Creditors Name
                4351 Mines Road                                                When was the debt incurred?
                Livermore, CA 94550
                Number Street City State Zip Code                              As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                o Debtor I only                                                El   contingent
                o Debtor 2 only                                                0    Unhlquidated
                • Debtor 1 and Debtor 2 only                                   • Disputed
                o At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

                • Check If this claim Is for a community                       O Student loans
                debt                                                           O Obligations arising out of a separation agreement or.divorce that you did not
                Is the claim subject to offset?                                report as priority claims

                •No                                                            O    Debts to pension or profit-sharing plans, and other similar debts

                O Yes                                                          • Other. Specify


      4.1
     [50 J   Davey Tree Expert Company                                         Last 4 digits of account number         7174                                               $650.00
                Nonpriority Creditor's Name
                P.O. Box 94532                                                 When was the debt incurred?
                Cleveland, OH 44101-4532
                Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                O   Debtor 1 only                                              o Contingent
                O   Debtor 2 only                                              0    Unhiquidated
                • Debtor I and Debtor 2 only                                   • Disputed
                0 At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:
                I Check If this claim is for a community                       o Student loans
                debt                                                           o  Obligations arising Out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                                report as priority claims
                    No                                                         o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                         • Other. Specify      Corporate debt




     Official Form 106 ElF                                         Schedule ElF: Creditors Who Have Unsecured ClaIms                                                  Page 54 of 199
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     Debtor 1     Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiararnonte                                                                    Case   number (iltnown)


    14.1   1
           j Davey Tree Expert Company                                     Last 4 digits of account number                                                            $650.00
               Nonpriority Creditor's Name
               P.O. Box 94532                                              When was the debt Incurred?
               Cleveland, 01-144101-4532
               N umber Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                             o Contingent
               o Debtor 2 only                                             o Unhquidated
                • Debtor I and Debtor 2 only                               o Disputed
                o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                • Check If this claim Is for a community                   0   Student loans
                debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                UNo                                                        o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                      • Other. Specify



     4.1
                Davey Tree Expert Company                                  Last 4 digits of account number                                                                $0.00
     52
                Nonpriority Creditor's Name
                1500 North Mantua St                                       When was the debt incurred?
                P.O. Box 5193
                Kent, OH 44240-51 93
                Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor 1 only                                            O    Contingent
                O    Debtor 2 only
                                                                           o Unhiquidated
                • Debtor 1 and Debtor 2 only                               o Disputed
                o At least one of the debtors and another                  Type of NONPR1ORITY unsecured claim:

                • Check if this claim is for a community                   o Student loans
                debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                             report as priority claims

                • No                                                        o Debts to pension or profit-sharing plans, and other similar debts
                El   Yes                                                    • Other. Specify     Addtionat Address



     EE_]       David & Ellen Lenchner
                Nonpriority Creditor's Name
                                                                            Last 4 digits of account number

                                                                            When was the debt Incurred?
                                                                                                                                                                    Unknown

                1324 Cashew Road
                Santa Rosa, CA 95403
                N umber Street City State Zip Code                          As of the date you fIle, the claim is: Check all that apply
                Who incurred the debt? Check one.
                 o Debtor 1 only                                            o Contingent
                 o Debtor 2 only                                            o Unhiquidated
                 • Debtor 1 and Debtor 2 only                               • Disputed
                 o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                    0   Student loans
                debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                 • No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                      • Other. Specify




                                                              Schedule ElF: Creditors Who Have Unsecured Claims                                                     Page 55 of 199
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                                                                                                                                                                 Best Case Bankruptcy
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     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                       Case number (if known)

     4.1
     54        David & Ellen Lenchner                                    Last 4 digIts of account number                                                         Unknown
               Nonpriority Creditors Name
               18607 Melody Lane                                         When was the debt Incurred?
               Sonoma, CA 95476
               Number Street City State Zip Code                         As of the date you file, the claIm is: Check all that apply
               Who Incurred the debt? Check one.
               0 Debtor 1 only                                           o Contingent
               o Debtor2oñly                                             o Linhiquidated
               I Debtor 1 and Debtor 2 only
                                                                         • Disputed
               0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claIm:
               I Check If this claim Is for a community                  O Student loans
               debt                                                      O Oiligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
               • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     I Other, Specify Additional address


               David & Julie Bullock                                     Last 4 digits of account number                                                         Unknown
               Nonpriority Creditors Name
               4830 Carriage Lane                                        When was the debt Incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               0 Debtor 1 only                                           o Contingent
               0 Debtor 2 only                                           o Unliquidated
               I Debtor 1 and Debtor 2 only
                                                                         • Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
               I Check If this claim is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                           report as priority claims
               INo                                                       o Debts to pension or profit-sharing plans, and other similar debts
                   Yes                                                   • Other. Specify


     4.1
     56        David & Melissa Edney                                     Last 4 digits of account number                                                         Unknown
               Non priority Creditor's Name
               3550 Santiago Drive                                       When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               0 Debtor 1 only                                           O Contingent
               o Debtor 2 only                                           0 Unhiquidated
               I Debtor 1 and Debtor 2 only                              I Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
               I Check If this claim Is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims
               • No                                                      O Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     • Other. Specify




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    Debtor 1       Salvador Louis Chiaramonte
                                                                                                               Case number (if known)
    Debtor 2        Pamela Marie Chiaramonte

                 David & Melissa Edney                                     Last 4 digIts of account number                                                        Unknown
    57
                 Nonpriority Creditors Name
                 568 E. Jasmine Circle                                     When was the debt Incurred?
                 Santa Rosa, CA 95407
                 Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                 O    Debtor 1 only                                        O   Contingent
                  o Debtor 2 only                                          o Unliquidated
                  R   Debtor 1 and Debtor 2 only                           N   Disputed
                  O At least one of the debtors and another                Type of NONPR1ORITY unsecured claim:

                  • Check if this claim is for a community
                                                                           o Student loans
                  debt                                                     o  Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                          report as priority claims

                      No
                                                                           o Debts to pension or profit-sharing plans, and other similar debts
                      Yes                                                  • Other. Specify         Additional Address


     41                                                                                                                                                            Unknown
     58           David & Siono Lorange                                    Last 4 digits of account number
                  Nonpriority Creditor's Name
                  4712 Paulette Place                                      When was the debt Incurred?
                  Santa Rosa, CA 95403
                  Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.
                  O   Debtor 1 only                                         o Contingent
                  o Debtor 2 only                                           o Unliquidated
                       Debtor 1 and Debtor 2 only                           • Disputed
                  o At least one of the debtors and another                 Type of NON PRIORITY unsecured clalm

                  N Check If this claim is for a community                  0 Studentloans
                  debt                                                      o  ObligatIons arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                           report as priority claims

                   •No
                                                                            O Debts to pension or profit-sharing plans, and other similar debts
                   0 Yes                                                    N      Other. Specify



       .1
     459    I1     David & Slono Lorange
                   Nonpriority Creditors Name
                                                                            Last 4 digIts of account number

                                                                            When was the debt incurred?
                                                                                                                                                                    Unknown

                   1264 Baird Rd
                   Santa Rosa, CA 95409
                   Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
                   Who Incurred the debt? Check one.
                   O   Debtor I only                                         0 Contingent
                   O   Debtor 2 only                                         O Unliquidated
                   • Debtor I and Debtor 2 only                              N     Disputed
                   O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                   N Check If this claim is for a community                  o Student loans
                   debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
                   Is the claIm subject to offset?                           report as priority claims

                     • No
                                                                             o Debts to pension or profit-sharing plans, and other similar debts
                     0 Yes                                                     U   Other. Specify    Additional address




                                                                                                                                                                    Page 57 of 19$
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     Debtor 1        Salvador Louis Chiaramonte
     Debtor 2        Pamela Marie Chiaramonte                                                  -               Case number (tr known)



    F4       DavidKeovflay & Eckachia Aihai
             Nonpriorlty Creditors Name
              1560 Mathew Avenue
                                                                          Last 4 digIts of account number

                                                                          When was the debt incurred?
                                                                                                                                                                  Unknown


              Farmersville2 CA 93223
              Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
             Who incurred the debt? Check one,
                fl   Debtor 1 only                                        O    contingent
                o Debtor 2 only                                           o Unliquidated
                     Debtor 1 and Debtor 2 only                           I    Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              • Check If this claim is for a community                    O Student loans
              debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

                •No                                                       O    Debts to pension or profit-sharing plans, and other similar debts

                DYes                                                      • Other. Specify




    Eli         David L. Misakian
                Nonpriorlty Creditors Name
                                                                          Last 4 digits of account number

                                                                          When was the debt Incurred?
                                                                                                                                                                 $17,590.00

                Misakian Living Trust
                75 Andreas Dr.
                Novato, CA 94945
                N umber Street City State Zip Code                        As of the date you file the claim Is: Check all that apply
                Who incurred the debt? Check one.
                0     Debtor 1 only                                       O Contingent
                o Debtor 2 only                                           O Unliquldated
                • Debtor 1 and Debtor 2 only                               U   Disputed
                O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community                   O   Student loans
                debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                UNo                                                        o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                      U    Other, Specify   Landlord in Santa Rosa


     [41                                                                                                                                                           Unknown
                David Rodriguez Hernandez                                  Last 4 digits of account number
                Non priority Creditor's Name
                 1515 Steven Avenue                                        When was the debt incurred?
                 FarmersviHe, CA 93223
                 Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                 o Debtor I only                                           o Contingent
                 o Debtor 2 only                                           o Unliquidated
                 I    Debtor 1 and Debtor 2 only                           • Disputed
                 o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                 • Check If this claim Is for a community                  o Student loans
                 debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                           report as priority claims

                 • No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                      • Other. Specify




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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                          Case number      (if known)




    Eli       David Stevenson
              Nonpriority Creditor's Name
              4331 W. Elowin Street
                                                                            Last 4 digIts of account number

                                                                            When was the debt Incurred?
                                                                                                                                                                    Unknown


              Visalia, CA 93291
              Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
              o Debtor 1 only                                               0    Contingent
              o Debtor 2 only                                               O    Unhiquldated
               U   Debtor 1 and Debtor 2 only                               U    Disputed
               0 At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

              U Check If this claim Is for a community                      o
              debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                               report as priority claims

                   No                                                       o Debts to pension or profit-sharing plans, and other slmiiar debts
               0 Yes                                                        • Other. Specify




     Eli       David Wood
               Nonpriority Creditor's Name
               4845 Carriage Lane
                                                                            Last 4 dIgits of account number

                                                                            When was the debt Incurred?
                                                                                                                                                                     Unknown


               Santa Rosa, CA 95403
                                   tate Zip Code
               Number Street City -S                                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               O   Debtor 1 only                                             o Contingent
               0    Debtor 2 only                                            O    Unllquidated
               U    Debtor 1 and Debtor 2 only                               I    Disputed
               O At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               I   Check If this claim Is for a community
                                                                             0    Student loans
               debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                               report as priority claims

               • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         U    Other. Specify



     [4:i                                                                                                                                                             Unknown
                David Wood                                                   Last 4 dIgits of account number
                Nonpriority Creditors Name
                734 Decanter Circle                                          When was the debt incurred?
                Windsor, CA 95492
                Number Street City State Zip Code                            As of the date you tile, the claim is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor 1 only                                              o Contingent
                o Debtor 2 only                                              O    unhtquldated
                • Debtor I and Debtor 2 only                                 I    Disputed
                o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                • Check it this claim Is for a community
                                                                             o Student loans
                debt                                                         o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subjecttO offset?                               report as priority claims

                    No                                                        O   Debts to pension or profit-sharing plans, and other similar debts

                0   Yes                                                       U   Other. Specify   Additional address




                                                               Schedule ElF; Creditors Who Have Unsecured Claims                                                      Page 59 of 199
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           Case Number: 2019-14974                                                  Filed: 11/27/2019 2:23:13 .PM                                            Doe # 1
     Debtor 1   Salvador Louis Chiaramonte
     Debtor 2    Pamela Marie Chiaramonte                                                                     Case number (if known)



    Eli       David Woods
              Nonpriority Creditor's Name
                                                                          Last 4 dIgits of account number                                                        Unknown

              214 Portota Avenue                                          When was the debt incurred?
              Exeter, CA 93221 --                                 -
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
              U   Debtor 1 only                                           O    contingent
              0   Debtor 2 only                                           o Unhiquidated
              N   Debtor 1 and Debtor 2 only                              • Disputed
              U At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check if this claim Is for a community                    0    Student loans
              debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

              • No                                                        o Debts to pension or profit-sharing plans, and other similar debts
              o Yes                                                       R    Other. Specify



     4,1
     67       Dean & Kristina Davis                                       Last 4 digits of account number                                                         Unknown
              Non priority Creditors Name
              2005 Shelbourne Way                                         When was the debt incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                           As of the date you file, the claim Is; Check all that apply
              Who Incurred the debt? Check one.
              o Debtor 1 only                                             o Contingent
              o Debtor 2 only                                             o Unliquldated
               • Debtor 1 and Debtor 2 only                                • Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                    O   Student loans
               debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                •No                                                        o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                      N   Other, Specify




     Eli        Dean & Kristina Davis
                Non priority Creditors Name
                                                                           Last 4 digits of account number

                                                                           When was the debt Incurred?
                                                                                                                                                                  Unknown

                248 Mark West Commons Circle
                Santa Rosa, CA 95403
                Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                O   Debtor 1 only                                          o Contingent
                O   Debtor 2 only                                          o linliquidated
                • Debtor 1 and Debtor 2 only                               • Disputed
                U At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                   o Student loans
                debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                • No                                                       o DebtS to pension or profit-sharing plans, and other similar debts
                O Yes                                                      • Other. Specify      Additional address




     Official Form 106 ElF                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 60 of 199

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Filed 11/27/19                                                                          Case 19-14974                                                                                 Doc 1
              Case Number: 2019-14974                                                    Filed: 11/27/2019 2:23:15 PM                                                 Doc # 1
    Debtor 1 Salvador Louis Chiaramorite                                                                           Case number (if known)
    Debtor 2 Pamela Marie Chiaramonte
                                                                                                                                                                              $0.00
                DeHann & Bach                                              Last 4 digits of account number
                                           Name
                                                                           When was the debt incurred?
                a Legal Professional Association
                25 Whitney Drive, Suite 106
                   ord, OH 45150             _
                                                                            As of the date you file, the claimis: Check all that apply
                Number Street City State Zip Code
                Who incurred the debt? Check one.
                 O    Debtor I only                                         O      Contingent

                 0    Debtor 2 only                                         o Unliquidated
                 • Debtor 1 and Debtor 2 only                               I Disputed
                                                                            Type of NONPRIORITY unsecured claim:
                 O    At least one of the debtors and another
                                                                            O      Student loans
                 • Check If this claim Is for a community
                 debt                                                           o Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                                report as priority claims

                      No
                                                                                o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                       Attorneys for Sherwin-Williams Co. - for
                  0   Yes
                                                                                • Other. Specify       notice purposes


                                                                                                                                                                          Unknown
     4.1                                                                        Last 4 digits of account number
     70
                  DeHaKatkuoy
                  Nonpriority Creditors Name
                                                                                When was the debt incurred?
                  2164 Wedgewood Way
                  Santa Rosa, CA 95403                              -
                                                                                As of the date you file, the claim Is: Check all that apply
                  Number Street City State Zip Code
                  Who incurred the debt? Check one.
                  O    Debtor 1 only                                             o ContIngent
                  O    Debtor 2 only                                             o Unliquidated
                   • Debtor 1 and Debtor 2 only                                  • Disputed
                                                                                 Type of NONPRIORITY unsecured claim:
                   O At least one of the debtors and another
                                                                                 O    Student loans
                   • Check if this claim Is for a community
                                                                                 O  Obligations arising out of a separation agreement or divorce that you did not
                   debt
                   Is the claim subject to offset?                               report as priority claims

                     •No
                                                                                  o Debts to pension or profit-sharing plans, and other similar debts
                     o Yes                                                        I   Other. Specify


                                                                                                                                                                            Unknown
      D
      4j l
                     Della Katkuoy
                     Nonpriority Creditor's Name
                                                                                  Last 4 dIgits of account number

                                                                                  When was the debt Incurred?
                                                                                                                               ________


                     5100 Dowdell Ave #309
                     Rohnert Park, CA 94928
                     Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply

                     Who Incurred the debt? Check one.
                      O Debtor 1 only                                              o Contingent
                      0    Debtor 2 only                                           O Unliquidated
                      • Debtor 1 and Debtor 2 only                                 I Disputed
                                                                                   Type of NONPRIORITY unsecured claim:
                      O At least one of the debtors and another
                      • Check If this claim Is for a community
                                                                                   O StudentioanS
                                                                                   O  Obligations arising out of a separation agreement or divorce that you did not
                      debt
                      is the claim subject to offset?                              report as priority claims
                                                                                   O   Debts to pension or profit-sharing plans, and other similar debts
                      • No
                                                                                    • Other. Specify        Additional address
                      0    Yes




                                                                                                                                                                             Page 61 of 199
          Official Form 106 E/F                                     Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                                                                          Best Case Bankruptcy
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Filed 11/27/19                                                                  Case 19-14974                                                                                Doc 1
            Case Number: 2019-14974                                              Filed: 11/27/2019 2:23:15 PM                                              I,IorI
     Debtor   1 Salvador Louis Chiaramonte
     Debtor   2 Pamela Marie Chiaramonte                                                                    Case number (if lnowr1)

     4.1
              Dennis & Sue_Craig                                        Last 4 digits of account number                                                         Unknown
              Nonpriority Creditors Name
              4562 Brighton Drive                                       When was the debt Incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               Q   Debtor 1 only                                        0 Contingent
               0 Debtor 2 only                                          0 Unhiquidated
               R Debtor 1 and Debtor 2 only                             • Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                  Check II this claim Is fora community                 o Student loans'
              debt                                                      o ObligatIons arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                           reporl as priority claims

               • No                                                     o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    N Other. Specify


     4.1
     73        Dennis Kerby & Cheryl Fox                                Last 4 digits of account number                                                         Unknown
               Non priority Creditors Name
               159 Dorchester Court                                     When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one,
               O   Debtor 1 only                                        o Contingent
               O   Debtor 2 only                                        o Linliquldated
               • Debtor 1 and Debtor 2 only                             • Disputed
               0 At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check If this claim isfora community                   O Student loans
               debt                                                     O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

               UNo                                                      o Debts to pension or profit-sharing plans, and other similar debts
               0 Yes                                                    • Other. Specify




     [~741] Dennis Kerby & Cheryl Fox                                   Last 4 dIgits of account number                                                          Unknown
               Non priority Creditors Name
               323 Jacqueline Dr                                        When was the debt incurred?
               Santa Rosa. CA 95405
               Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one
               O   Debtor 1 only                                        o Contingent
               O   Debtor 2 only                                        o Unliquldated
               • Debtor 1 and Debtor 2 only                             • Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                 O   Student loans
               debt                                                     O  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

                   No                                                   o Debts to pension or profit-sharing plans, and other similar debts
               0 Yes                                                        Other. Specify   Additional Address




     Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                   Page 62 of 199

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Filed 11/27/19                                                                     Case 19-14974                                                                               Doc 1
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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                        Case number (if known)


     4.1                                                                                                                                                          Unknown
              Dennis Lipson
    LJ        Nonpricrity Creditor's Name
                                                                          Last 4 digits of account number


              Merced Number One 95MLP                                     When was the debt incurred?
              Federal Express Building
              3326 W. Mineral King Avenue
              Visalia, CA 93291
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                             O   Contingent
              o Debtor 2 only                                             o Unhiquidated
               N   Debtor I and Debtor 2 only                             • Disputed
               O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              • Check If this claim is for a community
                                                                          o Student loans
              debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

                   No                                                     o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                      • Other. Specify



     4.1                                                                                                                                                             $974.00
     76        Department of Motor Vehicles                               Last 4 dIgits of account number
               Nonpriority Creditor's Name
               P.O. Box 942897                                            When was the debt Incurred?
               Sacramento, CA 94927-0897
               Number Street City State Zip Code                          As of the date you fife, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor I only                                            o ContIngent
               o Debtor 2 only                                            o Unhiquidated
               • Debtor 1 and Debtor 2 only                               o Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               N Check if this claim is for a community                   o Student loans
               debt                                                        O ObligatIons arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

                    No                                                     o Debts to pension or profit-sharing plans, and other similar debts
               O Yes                                                       • Other. Specify



      4.                                                                                                                                                          $14,205.33
      77       DHC Supplies, Inc.                                  -       Last 4 digits of account number
                Non priority Creditor's Name
                3440 Standish Avenue                                       When was the debt incurred?
                Santa Rosa, CA 95407
                Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor I only                                            o Contingent
                0   Debtor 2 only                                          o Unliquidated
                • Debtor I and Debtor 2 only                               I   Disputed
                o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community
                                                                           U   Studentloans
                debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                            report as priority claims

                • No
                                                                           o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                 Plaintiff in lawsuit titled DHC Supplies v.
                                                                                                 Chiaramonte Construction & Plumbing, Inc.
                0 Yes                                                       • Other. Specify     •forrtoticepurposes



                                                                                                                                                                   Page 63 of 199
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                                                                                                                                                                Best Case Bankruptcy
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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiararnonte                                                                         Case number (if known)



    E4.I1     DHC Supplies,'Inc.
              Nonpriority Creditors Name
                                                                           Last 4 digIts of account number                                                               $0.00

              11346 Sunco Dr., Ste. 101                                    When was the debt incurred?
              Rancho Cordova, CA 95742
              N umber Street City Slate Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor I only                                              El Contingent
              o Debtor 2 only                                              0    Unllquidated
              • Debtor 1 and Debtor 2 only                                 • Disputed
              O At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

              U Check If this claim Is for a community                     O Student loans
              debt                                                         El Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                              report as priority claims

               • No                                                        O    Debts to pension or profit-sharing plans, and other similar debts

               O    Yes                                                    I    Other. Specify   Additional address



    Eli        Diane & Robert Pintane
               Nonpriority Creditors Name
                                                                           Last 4 digits of account number

                                                                           When was the debt Incurred?
                                                                                                                                                                    Unknown

              50 Dorchester Drive
              Santa Rosa, CA 95403
               N umber Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
               o Debtor 1 only                                             0 Contingent
               o Debtor 2 only                                             El tinhiquidated
               I    Debtor 1 and Debtor 2 only                             I    Disputed
               O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               • Check II this claim is for a community                    o Student loans
               debt                                                        o  ObligatIons arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

                    No                                                      0 Debts to pensIon or profit-sharing plans, and other similar debts
               o Yes                                                        I   Other, Specify



               Diane & Robert Pintane                                       Last 4 digits of account number                                                         Unknown
               Nonpriority Creditor's Name
               5411 Corbett Circle                                         When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                              0   Contingent
               o Debtor 2 only                                              0   Unliquidated
               • Debtor 1 and Debtor 2 only                                 • Disputed
               0 At least one of the debtors and another                    Type of NONPRIOR1TY unsecured claim:

                I  Check If this claim Is fora community                    0   Student loans
               debt                                                         0  Obligations arisIng out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

                UNo                                                         O    Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                       • Other. specify      Additional Address




     Official Form 106 ElF                                     Schedule ElF: Creditors Who Have Unsecured Claims                                                    Page 6401199

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Filed 11/27/19                                                                    Case 19-14974                                                                             Doc 1
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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                        Case number (ii known)


              Dicker & Dicker, LLP                                       Last 4 dIgits of account number                                                              $0.00
    Eli
              Nonpriority Creditors Name
              Attorneys at Law                                           When was the debt incurred?
              4580 E. Thousand Oaks Blvd., Suite
              350
              Thousand Oaks, CA 91362
              N umber Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
              0    Debtor 1 only
                                                                         o Contingent
              0    Debtor 2 only
                                                                         o Unhiquidated
              N    Debtor I and Debtor 2 only                            0    Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              N Check if this claim is for a community                   o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

              • No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                Attorneys for ABC Supply Co. - for notice
              0 Yes                                                      • Other. Specify       purposes


     4.1
    [j Digitech Reprographics                                            Last 4 digIts of account number                                                        $1,447.03
              Nonpriority Creditors Name
              1340 Commerce St., Ste. K                                  When was the debt Incurred?
              Petaluma, CA 94954                                   -
              Number Street City State Zip Code                          As of the date you file, the claim is; Check all that apply
              Who Incurred the debt? Check one.
              0    Debtor I only                                         0 Contingent
              0    Debtor   2 only                                       0 Unhiquidated
               N   Debtor 1 and Debtor 2 only                            N    Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               N  Check if this claim Is fora community                  0    Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               • No                                                      O    Debts to pension or profit-sharing plans, and other similar debts

               0   Yes                                                    N   Other. Specify    Corporate debt



     E li] Dish Network
               Nonpriority Creditor's Name
                                                                         Last 4 digits of account number

                                                                         When was the debt Incurred?
                                                                                                                 5308                                              $205.74

               P0 Box 7203
               Pasadena, CA 91109
               N umber Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                            o ContIngent
               o Debtor 2 only                                            O   Unhiquldated
               N    Debtor 1 and Debtor 2 only                            O  Disputed
               O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               N Check If this claim Is for a community                   O   Studentloans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               N    No                                                    o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                      N    Other. Specify




                                                             Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 65 of 199
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     Debtor I     Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                    Case number (if known)


     41       Diversified Adjustment Services,
     84       Inc.                                                        Last 4 digits of account number                                                              $0.00
              Nonprlority Creditors Name
              The Collection Specialists                                  When was the debt Incurred?
              600 Coon Rapids Blvd
              Minneapolis, MN 55433
              Number Street City State ZIp Code                           As of the date you file, the claim Is: Check all that apply
              Who Incurred the debt? Check one.
              0     Debtor I only                                         0   Contingent
              0     Debtor 2 only                                         0   Unhiquidated
                • Debtor 1 and Debtor 2 only                              • Disputed
                0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              • Check If this claim is for a community                    o Student loans
              debt                                                        O  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

                • No                                                      0   Debts to pension or profit-sharing plans, and other similar debts

                                                                                               Collection agency for PG&E - for notice
                0 Yes                                                         Other. Specify   purposes


     4.1        DiversIfied Adjustment Services,
     85         Inc.                                                      Last 4 dIgits of account number                                                              $0.00
                Nonpriority Creditors Name
                The Collection Specialists                                When was the debt Incurred?
                P0 Box 32145
                Fridley, MN 55432
                N umber Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                o Debtor 1 only                                           O   Contingent
                o Debtor 2 only                                           O   Unliquldated
                • Debtor 1 and Debtor 2 only                              O   Disputed
                O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                $ Check if this claim Is for a community                  o Student loans
                debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                •No                                                       0   Debts to pension or profit-sharing plans, and other similar debts

                O   Yes                                                   • Other. Specify     Additional address




     Official Form 106 ElF                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                   Page 66 of 199

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     Debtor 1     Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                   Case   number    (if known)



     4.1
              Dixieline Lumber & Home Centers                           Last 4 dIgits of account number                                                        $27,514.37
     86
              Non priority Creditors Name
              P.O. Box 843909                                           When was the debt Incurred?
              Los Anges, CA 90084-3909
              Number Street City State Zip Code                         As of the date   you file, the claim Is: Check all that apply
              Who Incurred the debt? Check one.
              O     Debtor I only                                       • Contingent

              o Debtor 2 only                                           • Unliquidated
                    Debtor 1 and Debtor 2 only                          • Disputed
                o At least one of the debtors and another               Type of NONPRIORITY unsecured claIm:

              • Check If this claim Is for a community                  O Student loans
              debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                           report as priority claims

                •No                                                     O    Debts to pension or profit-sharing plans, and other similar debts

                                                                                              Corporate debt. Plaintiff is lawsuit titited
                                                                                              Probuild Company, LLC dba Dixieline
                                                                                              Lumber Co. v. Chiaramonte Construction &
                0 Yes                                                   • Other. Specify      Plumbing, Inc. and Salvador Chiaramonte


     4.1                                                                                                                                                               $0.00
     87         Dixieline Lumber & Home Centers                         Last 4 digits of account number
                Nonpriority Creditor's Name
                3250 Sports Arena Blvd                                  When was the debt Incurred?
                San Diego, CA 92110
                N umber Street City State Zip Code                      As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor 1 only                                          • Contingent

                0    Debtor2 only                                        • Unliquldated

                • Debtor 1 and Debtor 2 only                             • Disputed
                O At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                $ Check if this claim is fora community
                                                                         o Student loans
                debt                                                     o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                $No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                O Yes                                                    U   Other. specify    Additional address



     Eli]        Dominic & Aimee Martinelli
                 Nonpriority Creditor's Name
                 41 & 43 Ursullne Rd Duplex
                                                                         Last 4 digits of account number

                                                                         When was the debt incurred?
                                                                                                                                                                  Unknown


                 Santa Rosa, CA 95403
                 Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                 o Debtor 1 only                                         o Contingent
                 0   Debtor 2 only                                       0    unliquldated
                 • Debtor 1 and Debtor 2 only                            • Disputed
                 o At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                 • Check II this claim is fore community                 O    Student loans
                 debt                                                    o Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                         report as priority claims

                     No                                                  O    Debts to pension or profit-sharing plans, and other similar debts

                 0   Yes                                                  • Other. Specify




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Filed 11/27/19                                                                    Case 19-14974                                                                             Doc 1
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     Debtor 1    Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                   Case number (B known)


     4.1
           1   Dominic & Aimee Martinelli
               Non priority Creditors Name
                                                                         Last 4 digits of account number                                                      Unknown

                2721 Doverton Square                                     When was the debt incurred?
                Mountain View, CA 94040
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one
                O   Debtor 1 only                                        O    Contingent
                o Debtor 2 only                                          o Unliquidated
                • Debtor I and Debtor 2 only                             I    Disputed
                o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                 O    Student loans
                debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                     No                                                  o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                    I    Other. Specify   Additional Address


     4.1
                Don Hoskinson Construction, Inc.                         Last 4 digits of account number                                                       Unknown
     90
                Non priority Creditor's Name
                34719 Wilson Drive                                       When was the debt incurred?
                Springvillo, CA 93265
                Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                0    Debtor 1 only                                       O Contingent
                0    Debtor 2 only                                       o Unllquidated
                • Debtor 1 and Debtor 2 only                             I    Disputed
                O    At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community                 o Student loans
                debt                                                     0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                UNo                                                       o Debts to pension or profit-sharing plans, and other similar debts
                 0 Yes                                                    U   Other. Specify




     Eli         Doy le
                 Nonpriority Creditor's Name
                                                                          Last 4 digits of account number                                                      Unknown

                1287 Tuliptree Road                                      When was the debt Incurred?
                Santa Rosa, CA 95403
                 Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                 o Debtor 1 only                                          o Contingent
                 O   Debtor 2 only                                        o Unliquidated
                 • Debtor 1 and Debtor 2 only                             • Disputed
                 o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                 • Check if this claim is for a community
                                                                          o Student loans
                 debt                                                     O ObligatIons arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                          report as priority claims

                 • No                                                     o Debts to pension or profit-sharing plans, and other similar debts
                 Dyes                                                     • Other. Specify




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     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiararnonte                                                                        Case number      (if known)



    [4 1                                                                                                                                                           Unknown
              Doyle & Arnie Rood                                           Last 4 digits of account number
              Nonpriority Creditors Name
              5577 Skylane Blvd Ste# 6A                                    When was the debt Incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
              0   Debtor 1 only                                            0 Contingent
              O Debtor 2 only                                              0 Unliquidated
              • Debtor I and Debtor 2 only                                 I Disputed
              o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

              • Check If this claim Is for a community                     0 Student loans
              debt                                                         0 ObligatIons arising out of a separation agreement or divorce that you did not
              Is the claim subjeotto offset?                               report as priority claims

              • No                                                         0 Debts to pension or profit-sharing plans, and other similar debts

              o Yes                                                        • Other, Specify      Additional Address


     4.1
               Dunn's Sand, Inc. dba Dunn's inc.                           Last 4 dIgits of account number -                                                      $38,002.64
     93
               Nonpriority Creditor's Name
               303 N. Ben Maddox                                           When was the debt incurred?
               Visalia, CA 93292
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                              • Contingent

               o Debtor 2 only                                              • Unliquidated

               • Debtor 1 and Debtor 2 only                                 I Disputed
                                                                           Type of NONPRIORITY unsecured claim:
               O At least one of the debtors and another
               • Check If this claim Is for a community
                                                                            o Student loans
               debt                                                         0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claIm subject to offset?                              report as priority claims

               DNo
                                                                            o Debts to pension or profit-sharing plans, and other similar debts
                                                                                             Plaintiff in lawsuit titled Dunn's Sand, Inc.
                                                                                             v. Chiaramonte Construction & Plumbing,
               • Yes                                                        • Other. Specify Inc. - for notice purposes




     El]        E-Man Electric, Inc.
                Nonpriority Creditors Name
                                                                            Last 4 digits of account number

                                                                            When was the debt Incurred?
                                                                                                                                                                   $38,002.64

                19831 E. Adams Ave.
                Reedley, CA 93654
                Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                0 Debtor 1 only                                             o Contingent
                o Debtor 2 only                                             o Unhiquidated
                • Debtor I and Debtor 2 only                                 • Disputed
                o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                I Check if this claim Is for a community                     o Student loans
                debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
                Is the claIm subject to offset?                              report as priority claims

                • No                                                         O Debts to pension or profit-sharing plans, and other similar debts

                O Yes                                                        • Other, Specify      Corporate debt




                                                              Schedule ElF: Creditors Who Have Unsecured Claims                                                      Page 69 of 199
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     Debtor 1     Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                     Case number (if known)

     4.1      Ebbin Morales & Ma De Jesus
     95       Garcia                                                       Last 4 digits of account number                                                        Unknown
               Nonpriority Creditors Name
               1464                                                        When was the debt incurred?
               Farmersville, CA 93223
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                O Debtor 1 only                                            O Contingent
                o Debtor 2 only                                            O Unhiquidated
                • Debtor 1 and Debtor 2 only                               • Disputed
                O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community                   0 Student loans
                debt                                                       o ObligatIons arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                            report as priority claims

                •No                                                        0 Debts to pension or profit-sharing plans, and other similar debts
                0 Yes                                                      • Other. Specify



     4.1                                                                                                                                                          Unknown
     96         Ed and Annette Randol                                      Last 4 digIts of account number
                Nonpriority Creditors Name
                3597 Sweetgum Street                                       When was the debt incurred?
                Santa Rosa, CA 95403
                Number Street City Stale Zip Code                          As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                0 Debtor 1 only                                            o Contingent
                0 Debtor 2 only                                            o Unliquldated
                • Debtor 1 and Debtor 2 Only                                • Disputed
                0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claIm:

                • Check if this claim is for a community                    o Student loans
                debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subjectto offset?                              report as priority claims

                •No                                                         O Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                       • Other. Specify




     EllI       Ed and Annette Randol
                Nonpriority Creditors Name
                2021 Bluebell Drive
                                                                            Last 4 dIgits of account number

                                                                            When was the debt incurred?
                                                                                                                                                                   Unknown


                Santa Rosa, CA 95403
                Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                 O Debtor I only                                            o Contingent
                 O Debtor 2 only                                            o Unliquidated
                 • Debtor 1 and Debtor 2 only                               • Disputed
                 0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                 • Check If this claim is for a community                   o Student loans
                 debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                            report as priority claims

                 • No                                                       O Debts to pension or profit-sharing plans, and other similar debts
                 O Yes                                                      • Other. Specify      Additional address




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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                         Case number      (if known)


     4.1
     98        Eric Edenfield                                             Last4 digits of account number                                                                  $0.00
               Nonpriority Creditors Name
               Christopher Morano                                         When was the debt incurred?
               1431 Starview Court
               Santa Rosa, CA 95403
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor 1 only                                           o    Contingent
                o Debtor 2 only                                           o Unllquidated
                • Debtor 1 and Debtor 2 only                              • Disputed
                0 At least one of the debtors and another                 Type of NONPR1ORITY unsecured claim:

                • Check it this claim is for a community
                                                                          O Student loans
                debt                                                      U Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     I    Other. Specify



           i                                                                                                                                                              $0.00
                Eric Edenfield                                            Last 4 digits of account number
    j
                Non priority Creditors Name
                Christopher Morano                                        When was the debt incurred?
                3855 Saxon Dr S.
                Salem, OR 97302
                Number Street City State Zip Code                         As of the date you tile, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                0    Debtor 1 only                                         O    Contingent
                o Debtor 2 only                                            O    Unliquidated
                 • Debtor I and Debtor 2 only                              • Disputed
                 0   At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community
                                                                           O    Student loans
                debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                     No                                                    O    Debts to pension or profit-sharing plans, and other similar debts

                 o Yes                                                     I    Other. Specify   Additional address


                 Esmeralda Espindola & Cesar
                                                                           Last 4 digitS of account number                                                           Unknown
     F
     oJ          Alvarez        _________________
                 Nonpriority Creditors Name
                 1484 Mathew Avenue                                        When was the debt Incurred?
                 Farmersville, CA 93223
                 Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one,
                 O   Debtor 1 only                                         o Contingent
                 O   Debtor 2 only                                         0    Unliquidated
                 • Debtor 1 and Debtor 2 only                               I   Disputed
                     At least one of the debtors and another               Type of NONPRIORiTY unsecured claim:

                 • Check if this claim is for a community                   o Student loans
                 debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                            report as priority claims

                 RNo                                                        o Debts to pension or profit-sharing plans, and other similar debts
                 0 Yes                                                      • Other. Specify




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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramante                                                                            Case number (if known)


               Estero Properties, LLC                                        Last 4 digIts of account number                                                         Unknown
               Nonpriority Creditors Name
              1908 S. Court Street                                           When was the debt Incurred?
              Visalia, CA 93277
               Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               D    Debtor 1 only                                            o Contingent
               o Debtor 2 only                                               • Unliquldated
                    Debtor 1 and Debtor 2 only                               0    DIsputed
               o At least one of the debtors and another                     Type of NON PRIORITY unsecured claim:

               • Check if this claim is for a community                      0    Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                    No                                                       O    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                         U    Other. Specify



               Farrow Ready Mix                                              Last 4 digits of account number                                                        $16,943.75
        jj
               Nonpriority Creditors Name
               P.O. Box 800                                                  When was the debt Incurred?
               Windsor, CA 95492
               Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               O    Debtor 1 only                                            o Contingent
               O    Debtor 2 only                                            o Unhiquidated
               • Debtor 1 and Debtor 2 only                                  • Disputed
               0    At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                      o Student loans
               debt                                                          O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                    No                                                       0    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                         • Other, specify      Corporate debt


     [j FastTrack                                                            Last 4 digIts of account number                                                            $125.00
               Non priority Creditor's Name
               P.O. Box 26926                                                When was the debt Incurred?
               San Francisco, CA 94126
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                               o Contingent
               o Debtor 2 only                                               o Unliquidated
                • Debtor I and Debtor 2 only                                  • Disputed
                O At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                       0   Student loans
               debt                                                           O obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                report as priority claims
                N   No                                                        o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                         • Other. specify      Corporate debt




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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                         Case number (if known)


             FedEx                                                        Last 4 digits of account number                                                              $26.36
             Non priority Creditors Name
             P.O. Box 7221                                                When was the debt incurred?
             Pasadena, CA 91109-7321
             Number Street City Slate Zip Code                            As of the date you file, the claim is: Check all that apply
             Who Incurred the debt? Check one.
              13   Debtor 1 only                                          o Contingent
              D    Debtor 2 only                                          o Unliquidated
              U    Debtor 1 and Debtor 2 only                             O    Disputed
              o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              o Check if this claim Is for a community                    o Student loans
              debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

              • No                                                        O    Debts to pension or profit-sharing plans, and other similar debts

              o Yes                                                       • Other. Specify



    F4.
     05 2]
              Ferguson Enterprises, Inc.                                  Last 4 digIts of account number         1151                                            $41,819.60
             'Non priority Creditors Name
              704 N. Laverne Ave                                          When was the debt incurred?
              Fresno, CA 93727
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
                                                                          I    Contingent
              O    Debtor I only
              o Debtor 2 only                                              • Unliquldated

              • Debtor I and Debtor 2 only                                 U   Disputed

              o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check If this claim is for a community
                                                                           o Student loans
              debt                                                         o  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                              report as priority claims

               DNo
                                                                           0   Debts to pension or profit-sharing plans, and other similar debts

                                                                                                 Plaintiff in lawsuit titled Ferguson
                                                                                                 Enterprise v.. Chiaramonte Construction &
               U   Yes                                                     • Other. Specify      Plumbing, lnc. - for notice pjposes


     4.                                                                                                                                                                   $0.00
     06        Ferguson Enterprises, Inc.                                  Last 4 digIts of account number
               Non priority Creditor's Name
               P.O. Box 740827                                             When was the debt incurred?
               Los Angeles, CA 90074-0827                      -
               N umber Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
                                                                           • Contingent
               O    Debtor 1 only
               o Debtor 2 only                                             • Unliquidated

               • Debtor 1 and Debtor 2 only                                • Disputed
                                                                           Type of NONPRIORITY unsecured claim:
               0 At least one of the debtors and another
                                                                           0    Student loans
               • Check If this claim is for a community
               debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                             report as priority claims

                    No
                                                                           o Debts to pension or profit-sharing plans, and other similar debts
               U    Yes                                                    • Other. specify      Additional address




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     Debtor I    Salvador Louis Chiaramonte
     Debtor 2   Pamela Marie Chiaramonte                                                                     Case number     (u known)


             Financial Credit Network                                    Last 4 digits of account number                                                              $0.00
             Nonpriority Creditors Name
             P0 Box 3084                                                 When was the debt Incurred?
             Visalia, CA 93278-3084
             Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
             Who Incurred the debt? Check one.
             O Debtor 1 only                                             o Contingent
              O Debtor2 only
                                                                         o Unhiquidated
              • Debtor I and Debtor 2 only                               o Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

             • Check if this claim is fora community                     0 Student loans
             debt                                                        o  ObligatIons arising out of a separation agreement or divorce that you did not
             is the claim subject to offset?                             report as priority claims

              UNo                                                        0 Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Collection agency for Personnel Solutions
              0 Yes                                                      • Other. Specify     Unlimited, Inc. - for notice purposes



    EEl       Financial Credit Network
              Nonpriority Creditors Name
                                                                         Last 4 digits of account number 1068

                                                                         When was the debt incurred?
                                                                                                                                                                       $0.00

              P0 Box 3084
              Visalia, CA 93278-3084
              N umber Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                            o Contingent
              o Debtor 2 only                                            o Unhiquidated
                U Debtor I and Debtor 2 only                             o Disputed
                O At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                I Check It this claim is for a community                  O Student loans
                debt                                                     O Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                          report as priority claims

                • No                                                      0 Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Collecting for Anesthesia Consultants of
                D Yes                                                     • Other. Specify    FresnO - for notice purposes


     [4                                                                                                                                                          Unknown
                Finish Line Construction__________                        Last 4 digits of account number
                Non priority Creditors Name       -
                9048 Brooks Road S #177                                   When was the debt Incurred?
                Windsor, CA95492
                Number Street City, State Zip Code                        As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                0 Debtor 1 only                                           O Contingent
                o Debtor 2 only                                           0 Unliquidated
                I Debtor I and Debtor 2 only                              • Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                • Chock if this claim is for a community                  O Student loans
                debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                •No                                                       0 Debts to pension or profit-sharing plans, and other similar debts
                O Yes                                                     • Other. Specify




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     Debtor 1       Salvador Louis Chiaramonte
                                                                                                                Case number (if known)
     Debtor 2       Pamela Marie Chiaramonte

    r -1
     4.2
               First Insurance Funding                                      Last 4 digits of account number
                                                                                                                                                                   $32,131.39
    [J         Nonpriority Creditors Name
               P.O. Box 7000                                                When was the debt incurred?
               Carol Stream, IL 60197-7000
               N umber Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                O   Debtor 1 only                                           I   Contingent

                o Debtor 2 only                                             I    Unliquldated

                I   Debtor 1 and Debtor 2 only                              • Disputed
                o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community
                                                                            o Student loans
                debt                                                        0  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims
                                                                            O Debts to pension or profit-sharing plans, and other similar debts
                U Yes                                                       I    Other. Specify       Corporate debt


    i -;-i      First Insurance Funding                                     Last 4 digIts of account number                                                                $0.00
    HJ          Nonpriority Creditors Name
                450 Skokie Blvd, #100                                       When was the debt incurred?
                Northbrook, IL 60062
                Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                O    Debtor 1 only                                           • Contingent

                o Debtor 2 only                                              N    Unliquldated

                • Debtor 1 and Debtor 2 only                                 • Disputed
                o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                 N  Check if this claim is for a community
                                                                             0    Student loans
                debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                 • No
                                                                             o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                       I      Other. specify    Additional address



                                                                             Last 4 digits of account number        9331                                              Unknown
     [j Fleet Response
                 Nonpriority Creditors Name
                 6450 Rockside Woods Blvd. Suite                             When was the debt incurred?

                 #250
                 Independence, OH 44131
                 Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                 O   Debtor 1 only                                            0     contingent
                 o Debtor 2 only                                              U     Unliquidated
                 I    Debtor 1 and Debtor 2 only                              • Disputed
                 o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                 • Check If this claim is for a community
                                                                              o Student loans
                 debt                                                         o  Obligations arising out of a separation agreement or divorce that you did not
                 is the claim subject to offset?                              report as priority claims

                  UNo                                                         o Debts to pension or profit-sharing plans, and other similar debis
                                                                                                       Collecting for United Rentals for the dump
                  0 Yes                                                         I    Other. Specify    truck that was totaled - Foj1cr.9e!




                                                               Schedule ElF: Creditors Who Have Unsecured Claims                                                      Page 75 of 199
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                                                                                                                                                                   Best Case Baniwuptey
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     Debtor 1     Salvador Louis Chiaramonte
     Debtor2      Pamela Marie Chiaramonte                                                                    Case number (if known)


     4.2
     13       Fletcher & Haley Skerrett                                    Last 4 digIts of account number                                                         Unknown
              Nonpriority Creditors Name
              69 Oxford Court                                              When was the debt incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                            As of the date you file the claim is: Check all that apply
              Who incurred the debt? Check one.
                o Debtor 1 only                                            o Contingent
                o Debtor 2 only                                            o Unhiquidated
                • Debtor 1 and Debtor 2 only                               • Disputed
                O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community                   o Student loans
                debt                                                       O  Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                            report as priority claims

                    No                                                     O Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                      • Other. Specify



                Fletcher & Haley Skerrett                                  Last 4 digIts of account number                                                         Unknown
                Nonpriority Creditors Name
                9048 Brooks Rd. Ste #381                                   When was the debt Incurred?
                Windsor, CA 95492
                Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                O   Debtor I only                                          O    Contingent
                o Debtor 2 only                                            O    unliquidated
                • Debtor 1 and Debtor 2 only                                • Disputed
                0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                • Check If this claim Is for a community                    O   Student loans
                debt                                                        0  Obligations arising out of a separation agreement or divorce that you did not
                lathe claim subject to offset?                              report as priority claims

                    No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                       • Other. Specify    Additional Address


      4.2       Florence Apartments Associates,
      15                                                                    Last 4 dIgits of account number                                                         Unknown
                Inc.
                Nonpriority Creditor's Name
                do Cordes Developement 2, LLC                               When was the debt incurred?
                7213 S. Perdo Way
                Aurora, CO 80016
                 Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                 o Debtor 1 only                                            0   Contingent
                 o Debtor 2 only                                            0   Unliqutdated
                 • Debtor 1 and Debtor 2 only                               • Disputed
                 o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                 • Check if this claim is for a community
                                                                            o Student loans
                 debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                            report as priority claims

                     No                                                     o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                      • Other. Specify




                                                               Schedule ElF: Creditors Who Have Unsecured ClaIms                                                    Page 76 of 199
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                                                                                                                                                                 Best Case Bankruptcy
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    Debtor 1        Salvador Louis Chiaramonte
    Debtor 2        Pamela Marie Chiaramonte                                                              Case number (if known)



    IEII        Ford Credit
                Nonpriority Creditors Name
                                                                       Last 4 digIts of account number

                                                                       When was the debt incurred?
                                                                                                                                                                $2,795.21

                P.O. Box 790072
                St. Louis, MO 63179-0072
                Number Street City State Zip Code                      As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor 1 only                              14        O   Contingent
                O    Debtor 2 only
                                                                       O    unhiquidated
                • Debtor I and Debtor 2 only                           O  Disputed
                o At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                • Check If this claim Is for a community
                                                                       0    Student loans
                debt                                                   O  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                        report as priority claims

                • No                                                   o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                  I    Other. Specify



     4.2                                                                                                                                                        $2,442.08
     17         Forester, Weber & Associates, LLC                      Last 4 digits of account number
                Nonpriority Creditors Name      -                 -
                1620W. Mineral King Ave. Ste. B                        When was the debt Incurred?
                Visalia, CA 93291                                 -
                Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor 1 only                                        O    Contingent
                 0   Debtor 2 only                                     0    Unliquidated
                 • Debtor 1 and Debtor 2 only                           • Disputed
                 o At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                 • Check if this claim is for a community               o Student loans
                 debt                                                   o  ObligationS arising out of a separation agreement or divorce that you did not
                 is the claim subject to offset?                        report as priority claims

                 • No                                                   O Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                  I    Other. Specify   Corporate debt


     4,2
     18
     -
           -1    Frank & Justice Mello
                 Nonpriority Creditors Name
                                                                        Last 4 digits of account number -

                                                                        When was the debt Incurred?
                                                                                                                                                                 Unknown

                 315 Pacific Heights Drive
                 Santa Rosa, CA 95403
                 N umber Street City State Zip Code                     As of the date you file, the claIm is Check all that apply
                 Who incurred the debt? Check one.
                 o Debtor I only                                        0    Contingent
                 O    Debtor 2 only                                     o Unhiquidated
                 • Debtor 1 and Debtor 2 only                           • Disputed
                 O At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                 I Check if this claim is for a community               O Student loans
                 debt                                                   O Obligations arising out of a separation agreement or divorce that you did not
                 is the claim subject to offset?                        report as priority claims

                      No                                                 O Debts to pension or profit-sharing plans, and other similar debts
                  o Yes                                                  • Other. Specify




                                                             Scheduie E/F: Creditors Who Have Unsecured Ciaims                                                   Page 77 of 199
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                                                                                                                                                              Best Case Bankruptcy
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          1 Salvador Louis Chiaramonte
     Debtor
     Debtor 2 Pamela Marie Chiaramonte                                                                         Case number (if known)


    F2
     19 ]                                                                                                                                                         Unknown
              Frank & Justice Mello                                       Last 4 digits of account number
              Non priority Creditor's Name
              122 Calistoga Road #608                                     When was the debt incurred?
              Santa Rosa, CA 95409
              Number Street City State Zip Code                           As of the date you Ille, the claim Is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                             O    Contingent
              o Debtor 2 only                                             0    Unliquidated
              • Debtor 1 and Debtor 2 only                                • Disputed
              o At least one of the debtors and another                   Type of NONFRIORITY unsecured claim:

              • Check if this claim Is for a community                    0    Student loans
              debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

                   No                                                     O    Debts to pension or profit-sharing plans, and other simIlar debts

              O    Yes                                                    • Other. Specify      Additional Address



     E6
      2
              Fred & Julia Pennewell
              Non priority Creditor's Name
                                                                          Last 4 digits of account number                                                         Unknown

               P0 Box 148                                                 When was the debt incurred?
               Fulton, CA 95439
              Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                            O    Contingent
               O   Debtor 2 only                                          O    Unliquidated
               • Debtor 1 and Debtor 2 only                               • Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               * Check if this claim Is for a community                   O    Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               • No                                                       o Debts to pension or profit-sharing plans, and other similar debts
               O Yes                                                       • Other. Specify




     Eli       Fred & Julia Pennewell
               Nonpriority Creditor's Name
                                                                          Last 4 digits of account number

                                                                          When was the debt Incurred?
                                                                                                                                                                  Unknown

               102 Dorchester Dr
               Santa Rosa, CA 95403
               N umber Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               0   Debtor 1 only                                           o Contingent
               0   Debtor 2 only                                           0   Linhiquidated
               • Debtor 1 and Debtor 2 only                                • Disputed
               o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               • Check If this claim is fora community                     o Student loans
               debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

               • No                                                        O   Debts to pension or profit-sharing plans, and other similar debts

               DYes                                                        • Other. Specify      Additional Address




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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                               Case number     (if known)




    E         FresnoSurgical Hospital
              Nonpriority Creditor's Name
                                                                                 Last 4 digits of account number

                                                                                 When was the debt incurred?
                                                                                                                                                                          $1,413.67

              6125 N Fresno Street
              Fresno, CA 93710
              Number Street City State Zip Code                                  As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                                    o Contingent
              O Debtor 2 only                                                    0 Unliquidated
                  Debtor 1 and Debtor 2 only                                     0 Disputed
              o At least one of the debtors and another                          Type of NONPR1ORiTY unsecured claim:

              • Check if this claim is for a community                           OStudentloans
              debt                                                               O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                                    report as priority claims

                  No                                                             0 Debts to pension or profit-sharing plans, and other similar debts
              O Yes                                                              U Other. Specify


     4.2                                                                                                                                                                   $8,309.27
              Friedman's Home Improvement                                        Last 4 digits of account number
      -       Non priority Creditors Name
              1385 N. McDowell Blvd., Ste. 100                                   When was the debt incurred?
              PetalumaCA 94954
               Number Street City State Zip Code                                 As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                                   O Contingent
               o Debtor 2 only                                                   o Unliquidated
               • Debtor 1 and Debtor 2 only                                       • DIsputed
               O At least one of the debtors and another                         Type of NONPRIORITY unsecured claim:

               • Check if this claim is bra community                             o Student loans
               debt                                                               o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                    report as priority claims
                                                                                  o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                              • Other. Specify      Corporate debt


     4.2                                                                                                                                                                              $0.00
     24        Friedman's Home Improvement                                        Last4digits of account number
               Non priority Creditor's Name
               429 North McDowell Blvd                                            When was the debt Incurred?
               Petaluma, CA 94950
               Number Street City State Zip Code                                  As of the date you flue, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                                    o Contingent
               o Debtor 2 only                                                    o lJnliquidated
                • Debtor 1 and Debtor 2 only                                      • Disputed
                o At least one of the debtors and another                         Type of NONPRIORITY unsecured claim:

                • Check if this ciaim is for a community                          O Student loans
                debt                                                              o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                                   report as priority claims

                    No                                                            o Debts to pension or profit-sharing plans, and other similar debts
                0 Yes                                                             U Other. Specify Additional address




                                                                     Schedule ElF: Creditors Who Have Unsecured Claims                                                     Page 79 of 199
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    Debtor I       Salvador Louis Chiaramonte
    Debtor 2       Pamela Marie Chiaramonte                                                                       Case number (if known)


    4.21
                                                                                                                                                                     Unknown
    25 J     Gabriela_Aguayo
             Nonpriority Credor's Name
                                                                             Last 4 dIgits of account number


              1356 Mathew Avenue                                             When was the debt incurred?
              Farmersville, CA 93223
              Number Street City State Zip Code                              As of the date you file, the claim Is: Check all that apply
             Who Incurred the debt? Check one.
              o Debtor 1 only                                                O    Contingent
               O   Debtor 2 only                                             o Unliquldated
               • Debtor I and Debtor 2 only                                  • Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                      0    Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                               report as priority claims

               INo                                                           O    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                         • Other. Specify



    [4,2                                                                                                                                                             Unknown
     26:       Gary A. Bemis, Attorney at Law                                LaSt 4 dIgits of account number         9001
               Nonpriority Creditors Name
               3870 LA Sierra Ave Suite 239                                  When was the debt incurred?
               Riverside, CA 92505
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                                O   ContIngent
               O    Debtor 2 only                                             o Unliquidated
               • Debtor 1 and Debtor 2 only                                   • Disputed
               o At least one of the debtors and another                     Type of NONPRiORITY unsecured claim:

               • Check If this claim is for a community                       o Student loans
               debt                                                           o Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                                report as priority claims

               •No                                                            0   Debts to pension or profit-sharing plans, and other similar debts

                                                                                                    Collecting for Healdsburg Lumber - for
               0 Yes                                                          • Other. Specify      notice purpose


     4.2                                                                                                                                                              Unknown
               CCCI, Inc.                                                     Last 4 digits of account number
               Nonpriority Creditor's Name
               P0 Box 11039                                                   When was the debt incurred?
               Santa Rosa, CA 95406
                Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                O Debtor 1 only                                               0    ContIngent
                o Debtor 2 only                                               0    Unliquidated
                • Debtor 1 and Debtor 2 only                                  U    Disputed
                O At least one of the debtors and another                     Type of NONPRIOR1TY unsecured claim:

                • Check If this claim Is for a community
                                                                              0    Student loans
                debt                                                          0  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                               report as priority claims

                •No                                                           0    Debts to pension or profit-sharing plans, and other similar debts

                0 Yes                                                          • Other. Specify




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    Debtor 1 Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                            -            Case number      (if known)



    4.2                                                                                                                                                           Unknown
    28       Gerardo Carcia Gutierrez                                     Last 4 digits of account number
             Nonpriority Creditors Name
             1545 Mathew Avenue                                           When was the debt Incurred?
             Farmersville, CA 93223
             Number Street City State Zip Code                            As of the date you file the claim Is: Check all that apply
             Who Incurred the debt? Check one.
             Q Debtor 1 only                                              0 Contingent
                  Debtor 2 only                                           0 Unhiquidated
             • Debtor 1 and Debtor 2 only                                 • Disputed
             O At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

             • Check if this claim Is for a community                     O    Studentloans
             debt                                                         O  Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                              report as priority claims

                  No                                                      o DebtS to pension or profit-sharing plans, and other similar debts
             o Yes                                                        • Other. Specify




    F42
             Gibbs, Giden, Locher, et al.
               &priority Creditors Name
                                                                          Last 4 digits of account number

                                                                          When was the debt Incurred?
                                                                                                                 1021                                              Unknown

              1880 Century Park East, 12th Floor
              Los Ang_eles, CA 90067-1 621
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
             Who Incurred the debt? Check one.
              O    Debtor 1 only                                           o Contingent
              o Debtor 2 only                                              0   Unhiquldated
              I    Debtor I and Debtor 2 only                              • Disputed
              O At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

              I Check if this claim is for a community                     0 Student loans
              debt                                                         O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                              report as priority claims

              UNo
                                                                           o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                 Collecting for Kelley Moore Paint - for
              0    Yes                                                     • Other. Specify      notice prupose


     4.2                                                                                                                                                            Unknown
              Gold Bar Builders, LLS                                       Last 4 digIts of account number ___
               Nonpriority Creditor's Name
               14489 Summers Lane                                          When was the debt incurred?
               Sonora, CA 95370
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               O   Debtor 1 only                                            o Contingent
               O    Debtor 2 only                                           o Unllquidated
               U    Debtor I and Debtor 2 only                              • Disputed
               O At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               I Check If this claim Is for a community                     O   Student loans
               debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

               •No
                                                                            O   Debts to pension or profit-sharing plans, and other similar debts

               O Yes                                                        U   Other. Specify




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    Debtor I     Salvador Louis Chiaramonte
    Debtor 2     Pamela Marie Chiaramonte                                                                   Case number (it known)



    Eli      Goldberg &lbarra
             Non priority Credor's Name
                                                                        Last 4 digits of account number

                                                                        When was the debt incurred?
                                                                                                                                                                        $0.00

             David Ibarra
             925 N Street, Suite 130
             Fresno, CA 93721                         _______
             Number Street City State Zip Code                          As of the date you tile, the claim Is: Check all that apply
             Who Incurred the debt? Check one.
             o Debtor I only                                            o ContIngent
             o Debtor 2 only                                            o Unliquldated
               • Debtor 1 and Debtor 2 only                             • Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check if this claim is bra community
                                                                        o Student loans
               debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

               • No                                                     o Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Attorneys for Plaintiff Crisanto Renteria                   -


               0 Yes                                                    • Other. Specify      for notice purps



    El]        Golden State Lumber
               Non priority Creditor's Name
                                                                        Last 4 dIgits of account number

                                                                        When was the debt Incurred?
                                                                                                                                                                 $1 3,658.42

               3610 Copperhill Lane
               Santa Rosa, CA 95403
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                                                                         U Contingent
               o Debtor 1 only
               O Debtor 2 only                                           • Unliquidated

               • Debtor I and Debtor 2 only                              U Disputed
                                                                         Type of NONPRIORITY unsecured claim:
               0 At least one of the debtors and another
               • Check if this claim Is for a community
                                                                         o Student loans
               debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                           report as priority claims

               ONo
                                                                         o Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Plaintiff in lawsuit titled Golden State
                                                                                          Lumber, Inc. v. Salvador Chiaramonte and
                • Yes                                                    • Other. Specify ChiaramonteConstruct!on & Plumbing



       2]                                                                                                                                                                $0.00
     ~
     33        Golden State Lumber
                Nonpriority Creditor's Name
                                                                         Last 4 dIgits of account number


                Marc D. Coopersmith                                      When was the debt incurred?
                3610 Copperhill Lane
                Santa Rosa, CA 95403
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor 1 only                                          o Contingent
                o Debtor 2 only                                          o Unliquldated
                • Debtor 1 and Debtor 2 only                              U Disputed
                o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                • Check if this claim Is fora community
                                                                          o Student loans
                debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                lathe claim subject to offset?                            report as priority claims

                •No                                                       O Debts to pension or profit-sharing plans, and other similar debts
                                                                                                Attorney for Golden State Lumber                -   for
                0 Yes                                                     • Other. Specify      notice purposes


                                                                                                                                                                   Page 82 of 199
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                                                                                                                                                                Best case Bankruptcy
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     Debtor 2     Pamela Marie Chiaramonte                                                                       Case number      (if known)




    LII1     Golden State Lumber
              Nonpriority Creditors Name
                                                                            Last 4 dIgits of account number

                                                                            When was the debt incurred?
                                                                                                                                                                         $0.09

              855 Lakevifle Street
              Petaluma, CA 94952
              Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                o Debtor 1 only                                             • Contingent

                o Debtor 2 only                                             U    Unhiquidated

                • Debtor I and Debtor 2 only                                • Disputed
                o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community
                                                                            o Student loans
                debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                • No                                                        0    Debts to pension or profit-sharing plans, and other similar debts

                Dyes                                                        I    Other. Specify    Addittionat address



    EI          Green Box Rentals Inc.
                Nonpriority Creditor's Name
                                                                            Last 4 digits of account number

                                                                            When was the debt incurred?
                                                                                                                                                                        $38.04

                6988 Ave. 304
                Visalia, CA 93291
                Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                o Debtor 1 only                                              o Contingent
                O    Debtor 2only                                            D    Unliquidated
                • Debtor I and Debtor 2 only                                 O Disputed
                O At least one or the debtors and another                    Type of NONPRIORITY unsecured claim:

                • Check if this claim is fora community                      O    Student loans
                debt                                                         o ObligatIons arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                 UNo
                                                                             o Debts to pension or profit-sharing plans, and other similar debts
                 0   Yes                                                     I    Other, Specify   Corporate debt


      4.
                                                                             Last 4 digits of account number
                                                                                                                                                                     Unknown
      36         Greg & Joy Gomon
                 Nonpriority Creditor's Name
                 723 Jean Marie Drive                                        When was the debt Incurred?
                 Santa Rosa, CA 95403
                 Number Street City State Zip Code                           As of the date you tile, the claim is: Check all that apply
                 Who Incurred the debt? Check one.
                 o Debtor I only                                              0   Contingent
                 o Debtor 2 only                                              o Unliquldated
                 • Debtor I and Debtor 2 only                                 • Disputed
                 o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                 U   Check If this claim is for a community
                                                                              o Student loans
                 debt                                                         0 Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                              report as priority claims

                      No
                                                                              O    Debts to pension or profit-sharing plans, and other similar debts

                  0 Yes                                                       • Other. Specify




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     Debtor 1     Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                    Case number (if known)


     4.2
     37       Greg & Joy Gomon                                            Last 4 digits of account number                                                         Unknown
              Non priority Creditors Name
              P0 Box 9                                                    When was the debt Incurred?
              Cloverdale, CA 95425
              Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
                O   Debtor I only                                         O Contingent
                o Debtor 2 only                                           o Unhiquldated
                • Debtor 1 and Debtor 2 only                              • Disputed
                O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check If this claim is bra community                     o Student loans
               debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                •No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                O   Yes                                                   • Other. Specify     Additional address


       2j                                                                                                                                                                $0.00
                Greggory Gutierrez                                        Last 4 dIgits of account number
                Nonpriority Creditors Name
                Marie Gutierrez                                           When was the debt Incurred?
                Darlene Gutierrez
                16554 Ave. 168
                Tulare, CA 93274
                Number Street City Stale Zip Code                         As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                O Debtor I only                                           I    Contingent

                0 Debtor 2 only                                            • Unliquldated
                • Debtor I and Debtor 2 only                               • Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                • Checkif this claim Is fora community                     O   Student loans
                debt                                                       0  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                • No                                                       O   Debts to pension or profit-sharing plans, and other similar debts

                DYes                                                       • Other. Specify     For notice purposes


      4,2                                                                                                                                                          Unknown
     Li         Gregoria Mendivil
                Non priority Creditors Name
                                                                           Last 4 digIts of account number


                 1376 Mathew Avenue                                        When was the debt Incurred?
                 Farmersville CA 93223
                 N umber Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                 0   Debtor I only                                         O Contingent
                 o Debtor 2oflly                                           o Unhiquidated
                 I   Debtor 1 and Debtor 2 only                            • DispLited
                 o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                 • Check If this claim is for a• community                 O   Student loans
                 debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                           report as priority claims

                     No                                                    o Debts to pension or profit-sharing plans, and other similar debts
                 O   Yes                                                   • Other. Specify




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    Debtor 1 Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiararnonte                                                                                  Case number     (if known)




    F
    4O          Gubler & Abbott
                Nonpriority Creditor's Name
                                                                                Last 4 dIgits of account number -

                                                                                When was the debt incurred?
                                                                                                                                                                                   $0.00


                Brett T. Abbott
                1110 N. Chinowth Street
                Visalia, CA 93291
                Number Street City State Zip Code                                   As of the date you file, the claim is: Check all that apply

                Who incurred the debt? Check one.
                O   Debtor I only                                                   O Contingent
                o Debtor 2 only                                                     o Unhiquidated
                • Debtor I and Debtor 2 only                                        • Disputed
                 0 At least one of the debtors and another                          Type of NONPRIORITY unsecured claim:

                I Check if this claim is for a community                            o Student loans
                debt                                                                o  ObligatIons arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                                     report as priority claims

                 INo
                                                                                    o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                           Attorneys for Dunn's Sand, Inc. - for notice
                 0 Yes                                                              • Other. Specify      jurposes                                      -



    E    12]
                 Gutter Experts
                 Nonpriority Creditor's Name
                                                                                    Last 4 digits of account number

                                                                                    When was the debt Incurred?
                                                                                                                                                                              $2,953.00


                 8160 Cottonmill Circle
                 Sacramento,C9.A 95828
                 N umber Street City State Zip Code                                  As of the date you file, the claim is: Check all that apply

                 Who Incurred the debt? Check one.
                  0   Debtor 1 only                                                  o Contingent
                  0    Debtàr2oflly                                                  O    unliquidated
                  • Debtor I and Debtor 2 only                                       o Disputed
                  O At least one of the debtors and another                          Type of NONPRIORITY unsecured claim:

                  • Check if this claim is for a community
                                                                                     O    Student loans

                  debt                                                               o ObligatIons arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                                    report as priority claims

                        No
                                                                                     O Debts to pension or profit-sharing plans, and other similar debts
                  0     Yes                                                           • Other. Specify



     4.2                                                                                                                                                                      $53244.37
                  Hardcastle Specialties, Inc.                                        Last 4 dlgit.s of account number
                  Nonpriority Creditor's Name
                                                                                      When was the debt Incurred?
                  P.O. Box 42470
                  Bakersfield    9338_
                                                                                      As of the date you file, the claim Is: Check all that apply
                  N umber Street City State Zip Code
                  Who incurred the debt? Check one.
                   0    Debtor I only                                                 O    Contingent
                    J Debtor 2 only                                                   0    Unliquldated

                    I   Debtor I and Debtor 2 only                                    • Disputed
                                                                                      Type of NONPRIORITY unsecured claim:
                    O   At least one of the debtors and another

                    • Check If this claim is for a community
                                                                                       o Student loans
                    debt                                                                o OblIgations arising out of a separation agreement or divorce that you did not
                    Is the claim subject to offset?                                     report as priority claims

                    • No
                                                                                        o Debts to pension or profit-sharing plans, and other similar debts
                    o Yes                                                               • Other. Specify      Corporate debt




                                                                                                                                                                                Page 85 of 199
                                                                         Schedule E/F: Creditors Who Have Unsecured Claims
         Official Form 106 ElF                                                                                                              .                                east Case Bankruptcy
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     Debtor 1   Salvador Louis Chiaramonte
     Debtor 2    Pamela Mario Chiaramonte                                                                       Case number (if known)


     4.2
              Hardcastle Specialties, Inc.                                  Last 4 digits of account number                                                                $0.00
     43
               Nonpriority Creditors Name
              5511 Woodmere Drive                                           When was the debt incurred?
              Bakersfield, CA 93313
               Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               O Debtor 1 only                                              o ContIngent
               0 Debtor 2 only                                              0 Unhiquidated
               • Debtor 1 and Debtor 2 only                                 • Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               N Check if this claim is for a community                     o Student loans
               debt                                                         o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as pnority claims

               • No                                                         O Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                        U Other. Specify Additional address



    10         Hardcastle Specialties, Inc.
               Nonpriority Creditor's Name
                                                                            Last 4 digits of account number                                                                $0.00

               4300 Stine Road, Suite 302                                   When was the debt incurred?
               Bakersfield. CA 93313
               Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               O Debtor 1 only                                               O Contingent
                O Debtor 2 only                                              o Unliquidated
                • Debtor 1 and Debtor 2 only                                 • Disputed
                0 At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                U Chock If this claim Is for a communIty                     o Student loans
               debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                • No                                                         o Debts to pension or profit-sharing plans, and other similar debts
                0 Yes                                                        U Other, Specify Additional address



     1II1       Harmony Farm Supply
                Nonpriority Creditors Name
                                                                             Last 4 digits of account number

                                                                             When was the debt incurred?
                                                                                                                                                                         $627.59

                1175 River Rd. Fulton, CA. 95439
                Fulton, CA 95439
                Number Street City State ZIp Code                            As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                O Debtor I only                                              o Contingent
                O Debtor 2 only                                              o Unliquidated
                • Debtor 1 and Debtor 2 only                                 • Disputed
                0 At least one of the debtors and another                    Type of NONPRiORiTY unsecured ciaim:

                • Check if this claim Is for a community                     o Student loans
                debt                                                         o  ObligatIons arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                              report as priority claims

                 UNo                                                         0 Debts to pension or profit-sharing plans, and other similar debts

                 o Yes                                                       • Other. Specify     Corporate debt




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    Debtor I     Salvador Louis Chiaramonte
                                                                                                              Case number (it known)
    Debtor 2     Pamela Marie Chiaramonte


    kkJ      Harmony Farm Supply
             Nonpriority Creditors Name
                                                                          Last 4 digits of account number

                                                                          When was the debt incurred?
                                                                                                                                                                         $0.00


             3244 Gravensteln Hwy N
             Sebasto pot, CA 95472
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
             Who incurred the debt? Check one.
               0 Debtor 1 only                                            o Contingent
               0 Debtor 2 only                                            0    Unliquidated

               • Debtor 1 and Debtor 2 only                               • Disputed
               o   At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community
                                                                          o Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               INo
                                                                          o DebtS to pension or profit-sharing plans, and other similar debts
               o Yes                                                       N   Other. Specify     Additional address


     4.2                                                                                                                                                                  $0.00
               Harmony Farm Supply                                         Last4 digits of account number
    L!zi       Nonpriority Credito(s Name
                                                                           When was the debt Incurred?
               P0 Box 460
               Graton, CA 95444
                Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply

                Who Incurred the debt? Check one.
                o Debtor 1 only                                            o Contingent
                O   Debtor 2 only                                          O    Unllquidated

                • Debtor 1 and Debtor 2 only                               • Disputed
                o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                • Check if this claim is fora community
                                                                           o Student loans
                debt                                                       IJ Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                • No
                                                                            o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                       • Other. Specify      Additional address


      4.2                                                                                                                                                            Unknown
                 Harold Babcock                                             Last 4 digits of account number -
      48
                 Nonpriority Creditors Name
                                                                            When was the debt incurred?
                 21981 Ave 245
                 LindsayL.CA 93247
                 Number Street City State Zip Code                          As of the date you fIle, the claim Is: Check all that apply
                 Who incurred the debt? Check one.
                 O Debtor 1 only                                            o Contingent
                 o Debtor 2 only                                            O    Unliquidated
                 N   Debtor 1 and Debtor 2 only                               • Disputed
                 o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                 • Check if this claim Is for a community
                                                                              o Student loans
                 debt                                                         0 OblIgations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                              report as priority claims

                   •No
                                                                              o Debts to pension or profit-sharing plans, and other similar debts
                   0 Yes                                                       • Other. Specify




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     Debtor I       Salvador Louis Chiaramonte
     Debtor 2       Pamela Marie Chiaramonte                                                             Case number (it known)


     4.2
     49       Hatcher & Rundel                                       Last 4 dIgits of account number                                                                $0.00
              Nonpriority Creditors Name
              William W. Hatcher Jr.                                 When was the debt incurred?
              114 Pierce Street
              Santa Rosa CA 95404
              Number Street City State Zip Code                      As of the date you file, the claim Is: Check all that apply
              Who Incurred the debt? Check one.
              0     Debtor 1 only                                    O Contingent
              0     Debtor 2 only                                    O Unhiquidated
                I   Debtor I and Debtor 2 only                       I    Disputed
              o At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

              • Check If this claim is for a community               o Student loans
              debt                                                   0 Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                        report as priority claims

                • No                                                 o Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Attorney for Pace Supply Corp. - For notice
                0 Yes                                                • Other. Specify       rposes



    k42
           ] HD Supply-Whitecap
                Nonpriority Creditors Name
                                                                     Last 4 digIts of account number

                                                                     When was the debt incurred?
                                                                                                                                                              $6,998.96

                P.O. Box 6040
                Cypress, CA 90630-0040
                Number Street City State Zip Code                    As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one
                o Debtor I only                                       0   Contingent
                o Debtor 2 only                                       0   Unliquidated
                • Debtor 1 and Debtor 2 only                          • Disputed
                o At least one of the debtors and another             Type   of NONPRIOR1TY unsecured claim:
                • Check If this claim is for a communIty              o Student loans
                debt                                                  o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                       report as priority claims

                • No                                                  o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                 • Other. Specify     Corporate debt


                HD Supply-Whitecap                                    Last 4 digits of account number                                                                $0.00
                Nonpriocity Credltor's Name
                501 West Church Street                                When was the debt Incurred?
                Orlando, FL 32805
                Number Street City State Zip Code                     As of the data you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                o Debtor I only                                       O   Contingent
                O    Debtor 2 only                                    0   Unliquidated
                • Debtor 1 and Debtor 2 only                          • Disputed
                o At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community              o Student loans
                debt                                                  o  ObligatIons arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                       report as priority claims

                • No                                                  0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                 • Other. Specify     Additional address




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     Debtor 1     Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                        Case number (if known)



              Healdsburg Lumber Co.                                           Last 4 dIgits of account number                                                        $33,800.11
     52
              Nonpriority Creditor's Name
              A Division of HLC Incorporated                                  When was the debt Incurred?
              359 Hudson Street
              Healdsburg, CA 95448
                Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
              Who Incurred the debt? Check one.
                O    Debtor 1 only                                            o Contingent
                O    Debtor 2 only                                            o Unllquidated
                     Debtor I and Debtor 2 only                               • Disputed
                o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community
                                                                              o Student loans
                debt                                                          0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                               report as priority claims

                •No                                                           o Debts to pension or profit-sharing plans, and other similar debts
                O    Yes                                                      I    Other. specify   Corporate debt



    ki]         HERC Rentals
                Nonpriority Creditors Name
                                                                              Last 4 digits of account number

                                                                              When was the debt incurred?
                                                                                                                                                                     $17,063.46

                P.O. Box 936257
                Atlanta, GA 31193
                Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                O Debtor I only                                                o Contingent
                0 Debtor 2 only                                                o Unliquidated
                 I   Debtor 1 and Debtor 2 only                                • Disputed
                 0 At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community
                                                                               O    Student loans
                debt                                                           o  OblIgations arising out of a separation agreement or divorce that you did not
                lathe claim subject to offset?                                 report as priority claims

                      No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                         • Other. Specify      Corporate debt



     Eli         HERC Rentals
                 Non priority Creditor's Name
                                                                               Last 4 digIts of account number

                                                                               When was the debt Incurred?
                                                                                                                                                                              $0.00

                 27500 Riverview Center Blvd , #100
                  FL 34314
                 Number Street City State Zip Code                             As of the date you file, the claIm Is: Check all that apply
                 Who incurred the debt? Check one.
                 O    Debtor 1 only                                            0 Contingent
                 o Debtor 2 only                                               0 Unliquidated
                 • Debtor I and Debtor 2 only                                  • Disputed
                 0 At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                 • Check if this claim is flora community
                                                                                O   Student loans
                 debt                                                           o ObligatIons arising out of a separation agreement or divorce that you did not
                 lathe claim subject to offset?                                 report as priority claims

                      No                                                        o Debts to pension or profit-sharing plans, and other similar debts
                  o Yes                                                         • Other. Specify      Additional address




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                                                                                                                                                                     Oest Case Bankruptcy
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     Debtor 1      Salvador Louis Chiaramonte
                                                                                                                Case number (if known)
     Debtor 2       Pamela Marie Chiaramonte


    L I1
      2
                  Heriberto Reyes & Veronica Silva
                  Nonpriority Creditors Name
                                                                           Last 4 digits of account number

                                                                           When was the debt incurred?
                                                                                                                                                                    Unknown

                  1485 Mathew Avenue
                  Farmersville, CA 93223
                  Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.
                  0   Debtor 1 only                                        o Contthgenl
                  0   Debtor 2 only                                        o Unliquidated
                  • Debtor I and Debtor 2 only                             • Disputed
                  O At least one of the debtors and another                Type of NONPRIOR1TY unsecured claim:

                  • Check if this claim Is for a community                 O Student loans
                  debt                                                     0 Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                          report as priority claims

                  • No                                                     o Debts to pension or profit-sharing plans, and other similar debts
                  0    Yes                                                 U    Other. Specify



     4.2 -
     56
             1    Hiliman Building Designers                               Last 4 digits of account number                                                           $1,077.32
                  Non priority Creditors Name
                  34583 Highway 190                                        When was the debt Incurred?
                  Spgilie, CA 93265                     ________
                  N umber Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                  Who Incurred the debt? Check one.
                   0 Debtor 1 only                                          O contingent
                   o Oebtor 2 only                                          O Unliquidated
                   • Debtor 1 and Debtor 2 only                             I    Disputed
                   o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   U Check if this claim Is for a community                 0    Student loans
                   debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
                   Is the claim subject to offset?                          report as priority claims

                   • No                                                     O    Debts to pension or profit-sharing plans, and other similar debts

                   0    Yes                                                 • Other. Specify       Corporate debt


     [4.21
                                                                            Last 4 digIts of account number         7001                                              $7,700.45
     [j Home Depot
                   Nonprlorlty Creditors Name
                   P0 Box 790328                                            When was the debt incurred?
                   Saint Louis, MO 63179                 -
                   N umber Street City State Zip Code                       As of the date you file, the claim Is: Check all that apply
                   Who Incurred the debt? Check one.
                   o Debtor I only                                           o Contingent
                   O    Debtor 2 only                                        O   Unliquidated

                    • Debtor 1 and Debtor 2 only                             • Disputed
                    O   At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                    I Check if this claim is for a community                 o Student loans
                    debt                                                     o  Obligations arising out of a separation agreement or divorce that you did not
                    Is the claim subject to offset?                          report as priority claims

                    • No
                                                                             o Debts to pension or profit-sharing plans, and other similar debts
                    o Yes                                                    U    Other. Specify   Credit cardlCorporate debt




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    Debtor I         Salvador Louis Chiaramonte
                                                                                                    -                 Case number (if known)
    Debtor 2         Pamela Marie Chiaramonte

    4.2                                                                                                                 7001                                                     $0.00
                   Home Depot                                                 Last 4 digits of account number
    i_i            Nonpriority Creditors Name
                                                                              When was the debt Incurred?
                   PC Box 78011
                   Phoenix, AZ 85062-8011
                   Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
                   Who incurred the debt? Check one.
                   O   Debtor 1 only                                              O contIngent
                   o Debtor 2 only                                                O Unliquidated
                   • Debtor 1 and Debtor 2 only                                   I   Disputed
                   o At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

                   • Check if this claim is for a community
                                                                                  o Student loans
                   debt                                                           O Obligations arising out of a separation agreement or divorce that you did not
                   is the claim subject to offset?                                report as priority claims

                   •No
                                                                                  o Debts to pension or profit-sharing plans, and other similar debts
                   o Yes                                                          I    Other. Specify    Additional Address


                                                                                                                                                                               $225.00
      91 Huggy Bear's Cupboards
                    Nortpriority Creditors Name
                                                                                  Last 4 digIts of account number

                                                                                  When was the debt incurred?
                    2731 N. Hayden Island Drive
                    Portland, OR 97217
                    Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply

                    Who Incurred the debt? Check one.
                    O   Debtor 1 only                                             o ContIngent
                    o Debtor 2 only                                               o Unliquidated
                    • Debtor 1 and Debtor 2 only                                   o  Disputed
                                                                                   Type of NONPRIORITY unsecured claim:
                    O At least one of the debtors and another
                    o Check if this claim Is for a community                       o Student loans
                    debt                                                           o Obligations arising out of a separation agreement or divorce that you did not
                    is the claim subject to offset?                                report as priority claims

                           No
                                                                                   o Debts to pension or profit-sharing plans, and other similar debts
                     o Yes                                                         IN Other. Specify



     [46 ~2:   ]
                                                                                                                                                                             Unknown
                     Hugh & Gail Boyle                                             Last 4 digitS of account number
                     Nortpriority Creditors Name
                                                                                   When was the debt incurred?
                     1917 Pyramid Avenue
                     TulareA 93274
                     Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply

                     Who Incurred the debt? Check one.
                     o Debtor I only                                                0 Contingent
                     o Debtor 2 only                                                0 Unliquldated
                       I   Debtor 1 and Debtor 2 only                               • Disputed
                                                                                    Type of NONPRIORITY unsecured claim:
                       O At least one of the debtors and another
                       I   Check if this claim is for a community
                                                                                      O Student loans
                       debt                                                           O obligations arisIng out of a separation agreement or divorce that you did not
                       is the claim subject to offset?                                report as priority claims

                           No
                                                                                      o DebtS to pension or profit-sharing plans, and other similar debts
                       O Yes                                                          • Other. Specify




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    Debtor I Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                        Case number (if known)


    L1       Hugh & Gail boyle
             Non priority Creditor's Name
                                                                        Last 4 digits of account number

                                                                        When was the debt incurred?
                                                                                                                                                                 Unknown

             1761 W. Monticeto Way
             San Diego, CA 92103
             Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
             Who incurred the debt? Check one.
             O    Debtor I only                                         o Contingent
             o Debtor 2 only                                            D    Unhquidated
              • Debtor 1 and Debtor 2 only                              • Disputed
              O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

             • Check if this claim is for a community                   o Student loans
             debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                            report as priority claims

              U    No                                                   O    Debts to pens9p.orfit-sliaring plans, and other similar debts

                                                                        • Other.Sov



                                                                                                                6378                                                $445.00
    [J        Hughes Net
              Nonpriority Creditors Name
                                                                              4 digIts o'acount number


              11717 Exploration Lane                                    When was the debt incu
              Germantown, MD 20816
              N umber Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
              0    Debtor 1 only                                        o Contingent
              0    Debtor 2 only                                         0   Unliquidated
              U    Debtor 1 and Debtor 2 only                            U   Disputed
              O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              • Check If this claim is for a community                   o Student loans
              debt                                                       o  OblIgations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

              • No                                                       o Debts to pension or profit-sharing plans, and other simiiar debts
              O    Yes                                                   • Other. Specify      Corporate_debt


     4.2                                                                                                                                                             $435.20
     63       Humana Insurance Co                                        Last 4 digIts of account number
              Nonpriority Creditor's Name
               P.O. Box 3024                                             When was the debt incurred?
               Milwaukee, WI 53201-3024
               N umber Street City State Zip Code                        As of the data you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
               O   Debtor I only                                         O Contingent
               O   Debtor 2 only                                         0 Unhquidated
               U   Debtor 1 and Debtor 2 only                            • Disputed
               o At least one of the debtors and another                 Type of NONPR1ORITY unsecured claim:

               • Check If this claim is for a community                  O Student loans
               debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                    No                                                   O    Debts to pension or profit-sharing plans, and other similar debts

               0   Yes                                                   U    Other. Specify




                                                            Schedule ElF: Creditors Who Have Unsecured Claims                                                     Page 92 of 199
     Official Form 108 E/F
                                                                                                                                                               Best Case Bankruptcy
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Filed 11/27/19                                                                                Case 19-14974                                                                               Doc 1
              CaseNumber: 2019-14974                                                           Filed: 11/27/2019 2:23:15 PM                                              Doc# 1
    Debtor I       Salvador Louis Chiaramonte
                                                                                                                         Case number (it known)
    Debtor 2       Pamela Marie Chiaramonte

    4.2                                                                                                                                                                     Unknown
          j Hybarr, Inc.                                                       Last 4 digits of account number
                Nonpriority Creditor's Name
                                                                               When was the debt incurred?
                 Hyrum Barlow
                 P0 Box 268
                 Enterprise, UT 84725
                 Number Street City State Zip Code                             As of the date you flie, the claim is: Check all that apply

                 Who incurred the debt? Check one.
                 o Debtor 1 only                                                   o Contingent
                 o Debtor 2 only                                                   0   Unliquidated

                      Debtor I and Debtor 2 only                                   • Disputed
                 O At least one of the debtors and another                         Type of NONPRIORITY unsecured claim:

                 • Check If this claim is for a community
                                                                                   O   Student loans

                 debt                                                              O  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subjectto offset?                                    report as priority claims

                      No
                                                                                   o Debts to pension or profit-sharing plans, and other similar debts
                  O   Yes                                                          • Other. Specify




    F~
     4        Implantable Provider Group, Inc.
           I dba
                  Non priority Creditor's Name
                                                                                   Last 4 dIgits of account number

                                                                                   When was the debt incurred?
                                                                                                                                                                             $2,066.99


                  Integrated Surgical Solutions
                  2300 Lakeview Parkway, Suite 500
                  Aipharetta, GA30009__            -
                                                                                   As of the date you file, the claim Is: Check all that apply
                  N umber Street City State Zip Code
                  Who Incurred the debt? Check one.
                  O    Debtor I only                                                o Contingent
                  o Debtor 2 only                                                   o Unliquidated
                   • Debtor 1 and Debtor 2 only                                     o Disputed
                                                                                    Type of NONPRiORiTY unsecured claim:
                   0   At least one of the debtors and another

                   I Check If this claim is for a community
                                                                                    O      Student loans

                   debt                                                             o Obligations arising out of a separation agreement or divorce that you did not
                   Is the claim subject to offset?                                  report as priority claims

                   INc
                                                                                    O      Debts to pension or profit-sharing plans, and other similar debts

                   o Yes                                                            U      Other. Specify




     [iiIIl        Nonpriority Creditors Name
                                                                                    Last 4 digits of account number

                                                                                    When was the debt incurred?
                                                                                                                              1619                                            Unknown


                   251 Little Falls Drive
                   WV mjn,D9808
                                                                                    As of the date you file, the claim is: Check all that apply
                    Number Street City State Zip Code
                   Who incurred the debt? Check one.
                    0   Debtor I only                                                  o Contingent
                    0   Debtor 2 only                                                  O   Unliquidated

                    U   Debtor I and Debtor 2 only                                     • Disputed
                                                                                       Type of NONPRIOR1TY unsecured claim:
                    O   At least one of the debtors and another

                      • Check If this claim Is for a community
                                                                                       o Student loans
                    debt                                                               o Obligations arising out of a separation agreement or divorce that you did not
                    Is the claim subject to offset?                                    report as priority claims

                           No
                                                                                       O    Debts to pension or profit-sharing plans, and other similar debts

                                                                                       U                     for notice_purposes
                      O Yes                                                                 Other. Specify




                                                                                                                                                                               Page 93 of 199
          Official Form 106 E/F                                        Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                                                                            Best Case Bankruptcy
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Filed 11/27/19                                                                    Case 19-14974                                                             Doc # 1           Doc 1
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    Debtor I     Salvador Louis Chiaramonte
    Debtor 2     Pamela Marie Chiaramonte                                                                    Case number (if known)



             Jacqueline Egbert                                          Last 4 digIts of account number                                                         Unknown
    LL_i
             Nonpriority Creditors Name
             4595 Lambert Drive                                         When was the debt incurred?
             Santa Rosa, CA 95403
             Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
               o Debtor 1 only                                          o Contingent
               O   Debtor 2 only                                        o Unhlquldated
               U   Debtor 1 and Debtor 2 only                           • Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                 O Student loans
               debt                                                     O  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

               'No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    I    Other. Specify




    10         James & Mary Donovan
               Nonprlority Creditors Name -
                                                                        Last 4 dIgits of account number

                                                                        When was the debt incurred?
                                                                                                                                                                 Unknown

               179 Dorchester Court
               Santa Rosa, CA 95403
               N umber Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               0    Debtor 1 only                                        o Contingent
               O    Debtor 2 only                                        o Unhiquidated
               U    Debtor 1 and Debtor 2 only                           U    Disputed
               O At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                  0 Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               UNo                                                       O    Debts to pension or profit-sharing plans, and other similar debts

               O Yes                                                     I    Other. Specify



     r4i                                                                                                                                                          Unknown
     [j James & Mary Donovan                                             Last 4 digits of account number
                Non priority Creditors Name
               1005 Ventana Drive                                        When was the debt Incurred?
               Windsor, CA 95492
                Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                0   Debtor 1 only                                        o Contingent
                o Debtor 2 only                                          o Unliquidated
                I   Debtor I and Debtor 2 only                           U    Disputed
                O At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                I   Check If this claim is for a community
                                                                         o Student loans
                debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     • Other. Specify      Additional address




                                                            Schedule ElF: Creditors Who l-iave Unsecured Claims                                                   Page 94 of 199
     Official Form 106 ElF
                                                                                                                                                               Best Case Bankruptcy
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            Case Number: 20 19-14974                                                    Filed: 11/27/2019 2:23:15 PM                                               Doc# 1
    Debtor I Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                             Case number      (ftnown)




    E62]
             Jamie & Molile Prosser
             Nonprlority Creditors Name
                                                                               Last 4 digits of account number

                                                                               When was the debt incurred?
                                                                                                                                                                      Unknown


             4650 Aptos Court
             Santa Rosa, CA 95403
             Number Street City State Zip Code                                 As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
              U Debtor 1 only                                                  o Contingent
              0 Debtor 2 only                                                  U Unhiquidated
              I Debtor 1 and Debtor 2 only                                     • Disputed
              O At least one of the debtors and another                        Type of NONPRIORITY unsecured claim:

              • Check If this claim is for a community
                                                                               O Student loans
              debt                                                             o  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                                  report as priority claims

              • No
                                                                               o Debts to pension or profit-sharing plans, and other similar debts
              O Yes                                                            U Other, Specify


    E
    4         Jamie & MoIlie Prosser                                           Last 4 digIts of account number
                                                                                                                                                                       Unknown
              Nonpriority Creditors Name
              2476 Copperfield Court                                           When was the debt Incurred?
              Santa Rosa, CA 95401 ___________
              N umber Street City State Zip Code                                As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
               o Debtor I only                                                  0 Contingent
               O Debtor 2 only                                                  O Unliquidated
               I Debtor 1 and Debtor 2 only                                     • Disputed
               O At least one of the debtors and another                        Type of NONPRIORITY unsecured claim:

               I Check if this claim is for a community                         o   Student loans
               debt                                                             o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                  report as priority claims

                   No
                                                                                U Debts to pension or profit-sharing plans, and other similar debts

               Dyes                                                              • Other, Specify     Additional Address


      4.2                                                                                                                                                                Unknown
               Janet Fauerso                                                    Last 4 digits of account number
      72
                Nonpriority Creditors Name
                                                                                When was the debt Incurred?
                1830 BeUa Vista Way
                Santa Rosa, CA 95403
                Number Street City State Zip Code                                As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                O Debtor 1 only                                                  O Contingent
                o Debtor 2 only                                                  o Unliquidated
                • Debtor 1 and Debtor 2 only                                     • Disputed
                O At least one of the debtors and another                        Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community
                                                                                 o Student loans
                debt                                                             O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                                  report as priority claims

                 UNo                                                             0 Debts to pension or profit-sharing plans, and other similar debts

                 o Yes                                                             U Other. Specify




                                                                                                                                                                         Page 95 of 199
      Official Form 106 E/F                                        Schedule ElF; Creditors Who Have Unsecured Claims
                                                                                                                                                                      Best Case Banktuptcy
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Filed 11/27/19                                                                        Case 19-14974                                                                               Doc 1
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     Debtor I     Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                      Case   number (iiknown)


     4.2
                                                                            Last 4 digits of account number
                                                                                                                                                                     Unknown
     73        ,JanetFauerso
               Nonpriority Creditor's Name
                                                                            When was the debt Incurred?
                P0 Box 491
                Pee,C4951
                Number Street City Slate Zip Code                           As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor 1 Only                                             o Contingent
                o Debtor 2 only                                             o Unliquidated
                • Debtor 1 and Debtor 2 only                                • Disputed
                o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community
                                                                            o Student loans
                debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                •NO
                                                                            o Debts to pension or profit-sharing plans, and other similar debts
                0    Yes                                                    • Other. Specify         Additional address



     E2         Jared & Braina Consani
                Nonpriorlty Creditors Name
                                                                            Last 4 digIts of account number

                                                                             When was the debt Incurred?
                                                                                                                                                                     Unknown

                1968 Camino Del Prado
                Santa Rosa, CA 95403
                Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                 0   Debtor 1 only                                           o Contingent
                 o Debtor 2 only                                             o Unliquidated
                 I   Debtor 1 and Debtor 2 only                              • Disputed
                 O   At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                 • Check If this claim Is for a community                    o Student loans
                 debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims

                      No
                                                                             o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                       U     Other, Specify




      EIEI I     Jared & Braina Consani
                 Nonpriority Creditor's Name
                                                                              Last 4 digits of account number

                                                                              When was the debt incurred?
                                                                                                                                                                       Unknown


                 414 Emily Rose Circle
                 Windsor, CA 95492
                  Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                  o Debtor 1 only                                             O    Contingent
                  O   Debtor 2 only                                           o Unliquidated
                  U   Debtor 1 and Debtor 2 only                              • Disputed
                  o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                  I Check if this claim Isfora community                      o Student loans
                  debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                             report as priority claims

                  • No
                                                                              o Debts to pension or profit-sharing plans, and other similar debts
                  O   Yes                                                      U    Other. Specify    Additional Address




                                                                Schedule ElF: Creditors Who Have Unsecured Claims                                                      Page 96 of 199
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     Debtor I Salvador Louis Chiaramonte
                                                                                                                   Case number (if known)
     Debtor 2 Pamela Marie Chiararnonte



    E~2]
             Javier & Diane Aceves
              Nonpriority Creditors Name
              4548 Brighton Drive
                                                                         Last 4 digits of account number

                                                                         When was the debt incurred?
                                                                                                                                                                    Unknown



                             95403_
              Number Street City State Zip Code                              As of the date you file, the claim Is: Check all that apply

              Who incurred the debt? Check one.
              o Debtor 1 only                                                0 Contingent
              O   Debtor 2 only                                              0 Unliquidated
                   Debtor 1 and Debtor 2 only                                • Disputed

              o At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:
                                                                                  Student loans
              N Check If this claim Is for a community
              debt                                                           O  Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                                report as priority claims

                    No
                                                                             o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                          U   Other, Specify



     4.2                                                                                                                                                             Unknown
               Javier & Diane Aceves                                          Last 4 digits of account number
     77
               Non priority Credltors Name
                                                                              When was the debt Incurred?
               1007 West College Ave# 278
               Santa Rosa, CA 95401
               Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply

               Who Incurred the debt? Check one.
               O    Debtor I only                                             O ContIngent
               o Debtor 2 only                                                0 Unliquidated
                • Debtor 1 and Debtor 2 only                                  • Disputed
                O   At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                N   Check If this claim is fora community
                                                                              O Student loans
                debt                                                          O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                               report as priority claims

                     No
                                                                               o Debts to pension or profit-sharing plans, and other similar debts
                0    Yes                                                       • Other. specify        Additional address



     EEII       JB Construction
                Non priority Creditor's Name
                                                                               Last 4 digits of account number

                                                                               When was the debt incurred?
                                                                                                                                                                      Unknown


                St. Marys Rectory and Church
                1714 E. 11th Avenue
               _Delano, CA 93215
                Number Street City State Zip Code                              As of the date you file, the claim Is: Check all that apply

                Who Incurred the debt? Check one.
                 0   Debtor 1 only                                             O      Contingent
                 0   Debtor 2 only                                             O      Unliquidaled

                  • Debtor 1 and Debtor 2 only                                 • Disputed
                                                                               Type of NONPRIORITY unsecured claim:
                  0 At least one of the debtors and another
                  • Check If this claim Is for a community
                                                                                o Student loans
                  debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
                  is the claim subject to offset?                               report as priority claims
                                                                                 O    DebtS to pension or profit-sharing plans and other similar debts
                      No

                  O Yes                                                           N   Other. SpecIfy




                                                                                                                                                                       Page 97 of 199
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    Debtor I       Salvador Louis Chiaramonte
    Debtor 2       Pamela Marie Chiaramonte                                                                   Case   number (if known)



    Eli       Jeanne Miskel
              Nonpriority Creditors Name
                                                                          Last 4 digIts of account number                                                         Unknown

              1816 Palisades Drive                                        When was the debt incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               O   Debtor 1 only                                          0    Contingent
               o Debtor 2 only                                            O    (Jnliquidated
               • Debtor I and Debtor 2 only                               U    Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               I Check if this claim is for a community                   O Student loans
               debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               'No                                                        o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                      U    Other. Specify




    Eli        Jeanne Miskel
               Nonprlority Creditors Name
                                                                          Last 4 digIts of account number                                                          Unknown

               1585 Terrace Way #240                                      When was the debt incurred?
               Santa Rosa, CA 95404
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                            o Contingent
               o Debtor 2 only                                            o Untiquldated
               • Debtor I and Debtor 2 only                               I    Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               I Check If this claim Is for a community                   O    Student loans
               debt                                                       O  Obligations arising out of a separation agreement or divorce that you did not
               lathe claim subject to offset?                             report as priority claims

                    No                                                     o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                       U   Other. Specify    AdditionalAddress


     4.2                                                                                                                                                           Unknown
     81        Jeff & Kimberly Collaso                                     Last 4 dIgits of account number
               Non priority Creditors Name
               2025 Stagecoach Road                                        When was the debt Incurred?
               Santa Rosa, CA 95404
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor 1 only                                            o ContIngent
                o Debtor 2 only                                            o Unliquldated
                • Debtor 1 and Debtor 2 only                               • Disputed
                o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                • Check If this claim Is for a community                   o Student loans
                debt                                                       o  ObligationS arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                U   No                                                     O Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                      I    Other. Specify




                                                              Schedule ElF: Creditors Who Have Unsecured Claims                                                    Page 98 of 199
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                                                                                                                                                                Best Case Bankruptcy
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    Debtor 1      Salvador Louis Chiaramonte
                                                                                                                        Case number (if known)
    Debtor 2       Pamela Marie Chiaramonte

    4.2                                                                                                                                                                     Unknown
                Jeff & Kimberly_Collaso                                       Last 4 dIgits of account number
    82
                Nonpriority Creditors Name
                                                                              When was the debt incurred?                 -
                1057 College Ave.
                Santa Rosa, CA 95404
                 Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply

                Who incurred the debt? Check one.
                 O   Debtor I only                                                o Contingent
                 O   Debtor 2 only                                                O   Untlquldated

                 I   Debtor 1 and Debtor 2 only                                   1   Disputed
                                                                                  Type of NONPRIORITY unsecured claim:
                 O At least one of the debtors and another
                 • Check If this claim Is for a community
                                                                                  o Student loans
                 debt                                                             O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                                  report as priority claims

                 •No
                                                                                  0 Debts to pension or profit-sharing plans, and other similar debts

                 O Yes                                                            • Other, Specify         AdditionalAddress


     4.2                                                                                                                                                                .Unknown
                 Jeffrey and JoAnn Anderson                                       Last4 digits of account number
     83 ]
                  Non priority Creditors Name
                                                                                  When was the debt incurred?
                  4771 Tarton Dr.
                  Santa Rosa, CA 95405                                -
                                                                                  As of the date you file, the claim is: Check all that apply
                  N umber Street City State Zip Code
                  Who Incurred the debt? Check one.
                                                                                   • Contingent
                  0    Debtor 1 only
                  0    Debtor 2 only                                               • Unliquldated

                  • Debtor 1 and Debtor 2 only                                     • Disputed
                                                                                   Type of NON PRIORITY unsecured claim:
                  o At least one of the debtors and another
                                                                                   O      Student loans
                  • Check if this claim is for a community
                  debt
                                                                                   o ObligationS arising out of a separation agreement or divorce that you did not
                                                                                   report as priority claims
                  Is the claim subject to offset?
                                                                                   0      Debts to pension or profit-sharIng plans, and other similar debts
                   0     No
                                                                                                           Plaintiffs in lawsuit titled Jeffrey & JoAnn
                                                                                                           Anderson v. Chiaramonte Construction &
                   I     Yes
                                                                                   I      Other. Specify



      842
      4.2.]                                                                                                                                                             -
                   Jeffrey_and JoAnn Anderson                                      Last 4 dIgits of account number
                   Nonpriority Creditor's Name
                                                                                   When was the debt Incurred?
                   3190 Dry Creek Rd
                  -------------                                                    As of the date you file, the claim is: Check all that apply
                  Number Street City State Zip Code
                   Who Incurred the debt? Check one.
                                                                                      I   Contingent
                     O   Debtor ¶ only
                     o Debtor 2 only                                                  • Unliquidated

                     I   Debtor 1 and Debtor 2 only                                   • Disputed
                                                                                      Type of NONPRIORITY unsecured claim:
                     O At least one of the debtors and another
                                                                                      O    Student loans
                     • Check if this claim Is for a community
                     debt
                                                                                      o Obligations arising out of a separation agreement or divorce that you did not
                                                                                      report as priority claims
                     Is the claim subject to offset?
                          No
                                                                                      o Debts to pension or profit-sharing plans, and other similar debts
                                                                                      • Other. Specify      Additional
                     • Yes




                                                                                                                                                                               Page 99 of 199
                                                                      Schedule ElF: Creditors Who Have Unsecured ClaIms
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Filed 11/27/19                                                                         Case 19-14974                                                                              Doc 1
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     Debtor   I Salvador Louis Chiaramonte
     Debtor   2 Pamela Marie Chiaramonte                                                                          Case number (if known)



    i1EI1     Jeffrey and JoAnn Anderson
              Nonpriority Creditors Name
                                                                             Last 4 digits of account number                                                               $0.00

              1721 Kerry Ln                                                  When was the debt incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                              As of the data you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              0    Debtor 1 only                                             • Contingent

              0    Debtor 2 only                                             I    Unhiquidated

              • Debtor 1 and Debtor 2 only                                   • Disputed

              0 At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:
                                                                             O     Student loans
              • Check if this claim Is for a community
              debt                                                           0  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                                report as priority claims

              DNa                                                            o Debts to pension or profit-sharing plans, and other similar debts
              • Yes                                                          • Other. Specify       Additional address


              Jennifer Langer                                                Last 4 digits of account number                                                          Unknown
              Noripriority Creditor's Name
              3761 Mocha Lane                                                When was the debt incurred?
              Santa Rosa, CA 95403
               Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                               0     Contingent
               O   Debtor 2 only                                             0     Unliquldated
               I   Debtor 1 and Debtor 2 only                                • Disputed
               o At least one of the debtors and another                     Type of NONPR1ORITY unsecured claim:

               • Check if this claim Is for a community                      0     Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

               • No                                                          O     Debts to pensIon or profit-sharing plans, and other similar debts

               o Yes                                                          U    Other. Specify



      :21                                                                                                                                                             Unknown
               Jennifer Langer                                                Last 4 digits of account number
               Non priority Creditor's Name
               P.O. Box 1096                                                 When was the debt incurred?
               Rohnert Park, CA 94927
               Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               O    Debtor 1 only                                             El   Contingent
               O    Debtor 2 only                                             0    Unhiquidated
               • Debtor 1 and Debtor 2 only                                   • Disputed
               o At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                       0     Student loans
               debt                                                           0  Obligations arising out of a separatIon agreement or divorce that you did not
               is the claim subject to offset?                                report as priority claims

                    No                                                        o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                         • Other. Specify      Additional Address




     Official Form 106 ElF                                       Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 100 of 199

                                996-2019 Best Case, ftC - www.bestcase.com                                                                                         Best Case Benkruptcy
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Filed 11/27/19                                                                          Case 19-14974                                                                               Doc 1
            Case Number: 2019-14974                                                      Filed: 11/27/2019 2:23:15 PM
                                                                                                                    ..                                             Doc # 1
     Debtor 1    Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                          Case number (if known)


     4.2                                                                                                                                                              $42,330.83
     88        Jerami Brazell Construction                                     Last 4,diglts of account number
               Non priority Creditors Name
               110 Frances Way                                                 When was the debt Incurred?
               Pismo Beach, CA 93449
               Number Street City State Zip Code                               As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               O    Debtor 1 only                                              o Contingent
               o Debtor 2 only                                                 O   unhquidated
                • Debtor 1 and Debtor 2 only                                   O  Disputed

               o At least one of the debtors and anolher                       Type of NONPRIORITY unsecured claim:
                                                                               0
               o Check If this claim is for a community                             Student loans
               debt                                                            o Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                                 report as priority claims

                • No                                                           0    Debts to pension or profit-sharing plans, and other similar debts

                0 Yes                                                          • Other. Specify




     E          Jerry Jacobsma
                Nonpriority Creditor's Name
                                                                               Last4digits of account number

                                                                               When was the debt incurred?
                                                                                                                                                                        Unknown

                1009 E. Myrtle Ave.
                Visa Ha, CA 93292
                Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                0    Debtor 1 only                                              o Contingent
                o Debtor 2 only                                                 o linhiquidated
                • Debtor 1 and Debtor 2 only                                    IN Disputed
                o At least one of the debtors and another                       Type of NONPRIORITY unsecured claim:

                U Check if this claim is for a community                        0 Student loans
                debt                                                            O ObligatIons arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                                 report as priority claims

                 • No
                                                                                0    Debts to pension or profit-sharing plans, and other similar debts

                 O   Yes                                                        U    Other, Specify



      42                                                                                                                                                                 Unknown
      go         Jesse & Jenny Marquez                                          Last 4 digits of account number
                 Nonpriority Creditor's Name
                 1333 Cashew Road                                               When was the debt Incurred?
                 Santa Rosa, CA 95403
                 Number Street City State Zip Code                              As of the date you file, the claim Is: Check all that apply
                 Who incurred the debt? Check one.
                 o Debtor 1 only                                                 O   Contingent
                 o Debtor 2 only                                                 O Unliquidated
                 • Debtor I and Debtor 2 only                                    • Disputed
                 o At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

                 • Check if this claim Is for a community
                                                                                 o Student loans
                 debt                                                            O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                                 report as priority claims

                  UNo                                                            O   Debts to pension or profit-sharing plans, and other similar debts

                  o Yes                                                          U   Other. Specify




                                                                                                                                                                         Page 101 of 199
      Official Form 106 ElF                                       Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                                                                      Best Case Bankruptcy
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Filed 11/27/19                                                                      Case 19-14974                                                                                Doc 1
           CaseNumber: 2019-14974                                                    Filed: 11/27/2019 2:23:15 PM                                                Doc# 1
     Debtor 1     Salvador Louis Chiaramonte
                                                                                                                Case number (if known)
     Debtor 2     Pamela Marie Chiaramonte

    [j Jesse & Jenny Marquez                                               Last 4 dIgits of account number                                                          Unknown
              Nonpriority Creditor's Name
                                                                           When was the debt incurred?
              1767 Waltzer Road
              SantaRosa, CA 95403
              Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
                o Debtor 1 only                                            o Contingent
                o Debtor 2 only                                            O    uniiquldated
                • Debtor I and Debtor 2 only                               • Disputed
                O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                U    Check If this claim Is for a community
                                                                           O    Student loans
                debt                                                       o OblIgations arising out of a separatIon agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                     No                                                    o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                      U    Other. specify     Additional address


     4.2                                                                                                                                                                   $0.00
                Jessica Deprimo                                            Last 4 dIgits of account number
                Non priority Creditor's Name
                                                                           When was the debt incurred?
                Matthew Perazzo
                1715 Blake Place
                Santa Rosa, CA 95403
                Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                                                                            U   Contingent
                0    Debtor 1 only
                0    Debtor 2 only                                          • Unliquidated

                • Debtor 1 and Debtor 2 only                                • Disputed
                                                                            Type of NONPRIORITY unsecured claim:
                 O   At least one of the debtors and another
                                                                            O    Studentloans
                 • Check if this claim is for a community
                debt                                                        O  Obligations arising out of a separation agreement or divorce that you did not
                                                                            report as priority claims
                Is the claim subject to offset?
                 ONo
                                                                            o Debts to pension or profit-sharing plans and other similar debts
                                                                                                   Plaintiffs In lawsuit titled Jessica Deprimo
                                                                                                   & Matthew Perazzo v. Chiaramonte
                 • Yes                                                      • Other. Specify       Construction



     EII1        Jessica Deprimo
                 Non priority Creditor's Name
                                                                            Last 4 digits of account number

                                                                            When was the debt Incurred?
                                                                                                                                                                            $0.00

                 Matthew Perazzo
                 1354 Range Ave #203
                 Santa Rosa, CA 95401
                 Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                                                                             • Contingent
                 O    Debtor 1 only
                 o Debtor 2 only                                             • linliquidated

                 U    Debtor 1 and Debtor 2 only                             •    Disputed

                 o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                  •   Check If this claim is for a community
                                                                             0
                                                                             0
                                                                                  Student loans
                                                                                Obligations art sing out of a separation agreement or divorce that you did not
                 debt
                                                                             report as priority claims
                 Is the claim subject to offset?
                  o No                                                       0    Debts to pension or profit-sharing plans, and other similar debts

                  •   Yes                                                    •    Other. Specify    Additional address




                                                                                                                                                                      Page 102 of 199
      Official Form 106 ElF                                    Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                                                                   Best Case Bankruptcy
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     Debtor 1 Salvador Louis Chiaramonte
                                                                                                                   Case number      (if known)
     Debtor 2 Pamela Marie Chiaramonte

                                                                                                                                                                      Unknown
             Jesusa Darrera                                                Last 4 digits of account number
             Nonpriority Creditors Name
                                                                           When was the debt Incurred?
             1546 Mathew Avenue
             Farmersville,  93223
              Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply

              Who Incurred the debt? Check one.
              0 Debtor 1 only                                                  O Contingent
              D Debtor 2 only                                                  O IJnliquidated
              U Debtor 1 and Debtor 2 only                                     U Disputed

              O At least one of the debtors and another                        Type of NONPRIORITY unsecured claim:
                                                                               O Student loans
              • Check if this claim is for a community
              debt                                                             O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                                  report as priority claims

              UNO
                                                                               El   Debts to pension or profit-sharing plans, and other similar debts

              o Yes                                                            I Other, Specify


     4.2                                                                                                                                                               Unknown
              Jiechi Wei & Xiulian Luo                                         Last 4 digIts of account number
     95
               Non priority Creditor's Name
                                                                               When was the debt incurred?
               658 Marquette Street
               Farmersville 1 C__________
               Number Street City State Zip Code                               As of the date you file, the claim is: Check all that apply

               Who incurred the debt? Check one
               o Debtor 1 only                                                  0 Contingent
               O   Debtor 2 only                                                0 Unliquidated
               • Debtor I and Debtor 2 only                                     • Disputed

               O   At feast one of the debtors and another                      Type of NONPRIORITY unsecured claim:

               • Check if this claim is fora community
                                                                                o Student loans
               debt                                                             O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                  report as priority claims

                • No
                                                                                El   Debts to pension or profit-sharing plans, and other similar debts

                0 Yes                                                           U Other. Specify


                                                                                                                                                                        Unknown
                John & Angela Ghigliazza                                        Last 4 digIts of account number
                Nonpriority Creditor's Name
                                                                                When was the debt Incurred?
                5170 Wikiup Bridge Way
                Santa Rosa, CA 85403
                                                                                As of the date you file, the claim Is: Check all that apply
                Number Street City State Zip Code
                Who incurred the debt? Check one.
                 o Debtor 1 only                                                 o Contingent
                 O Debtor 2 only                                                 0 Unhiquldated
                 • Debtor I and Debtor 2 only                                    • Disputed

                 o At least one of the debtors and another                       Type of NONPRIORITY unsecured claim:

                 • Check if this claim is for a community
                                                                                 o Student loans
                 debt                                                            0 Obligations arising out of a separation agreement or divorce that you did not
                 is the claim subject to offset?                                 report as priority claims

                 U No                                                            0 Debts to pension or profit-sharing plans, and other similar debts

                 o Yes                                                              • Other. Specify




                                                                                                                                                                         Page 103 of 199
                                                                   Schedule ElF: Creditors Who Have Unsecured Claims
       Official Form 106 ElF                                                                                                                                          Best Case Bankruptcy
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Filed 11/27/19                                                                     Case 19-14974                                                                                 Doc 1
            Case Number: 2019-14974                                                 Filed: 11/27/2019 2:23:15 PM                                               Doe # 1
     Debtor I     Salvador Louis Chiaramonte
                                                                                                               Case number (if known)
     Debtor 2     Pamela Marie Chiaramonte

     4.2                                                                                                                                                           Unknown
     97F     John & Angela Ghigliazza                                     Last 4 digIts of account number
             Nonpriority Creditors Name             -.           -


             P0 Box 6656                                                  When was the debt Incurred?
             Santa Rosa, CA 95406
             N umber Street City State Zip Code                           As of the date you file the claim is: Check all that apply
             Who incurred the debt? Check one.
                O   Debtor I only                                         o Contingent
                O   Debtor 2 only                                         o Unhiquidated
                • Debtor 1 and Debtor 2 only                              • Disputed
                O   At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community
                                                                          O    Student loans
                debt                                                      o ObligatIons arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                           report as priority claims

                • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                O    Yes                                                  • Other. Specify      Additional Address


                                                                                                                                                                    Unknown
                John & Debbie Lander                                      Last 4 digits of account number
                Nonpriority Creditors Name
                3640 Perk Place                                           When was the debt incurred?
                Santa Rosa, CA 95403
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                0    Debtor I only                                         o Contingent
                U    Debtor 2 only                                         o Unliquidated
                U    Debtor I and Debtor 2 only                            • Disputed
                o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community
                                                                           0    Student loans
                debt                                                       O  OblIgations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                     No                                                    O    Debts to pension or profit-sharing plans, and other similar debts

                 O   Yes                                                   • Other. Specify



      4.2
                                                                           Last 4 digits of account number
                                                                                                                                                                     Unknown
      99         John & Debbie Lander
                 Nonpriority Creditor's Name
                 2335 Moonllight Way                                       When was the debt Incurred?
                 Santa Rosa, CA 95403
                 Number Street City State ZIp Code                         As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                 0    Debtor 1 only                                         U   Contingent
                 o Debtor 2 only                                            o Unliquidated
                 • Debtor 1 and Debtor 2 only                               • Disputed
                 o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                 • Check If this claim Is for a community                   0   Student loans
                 debt                                                       O  Obligations arising out of a separation agreement or divorce that you did not
                 is the claim subject to offset?                            report as priority claims

                 • No                                                       O    Debts to pension or profit-sharing plans, and other similar debts

                 O    Yes                                                   • Other. specify      Additional address ______ ____________-




                                                                                                                                                                     Page 104 of 199
      Official Form 106 ElF                                   Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                                                                  Best Case Bankruptcy
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    Debtor I     Salvador Louis Chiaramonte
                                                                                                                 Case number      (if known)
    Debtor 2     Pamela Marie Chiaramorite

                                                                                                                                                                     Unknown
    iiEI1      Nonpriority Creditors Name
                                                                        Last 4 digits of account number

                                                                        When was the debt incurred?
               990 Wright Street
               Santa Rosa, CA 95404
                                                                        As of the date you file, the claim is: Check all that apply
               Number Street City State Zip Code
               Who Incurred the debt? Check one.
               o Debtor 1 only                                          o Contingent
               O   Debtor 2 only                                        O       unliquidated

               • Debtor I and Debtor 2 only                             1       Disputed

               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               I   Check if this claim Is for a community
                                                                            o Studentloans
               debt                                                         O  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims
                                                                            0    Debts to pension or profit-sharing plans, and other similar debts
               • No
                o Yes                                                       • Other. Specify




    F4.31
     0                                                                                                                                                                      $0.00
                                                                            Last 4 dIgits of account number
     0
                Nonpriority Creditors Name
                                                                            When was the debt Incurred?
                550 Jean Marie Drive
                Santa Ro         5403____
                                                                            As of the date you file, the claim Is: Check all that apply
                Number Street City State Zip Code
                Who Incurred the debt? Check one.
                11 Debtor 1 only                                            O    contingent

                0    Debtor 2 only                                           O Unliquldated
                 U   Debtor I and Debtor 2 only                              I    Disputed
                                                                             Type of NONPRIORITY unsecured claim:
                 0   At least one of the debtors and another

                 • Check if this claim Is for a community
                                                                             o Student loans
                 debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims
                                                                             O      Debts to pension or profit-sharing plans, and other similar debts
                       No
                                                                             U      Other. Specify    Additional address
                 O     Yes


                                                                                                                                                                       Unknown
      L~O3       John &_Nancy Kuhn
                   Nonpriority Creditors Name
                                                                             Last 4 digits of account number

                                                                             When was the debt incurred?
                   188 Wembley Court
                   Santa Rosa, CA 95403                                       As of the date you file, the claim Is: Check all that apply
                   N umber Street City State Zip Code
                   Who Incurred the debt? Check one.
                   o Debtor 1 only                                              o Contingent
                   O    Debtor 2 only                                           0   Unhiquidated

                   I    Debtor I and Debtor 2 only                              • Disputed
                                                                                Type of NONPRIORITY unsecured claim:
                   0 At least one of the debtors and another
                                                                                O    Student loans
                   • Check if this claim Is for a community
                   debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
                   Is the claim subject to offset?                              report as priority claims
                                                                                0    Debts to pension or profit-sharing plans, and other similar debts
                        No

                    O   Yes                                                     I    Other. Specify




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                                                                Schedule ElF: Creditors Who Have Unsecured Claims
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     Debtor I Salvador Louis Chiaramonte
     Debtor 2 PamelaMarie Chiaramonte                                                                           Case number (if known)


    EiI1     John & Nancy Kuhn
              Nonpriority Creditors Name
                                                                          Last 4 digIts of account number                                                        Unknown

              575 La Verne Ave                                            When was the debt incurred?
              Santa Rosa, CA 95404
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
              o Debtor I only                                             O Contingent
              O   Debtor 2 only                                           El Unliquidated
              I   Debtor 1 and Debtor 2 only                              I    Disputed
              o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community                    o Student loans
              debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                             report as priority claims

              INo                                                         El   Debts to pension   or profit-sharing plans, and other similar debts
              0   Yes                                                     I    Other. Specify     Additional address


    F4        John Reinecke                                               Last 4 digIts of account number                                                        Unknown
              Nonpriority Creditor's Name
              1425 Starview Court                                         When was the debt incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              O    Debtor 1 only                                          o Contingent
              0    Debtor 2 only                                          o Unliquidated
               • Debtor 1 and Debtor 2 only                                • Disputed
               o At least one of the debtors and another                  Type of NONPR1ORITY unsecured claim:

              • Check if this claim is for a community                     o Student loans
              debt                                                        0 OblIgations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

               INo                                                         0   Debts to pension or profit-sharing plans, and other similar debts

               0 Yes                                                       I   Other. Specify



     4.3                                                                                                                                                          Unknown
     05        John Reinecke                                               Last 4 digits of account number
               Nonpriority Creditor's Name
               12100 Fiori Lane                                            When was the debt Incurred?
               Sebastopol,CA 95472
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               0   Debtor 1 only                                           o Contingent
               0   Debtor 2 only                                           O    Unhiquidated
               • Debtor I and Debtor,2 only                                I    Disputed
               o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                    0    Student loans
               debt                                                        0 ObligatIons arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

               UNo                                                         O    Debts to pension or profit-sharing plans, and other similar debts

               O   Yes                                                     • Other. Specify       Additional address




                                                              Schedule ElF: CredItors Who Have Unsecured Claims                                                   Page 106 of 199
     Official Form 106 ElF
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               Case Number: 2019-14974                                                   Filed: 11/27/2019 2:23:15 PM                                                Doc # 1
    Debtor I     Salvador Louis Chiaramonte
                                                                                                                   Case   number (litnown)
    Debtor 2      Pamela Marie Chiaramonte

    4.3                                                                                                                                                                      $0.00
                Jonathan Neil & Associates, Inc.                            Last 4 digIts of account number
    06
                Non priority Creditor's Name
                                                                            When was the debt incurred?
                Commercial Collections
                18321 Ventura Blvd., Ste 1000
                Ta rzan    91356
                                                                            As of the date you file, the claim is: Check all that apply
                Number Street City State Zip Code
                Who incurred the debt? Check one.
                O    Debtor 1 only                                             o Contingent
                o Debtor 2 only                                                o Unhiquidated
                 U   Debtor I and Debtor 2 only                                o Disputed
                 o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                 I   Check if this claim Is for a community
                                                                               o Student loans
                 debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                               report as priority claims

                 UNo
                                                                               o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                      Collection agency for Recology Sonoma
                                                                               • Other. Specify
                 0   Yes



     43
     F                                                                                                                                                                   Unknown
                 Jorge Leal & Jasmin Raya                                      Last 4 digits of account number
                 Non priority Creditor's Name
                                                                               When was the debt Incurred?
                 1566 Steven Avenue
                 Farmersville, CA 93223                                        As of the date you file, the claim is: Check all that apply
                  Number Street City State Zip Code
                 Who Incurred the debt? Check one.
                  o Debtor 1 only                                               O Contingent
                  o Debtor 2 only                                               O Unliquidated
                  • Debtor 1 and Debtor 2 only                                  • Disputed
                                                                                Type of NONPRIORITY unsecured claim:
                  O At least one of the debtors and another
                  • Check if this claim Is for a community
                                                                                O    Studentloans

                  debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                               report as priority claims

                         No
                                                                                o Debts to pension or profit-sharing plans, and other similar debts
                   o Yes                                                         • Other. Specify



         4.3                                                                                                                                                                   $50.00
                   Jorgensen Co.                                        -        Last 4 digits of account number
          08
                    Nonpriortty Creditor's Name
                                                                                 When was the debt Incurred?
                    2021 East Main St.
                    Visalia, CA 93292                                            As of the date you file, the claim Is: Check all that apply
                    Number Street City State Zip Code
                    Who incurred the debt? Check one.
                     0   Debtor 1 only                                             0   contingent
                     0   Debtor 2 only                                             O   Unliquidated

                     I   Debtor I and Debtor 2 only                                o DIsputed
                                                                                   Type of NONPR1ORITY unsecured claim:
                     O At least one of the debtors and another
                     Cl Check if this claim Is fora community
                                                                                   o Student loans
                     debt                                                          0 Obligations arising out of a separation agreement or divorce that you did not
                     Is the claim subject to offset?                               report as priority claims
                                                                                   0   Debts to pension or profit-sharing plans, and other similar debts
                     •NO

                     OYes                                                          I   Other, Specify




                                                                                                                                                                           Page 107 of 199
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                                                                                                                                                                        Best Case Bankruptcy
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     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                      Case number (if known)


     0'3
    F[4        Jorgensen Co.
               Nonpriorlty Creditors Name
                                                                        Last 4 digits of account number                                                                $0.00

               P0 Box 39865                                             When was the debt Incurred?
               San Francisco, CA 94139
               Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               0   Debtor 1 only
                                                                        O Contingent
               o Debtor 2 only                                          O Unhiquidated
                   Debtor I and Debtor 2 only                           0   Disputed
               O At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                 O   Student loans
               debt                                                     0  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

               •No                                                      O   Debts to pension or profit-Sharing plans, and other similar debts

               o Yes                                                    • Other. specify     Additional address


     [4 3
            j Jorgenson Co.                                             Last 4 digits of account number                                                                $0.00
               Nonpriority Creditors Name
               3467 Foundry Park Ave                                    When was the debt Incurred?
               Fresno, CA 93706
               Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               O   Debtor 1 only
                                                                        o Contingent
               0   Debtor 2 only
                                                                        O   unliquidated
               • Debtor 1 and Debtor 2 only                             O   Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check If this claim Is for a community                 0   Student loans
               debt                                                     O  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

               •No                                                      O   Debts to pension or profit-sharing plans, and other similar debts

               0   Yes                                                  I   Other. Specify   Additional address



     EiI 1     Jose & Hilda Magallanes
               Non priority Creditors Name
                                                               -        Last 4 digits of account number                                                           Unknown

               1404 Starview Court                                      When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               0 Debtor 1 only                                          o Contingent
               0   Debtor 2 only                                        o Unliquidated
               • Debtor 1 and Debtor 2 only                             I   Disputed
               0 At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               • Check If this claim Is for a community                 O   Student loans
               debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

                   No                                                   0   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                    • Other. Specify




     Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                    Page 108 of 199
     Software Copyright () 1906-2019 Rest Case, LLC -www.bestcase.com                                                                                         Best Case Bankruptcy
Filed 11/27/19                                                                           Case 19-14974                                                                               Doc 1
              Case Number: 2019-14974                                                     Filed: 11/27/2019 2:23:15 FM                                                Doc# 1
     Debtor I       Salvador Louis Chiaramonte
                                                                                                                    Case   number (if known)
     Debtor 2       Pamela Marie Chiaramonte

     4.3
                                                                                                                                                                         Unknown
                  Jose & Hilda Magallanes                                  Last 4 digIts of account number
     12
                  Nonpriority Creditor's Name
                                                                           When was the debt Incurred?
                  P.O. Box 8201
                  Santa Rosa, CA 95407_                                     As of the date you file, the claim is: Check all that apply
                  Number Street City State Zip Code
                  Who Incurred the debt? Check one.
                  O   Debtor 1 only                                         o Contingent
                  O   Debtor 2 only                                         O       urtliquldated

                  • Debtor I and Debtor 2 only                              1       Disputed
                                                                            Type of NONPRIORITY unsecured claim:
                  O   At least one of the debtors and another

                  • Check if this claim Is for a community
                                                                            o Student loans
                  debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                           report as priority claims
                                                                                O   Debts to pension or profit-sharing plans, and other similar debts
                   • No
                   o Yes                                                        • Other, specify


                                                                                                                                                                         Unknown
                   Jose Sanchez & Ester Rivas                                   Last 4 digIts of account number
      13
                   Non priority Creditor's Name
                                                                                When was the debt Incurred?
                   4653 Paulette Place
                   Santa Rosa, CA 95403                                         As of the date you file, the claim is: Check all that apply
                   N umber Street City State ZIP Code
                   Who incurred the debt? Check one.
                   O    DebtOr I only                                           o Contingent
                   O    Debtor 2 only                                           O    Unliquidated

                    • Debtor 1 and Debtor 2 only                                • Disputed
                                                                                Type of NONPRIORITY unsecured claim:
                    O At least one of the debtors and another
                                                                                 O   Student loans
                    I   Check if this claim is for a community
                    debt                                                         o ObligationS arising out of a separation agreement or divorce that you did not
                    Is the claim subject to offset?                              report as priority claims

                    I     No
                                                                                 o Debts to pension or profitsharing plans, and other similar debts
                    o Yes                                                        • Other. Specify


                                                                                                                                                                           Unknown
                    Jose Sanchez & Ester Rivas                                   Last 4 digits of account number
           I43E
                      Nonpriority Creditor's Name
                                                                                 When was the debt incurred?
                      242 Cambria Way
                      Santa Rosa,_CA9540L_                          --
                                                                                 As of the date you file, the claim is: Check all that apply
                      Number Street City State Zip Code
                      Who Incurred the debt? Check one.
                      O   Debtor I only                                             0   contingent

                      o Debtor 2 only                                               o Unliquldated
                      I   Debtor 1 and Debtor 2 only                                • DIsputed
                                                                                    Type of NONPRIORITY unsecured claim:
                      O   At least one of the debtors and another

                      • Check if this claim Is for a community
                                                                                    o Student loans
                      debt                                                          0 Obligations arising out of a separation agreement or divorce that you did not
                      Is the claim subject to offset?                               report as priority claims
                                                                                    0   Debts to pension or prorit-sharing plans, and other similar debts
                           No
                                                                                    • Other. Specify     Additional address
                       0 Yes




                                                                                                                                                                            Page 109 of 199
                                                                    Schedule ElF: Creditors Who Have Unsecured Claims
           Official Form iOU ElF                                                                                                                                         Best Case Bankruptcy
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Filed 11/27/19                                                                        Case 19-14974                                                                              Doc 1
            Case Number: 20 19-14974                                                   Filed: 11/27/2019 2:23:15 PM                                             Doc#1
     Debtor 1    Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                       Case   number (if known)


              Jose Vela                                                      Last 4 digits of account number                                                        Unknown
               Nonpriority Creditors Name
               1606 Mathew Avenue                                            When was the debt incurred?
               EarmersvffleA 93223
               Number Street City State Zip Code                             As oIthe date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                               o ContIngent
               o Debtor 2 only                                               O    Unliquidated
               • Debtor I and Debtor 2 only                                  • Disputed
               O    At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               U Check If this claim is fora community                       U    Student loans
               debt                                                          o Obligations arising out of a separatIon agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                    No                                                       o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         • Other. Specify



               Joseph & Mary Ann Beltramini                                  Last 4 dIgits of account number                                                        Unknown
               Nonpriority Creditors Name
               22 Chelsea Drive                                              When was the debt Incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor I only                                               o Contingent
               o Debtor 2 only                                               o Unliquidated
               U    Debtor 1 and Debtor 2 only                               • Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               • Check If this claim Is for a community                      o Student loans
               debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

               • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                         U    Other. Specify




     E
     Z_        Joseph & Mary Ann Beltramini
              - Nonpriority Creditor's Name
                                                                             Last 4 dIgits of account number

                                                                             When was the debt Incurred?
                                                                                                                                                                    Unknown

               981 Quarry Street
               Petaluma, CA 94954
               Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one
                0   Debtor I only                                            o Contingent
                0   Debtor 2 only                                            O    linhiquldated
                • Debtor 1 and Debtor 2 only                                  • Disputed
                o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                       O   Student loans
               debt                                                           O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                         • Other. Specify      Additional address




     Official Form 106 ElF                                       Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 110 of 199

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Filed 11/27/19                                                                 Case 19-14974                                                                                Doc 1
               Case Number: 2019-14974                                           Filed: 11/27/2019 2:23:15 PM                                               Doe # 1
     Debtor 1     Salvador Louis Chiaramonte
                                                                                                           Case number (irknown)
     Debtor 2      Pamela Marie_Chiaramonte

     4.3                                                                                                                                                       Unknown
                Juan & MagePulido                                    Last 4 digIts of account number
                Nonpriority Creditor's Name
                                                                     When was the debt incurred?
                3845 Crestview Dr
                Santa Rosa, CA 95403
                                                                     As of the date you tile, the claim Is: Check all that apply
                Number Street City State Zip Code
                Who Incurred the debt? Check one.
                 o Debtor I only                                     O Contingent
                 o Debtor 2 only                                     D unliquldated
                 U   Debtor 1 and Debtor 2 only                       I   Disputed
                                                                     Type of NONPRIORITY unsecured claim:
                 0 At least one of the debtors and another
                                                                      O   Student loans
                 U    Check if this claim is for a community
                 debt                                                 o Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                      report as priority claims

                      No
                                                                      O    Debts to pension or profit-sharing plans, and other similar debts

                 o Yes                                                I    Other. Specify



     E
     43                                                                                                                                                         Unknown
                 Juan & Maggie Pulido                                 Last 4 dIgits of account number
                  Non priority Creditor's Name
                                                                      When was the debt incurred?
                  3912 Douglas Dr
                  Santa Rosa, CA 95405
                                                                      As of the date you file, the claim Is: Check all that apply
                  Number Street City State Zip Code
                  Who Incurred the debt? Check one.
                  O    Debtor 1 only                                   o ContIngent
                  O    Debtor 2 only                                   o lJnliquidated
                  U    Debtor 1 and Debtor 2 only                      U    Disputed
                                                                       Type of NONPRIORITY unsecured claim:
                  O At least one of the debtors and another
                                                                       O Student loans
                  • Check If this claim Is for a community
                  debt                                                 O Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                      report as priority claims
                                                                       o Debts to pension or profit-sharing plans, and other similar debts
                                                                       • Other. Specify       AdditlonaladdreSS
                   0     Yes


                                                                                                                                                                       $0.00
                   Juan & Silveria Pulido                              Last 4 digIts of account number
                   Non priority Creditor's Name
                                                                       When was the debt Incurred?
                   3845 Crestview Dr
                                                                        As of the date you file, the claim Is: Check all that apply
                   Number Street City State Zip Code
                   Who incurred the debt? Check one.
                                                                          I   Contingent
                     0   Debtor I only
                                                                          U   Unliquldated
                     0   Debtor 2 only

                     U   Debtor 1 and Debtor 2 only                       • Disputed
                                                                          Type of NONPRIOR1TY unsecured claim:
                     O At least one of the debtors and another
                                                                          O Student loans
                     • Check If this claim Is for a community
                     debt
                                                                          O Obligations arising out of a separation agreement or divorce that you did not
                                                                          report as priority claims
                     Is the claim subject to offset?
                                                                          O   Debts to pension or profit-sharing plans, and other similar debts
                     DNo
                                                                                                  Plaintiffs In lawsuit titled Juan & Silveria
                                                                                                  Pulido v. Chiaramonte Construction &
                     I Yes                                                • Other, Specify             pijnc.-forflOti2!S__,-___




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                                                                   Schedule EJF: Creditors Who Have Unsecured Claims
           Official Form 106 E/F                                                                                                                               Best Case Ban)uuptcy
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Filed 11/27/19                                                                   Case 19-14974                                                                               Doc 1
            Case Number: 2019-14974                                               Filed: 11/27/2019 2:23:15 PM                                              Doc # 1
     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                       Case number      (if known)


    [3]
             Juan & Silveria Pulido                                      Last 4 dIgits of account number                                                              $0.00
    i
             Non priority Creditors Name
             3912 Douglas Dr                                             When was the debt Incurred?
             Santa Rosa, CA 95405
             N umber Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
             Who Incurred the debt? Check one.
              0 Debtor 1 only                                            I Contingent

              0 Debtor 2 only                                            R llnhlquidated

              • Debtor 1 and Debtor 2 only                               • Disputed

              0 At least one of the debtors and another                  Type of NONPRIORIT'( unsecured claim:
                                                                         O Student loans
              • Check If this claim is for a community
              debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

              o No                                                       O Debts to pension or profit-sharing plans, and other similar debts

              R Yes                                                      • Other. Specify     Additional address



     EI1      Juan Flores & Elizabeth Chavez
              NonpriorityCredltor's Name
                                                                         Last 4 digits of account number

                                                                         When was the debt incurred?
                                                                                                                                                                 Unknown

              1365 Mathew Avenue
              Farmersville, CA 93223
              N umber Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
              0 Debtor 1 only                                            o Contingent
              o Debtor 2 only                                            o Unllquldated
              • Debtor I and Debtor 2 only                               I Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              I Check If this claim is for a community                   o Student loans
              debt                                                        o Obligations arisIng out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                  No                                                      o Debts to pension or profit-sharing plans, and other similar debts
              O Yes                                                       I Other. Specify



     L3 ]     Juan Solis
               Nonprlority Creditors Name
                                                                          Last 4 dIgits of account number                                                        Unknown

               1455 Ventura Avenue                                        When was the debt Incurred?
               Farmersville, CA 93223
               N umber Street City State Zip Code                         As of the date you fIle, the claim Is: Check all that apply
              Who Incurred the debt? Check one,
               O Debtor I only                                            o Contingent
               o Debtor 2 only                                            o Unliquidated
               I Debtor 1 and Debtor 2 only                               I Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community                   O Student loans
               debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               • No                                                       o Debts to pension or profit-sharing plans, and other similar debts
               O Yes                                                      • Other. Specify




                                                            Schedule ElF: Creditors Who Have Unsecured Claims                                                    Page 112 of 199
     Official Form 106 ElF
                                                                                                                                                              Best Case Bankruptcy
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Filed 11/27/19                                                                         Case 19-14974                                                                                Doc 1
              Case Number: 2019-14974                                                   Filed: 11/27/2019 2:23:15 PM                                                Doc # 1
     Debtor 1      Sa'vador Louis Chiaramonte
                                                                                                                  Case number (if lcnown)
     Debtor 2      Pamela Marie Chiaramonte

    11
    4,3
     24         Juis Lopez                                               Last 4 digits of account number
                                                                                                                                                                       Unknown

                Non priority Creditors Name
                                                                         When was the debt incurred?
                1355 Ventura Avenue
                FarmersvifleA CA 93223
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                 o Debtor 1 only                                          O       Contingent

                     Debtor 2 only                                        O Unliquidated
                 I   Debtor 1 and Debtor 2 only                           I       Disputed

                 o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                                                                          O       Student loans
                 • Check if this claim is for a community
                 debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                              report as priority claims

                 • No
                                                                              o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                        I    Other. Specify


                                                                                                                                                                               $0.00
                 Justified Credit Solutions,_inc.                             Last 4 digits of account number
      26
                  Non priority Creditor's Name
                                                                              When was the debt Incurred?
                  13825 US Highway 19, Suite 309
                  Hudso         L___
                  Number Street City State Zip Code                           As of the date you tile, the cialm is: Check all that apply
                  Who Incurred the debt? Check one.
                  O Debtor I only                                              O   Contingent

                  O Debtor 2 Only                                              0   Unliquidated

                  I    Debtor I and Debtor 2 only                              • Disputed

                  O At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:
                                                                               O    Student loans
                   • Check If this claim is for a community
                   debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
                   Is the claim subject to offset?                             report as priority claims
                                                                               O    Debts to pension or profit-sharing plans, and other similar debts
                   • No
                                                                                                        Collection agency for Friedman's Home
                   0 Yes
                                                                                • Other. Specify        Imppvement - fornoticeppOSe_


      [41                                                                                                                                                                 Unknown
      [j Justin Manns                                                           Last 4 digIts of account number
                     Nonpriority Creditor's Name
                                                                                When was the debt Incurred?
                     2057 Stagecoach Rd-Lot 22
                     Santa
                     Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
                     Who Incurred the debt? Check one.
                     O   Debtor 1 only                                          O contingent
                     o Debtor 2 only                                              o Unliquidated
                     • Debtor 1 and Debtor 2 only                                 • Disputed

                     O At least one of the debtors and another                    Type of NONPR1ORITY unsecured claim:

                     • Check if this claim Is for a community
                                                                                  o Student loans
                     debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
                     is the claim subject to offset?                              report as priority claims

                          No
                                                                                  o Debts to pension or profit-sharing plans, and other similar debts
                      o Yes                                                        I   Other. Specify




                                                                                                                                                                           Page 143 of 199
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           Official Form 106 ElF                                                                                                                                        Best Case Bankruptcy
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Filed 11/27/19                                                                    Case 19-14974                                                                               Doc 1
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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                        Case number (it known)


                Karelin Sammann                                          Last 4 dIgits of account number                                                         Unknown
                Non priority Creditors Name
                32859 Success Valley Drive                               When was the debt incurred?
                Porterville, CA 93257
                Number Street City State Zip Code                        As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one,
                o Debtor 1 only                                          0    Contingent
                O    Debtor 2 only                                       O    Unhquidated
                • Debtor 1 and Debtor 2 only                             • Disputed
                o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                • Check if this claim Is fora community                  o Student loans
                debt                                                     o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                •No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                O    Yes                                                 • Other. Specify



                Kathy Johnson                                            Last 4 digits of account number                                                          Unknown
                Nonpriority Creditor's Name
                P0 Box 2628                                              When was the debt incurred?
                Rancho Santa Fe,CA 92067
                N umber Street City State Zip Code                       As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                O    Debtor 1 only                                       O Contingent
                o Debtor 2 only                                          D Unliquidated
                • Debtor 1 and Debtor 2 only                             • Disputed
                O    At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community                 o Student loans
                debt                                                     o  ObligatIons arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                •No                                                      O    Debts to pension or profit-sharing plans, and other similar debts

                DYes                                                      I   Other. Specify


     4.293 1
     Ei         Katrina & Danny Lassen                                    Last 4 dIgits of account number                                                         Unknown
                Nonpriority Creditor's Name
                2348 Tedeschi Drive                                      When was the debt incurred?
                Santa Rosa, CA 95403
                Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                 0   Debtor 1 only                                        O contingent
                 O   Debtor 2 only                                        O Unliquidated
                 • Debtor 1 and Debtor 2 only                             • Disputed
                 U   At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                 • Check if this claim Is for a community                 O   Student loans
                 debt                                                     o  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                          report as priority claims

                 •No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                 O Yes                                                    I    Other, Specify




     Official Form 106 E/F                                     Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 114 of 199

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     Debtor   I Salvador Louis Chiaramonte
                                                                                                                  Case number (if known)
     Debtor   2 Pamela Marie Chiaramonte

                                                                                                                                                                       Unknown
               Katrina & Danny Lassen                       _____         Last 4 digits of account number                __________
     30
                Nonp riority Creditors Name
                                                                          When was the debt Incurred?
               4539 Brighton Drive
               Santa Rosa, CA 95403
                                                                          As of the date you file, the claim Is: Check all that apply
                Number Street City State Zip Code
                Who incurred the debt? Check one.
                o Debtor I only                                           o Contingent
                0   Debtor 2 only                                         0       Unllquidated

                • Debtor 1 and Debtor 2 only                                  • Disputed

                o   At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community
                                                                              o Student loans
                debt                                                          0 Obiigations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                               report as priority claims
                                                                              O    Debts to pension or profit-sharing plans, and other similar debts
                 UNo
                                                                              U    Other. Specify      Additional address
                 O Yes


                                                                                                                      4566                                                 $187.68
                 Kaweah Delta                                                 Last 4 digIts of account number
     [3fl
                 Nonprlority Creditors Name
                                                                              When was the debt Incurred?
                 400 W. Mineral King
                 Visalia, CA 93291                                            As of the date you file, the claim is: Check all that apply
                 Number Street City State Zip Code
                 Who Incurred the debt? Check one.
                 0 Debtor 1 only                                               o Contingent
                 0 Debtor 2 only                                               o linliquidated
                  • Debtor I and Debtor 2 only                                 O Disputed

                  o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:
                                                                               O Student loans
                  • Check it this claim is for a community
                  debt                                                         0 Obligations arising out of a separation agreement or divorce that you did not
                  is the claim subject to offset?                              report as priority claims
                                                                               O    Debts to pension or profit-sharing plans, and other similar debts
                  UNo

                  Dyes                                                         • Other. Specify


                                                                                                                                                                         $10,689.41
      [j4.3Kelly-Moore Paint Company, Inc.                                     Last 4 digits of account number
                   Non priority Creditors Name
                                                                               When was the debt incurred?
                   P.O. Box 59724
                  jfeIes,
                   Los     CA 90074
                                                                                As of the date you file, the claim is: Check all that apply
                    Number Street City State Zip Code
                    Who Incurred the debt? Check one.
                    O   Debtor 1 only                                           O     contingent

                    O   Debtor 2 only                                           o Unliquidated
                    I   Debtor 1 and Debtor 2 only                              o Disputed
                                                                                Type of NONPRIORITY unsecured claim:
                    o At least one of the debtors and another                     0 Student loans
                    0   Check if this claim is for a community
                    debt                                                          D Obligations arising out of a separation agreement or divorce that you did not
                    Is the claim subject to offset?                               report as priority claims

                        No
                                                                                  o Debts to pension or profit-sharing plans, and other similar debts
                    O yes                                                         U   Other. Specify




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                                                                  Schedule ElF: Creditors Who Have Unsecured Claims
          Official Form 106 EfF                                                                                                                                         Best Case Bankruptcy
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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                       Case number     (if known)



              Kelly-Moore Paint Company,_Inc.                            Last 4 digIts of account number                                                                $0.00
              Nonpriority Creditors Name
              5101 Raley Blvd                                            When was the debt Incurred?
              Sacramento, CA 95838
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor I only                                            o Contingent
              o Debtor 2 only                                            o Unliquidated
                  Debtor 1 and Debtor 2 only                             o Disputed
              o At least one of The debtors and another                  Type of NONPRIORITY unsecured claim:

              • Check if this claim Is for a community                   o Student loans
              debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                            report as priority claims

                  No                                                     O Debts to pension or profit-sharing plans, and other similar debts
              o Yes                                                      • Other. Specify    Additional address



     34       Ken & Karen Clark                                          Last 4 digIts of account number                                                          Unknown
              Non priority Creditors Name
              39 Oxford Court                                            When was the debt incurred?
              Santa Rosa, CA 95403
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
              Who Incurred the debt? Check one,
               o Debtor I only                                           o Contingent
               o Debtor 2 only                                           O Unliquidated
               • Debtor I and Debtor 2 only                              • Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim isfora community                    DStudent loans
               debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                  No                                                     O Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     I Other. Specify



     [J        Ken & Theresa Hayworth
               Non priority Creditors Name
                                                                         Last 4 dIgits of account number                                                          Unknown

               744 Pony Drive                                            When was the debt incurred?
               Hanford, CA 93230
               N umber Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                           0 Contingent
               o Debtor 2 only                                           o Unhiquidated
               • Debtor I and Debtor 2 only                               • Disputed
               0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                   O Student loans
               debt                                                       o  OblIgations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               INo                                                        o Debts to pension or profit-sharing plans, and other similar debts
               O Yes                                                      • Other. Specify




     Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                     Page 116 of 199
     Software Copyright (c) 1995-2019 Best Case, LLC -www.bestcase.com                                                                                         Best Case Bankruptcy
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              Case Number: 2019-14974                                                     Filed: 11/27/2019 2:23:15 PM                                                Doc# 1
    Debtor I Salvador Louis Chiaramonte
                                                                                                                     Case number (it known)
    Debtor 2 Pamela Marie Chiaramonte

    4.3                                                                                                                                                                  Unknown
                Kevin Johnson                                              Last 4 digits of account number
    [j
                Nonpriority Creditors Name
                                                                           When was the debt .incu rred?
                3667 Hemlock Streeet
                Windsor, CA 95492
                Number Street City State Zip Code                          As of the date you file, the claim is Check all that apply

                Who incurred the debt? Check one.
                D    Debtor 1 only                                             0   Contingent
                o Debtor 2 only                                                0    Unliquidated

                 * Debtor 1 and Debtor 2 only                                  U    Disputed

                 O   At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                 • Check if this claim Is for a community
                                                                               o Student loans
                 debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                               report as priority claims

                 • No
                                                                               o DebtS to pension or profit-sharing plans, and other similar debts
                 o Yes                                                         U    Other. Specify



                                                                                                                                                                            $819.46
     El          Kohls
                 Non priority Creditors Name
                                                                               Last 4 digits of account number

                                                                               When was the debt incurred?
                                                                                                                        9213

                 P0 Box 30510
                 Los Angeles, CA 90030
                                                                               As of the date you file, the claim is: Check all that apply
                  Number Street City State Zip Code
                 Who Incurred the debt? Check one.
                  0   Debtor I only                                             0    contingent
                  0   Debtor 2 only                                             o Unliquidated
                  U   Debtor I and Debtor 2 only                                O Disputed
                                                                                Type of NONPRIORITY unsecured ciaim:
                  0   At least one of the debtors and another

                  • Check If this claim Is fore community
                                                                                o Student loans
                  debt                                                          O Obligations arising out of a separation agreement or divorce that you did not
                  is the claim subject to offset?                               report as priority claims
                                                                                O    Debts to pension or profit-sharing plans, and other similar debts
                         No

                   DYes                                                         U      Other. Specify    Credit Card


      4.3                                                                                                                                                                  Unknown
                   Konrad Vanderham                                             Last 4 digits of account number
      38
                   Nonpriority Creditor's Name
                                                                                When was the debt incurred?
                   31478 Road 132

                    Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
                    Who incurred the debt? Check one.
                     o Debtor I only                                               O contingent
                     O   Debtor 2 only                                             o Unliquidated
                     U   Debtor 1 and Debtor2 only                                 U Disputed
                                                                                   Type of NONPRIORITY unsecured ciaim:
                     0   At least one of the debtors and another
                                                                                   O    Student loans
                     • Check if this claim is for a community
                     debt                                                          0  Obligations arising out of a separation agreement or divorce that you did not
                     is the claim subject to offset?                               report as priority claims
                                                                                   0    Debts to pension or profit-sharing plans, and other similar debts
                     • No
                     O Yes                                                          I   Other. Specify




                                                                                                                                                                            Page 111 of 199
          Official Form 106 ElF                                    Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                                                                         Best Case Bankruptcy
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Filed 11/27/19                                                                       Case 19-14974                                                                                 Doc 1
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     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamta Marie Chiaramonte                                                                            Case number (if known)


              Lanak & Hanna, PC                                             Last 4 digits of account number                                                                $0.00
              Nonpriority Creditors Name
              Natasha K. Buchanan                                           When was the debt Incurred?
              625 The City Drive S #190
              Orange, CA 92868
              Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
              0    Debtor 1 only                                            o Contingent
              O Debtor 2 only                                               o Unhiquidated
                   Debtor 1 and Debtor 2 only                               0 Disputed
              O    At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              • Check If this claim Is for a community
                                                                            o Student loans
              debt                                                          0 Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                               report as priority claims

                   No                                                       O    Debts to pension or profit-sharing plans, and other similar debts
                                                                                                  Attorneys for American Contractors
               0   Yes                                                      • Other. Specify      Indemnity Company - for notice purposes



    10         Lang, Richert & Patch
               Nonpriority Creditors Name
                                                                            Last4 digits of account number

                                                                            When was the debt Incurred?
                                                                                                                                                                    $38,477.99

               Mark L. Creede
               5200 N Palm Ave
               Fresno, CA 93704
               N umber Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               U   Debtor I only                                             O   Contingent
               0   Debtor 2 only                                             o Unliquidated
               • Debtor 1 and Debtor 2 only                                  U Disputed
               o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               U   Check if this claim is fora community
                                                                             o Student loans
               debt                                                          0 Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                               report as priority claims

                • No                                                         O Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                        • Other. Specify



                                                                                                                                                                       Unknown
                Larry Schalich Construction                                  Last 4 digIts of account number
                Nonpriority Creditors Name
                4346 Mt. Taylor Drive                                        When was the debt Incurred?

                Santa Rosa, CA 95404
                Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                o Debtor I only                                              o Contingent
                o Debtor 2 Only                                              o Unliquidated
                • Debtor I and Debtor 2 only                                  • Disputed
                O At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                • Check II this claim is for a community
                                                                              O   Student loans
                debt                                                          O  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                               report as priority claims

                INo                                                           o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                        • Other. Specify




                                                                                                                                                                       Page 118 of 199
      Official Form 106 ElF                                    Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                                                                    Best Case Bankruptcy
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          Case            Number: 2019-14974                                          Case 19-14974
                                                                                      Filed: 11/27/2019                       2:23:15 PM                        Doe # 1         Doc 1

    Debtor 1   Salvador Louis Chiaramonte
                                                                                                                 Case number (i known)
    Debtor 2    Pamela Marie Chiaramonte


    F3
    4 ]      Laura Roberts
             Nonpriority Creditor's Name
                                                                            Last 4 digits of account number

                                                                            When was the debt Incurred?
                                                                                                                                                                   Unknown


             2077 Stagecoach Road
             Santa Rosa, CA 95404
             Number Street City State Zip Code                              As of the date you file, the claim is; Check all that apply
             Who incurred the debt? Check one.
             0    Debtor 1 only                                             o Contingent
             0    Debtor 2 only                                             O    Unliquidated

             • Debtor 1 and Debtor 2 only                                   U  Disputed
              O   At least one of the debtors and another                   Type of NONPRIORITY unsecured claIm:

             • Check if this claim Is for a community
                                                                            O    Student loans
             debt                                                           o OblIgations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                                report as priority claims

                   No
                                                                            0    Debts to pension or profit-sharing plans, and other similar debts

               O Yes                                                         U   Other. Specify



     4.3                                                                                                                                                            Unknown
               Laura Roberts                                                 Last 4 digits of account number
     43
               Nonpriority Creditor's Name
                                                                             When was the debt Incurred?
               3200 Peartree Lane 4353
               Napa, CA 94558
               Number Street City State Zip Code                             As of the date you fIle, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               O Debtor 1 only                                               o Contingent
               O   Debtor 2 only                                             0    Unliquidated

               • Debtor 1 and Debtor 2 only                                  U. Disputed
               0   At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               • Check If this claim Is for a community
                                                                             O    Student loans

               debt                                                          o ObligatIons arising out ofa separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                    No
                                                                             O    Debts to pension or profit-sharing plans, and other similar debts

               O    Yes                                                       • Other. Specify       Additional Address


      4.3                                                                                                                                                            Unknown
                Laureen CaIn                                                  Last 4 digIts of account number
      44
                Nonpriority Creditor's Name
                                                                              When was the debt incurred?
                135 N. Oaks Street
                Tulare,CA 93274
                N umber Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                0     Debtor 1 only                                           O     contingent
                0     Debtor 2 only                                           0     Unliquidated

                 • Debtor 1 and Debtor 2 only                                 • Disputed
                 o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                 • Check If this claim Is for a community
                                                                              o Student loans
                 debt                                                         O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                              report as priority claims

                  iNo
                                                                                O   Debts to pension or profit-sharing plans, and other similar debts

                  0   Yes                                                       I   Other. Specify




                                                                                                                                                                      Page 119 of 199
                                                               Schedule ElF: Creditors Who Have Unsecured Claims
      Official Form 106 ElF
                                                                                                                                                                   Best Case Bankruptcy
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Filed 11/27/19                                                                    Case 19-14974                                                              Doc#1            Doc 1
            Case Number: 20 19-14974                                               Filed: 11/27/2019 2:23:15 PM.
     Debtor   I Salvador Louis Chiaramonte
     Debtor   2 Pamela Marie Chiaramonte                                                                      Case number (If known)


    [j Lauren Pique Designs                                               Last 4 dIgits of account number                                                       $65,833.05
               Non priority Creditors Name
               285 Carson Ct.                                             When was the debt incurred?
               Napa, CA 95476_._,_
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               0 Debtor 1 only
                                                                          o Contingent
               0 Debtor 2 only
                                                                          o Unliquidated
                   Debtor 1 and Debtor 2 only                             o DIsputed
               o At least one of the debtors and another                  Type of NONPR1ORITY unsecured ciaim:

               • Check if this claim is for a community                   o Student loans
               debt                                                       o  ObligatIons arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as prIority claims

               •No                                                        o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                      • Other. Specify



    146        Law Office of Jorge J. Jaramillo                           Last 4 digIts of account number                                                               $0.00
               Nonpriority Creditors Name
               4670 Nebo Drive, Suite 200                                 When was the debt Incurred?
               La Mesa, CA 91941
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                            o Contingent
               o Debtor 2 only                                            o Unhiquidated
                • Debtor 1 and Debtor 2 only                              • Disputed
               0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claIm:

               • Check if this claim is for a community                   o Student loans
               debt                                                       o  OblIgations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                            report as priority claims

                INo                                                       o Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Attorneys for Greggory Gutierrez - for
                0 Yes                                                     • Other. Specify    notice purposes


               Law Offices of Kathy L Wallace                             Last 4 dIgits of account number                                                               $0.00
               Nonprlorlty Creditor's Name
               Kathy L. Wallace                                           When was the debt incurred?
               2311 E.Tulare Ave.
               Tulare, CA 93274
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
                O Debtor 1 only                                           o Contingent
                o Debtor 2 only                                           o Unliquidated
                U Debtor 1 and Debtor 2 only                              • Disputed
                0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim;
               U Check If this claim Is for a community                   o Student loans
               debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                UNo                                                       o Debts to pension or profit-sharing plans, and other similar debts
                                                                                               Attorneys for Coulter's Flooring America
                                                                                               aka Coulter's Interiors Inc. - for notice
                0 Yes                                                     • Other. Specify




     Official Form 106 ElF                                   Schedule ElF: Creditors Who Have Unsecured Claims                                                   Page 120 of 199
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Filed 11/27/19                                                                       Case 19-14974                                                                               Doc 1
            Case Number: 2019-14974                                                   Filed: 11/27/2019 2:23:15 PM                                              Doc # 1
     Debtor 1   Salvador Louis Chiaramortte
                                                                                                                Case number (incnOwn)
     Debtor 2    Pamela Marie Chiaramonte

              Law Offices of Michael I. Wayne,                                                                                                                           $0.00
    F8        APC
               Nonpriority Creditor's Name
                                                                         Last 4 digIts of account number

                                                                         When was the debt incurred?
               Michael I. Wayne
               149 So. Barrington Ave., No. 143
               Los AncA9004L
                                                                         As of the date you file, the claim Is: Check all that apply
               N umber Steet City State Zip Code
               Who Incurred the debt? Check one.
               O    Debtor 1 only                                            O Contingent
               o Debtor 2 only                                               o Unliquidated
               • Debtor 1 and Debtor 2 only                                  I   Disputed

                o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                I   Check if this claim is for a community
                                                                             o Student loans
                debt                                                         O ObligationS arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                I   No
                                                                             O   Debts to pension or profit-sharing plans and other similar debts
                                                                                                  Attorneys for Ferguson Enterprises, Inc. -
                                                                             • Other. Specify     fornoticprp_                          __—
                0   Yes



      4.3       Law Offices of Michael S.                                                                                                                                  $0.00
                                                                             Last 4 digits of account number
     14 9       Townsend
                Nonpriority Creditor's Name
                                                                             When was the debt Incurred?
                Michael S. Townsend
                3952 D. Clairemont Mesa Blvd.,
                Suite 456
                San                                                           As of the date you file, the claim is: Check all that apply
                 Number Street City State Zip Code
                 Who Incurred the debt? Check one.
                 o Debtor I only                                              O    Contingent
                 o Debtor 2 only                                              O    Unliquldated
                 • Debtor I and Debtor 2 only                                 o Disputed
                                                                              Type of NONPRIORITY unsecured claim:
                 O At least one of the debtors and another
                                                                              O Student loans
                 • Check if this claim Is for a community
                 debt                                                         0 Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                              report as priority claims
                                                                               U   Debts to pension or profit-sharing plans, and other similar debts
                  • No
                                                                                                    Attorneys for Probuild Company, LLC dba
                   0   Yes
                                                                               • Other. Specify     Dixieline Lumber Co.




                                                                                                                                                                       Page 121 of 199
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                                                                                                                                                                    Best Case Banteuptcy
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     Debtor   1 Salvador Louis Chiaramonte
     Debtor   2 Pamela Marie Chiaramonte                                                                      Case   number (if known)



              Law Offices of Richard Freeman                              Last 4 digits of account number                                                              $0.00
              Nonpriority Creditors Name
              Richard Freeman                                             When was the debt incurred?
              703 Second Street, Suite 350
              Santa Rosa, CA 95404
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              D   Debtor 1 only                                           o Contingent
              o Debtor2only                                               o Unliquidated
              • Debtor 1 and Debtor 2 only                                • Disputed
              o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community                    O    Student loans
              debt                                                        O  Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                             report as priority claims

               • No                                                       0 Debts to pension or profit-sharing plans, and other similar debts
                                                                                            Attorneys for Robert Richner & Colette
                                                                                             Lucchetti; Andy & Kimberly Guy; Jeffrey &
                                                                                            JoAnne Anderson; Mark Anderson & Diane
                                                                                             Moore; Robert Pintane; Ron Marsh; Eric
                                                                                             Edenfeild; Cody and Monique Walker; Mike
               0 Yes                                                      I Other. Specify and Karen Allen- for notice purposes



               Legal Aid of Sonoma County                                 Last 4 digits of account number                                                               $0.00
               Nonpriority Creditors Name
               Clifford M. Cockerill                                      When was the debt Incurred?
               144 SE St Ste 100
               Santa Rosa, CA 95404
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                             0 Contingent
               o Debtor 2 only                                             0 Unliquidated
               • Debtor I and Debtor 2 only                                I   Disputed
               O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community
                                                                           0   Student loans
               debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                             report as priority claims

                INo                                                        o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                Attorneys for Jessica Deprimo & Matthew
                0 Yes                                                      • Other. Specify     Perazzo - For notice purposes.




                                                              Schedule ElF: Creditors Who Have Unsecured Claims                                                    Page 122 of 199
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             Case Number: 2019-14974                                         Filed: 11/27/2019 2:23:15 PM
    Debtor 1     Salvador Louis Chiaramonte                                                           Case number (if known)
    Debtor 2     pamelaMarieCharflte
                                                                                                                                                           Unknown
               Leonora Grimando                                  Last 4 dIgits of account number

               Nonpriority Creditors N.M.
                                                                 When was the debt incurred?
               5472 Dana Drive
               SaaRosa                                           As of the date you file, the claim is: Check all that apply
               Number Street City State Zip Code
               Who Incurred the debt? Check one.
               11   Debtor 1 only                                O    contingent

               11   Debtor 2 only                                o Uniiquidated
               U    Debtor I and Debtor 2 only                   I Disputed
                                                                 Type of NONPRIORITY unsecured claim:
               O    At least one of the debtors and another

                I   Check If this claim is for a community
                                                                  o Student loans
                                                                  O   ObligationS arising out of a separation agreement or divorce that you did not
               debt
                                                                  report as priority claims
               Is the claim subject to offset?
                                                                  O    Debts to pension or profit-sharing plans, and other similar debts
                • No

                o Yes                                             U    Other. Specify


                                                                                                                                                            Unknown
     4,3                                                          Last 4 digIts of account number
     53
                Leonora Grumando
                Nonpriority Creditors Name
                                                                  When was the debt incurred?
                9465 Vinecrest Rd
                Wind sor ,                                        As of the date you file, the claim Is: Check all that apply
                Number Street City State Zip Code
                Who Incurred the debt? Check one.
                 0    Debtor I only                                o Contingent
                 0    Debtor 2 only                                O Unliquidated
                 • Debtor I and Debtor 2 only                      U Disputed
                                                                   Type of NONPRIORITY unsecured claim:
                 O At least one of the debtors and another
                                                                   O     Student loans
                 • Check if this claIm is for a community
                                                                   O     Obligations arising out of a separation agreement or divorce that you did not
                 debt
                                                                   report as priority claims
                 Is the claim subject to offset?
                                                                     O   Debts to pension or profit-sharing plans, and other similar debts
                      No
                                                                     U    Other. Specify    Additional Address
                    O Yes

                                                                                                                                                             Unknown
      E54
         3]
                    Les & Debbie Philpott
                    Non priority Creditors Name
                                                                     Last 4 dIgits of account number

                                                                      When was the debt Incurred?
                                                                                                                      _______


                    64 Oxford Court
                    Santa Rosa, CA 95403                              As of the date you fIle, the claim Is: Check all that apply
                    Number Street City State Zip Code
                    Who Incurred the debt? Check one.
                    O Debtor I only                                   o Contingent
                    O   Debtor 2 only                                 O    Unllquldated

                    I   Debtor 1 and Debtor 2 only                    I Disputed
                                                                      Type of NONPRIORITY unsecured claim:
                    O At least one of the debtors and another
                    U   Check If this claim is for a community
                                                                      o Student loans
                    debt                                               O Obligations arising out of a separation agreement or divorce that you did not
                                                                       report as priority claims
                    Is the claim subject to offset?
                                                                       O   Debts to pension or profit-sharing plans, and other similar debts
                     UN

                     0 Yes                                             I   Other. Specify




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Filed 11/27/19                                                                       Case 19-14974                                                                                    Doc 1
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     Debtor I     Salvador Louis Chiaramonte
     Debtor 2     Pamela Marie Chiaramonte                                                                      Case number (ifknown)



    E]        Les & Debbie Philpott
              Nonpriority Creditors Name
                                                                            Last 4 digIts of account number

                                                                            When was the debt Incurred?
                                                                                                                                                                        Unknown

              304 Oak Tree Drive
              Santa Rosa, CA 95401
              Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
                O   Debtor I only                                           O Contingent
                o Debtor 2 only                                             o Unliquidated
                • Debtor 1 and Debtor 2 only                                • Disputed
                O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                I Check If this claim Is for a community                    o Student loans
                debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                • No                                                        o Debts to pension or profit-sharing plans, and other similar debts
                O   Yes                                                     $ Other. Specify     Additionaladdress


                Liberty Mutual Insurance                                    Last 4 digits of account number                                                                 $568.30
                Nonpriority Creditors Name
                P.O. Box 3200                                               When was the debt incurred?
                New York NY 1011 6.3200
                N umber Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                O Debtor 1 only                                              o Contingent
                0    Debtor 2 only                                           o Unliquidated
                • Debtor 1 and Debtor 2 only                                 o Disputed
                o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                O Check If this claim is for a community
                                                                             o Student loans
                debt                                                         o  ObligatIons arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                              report as priority claims

                • No                                                         o Debts to pension or profit-sharing plans, and Other similar debts
                O    Yes                                                     • Other. Specify




     10         Liberty Mutual Insurance
                Nonpriority Creditors Name
                                                                             Last 4 digits of account number

                                                                             When was the debt incurred?
                                                                                                                                                                                $0.00

                 P0 Box 85830
                 San Dio, CA 92186
                 Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
                 Who Incurred the debt? Check one.
                 o Debtor I only                                             o Contingent
                 o Debtor 2 only                                             o Unliquidated
                 I   Debtor 1 and Debtor 2 only                              o Disputed
                 O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                 • Check If this claim Is for a communIty                    o Student loans
                 debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims

                 • No                                                         O   Debts to pension or profit-sharing plans, and other similar debts

                 o Yes                                                        • Other. Specify     Additional address                                          -




                                                                Schedule ElF: CredltorsWlio Have Unsecured Claims                                                         Page 124 of 199
      Official Form 106 E/F
                                                                                                                                                                       Best Case Bankruptcy
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Filed 11/27/19                                                                   Case 19-14974                                                                                 Doc 1
            Case Number: 20 19-14974                                              Filed: 11/27/2019 2:23:15 PM                                                  Doc# 1
    Debtor 1 Salvador Louis Chiaramonte                                                                     Case   number (if known)
    Debtor 2 Pamela Marie Chiaramorite

    E1.     Ltonsgate Construction                                  Last 4 digits of account number
                                                                                                                                                                  $56,482.46

            Nonpriority Creditors Name
                                                                    When was the debt incurred?
            2327 N. Thompson Ave.
                jeA 93654
                                                                     As of the date you file, the claim Is: Check all that apply
            Number Street City State Zip Code
            Who incurred the debt? Check one.
             0 Debtor I only                                         O     Contingent
             El Debtor 2 only                                        O     Unliquidated
             • Debtor 1 and Debtor 2 only                            O Disputed
             o At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

             • Check If this claim is for a community
                                                                     o Student loans
             debt                                                     o OblIgations arising out of a separation agreement or divorce that you did not
             lathe claim subject to offset?                           report as priority claims
                                                                      0    Debts to pension or profit-sharing plans, and other similar debts
                 No
             O   Yes                                                   U   Other. Specify


                                                                                                                                                                    Unknown
     4.3                                                               Last 4 digits of account number
     59
              Lourdes Contreras
              Nonpriority Creditor's Name
                                                                       When was the debt incurred?
              1465 Mathew Avenue
              Farmersville q223_                                       As of the date you file, the claim is: Check all that apply
              Number Street City State Zip Code
              Who incurred the debt? Check one.
              o Debtor I only                                          O Contingent
              El Debtor 2 only                                         O Unllquidated
              • Debtor 1 and Debtor 2 only                             I     Disputed
                                                                       Type of NONPRIORITY unsecured claim:
              El   At least one of the debtors and another
                                                                       O Student loans
               • Check if this claim is for a community
                                                                        El Obligations arising out of a separation agreement or divorce that you did not
               debt
               is the claim subject to offset?                          report as priority claims
                                                                         O   Debts to pension or profit-sharing plans, and other similar debts
                   No

               O Yes                                                     I   Other. Specify


                                                                                                                                                                     $1,910.88
      4,3                                                                Last 4 digits of account number
      60       Lowes
               Nonpriority Creditors Name
                                                                         When was the debt incurred?
               P.O. Box 530914
               Atlanta, GA 30353                                         As of the date you file, the claim Is: Check all that apply
               Number Street City State Zip Code
               Who incurred the debt? Check one.
                 o Debtor I only                                           O Contingent
                 O    Debtor 2 only                                        O    Unliquidated
                 • Debtor 1 and Debtor 2 only                              O  Disputed
                                                                           Type of NONPRIORITY unsecured ciaim
                 O At least one   of the debtors and another
                                                                           El   Student loans
                 • Check if this claim is for a community
                                                                           O    Obligations arising out of a separation agreement or divorce that you did not
                 debt
                 is the claim subject to offset?                           report as priority claims

                      No
                                                                           o Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                     • Other. Specify




                                                                                                                                                                      Page 125 of 199
                                                               Schedule ElF: Creditors Who Have Unsecured Claims
       Official Form 106 ElF                                                                                                                                       Best Case BankrupI
       Soare Copight (c) 1996-2019 BeSt Case, LLC - www.beStcaSO.COM
Filed 11/27/19                                                                       Case 19-14974                                                                              Doc 1
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     Debtor 1       Salvador Louis Chiaramonte
     Debtor 2       Pamela Marie Chiaramonte                                                                     Case number (if known)


    L3
    61
               Lowes/Synchrony Bank                                         Last 4 digits of account number                                                            $58.93
               Nonpriority Creditors Name
               P.O. Box 530914                                              When was the debt Incurred?
               Atlanta, GA 30353•:q914
               Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                O   Debtor 1 only
                                                                            O    Contingent
                O   Debtor 2 only
                                                                            o linliquldated
                • Debtor 1 and Debtor 2 only                                o Disputed
                o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check if this claim is fora community                     o Student loans
                debt                                                        O  obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                • No                                                        O    Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                       U    Other. Specify




     EEI]       Lowes/Synchrony_Bank
                Nonpriority Creditor's Name
                                                                            Last 4 digIts of account number                                                               $0.00


                P0 Box 965004                                               When was the debt incurred?
                Orlando, FL 32896
                Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                0    Debtor 1 only
                                                                            o Contingent
                0    Debtor 2 only
                                                                            o Unllquidated
                • Debtor 1 and Debtor 2 only                                o Disputed
                o At least one or the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check if this claim is bra community
                                                                            o Student loans
                debt                                                         o OblIgations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                     No                                                      0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                        I   Other. Specify    Additional address



                Luariano Garcia & Luz Garcia                                 Last 4 digIts of account number                                                        Unknown
                Nonpriority Creditor's Name
                1525 Mathew Avenue                                           When was the debt incurred?
                Farmersville, CA 93223
                Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                 o Debtor 1 only                                             o ContIngent
                 O   Debtor 2 only                                           o Unliquidated
                 • Debtor 1 and Debtor 2 only                                • Disputed
                 o At least one of the debtors and another                   Type of NONPRIOR1TY unsecured claim:

                 I   Check if this claim Is for a community                  o Student loans
                 debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims

                     No                                                      O    Debts to pension or profit-sharing plans, and other similar debts

                 O Yes                                                       U    Other. Specify




                                                               Schedule ElF: Creditors Who Have Unsecured Claims                                                    Page 126 of 199
     Official Form 108 E/F
                                                                                                                                                                 Best Case 6ankruptcy
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Filed 11/27/19                                                                            Case 19-14974                                                                                Doc 1
                Case Number: 2019-14974                                                    Filed: 11/27/2019 2:23:15 PM                                               Doe # 1
    Debtor I Salvador Louis Chiaranionte
                                                                                                                    Case   number (if known)
    Debtor 2 Pamela_Marie Chiaramonte

                                                                                                                                                                         Unknown
    jj           Lynda J Power                                              Last 4 digIts of account number
                 Nonpriority Creditors Name
                                                                            When was the debt-incurred?
                 3634 Aaron Dr
                 Santa_Rosa, CA 95404
                                                                            As of the date you file, the claim is: Check all that apply
                 Number Street City State Zip Code
                 Who incurred the debt? Check one.
                 D Debtor I only                                                o Contingent
                 D    Debtor 2 only                                             o Unliquidated
                      Debtor 1 and Debtor 2 only                                U    Disputed

                 o At least one of the debtors and another                      Type of NONFR1ORITY unsecured claim:

                  U   Check If this claim Is for a community
                                                                                O Student loans
                  debt                                                          O Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                               report as priority claims

                       No
                                                                                O    Debts to pension or profit-sharing pians, and other similar debts

                  U Yes                                                         U    Other. Specify



         4.3                                                                                                                                                              Unknown
                  LyndaJ Power                                                  Last 4 digits of account number
         65
                  Nonpriority Creditors Name
                                                                                When was the debt Incurred?
                  15431 Riverside Dr
                                                                                 As of the date you file, the claim Is: Check all that apply
                   Number Street City State Zip Code
                  Who Incurred the debt? Check one.
                   O   Debtor 1 only                                             o Contingent
                   O   Debtor 2 only                                             O    Unhquidated

                   • Debtor 1 and Debtor 2 only                                  • Disputed
                                                                                 Type of NONPRIORITY unsecured claim:
                   O At least one of the debtors and another
                                                                                 O    Student ioans
                   • Check if this claim Is for a community
                   debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
                   Is the claim subject to offset?                               report as priority ciaims

                    UNO
                                                                                  o Debts to pension or profit-sharing plans, and other simiiar debts
                    o Yes                                                         I     Other. Specify    Additional Address


          4.3                                                                                                                                                               Unknown
                     Lynette Kronick                                              Last 4 digIts of account number
          66
                     Nonpriority Creditor's Name
                                                                                  When was the debt incurred?
                     5100 Lavender Lane
                     Santa Rosa, CA 95404                           -
                                                                                    As of the date you file, the claim Is: Check all that apply
                     Number Street City State Zip Code
                     Who Incurred the debt? Check one.
                      o Debtor I only                                               0    contingent

                      o Debtor 2 only                                               o Unhquidated
                      U   Debtor I and Debtor 2 only                                U Disputed
                      o At ieast one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                      • Check If this claim Is for a communIty
                                                                                    O    Student loans

                      debt                                                          O Obligations arising out of a separation agreement or divorce that you did not
                      Is the claim subject to offset?                               report as priority claims

                      • No
                                                                                    o Debts to pension or profit-sharing plans, and other similar debts
                      O Yes                                                          U   Other. Specify




                                                                                                                                                                             Page 127 of 199
           Officlai Form 106 E/F                                    Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                                                                          BeSt Case Bankruptcy
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Filed 11/27/19                                                                      Case 19-14974                                                                                Doc 1
            Case Number: 20 19-14974                                                 Filed: 11/27/2019 2:23:15 PM                                              Doc # 1
     Debtor 1       Salvador Louis Chiaramonte
     Debtor 2       Pamela Marie Chiaramonte                                                                    Case   number (if known)



     67       Lynette Kronick                                              Last 4 digits of account number                                                               $0.00
              Non priority Creditor's Name
              365 Gazarnia Ct                                              When was the debt incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
                o Debtor 1 only                                            o Contingent
                0   Debtor 2 only                                          o Unhiquldated
                    Debtor 1 and Debtor 2 only                             • Disputed
                O   At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community                   0    Student loans
                debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                            report as priority claims

                    No                                                     o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                      • Other. Specify      Additional address



    EiEI1       Madrid's Team Realty
                Nonpriority Creditor's Name
                                                                           Last 4 digIts of account number                                                       $206,474.26

                120 North M St.                                            When was the debt Incurred?
                Tulare, CA 93274
                Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                o Debtor 1 only                                            O    Contingent
                0   Debtor 2 only
                                                                           O    Unhiquidated
                • Debtor 1 and Debtor 2 only                               o Disputed
                0   At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                I Check if this claim Is for a community                   o Student loans
                debt                                                       o ObligatIons arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                INc                                                         O   Debts to pension or profit-sharing plans, and other similar debts

                0    Yes                                                    • Other. Specify



     43
     69         Mahoney Davidson Co.                                        Last 4 dIgits of account number                                                         $1,804.00
                Non priority Creditors Name
                628 E Washington St., #C                                   When was the debt incurred?
                Petaluma, CA 94952
                Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                o Debtor 1 only                                             o Contingent
                o Debtor 2 only                                             o Unliquidated
                • Debtor I and Debtor 2 only                                o Disputed
                o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check If this claim Is for a community                    O   Student loans
                debt                                                        O  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                     No                                                     o Debts to pension or profit-sharing plans, and other similar debts
                 0 Yes                                                      • Other. Specify




     Official Form 105 E/F                                    Schedule ElF: Creditors Who Have Unsecured Claims                                                     Page 128 of 199
     Software Copyright (0)1 996-2019 Best Case, LLC - www, bestcase,com                                                                                         Seat Case Bankruptcy
Filed 11/27/19                                                                          Case 19-14974                                                                                 Doc 1
               Case Number: 2019-14974                                                   Filed: 11/27/2019 2:23:15 PM                                                Doc#1
    Debtor 1      Salvador Louis Chiaramonte
                                                                                                                   Case   number (if known)
    Debtor 2       Pamela Marie Chiaramonte

                                                                                                                                                                       $35,124.30
                Main Star General Contractors Inc.                         Last 4 digits of account number
    70
    4.3    ]
                Nonpriority Creditor's Name
                                                                           When was the debt incurred?
                33033 Manzanita Rd.
                Ivanhoe, CA 93235
                Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply

                Who Incurred the debt? Check one.
                O Debtor 1 only                                                o Contingent
                o Debtor 2 only                                                O   Unhquldated
                 • Debtor I and Debtor 2 only                                  O  Disputed
                                                                               Type of NONPRiORITY unsecured claim:
                 O At least one of the debtors and another
                                                                               0   Student loans
                 • Check if this claim is for a community
                 debt                                                          O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                               report as priority claims
                                                                               0   Debts to pension or profit-sharing plans, and other similar debts
                 iNo

                 DYes                                                          • Other. Specify



                                                                                                                                                                         Unknown
                 Manuel Cazares Sanchez                                        Last 4 digIts of account number
                 Nonpriority Creditors Name
                                                                               When was the debt incurred?
                  1405 Mathew Avenue
                  F!sviIl!A 933
                                                                               As of the date you file, the claim Is: Check all that apply
                  Number Street City State Zip Code
                 Who incurred the debt? Check one.
                  0   Debtor 1 only                                             o Contingent
                  0   Debtor 2 only                                             o Unliquldated
                  • Debtor 1 and Debtor 2 only                                  • Disputed

                  o At least one of the debtors and another                     Type of NONPRIORITY unsecured ciaim:
                                                                                0 Student loans
                  • Check if this claim is for a community
                  debt                                                          O Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                               report as priority claims
                                                                                O    Debts to pension or profit-sharing plans, and other similar debts
                   • No

                   o Yes                                                        N    Other. Specify



      4.3                                                                                                                                                                 Unknown
                   Manzanita Gardens, Inc.                                       Last 4 dIgits of account number
      72
                   Nonpriority Creditor's Name
                                                                                 When was the debt incurred?
                   537 Ramona Blvd.
                   San cint2
                                                                                 As of the date you file, the claim is: Check all that apply
                   Number Street City State Zip Code
                   Who Incurred the debt? Chock one.
                   0 Debtor 1 only                                                 o Contingent
                   0 Debtor 2 only                                                 o Unhquidated
                    • Debtor 1 and Debtor 2 only                                   • Disputed
                                                                                   Typo of NONPRIOR1TY unsecured ciaim:
                    0 At least one of the debtors and another
                    N Check if this claim is for a community
                                                                                   o Student loans
                    debt                                                           O Obligations arising out of a separation agreement or divorce that you did not
                    is the ciaim subject to offset?                                report as priority claims

                    •No
                                                                                   o Debts to pension or profit-sharing pians. and other similar debts
                    0 Yes                                                          • Other. Specify




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                                                                   Scheduie (F: Creditors Who Have Unsecured Claims
          Official Form 106 ElF                                                                                                                                         Best Case Ban kruptcy
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Filed 11/27/19                                                                    Case 19-14974                                                                             Doc 1
             Case Number: 20 19-14974                                              Filed: 11/27/2019 2:23:15 PM
     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                       Case number (5 known)


    ILz..i MarclalFranco
     4.31
                                                                         Last 4 dIgits of account number                                                       Unknown
              Non priority Creditors Name
              1526 Steven Avenue                                         When was the debt incurred?
              Farmersville, CA 93223
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                            0   Contingent
              o Debtor 2 only                                            D   Unhiquldated
                   Debtor 1 and Debtor 2 only                            • Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community                   0   Student loans
              debt                                                       o OblIgations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                   No                                                    O   Debts to pension or profit-sharing plans, and other similar debts

              o Yes                                                      U   Other. Specify


     4~:3]
              Marco Antonio Jacobo                                       Last 4 dIgits of account number                                                       Unknown
    [

               Non priority Creditors Name
               1425 Mathew Avenue                                        When was the debt Incurred?
               Farmersville, CA 93223
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
               o Debtor 1 only                                           o ContIngent
               o Debtor 2 only                                           o Unllquidated
               • Debtor 1 and Debtor 2 only                              U   Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               U Check If this claIm is for a community                  0   Student loans
               debt                                                      0  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               • No                                                      0   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                     U   Other. Specify



     [j Marco Guadalupe Torres Lopez                                     Last 4 digits of account number                                                        Unknown
               Non priority Crc Wtor's Name
               1496 Steven Avenue                                        When was the debt incurred?
               Farmersville,CA 93223
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               0   Debtor 1 only                                         o Contingent
               0   Debtor 2 only                                         o Unliquidated
               • Debtor I and Debtor 2 only                               • Disputed
               o At least one of the debtors and another                 Type of NONPRIOR1TY unsecured claim:

               U Check If this claim Is for a community                  O   Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               • No                                                       o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                      • Other. Specify




     Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 130 of 199

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Filed 11/27/19                                                                       Case 19-14974                                                                                 Doc 1
              Case Number: 2019-14974                                                 Filed: 11/27/2019 2:23:15 PM                                                Doe # 1
    Debtor I   Salvador Louis Chiaramonte
                                                                                                                Case number      (if known)
    Debtor 2    Pamela Marie Chiaramonte


    L   j Margarita Garcia
              Nonpriority Creditor's Name
                                                                       Last 4 digits of account number

                                                                       When was the debt Incurred?
                                                                                                                                                                     Unknown


              1555 Steven Avenue
              Fa            A93223_.                                    As of the date you file, the claim is: Check all that apply
               Number Street City State Zip Code
              Who incurred the debt? Check one.
               0    Debtor 1 only                                       0 contingent
               0    Debtor 2 only                                       0 Ljnliquidated,
               I    Debtor I and Debtor 2 only                          • Disputed
                                                                        Type of NONPRIORITY unsecured claim:
               O    At least one of the debtors and another
                                                                        O Student loans
               • Check If this claim Is for a community
               debt                                                     O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims
                                                                            O    Debts to pension or profit-sharing plans, and other similar debts
               INo
                o Yes                                                       U    Other. Specify



     4.3
                                                                                                                                                                      Unknown
                Maria & Homobono Gomez                                      Last 4 digits of account number
     77
                Nonprlority Creditor's Name
                                                                            When was the debt incurred?
                3722 Hillary Court
                                                                            As of the date you tile, the claim Is: Check all that apply
                Number Street City State Zip Code
                Who incurred the debt? Check one.
                o Debtor 1 only                                              O    contingent

                O    Debtor 2 only                                           o Unliquidated
                U    Debtor 1 and Debtor 2 only                              • Disputed
                                                                             Type of NONPRIORITY unsecured claim:
                 O   At least one of the debtors and another
                                                                             O Student loans
                 • Check if this claim is for a community
                 debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims

                 • No
                                                                             O    Debts to pension or profit-sharing plans, and other similar debts

                 O Yes                                                        U   Other. Specify


                                                                                                                                                                        Unknown
        4,3                                                                   Last 4 digits of account number
        76
                   Maria & Homobono Gomez
                   Nonpriority Creditor's Name
                                                                              When was the debt incurred?
                   P0 Box 368
                   2312 Fairbanks Dr
                   Santa                                                      As of the date you lile, the claim is: Check all that apply
                   N umber Street City State Zip Code
                   Who incurred the debt? Check one.
                   o Debtor 1 only                                              o Contingent
                   O    Debtor 2 only                                           o Unliquidated
                   • Debtor 1 and Debtor 2 only                                 • Disputed
                                                                                Type of NONPRIORITY unsecured claim:
                   O At least one of the debtors and another
                                                                                0 Student loans
                    U  Check if this claim Is for a community
                   debt                                                         0 Obligations arising out of a separation agreement or divorce that you did not
                   Is the claim subject to offset?                              report as priority claims
                                                                                0   Debts to pension or profit-sharing plans, and other similar debts
                    UNo
                                                                                                        Add itional Address
                    o Yes                                                        • Other. Specify




                                                                                                                                                                         Page 131 of 199
                                                                Schedule E/F: Creditors Who Have Unsecured Claims
         Official Form 106 ElF                                                                                                                                        Best Case Bankruptcy
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Filed 11/27/19                                                                    Case 19-14974                                                                              Doc 1
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     Debtor I       Salvador Louis Chiaramonte
     Debtor 2       Pamela Marie Chiaramonte                                                                 Case   number (ii known)


    [j Maria C. Benavides                                               Last 4 digits of account number                                                        Unknown
              Nonpriority CredTtors Name
              217 Pacific Heights Drive                                 When was the debt incurred?
              Santa Rosa, CA 95403
              N umber Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              0     Debtor 1 only                                       O    Contingent
              o Debtor 2 only                                           O    Unhiquidated
              • Debtor 1 and Debtor 2 only                              U    Disputed
              0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              U Check if this claim is for a community                  o Student loans
              debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                           report as priority claims

                    No                                                  O    Debts to pension or profit-sharing plans, and other similar debts

              0     Yes                                                 U    Other. Specify


     4.3
     80       Maria C. Benavides                                        Last 4 digits of account number                                                        Unknown
                Nonpriority Creditors Name
              229 EastSt#A                                              When was the debt Incurred?
              Healdsburg, CA 95448
                Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                o Debtor 1 only                                         o ContIngent
                O   Debtor 2 only                                       o Unhiquidated
                • Debtor 1 and Debtor 2 only                            • Disputed
                o At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                o Student loans
                debt                                                    0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                         report as priority claims

                    No                                                  0    Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                   U    Other, Specify   Additional address



    [j Maria Del Carmen Hernandez                                       Last 4 digits of account number                                                        Unknown
                Nonpriority Creditors Name
                1535 Steven Avenue                                      When was the debt incurred?
                Farmersville, CA 93223
                Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                O   Debtor 1 only                                       o Contingent
                o Debtor 2 only                                         o Untiquidated
                • Debtor 1 and Debtor 2 only                             U   Disputed
                O At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community                 o
                debt                                                    0 OblIgations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                         report as priority claims

                     No                                                  o Debts to pension or profit-sharing plans, and other similar debts
                DYes                                                     N   Other. Specify




     Official Form 106 ElF                                  Schedule ElF; Creditors Who Have Unsecured Claims                                                  Page 132 of 199

     Software Ccpyiight (c) 1996-2019 Best Case, LLC -ww.bestcase.com                                                                                       Best Case Bankruptcy
Filed 11/27/19                                                                       Case 19-14974                                                                              Doc 1
             Case Number: 2019-14974                                                 Filed: 11/27/2019 2:23:15 PM                                               Doc # 1
    Debtor 1     Salvador Louis Chiaramonte
                                                                                                                Case number     (it known)
    Debtor 2     Pamela Marie Chiaramonte____________________


               Maria T. Lam us                                         Last 4 dIgits of account number           __                                                Unknown

               NonprioIityCredltOrS Name
                                                                       When was the debt Incurred?
               1495 Venura Avenue
               FansvHIe,CA 93223                                       As of the date you file, the claim Is: Check all that apply
               Number Street City State Zip Code
               Who incurred the debt? Check one.
                   Debtor I only                                        o ContIngent
               O   Debtor,2 only                                        O Unliquldated
               I   Debtor I and Debtor 2 only                           I Disputed
                                                                        Type of NONPRIORITY unsecured claim:
                0 At least one of the debtors and another
                                                                        0 Student loans
               • Check If this claim Is for a community
               debt                                                     o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

                •No
                                                                        o Debts to pension or profit-sharing plane, and other similar debts
                0 Yes                                                       • Other. Specify



     4.3]       Maricela Sanchez & Jesus                                                                                                                            Unknown
     ~
     83         Lorenzana
                Nonpriority Creditors Name
                                                                            Last 4 dIgits of account number

                                                                            When was the debt Incurred?
                441 Markwest Spring Rd
                Santa Rosa r CA 95404
                 N umber Street City State Zip Code
                                                                  -         As of the date you file, the claim is: Check all that apply

                Who incurred the debt? Check one.
                 o Debtor 1 only                                            O Contingent
                 O Debtor 2 only                                            o Unliquidated
                 • Debtor 1 and Debtor 2 only                               • Disputed
                                                                            Type of NONPRIORITY unsecured claim:
                 O At least one of the debtors and another
                 • Check If this claim is for a community
                                                                             o Student loans
                 debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims
                                                                             O    Debts to pension or profit-sharing plans, and other similar debts
                     No
                  O Yes                                                      I Other. Specify


      43           Maricela Sanchez & Jesus                                                                                                                           Unknown
                                                                             Last 4 digits of account number
      84           Lorenzana
                   Nonpriority Creditors Name
                                                                             When was the debt incurred?
                   1217 Lombardi Lane
                   Sa nta                                                    As of the date you file, the claim Is: Check all that apply
                   Number Street City State Zip Code
                   Who Incurred the debt? Check one.
                   o Debtor I only                                            o Contingent
                   0 Debtor 2 only                                            O    unliquidated

                   • Debtor 1 and Debtor 2 only                               • Disputed

                   o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
                                                                              0 Student loans
                   • Check if this claim is for a community
                   debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
                   lathe claim subject to offset?                             report as priority claims
                                                                              0 Debts to pension or profit-sharing plans, and other similar debts
                    • No
                                                                              • Other. Specify      Additional Address
                    0 Yes




                                                                                                                                                                       Page 133 of 199
                                                               Schedule ElF: Creditors Who Have Unsecured Claims
          Official Form 106 ElF                                                                                                                                     Best case Banupt
          Soare Copigt (c) 1996-2019 Best Case, LIC         .bestcaSe.COm
Filed 11/27/19                                                                          Case 19-14974                                                                                 Doc 1
             Case Number: 20 19-14974                                                   Filed: 11/27/2019 2:23:15 PM                                               Doc # 1
    Debtor 1      Salvador Louis Chiaramonte
    Debtor 2      Pamela Marie Chiaramonte                                                                         Case number (ii known)


    [i3iiI     Mario & Susan Lage
               Nonpriority Creditors Name
                                                                               La8t 4 dIgits of account number                                                          Unknown

               4661 Paulette Place                                             When was the debt Incurred?
               Santa Rosa, CA 95403
               N umber Street City State Zip Code                              As of the date you file, the claim is; Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                                 0 Contingent
               0 Debtor 2 only                                                 O Unhiquidated
               • Debtor 1 and Debtor 2 only                                    • Disputed
               o At least one of the debtors and another                       Type of NONPRIORITY unsecured claim:

               I Check If this claim Is for a community                        0 Student loans
               debt                                                            O Obligations arising out of a separation agreement or divorce that you did not
               is the claim subjectto offset?                                  report as priority claims

                   No                                                          0 Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                           • Other. Specify


     403                                                                                                                                                                Unknown
                Mario & Susan Lage                                             Last 4 digits of account number
                Nonpriority Creditors Name
                1050 Goodwin Ave                                               When was the debt Incurred?
                Penngrove, CA 94951
               Number Street City State Zip Code                               As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor 1 only                                                O Contingent
                0 Debtor 2 only                                                o Unliquidated
                • Debtor 1 and Debtor 2 only                                   I Disputed
                o At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

                I Check if this claim is for a community                        O Student loans
                debt                                                            o  Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                                 report as priority claims

                INo                                                             o Debts to pension or profit-sharing plans, and other similar debts
                EYes                                                            • Other. Specify     Additional Address



     tiEII      Mark Anderson
                Nonpriority Creditors Name
                                                                                Last 4 digits of account number

                                                                                When was the debt incurred?
                                                                                                                                                                         Unknown

                Diane Moore
                116 Pacific Heights Drive
                Santa Rosa, CA 95403
                Number Street City State Zip Code                               As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                                                                                I Contingent
                 O Debtor 1 only
                 O Debtor 2 only                                                I Unliquldated
                 • Debtor 1 and Debtor 2 only                                   $ Disputed
                                                                                Type of NONPRIORiTY unsecured claim:
                 O At least one of the debtors and another
                                                                                O Student loans
                 * Check if this claim is for a community
                 debt                                                           0 Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                                report as priority claims

                 O No                                                           O Debts to pension or profit-sharing plans, and other similar debts
                                                                                                  Plaintiffs in lawsuit titled Mark Anderson &
                                                                                                  Diane Moore v. Chiaramonte Construction
                 IN Yes                                                         • Other. Specify & Plurnp             Inc for notice purposes




                                                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                     Page 134 of 199
      Official Form 106 ElF
                                           Best Case, LLC - www.bestcese.com                                                                                          Best Case Bankruptcy
      Software Copyright (C)   1996-2019
Filed 11/27/19                                                                          Case 19-14974                                                                              Doc 1
              Case Number: 2019-14974                                                    Filed: 11/27/2019 2:23:15 i.M                                              Doc#i
    Debtor 1       Salvador Louis Chiaramonte
                                                                                                                   Case number      (if known)
    Debtor 2       Pamela Marie_Chiaramonte

    4.3                                                                                                                                                                    $0.00
                Mark Anderson__________________                             Last 4 digits of account number
    88
                Nonpriority Creditors Name
                                                                           When was the debt Incurred?
                Diane Moore
                2318 Brookwood AVe.
                Santa Rosa, CA 95404
                                                                            As of the date you file, the claim Is: Check all that apply
                Number Street City State Zip Code
                Who incurred the debt? Check one.
                                                                            • Contingent
                o Debtor I only
                                                                            • Unliquidated
                O Debtor 2 only
                • Debtor I and Debtor 2 only                                • Disputed
                                                                            Type of NONPRIORITY unsecured claim:
                o At least one of the debtors and another
                                                                            o Student loans
                 • Check if this claim Is for a community
                 debt                                                           O Obligations arising out of a separation agreement or divorce that you did not
                                                                                report as priority claims
                 Is the claim subject to offset?
                                                                                O Debts to pension or profit-sharing plans, and other similar debts
                 DNO
                                                                                • Other. Specify     Additional add ress
                 • Yes


                                                                                                                                                                             $0.00
                 Mark Anderson                                                  Last 4 digIts of account number       -


     89E
                 Non priority Creditors Name
                                                                                When was the debt incurred?
                 Diane Moore
                 684 Wikiup Drive
                 Santa Ros aCA
                 Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                                                                                 • Contingent
                  O    Debtor I only
                                                                                 U Unliquidated
                  o Debtor 2 only
                  I Debtor 1 and Debtor 2 only                                   • Disputed
                                                                                 Type of NONPRIORITY unsecured claim:
                  O At least one of the debtors and another
                                                                                 o Student loans
                  I Check if this claim is for a community
                  debt
                                                                                 o OblIgations arising out of a separation agreement or divorce that you did not
                                                                                 report as priority claims
                  Is the claim subject to offset?
                                                                                 o Debts to pension or profit-sharing plans, and other similar debts
                   o   No

                   • Yes
                                                                                 I Other, Specify Add itiona1address


     1:~I1         Markel Construction, Inc.                                      Last 4 dIgits of account number
                                                                                                                                                                        Unknown

                   Non prIority Creditors Name
                                                                                 When was the debt incurred?
                   8662 12th Street
                   Hanford, CA 93230                                              As of the date you file, the claim Is: Check all that apply
                   Number Street City State Zip Code
                   Who incurred the debt? Check one.
                    0 Debtor 1 only                                               O Contingent
                    o Debtor 2 only                                               O Unliquidated
                    • Debtor I and Debtor 2 only                                  • Disputed
                                                                                  Type of NONPRIORITY unsecured claim:
                    o   At least one of the debtors and another

                    • Check if this claim is for a community
                                                                                  O Student loans
                    debt                                                          O Obligations arising out of a separation agreement or divorce that you did not
                    Is the claim subject to offset?                               report as priority claims

                         No
                                                                                   O   Debts to pension or profit-sharing plans, and other similar debts

                    o Yes                                                          I   Other. Specify




                                                                                                                                                                         Page 135 of 199
                                                                   Schedule ElF: Creditors Who Have Unsecured Claims
          Official Form 106 ElF                                                                                                                                       Beat Case Bankruptcy
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Filed 11/27/19                                                                   Case 19-14974                                                                               Doc 1
            Case Number: 2019-14974                                               Filed: 11/27/2019 2:23:15 PM                                              Doc#1
     Debtor I Salvador Louis Chiaramonte
     Debtor 2        Pamela Marie Chlaramonth                                                                Case number (a known)



    []         Marshall C. Sanders
               Nonpriority Creditors Name
                                                                         Last 4 digits of account number                                                              $0.00

               Attorney at Law                                           When was the debt incurred?
               P0 Box 468
               Van Nuys, CA 91408
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               D     Debtor I only                                       0   Contingent
               D     Debtor 2 only                                       O unhiquldated
                U    Debtor 1 and Debtor 2 only                          U   Disputed
               DAt least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claim is bra community
                                                                         o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                     No                                                  O   Debts to pension or profit-sharing plans, and other similar debts

                                                                                              Attorneys for Healdsburg Lumber Co. - for
                U    Yes                                                 • Other, Specify     notice purposes



    E  3
               Marthell Vazquez Suarez
               Nonpriority Creditors Name
                                                                         Last 4 dIgits of account number                                                        Unknown

               1424 Steven Avenue                                        When was the debt incurred?
               Farmersville, CA 93223
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                11   Debtor 1 only                                       o Contingent
                o Debtor 2 only                                          0   Unhiquidated
                • Debtor land Debtor 2 only                              • Disputed
                0 At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
               U Check if this claim is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not


                •
               is the claim subject to offset?

                     No
                                                                         report as priority claims
                                                                         0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                    U   Other. Specify


    14.3
                Martin Gonzalez                                          Last 4 digits of account number                                                        Unknown
                Non priority Creditors Name
                1444 Steven Avenue                                       When was the debt Incurred?
                Farmersville, CA 93223
                Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
                o Debtor 1 only                                          O   Contingent
                o Debtor 2 only                                          O   Unhiquldated
                • Debtor 1 and Debtor 2 only                             • Disputed
                o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community                 o Student loans
                debt                                                     o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                     No                                                  o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                    I   Other. Specify




     Official Form 106 ElF                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 136 of 199
     Software Copyright (c) 196-2019 8esI Case, LLC - www.beslcase.com                                                                                       Besi Case Bankuptcy
Filed 11/27/19                                                                        Case 19-14974                                                                               Doc 1
             Case Number: 20 19-14974                                                 Filed: 11/27/2019 2:23:15 PM                                                Doc# 1
    Debtor 1      Salvador Louis Chiaramonte
                                                                                                                Case number (if known)
    Debtor 2      Pamela Marie Chiaramonte


    L11        Marybeth
               Nonpriority Creditors Name
                                                ________                 Last 4 digits of account number

                                                                         When was the debt Incurred?
                                                                                                                                                                     Unknown


               1686 Waring Court
               Santa Rosa, CA 95403
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               O    Debtor 1 only                                         o Contingent
                O   Debtor 2 only                                         O     unliquidated

                U   Debtor I and Debtor 2 only                            • Disputed
                                                                          Type of NONPRIORITY unsecured claim:
                O   At least one of the debtors and another

                • Check if this claim Is for a community
                                                                          o Student loans
                debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                     No
                                                                              O Debts to pension or profit-sharing plans, and other similar debts
                O Yes                                                         • Other. Specify



     4.3
                                                                                                                                                                     Unknown
                Marybeth Adkins                                               Last 4 digits of account number
     95
                Nonpriority Creditors Name
                                                                              When was the debt incurred?
                 P0 Box 3861
                 San Rafael, CA 949 12
                 Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                 0 Debtor 1 only                                              O Contingent
                 0 Debtor 2 only                                              O Unliqulclated
                 • Debtor I and Debtor 2 only                                 • Disputed
                                                                              Type of NONPRIORITY unsecured claim:
                 O    At least one of the debtors and another
                                                                               O   Student loans
                 U   Check if this claim is for a community
                 debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
                                                                               report as priority claims
                 Is the claim subject to offset?

                  • No
                                                                               o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                     Additkii a] Address
                  o YeS                                                        U   Other, Specify



      4.3
                                                                                                                                                                       Unknown
                   Matt & Angela Etimos                                        Last 4 digits of account number
      96
                   Nonpriority Creditors Name
                                                                               When was the debt incurred?
                   4556 Brighton Drive
                   Santa Rosa, CA 95403                                         As of the date you file, the claim is: Check all that apply
                    Number Street City State Zip Code
                    Who incurred the debt? Check one.
                    o Debtor 1 only                                             o Contingent
                    o Debtor 2 only                                             o Unliquidated
                    • DebtOr 1 and Debtor 2 only                                • Disputed
                                                                                Type of NONPR1ORITY unsecured claim:
                    o   At least one of the debtors and another
                                                                                O Student loans
                    • Check if this claim is for a community
                    debt                                                        O obligatIons arising out of a separation agreement or divorce that you did not
                    lathe claim subject to offset?                              report as priority claims

                    •No
                                                                                 o Debts to pension or profit-sharing plans, and other similar debts
                    o Yes                                                        • Other. Specify




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                                                                  Schedule a/F: Creditors Who Have Unsecured Claims
          Official Form 106 ElF                                                                                                                                      Best Case BankruptCy
          Soare Copight (c) 1996-2019 Best Case, RO -         .bestcaSe.Com
Filed 11/27/19                                                                      Case 19-14974                                                                               Doc 1
            Case Number: 2019-14974                                                  Filed: 11/27/2019 2:23:13 PM                                              Doc#i
     Debtor i   Salvador Louis Chiaramonte
     Debtor 2    Pamela Marie Chiaramonte                                                                       Case number (it known)


               Matt & Angela Etimos                                         Last 4 digits of account number                                                        Unknown
               Non priority Creditor's Name
               434 Manka Circle                                             When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                            As of the date you fIle, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               O    Debtor 1 only                                           o Contingent
               0    Debtor 2 only                                           o Linhiquidated
               • Debtor I and Debtor 2 only                                 • Disputed
               O At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:
               I Check If this claim is for a community                     o Student loans
               debt                                                         o  Obligations arising out of a separation agreement or divorce that you dId not
               Is the claim subject to off8et?                              report as priority claims

                    No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                        I   Other, specify   Additional address


               Matt & Jennifer Shubin                                       Last 4 digIts of account number                                                        Unknown
               Nonpriority Creditor's Name
               4668 Los Gatos Court                                         When was the debt Incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                O   Debtor I only                                           o Contingent
                o Debtor 2 only                                             o Unhiquidated
                • Debtor 1 and Debtor 2 only                                • Disputed
                o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                     o Student loans
               debt                                                         0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

                    No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                       U   Other. Specify



                Matt & Jennifer Shubin                                      Last 4 digits of account number                                                         Unknown
                Nonpriority Creditor's Name
                463 Quince Street                                           When was the debt incurred?
                Windsor, CA 95492
                Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor I only                                             O   Contingent
                O   Debtor 2 only                                           o Unhiquidated
                • Debtor I and Debtor 2 only                                • Disputed
                o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community                    O   Studentloans
                debt                                                        O  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                    No                                                      0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                       • Other. Specify     Additional address




     Official Form 106 ElF                                      Schedule ElF: Creditors Who Have Unsecured Claims                                                  Page 138 of 199
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Filed 11/27/19                                                                            Case 19-14974                                                                                 Doc 1
                Case Number: 2019-14974                                                    Filed: 11/27/2019 2:23:15 PM                                                Doe # 1
     Debtor 1 Salvador Louis Chiararnonte
                                                                                                                      Case number     (t known)
     Debtor 2 Pamela Marie Chiaramonte

                                                                                                                                                                          Unknown
                 Matt and Jessica Perazzo                                   Last 4 digits of account number
     00
                 Nonpriority Creditors Name
                                                                            When was the debt incurred?
                 1715 Blake Place
                 Santa Rosa 1 CA 95403
                 Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
                 Who incurred the debt? Check one.
                 U   Debtor 1 only                                          0       Contingent
                 O   Debtor 2 only                                          o Unliquidated
                  • Debtor 1 and Debtor 2 only                                  • Disputed
                                                                            Type of NONPRIORITY unsecured claim:
                  U At least one of the debtors and another
                                                                                U   Student loans
                 • Check If this claim Is for a community
                 debt                                                           o  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                                report as priority claims
                                                                                U   Debts to pension or profit-sharing plans, and other similar debts
                       No

                  o Yes                                                         U   Other. Specify



     F4]
      01
                  Mall and Jessica Perazzo                                      Last 4 digits of account number                  ________
                                                                                                                                                                           Unknown

                  Nonpriority Creditors Name
                                                                                When was the debt incurred?
                  1354 Range Ave #203
                  Santa Rosa, CA 95401
                                                                                As of the date you file, the claim is: Check all that apply
                  Number Street City State Zip Code
                  Who Incurred the debt? Check one.
                   O   Debtor I only                                             0 contingent
                   o Debtor 2 only                                               0 Unliquidated
                   U   Debtor 1 and Debtor 2 only                                U Disputed
                                                                                 Type of NONPRIORITY unsecured claim:
                   0 At least one of the debtors and another
                                                                                 0 Student loans
                   • Check if this claim is for a community
                   debt                                                          0 Obligations arising out of a separation agreement or divorce that you did not
                   Is the claim subject to offset?                               report as priority claims
                                                                                 U      Debts to pension or profit-sharing plans, and other similar debts
                         No
                                                                                                         Additional address
                   o Yes                                                         I      Other. Specify



          4.4
                                                                                                                                                                             Unknown
                    Maymie M. Cain Trust                                         Last 4 dIgits of account number
          02
                    Nonpriority Creditor's Name
                                                                                 When was the debt incurred?
                    135 Oaks St
                    Tulare, CA 93274
                    Number Street City State Zip Code                             As of the date you tile, the claim Is: Check all that apply
                    Who incurred the debt? Check one.
                     0 Debtor 1 only                                                U   contingent

                     0 Debtor 2 only                                                U   Unliquidated

                     U   Debtor 1 and Debtor 2 only                                 • Disputed
                                                                                    Type of NONPRIORITY unsecured claim:
                     U   At least one of the debtors and another

                     • Check if this claim is for a community
                                                                                    o Student loans
                                                                                    0  Obligations arising out of a separation agreement or divorce that you did not
                     debt
                     is the claim subject to offset?                                report as priority claims
                                                                                    O    Debts to pension or profit-sharing plans, and other similar debts
                            No
                                                                                    • Other. Specify      for notice purpose
                     U Yes




                                                                                                                                                                              Page 139 of 199
                                                                   Schedule ElF: Creditors Who Have Unsecured Claims
           Official Form 106 E/F                                                                                                                                           Sesl Case Ban1cuptcy
           Software Copyrighi (c) 1996-2019 aesl Case, LLC - www.bestcaSe.cOm
Filed 11/27/19                                                                   Case 19-14974                                                                               Doc 1
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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 P2m& Mrip Chiramontp                                                                           Case number     (if known)



               McCarthy Burgess & Wolff                                  Last 4 digits of account number       7539                                             Unknown
               Nonpriority Creditor's Name
               The M8+W Building                                         When was the debt Incurred?
               26000 Cannon Road
               Bedford, OH 44146
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               U Debtor 1 only                                           U contingent
               O Debtor 2 only                                           O Unhiquidated
               I Debtor I and Debtor 2 only                              • Disputed
               o At least one of the debtors and another                 Type of NONPR1ORITY unsecured claim:

               I Check If this claim Is for a community                  o Student loans
               debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               • No                                                      U Debts to pension or profit-sharing plans, and other similar debts
                                                                                             Collections for Sprint Acct#9409 - for notice
               0 Yes                                                     • Other. Specify    purpose


     4.4
     04        McCarthy, Burgess & Wolff                                 Last 4 dIgits of account number                                                               $0.00
               Non priority Creditor's Name
               A Corn pnay Devoted to Collections                        When was the debt incurred?
               26000 Cannon Road
               Bedford, OH 44146
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               0 Debtor 1 only                                           o ContIngent
               0 Debtor 2 only                                           o Unliquldated
               • Debtor 1 and Debtor 2 only                              • Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                  U Student loans
               debt                                                      U Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                           report as priority claims

               •No                                                       U Debts to pension or profit-sharing plans, and other similar debts
                                                                                              Collection agency for United Rentals - for
               U Yes                                                     • Other. Specify     notice purpsoses


     05        Melinda Bachman                                           Last 4 dIgits of account number                                                         Unknown
               Non priority Creditors Name
               3747 Skyview Drive                                        When was the debt incurred?
               Santa Rosa, CA 85403
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               0 Debtor 1 only                                           U contingent
               o Debtor 2 only                                           U ijnhiquidated
               • Debtor 1 and Debtor 2 only                              • Disputed
               DAt least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claim is fora community                   0 Student loans
               debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               DYes                                                      • Other. Specify




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     Debtor 1 Salvador Louis Chiaramonte
                                                                                                                  Case number      (Itnown)
     Debtor 2 Pamela Marie Chiaramonte

     4.4                                                                                                                                                                Unknown
           Melinda Bachman                     _____--                      Last 4 dIgits of account number
     06
                 Nonpriority Creditors Name
                                                                            When was the debt Incurred?
                 6132 Melita Rd
                  CA 94909
                                                                            As of the date you file, the claim Is: Check all that apply
                 Number Street City State Zip Code
                 Who incurred the debt? Check one.
                 El Debtor I only                                           o Contingent
                 D Debtor 2 only                                            o lJnliquidated
                  I Debtor 1 and Debtor 2 only                                  • Disputed
                  Q At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
                                                                                0 Student loans
                  • Check it this claim Is for a community
                  debt                                                          O Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                               report as priority claims
                                                                                0 Debts to pension or profit-sharing plans, and other similar debts
                      No
                                                                                U Other. Specify      AdditionalAddreSs
                    JYes



      4.4                                                                                                                                                                      $0.00
                  MensWearhouse                                                 Last 4 digIts of account number
      07
                  Nonpriority Creditor's Name
                                                                                When was the debt Incurred?
                  P0 Box 530942
                  Anta                                  __
                                                                                As of the date you file, the claim is: Check all that apply
                  N umber Street City State Zip Code
                  Who Incurred the debt? Check one.
                   O Debtor 1 only                                               o Contingent
                   o Debtor 2 only                                               o Unliquldated
                   • Debtor I and Debtor 2 only                                  o Disputed
                                                                                 Type of NONPRIORITY unsecured claim:
                   O At least one of the debtors and another
                   • Check if this claim Is for a community
                                                                                 o Student loans
                   debt                                                          O Obligations arising out of a separation agreement or divorce that you did not
                   Is the claim subject to offset?                               report as priority claims

                   UNO                                                           o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                       credit card
                    o Yes                                                            Other. Specify



          4.4
                                                                                                                                                                          Unknown
                    Michael & Jeri Arnold                                         Last 4 digits of account number
          OB
                    Nonpriority Creditors Name
                                                                                  When was the debt Incurred?
                    3480 Porter Creek Rd
                    Santa Rosa CA 95404
                                                                                  As of the date you file, the claim is: Check all that apply
                    Number Street City State Zip Code
                    Who incurred the debt? Check one.
                    o Debtor 1 only                                               o Contingent
                    o Debtor 2 only                                               o Unliquldated
                     • Debtor I and Debtor 2 only                                 • Disputed
                                                                                  Type of NONPRIORITY unsecured claim:
                     O At least one   of the debtors and another

                     • Check if this claim Is fora community
                                                                                   o Student loans
                     debt                                                          O Obligations arising out of a separation agreement or divorce that you did not
                     is the claim subject to offset?                               report as priority claims
                                                                                   0 Debts to pension or profit-sharing plans, and other similar debts
                     UNO
                     0 Yes                                                         U Other. Specily




                                                                                                                                                                           Page 141 of 199
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                                                                                                                                                                        Best Case 8ankruptcy
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     Debtor 1       Salvador Louis Chiaramonte
     Debtor 2       Pamela Marie Chiaramonte                                                                 Case   number (if known)


              Michael Harnett                                           Last 4 digits of account number                                                          Unknown
              Non priority Creditor's Name
              1305 Crestview Court                                      When was the debt incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
              o Debtor I only                                           o Contingent
              o Debtor 2 only                                           o Linliquidated
                • Debtor 1 and Debtor 2 only                            • Disputed
                0   At least one of the debtors and another             Type of NONPRIORiTY unsecured claim:

              • Check If this claim is for a community                  o Student loans
              debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                           report as priority claims

                • No                                                    O    Debts to pension or profit-sharing plans, and other similar debts

                O Yes                                                   • Other. Specify




    [J          Michael Harnett
                Nonpriority Creditor's Name
                                                                        Last 4 digIts of account number                                                          Unknown

              889 Natalie Dr                                            When was the debt Incurred?
              Windsor, CA 95492-8841
                Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
                0   Debtor 1 only                                       o Contingent
                o Debtor 2 only                                         o Unliquidated
                • Debtor 1 and Debtor 2 only                            • Disputed
                o At ieast one of the debtors and another               Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community                o Student loans
                debt                                                    o  Obligations arising out of a separation agreement or divorce that you did not
                lathe claim subjectto offset?                           report as priority claims

                • No                                                    O    Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                   • Other. Specify      Additional Address



    Eli         Michael Matson
                Nonpriority Creditor's Name
                                                                        Last 4 dIgits of account number                                                           Unknown

                4880 1st Street                                         When was the debt Incurred?
                Hanford, CA 93230
                Number Street City State Zip Code                       As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor 1 only                                         o Contingent
                o Debtor 2 only                                         o Unliquidated
                • Debtor 1 and Debtor 2 only                             • Disputed
                O At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                • Check if this ciaim is fora community                 o Student loans
                debt                                                    o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                         report as priority claims
                     No                                                  0   Debts to pension or profit-sharing plans, and other similar debts

                O   Yes                                                  • Other. Specify     for noitce purpose




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     Debtor 1        Salvador Louis Chiaramonte
     Debtor 2        Pamela Marie Chiaramonte                                                                           Case   number    (if known)


                                                                                                                                                                                Unknown
     ~1i]
     1
                  Mike & Karen Allen
                  Nonpriority Creditors Name
                                                                                   Last 4 digIts of account number


                  1303 Cashew Road                                                 When was the debt incurred?
                  Santa Rosa, CA5403_
                  Number Street City State Zip Code                                As of the date you file, the claim is Check all that apply
                  Who incurred the debt? Check one.
                       Debtor 1 only                                               o Contingent
                  o Debtor 2 only                                                  o Unliquidated
                  $    Debtor 1 and Debtor 2 only                                  • Disputed
                  o At least one of the debtors and another                        Type of NONPRIORITY unsecured claim:

                  I Check If this claim Is for a community                         O Student loans
                  debt                                                             o Obligations arising out of a separation agreement or divorce that you did not
                  is the claim subject to offset?                                  report as priority claims

                  •No                                                              O    Debts to pension or profit-sharing plans, and other similar debts
                                                                                                           Cross-complaintaints in lawsuit titled Mike
                                                                                                           & Karen Allen v Chiaramonte Construction,
                  0    Yes                                                         • Other. Specify        Inc.


         4.4                                                                                                                                                                     Unknown
                   Mike & Karen Allen                                              Last 4 digIts of account number
                   Non priority Creditor's Name
                                                                                   When was the debt incurred?
                   P.O. Box 2260
                   Windsor, CA 95492
                   Number Street City State Zip Code                               As of the date you file, the claim Is: Check all that apply
                   Who Incurred the debt? Check one.
                   O    Debtor I Only                                               O Contingent
                   o Debtor 2 only                                                  0   Unhiquidated

                        Debtor I and Debtor 2 only                                  • Disputed

                   o At least one of the debtors and another                        Type of NONPRIORITY unsecured claim:

                   • Check If this claim Is for a community
                                                                                    O Student loans
                   debt                                                             o  Obligations arising out of a separation agreement or divorce that you did not
                   Is the claim subject to offset?                                  report as priority claims

                    INo                                                             0    Debts to pension or profit-sharing plans, and other similar debts

                    O Yes                                                           U    Other. Specify    Additional address


                                                                                    Last 4 digits of account number
                                                                                                                                                                                  Unknown
          14        Mike & Tern O'Donnell
                    Non priority Creditor's Name
                                                                                    When was the debt incurred?
                    1716 Hopper Ave
                    Santa Rosa, CA 95403
                    N umber Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
                    Who incurred the debt? Check one.
                    O Debtor 1 only                                                  o Contingent
                    o Debtor 2 only                                                  O unhiquidated
                    U    Debtor I and Debtor 2 only                                  • Disputed

                    o At least one of the debtors and another                        Type of NONPRIORITY unsecured claim:

                    • Check If this claim Is fora community
                                                                                     o
                    debt                                                             O Obligations arising out of a separation agreement or      divorce that you did not
                    Is the claim subject to offset?                                  report as priority claims

                         No                                                          o DebtS to pension or profit-sharing plans, and other similar debts
                     0   Yes                                                         1    Other. Specify




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      Debtor   1 Salvador Louis Chiaramonte
      Debtor   2 Pamela Marie Chiaramonte                                                                      Case number (if known)

      4.4
                Mike & Tern O'Donnell                                     Last 4 digits of account number                                                         Unknown
                Nonpriorlty Creditors Name
                220 Regency Court                                         When was the debt incurred?
                Santa Rosa, CA 95401
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                0   Debtor 1 only                                         o Contingent
                0   Debtor 2 only                                         o Unhiquidated
                I   Debtor I and Debtor 2 only                            • Disputed
                0   At least one of the debtors and another               Type of NONPRIORITY unsecured claim;
                • Cheek If this claim Is for a community                  o Student loans
                debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims
                    No                                                    o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     I   Other. Specify   Additional Address



     iEEI1      Mike Nealon
                Nonpriority Creditor's Name
                                                                          Last 4 digits of account number                                                         Unknown

                4645 Aptos Court                                          When was the debt incurred?
                Santa Rosa, CA 95403
                Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor 1 only                                           0   Contingent
                o Debtor 2 Only                                           O   untiquidated
                • Debtor 1 and Debtor 2 only                              • Disputed
                0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:
                U   Check if this claim is for a community                o Student loans
                debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims
                    No                                                    0   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                     • Other, Specify




     [J         Mission Linen Supply,
                Nonpriority Creditor's Name
                                                                          Last 4 dIgits of account number                                                            $739.32

                520 E. Mineral King Ave.                                  When was the debt incurred?
                Visalia, CA 93292-6921
                Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                O   Debtor 1 only                                         o Contingent
                o Debtor 2 only                                           o Unhiquidated
                • Debtor 1 and Debtor 2 only
                                                                          • Disputed
                0 At least one of the debtors and another                 Type of NONPRIORITY unsecured claim;

                • Check if this claim is for a community                  0   Student loans
                debt                                                      O  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims
                • No                                                      O   Debts to pension or profit-sharing plans, and other similar debts

                0 Yes                                                     • Other. Specify




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     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                            Case   number (if known)


                                                                                                                                                                      Unknown
             Monica Ayguipa                                                 Last 4 digits of account number
             Nonpriority Creditors Name
                                                                            When was the debt incurred?
             1971 Pine Meadow Drive
             Santa_Rosa, CA 95403
             Number Street City State Zip Code                              As of the date you file, the claim is: Check all that    apply
             Who incurred the debt? Check one.
              O   Debtor I only                                             o Contingent
              O    Debtor 2 only                                            O    Unliquidated

              I    Debtor 1 and Debtor 2 only                               • Disputed

              o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

              1   Check if this claim is for a community
                                                                            o Student loans
              debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                               report as priority claims

              • No
                                                                            o Debts to pension or profit-sharing plans, and other similar debts
              0    Yes                                                      • Other. Specify



                                                                             Last 4 digits of account number
                                                                                                                                                                       Unknown
              Monica Ayguupa
              Nonpriotity Creditor's Name
                                                                             When was the debt Incurred?
              2058 Red Oak Circle
              Santa Rosa CA 95403
                                ,

              Number Street City State Zip Code.                             As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
               O   Debtor 1 only                                             O Contingent
               0   Debtor 2 only                                             o Unliquidated
               • Debtor 1 and Debtor 2 only                                  U    Disputed
               O At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community
                                                                             O    Student loans
               debt                                                          o ObligatIons arIsing out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                    No                                                       O      Debts to pension or profit-sharing plans, and other similar debts

               O Yes                                                         U      Other. Specify    Additional Address


                                                                                                                                                                           $331.02
      20       Motel 6 I Studio 61G6 Hospatality                             Last 4 dIgIts of account number
      4.4]
               Nonpriority Creditor's Name
                                                                             When was the debt incurred?
               P.O. Box 846175
               Dallas, TX 75284-6175
                Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor 1 only                                               o Contingent
                O    Debtor 2 only                                            o Unliquidated
                • Debtor 1 and Debtor 2 only                                  U     Disputed
                O At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                U Check if this claim is for a community                      o Student loans
                debt                                                            o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                                 report as priority claims

                     No
                                                                                0    Debts to pension or profit-sharing plans, and other similar debts

                  0 Yes                                                         U    Other. Specify




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     Debtor I        Salvador Louis Chiaramonte
     Debtor 2        Pamela Marie Chiaramonte                                                                  Case number (if known)


    [2 i-   1   Nancy Hunt
                 Nonpriorlty Creditors Name
                                                                          Last 4 digits of account number                                                            Unknown

                 1887 E. Walnut Ave.                                      When was the debt incurred?
                 Tulare, CA 93274
                 Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one.
                 O   Debtor 1 only
                                                                          O   Contingent
                 O   Debtor 2 only
                                                                          O   Unliquldated
                 • Debtor 1 and Debtor 2 only
                                                                          • Disputed
                     At least one of the debtors and another              Type of NONPRIORITY unsecured claim:

                 • Check if this claim is fora community                  o Student loans
                 debt                                                     O   OblIgations arising out of a separation agreement or divorce that you did not
                 is the claim subject to offset?                          report as priority claims

                 •Wo                                                      O   Debts to pension or profit-sharing plans, and other similar debts
                 D Yes                                                    I   Other. Specify


     ~
    [4 4    ]

                 National Builders Supply Inc.                            Last 4 digIts of account number                                                          $53,397.98
                 Nonpriority Creditor's Name
                 819W. Vlsalia Rd.                                        When was the debt incurred?
                 Farmersville, CA 93223
                 Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
                 Who incurred the debt? Check one
                 0   Debtor I only
                                                                          o Contingent
                 0   Debtor 2 only
                                                                          o Unhiquidated
                 • Debtor 1 and Debtor 2 only
                                                                          o Disputed
                 0 At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                  • Check if this claim is for a community                o Student loans
                 debt                                                     0   Obligations arising out of a separation agreement or divorce that you did not
                 is the claim subject to offset?                          report as priority claims

                 •No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                 0 Yes                                                    • Other. Specify


    4.4
    [J           New Era Farm Service                                     Last 4 digits of account number                                                              $326.71
                 Nonpriority Creditor's Name
                 2904 E. Oakdale Ave.                                     When was the debt incurred?
                 Tulare, CA 93274
                 Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
                 Who Incurred the debt? Check one.
                 O   Debtor 1 only
                                                                          o Contingent
                 o Debtor 2 only                                          o Unhiquidated
                 • Debtor 1 and Debtor 2 only
                                                                          O   Disputed
                 o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:
                 • Check if this claim is fora community                  o Student loans
                 debt                                                     O Obligations arising out of a separation agreement or divorce that you did not
                 is the claIm subject to offset?                          report as priority claims
                     No                                                   0   Debts to pension or profit-sharing plans, and other similar debts
                 o Yes                                                    • Other. Specify




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    Debtor 1     Salvador Louis Chiaramonte
                                                                                                               Case number (it known)
    Debtor 2     Pamela Marie Chiaramonte

    4.4
                                                                          Last 4 digits of account number
                                                                                                                                                                  Unknown
             Nick & Alyssa Belliveau
             Nonpriority Creditors Name
                                                                          When was the debt Incurred?
               1298 Tuliptree Road
                               95403
               N umber Street City State Zip Code                         As of the date you file, the claim is: Check all that apply

             Who Incurred the debt? Check one.
               o Debtor I Only                                            o Contingent
               O    Debtor 2 only                                         O   unliquidated

               • Debtor 1 and Debtor 2 Only                               • Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               U   Check if this claim is for a community
                                                                          0    Student loans
               debt                                                       O  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               UN
                                                                          O    Debts to pension or profit-sharing plans, and other similar debts

               O    Yes                                                   I    Other. Specify



                                                                          Last 4 digits of account number
                                                                                                                                                                   Unknown
     25        Nick & Alyssa BeHiveau
               Nonpriority Creditors Name
                                                                          When was the debt incurred?
               814 Litchfield Ave
               Sebastopol, CA 95472
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply

               Who incurred the debt? Check one.
                O   Debtor I only                                          o Contingent
                o Debtor 2 only                                            O   unliquidated

                • Debtor I and Debtor 2 only                               • Disputed
                0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                I Check If this claim is for a community                   O    Student ioans

                debt                                                       O  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                UNo
                                                                           o Debts to pension or profit-sharing plans, and other similar debts
                U Yes                                                      U    Other. Specify   AddItional Address


     4.4        North Bay Petroleum/Redwood                                                                                                                         $1,613.77
                                                                           Last 4 digits of account number
     26         Coast Fuels
                Nonpriority Creditor's Name
                                                                           When was the debt incurred?
                P.O. Box 398108
                Saciscoi39-8i!
                                                                            As of the date you file, the claim is: Check all that apply
                Number Street City State Zip Code
                Who Incurred the debt? Check one.
                 0   Debtor I only                                          o Contingent
                 O Debtor 2 only                                            O    Unliquldated
                 • Debtor 1 and Debtor 2 only                               o  Disputed
                                                                            Type of NONPRIORITY unsecured claim;
                 0    At least one of the debtors and another

                 I Check If this claim is for a community
                                                                            o Student loans
                 debt                                                       O  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                            report as priority claims
                                                                              o Debts to pension or profit-sharing plans, and other similar debts
                   O Yes                                                      • Other. Specify




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     Debtor 1      Salvador Louis Chiaramonte
     Debtor 2      Pamela Marie Chiaramonte                                                                    Case number (known)

     4.4
     27        North Coast Builders Exchange                               Last 4 dIgits of account number                                                             $35.00
               Nonpriority Creditor's Name
               P.O. Box 8070 1030 Apollo Way                               When was the debt Incurred?
               Santa Rosa, CA 95407
               Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               0   Debtor 1 only                                           o Contingent
               O   Debtor 2 only                                           o Unhiquidated
               • Debtor 1 and Debtor 2 only                                O   Disputed
               O At least one of the debtors and another                   Type of NONPRIORITV unsecured claim:

               O Check if this claim Is for a community                    O   Student loans
               debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

                   No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               O Yes                                                       • Other. Specify




    E1         Northgate Company, Inc.
               Nonpriority Creditor's Name
                                                                           Last 4 digits of account number                                                           $650.00

               5835 Labath Ave., Ste. "B"                                  When was the debt incurred?
               Rohnert Park, CA 94928
               Nuniber Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
                o Debtor 1 only                                            o Contingent
                o Debtor 2 only                                            O   Unhlquldated
                • Debtor 1 and Debtor 2 only                               O   Disputed
                O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                0 Check if this claim Is fora community                    o Student loans
               debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                             report as priority claims

                • No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                      • Other. Specify


     4.4
     29         Northgate Ready Mix                                        Lest 4 dIgits of account number                                                       $18,963.54
                Nonpriority Creditors Name
                5922 Pruitt Ave.                                           When was the debt Incurred?
                Windsor, CA 95492
                Number Street City State Zip Code                          As of the date you file, the claIm Is: Check all that apply
                Who Incurred the debt? Check one
                o Debtor 1 only                                            o Contingent
                o Debtor 2 only                                            o Unliquldated
                • Debtor I and Debtor 2 only                               o Disputed
                o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                • Check If this claim Is for a community                   O   Student loans
                debt                                                       O  Obligations arising out of a separation agreement or divorce that you did not
                Is the Claim subject to offset?                            report as priority claims

                   No                                                      o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                      • Other. Specify




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Filed 11/27/19                                                                      Case 19-14974                                                                              Doc 1
                Case Number: 2019-14974                                              Filed: 11/27/2019 2:23:15 PM                                               Doc# 1
    Debtor 1 Salvador Louis Chiaramonte                                                                        Case number (it known)
    Debtor 2 Pamela Marie Chiaramonte


    LiEI1       0 Reilly Auto Parts
                Nonpriority Creditors Name
                                                                       Last 4 dIgits of account number

                                                                       When was the debt Incurred?
                                                                                                                                                                    $186.13


                P.O. Box 9464
                SpringfieldM0 6580 1-9464
                Number Street City State Zip Code                      As of the date you file s the claim is: Check all that apply

                Who incurred the debt? Check one.
                o Debtor 1 only                                         O contingent
                o Debtor 2 only                                         o Unliquidated
                I   Debtor I and Debtor 2 only                          O  Disputed
                                                                        Type of NONPRIORITY unsecured claim:
                O At least one of the debtors and another
                                                                        O Student loans
                0   Check if this claim Is for a community
                debt                                                    O obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                         report as priority claims

                 •No
                                                                        o Debts to pension or profit-sharing plans, and other similar debts
                 DYeS                                                          Other. Specify



     4.4
     :1
            1    Ortiz Tires Mobile Tire Repair
                 Service
                                                                            Last 4 digits of account number
                                                                                                                                                                     $275.00

                 Nonpriority Creditors Name
                                                                            When was the debt Incurred?
                 P.O. Box 285
                   jn,CA95439
                 Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply

                 Who Incurred the debt? Check one.
                 O    Debtor 1 only                                         o Contingent
                 O Debtor 2 only                                            O Unllquldated
                 • Debtor 1 and Debtor 2 only                               O Disputed
                                                                            Type of NONPRIORITY unsecured claim:
                 o At least one of the debtors and another                  O    Student loans
                  0  Check If this claim is for a community
                 debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                            report as priority claims
                                                                             O   Debts to pension or profit-sharing plans, and other similar debts
                  INo

                  O     Yes                                                  I   Other. Specify



      r4i
      L32_]
                  Osmun Construction                                         Last 4 digits of account number               ________
                                                                                                                                                                  $324,846.54

                  Nonpriority Creditor's Name
                                                                             When was the debt incurred?
                  7430 Redwood Blvd., Ste. A
                  Novato, CA 94945
                    Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
                    Who Incurred the debt? Check one.
                    O   Debtor 1 only                                        0 Contingent
                    o Debtor 2 only                                          0 Unliquidated
                    • Debtor 1 and Debtor 2 only                              o  Disputed
                                                                              Type of NONPRIORITY unsecured claim:
                    O At least one of the debtors and another
                                                                              O   Student loans
                    • Check if this claim is for a community
                    debt                                                      o obligations arising out of a separation agreement or divorce that you did not
                                                                              report as priority claims
                    Is the claim subject to offset?
                                                                              O   Debts to pension or profit-sharing plans, and other similar debts
                     • No
                                                                                                    Plaintiff in lawsuit titled Osmun
                                                                                                    Construction, Inc. V. Chiaramonte
                                                                              • Other. Specify      Construction & Plumbing, Inc.
                     0 Yes




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     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                             Case   number (if known)



    [] Owdom Law Firm                                                        Last 4 dIgits of account number                                                                   $0.00
              Nonpriority Creditors Name
              632 W. Oak Ave.                                                When was the debt Incurred?
              Visalia, CA 93291
              Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
              0    Debtor 1 only                                             O     Contingent
              0    Debtor 2 only                                             o 'Unliquidated
              • Debtor 1 and Debtor 2 only                                   • Disputed
              O At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community                       O     Student loans
              debt                                                           O  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                                report as priority claims

              UNo                                                            o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                      Attorneys for Acme Granite - for notice
              0 Yes                                                          • Other. Specify        _prposes


               Pace supply                                               Last4fflgitsofaccountnumber                  5027                                                 Unknown
     34
               Nonpriority Creditors Name
               P0 Box 6407                                                   When was the debt incurred?
               Rohnert Park, CA 94927
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
               o Debtor 1 only                                               0      Contingent
               O    Debtor 2 only                                            0      tinliquidated
               •    Debtor 1 and Debtor 2 only                                • Disputed
               O    At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               •   Check if this claim Is for a community
                                                                              0 Student loans
               debt                                                           0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                report as priority claims

               •    No                                                        EJ    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                          9     Other. Specify    for notice purpose



               Pacific Coast Supply, LLC.                                     Last 4 digits of account number                                                   ________   $7,398.05
               Nonpriority Creditor's Name                                                                                              -.
               30158 Rd. 65                                                   When was the debt incurred?
               Visalia, CA 93291 -9586
               Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
                o Debtor 1 only                                               i—i
                                                                              Li    Contingent
                o Debtor 2 only                                               i—i
                                                                                    Unhlquidated
                •
                                                                              Li

                    Debtor 1 and Debtor 2 only                                El    Disputed
                o   At least one of the debtors and another                   Type of NONPRIORiTY unsecured claim:

                •   Check if this claim is for a community                    0 Student loans
                debt                                                          0 Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                               report as priority claims

                •    No                                                       0     Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                         •     Other. Specify




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    Debtor 1     Salvador Louis Chiaramonte                                                                    Case   number (if known)
    Debtor 2      Pamela Marie Chi a ramon te
                                                                                                                                                                            $0.00
    4.4                                                               Last 4 digIts of account number
    36
                Pacific Coast_Supply, LLC.
                Nonpriority Creditors Name
                                                                      When was the debt Incurred?
                4290 Roseville Road
                North Hig,          95 660,
                Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                O   Debtor I only                                      0     contingent
                o Debtor 2 only                                        El lJnliquidated
                • Debtor I and Debtor 2 only                           El Disputed
                                                                       Type of NONPRIORITY unsecured claIm:
                O At least one of the debtors and another
                                                                       0 Student loans
                • Check if this claim is for a community
                                                                       Cl    Obligations arising out of a separation agreement or divorce that you did not
                debt
                                                                       report as priority claims
                Is the claim subject to offset?

                 • No
                                                                        o Debts to pension or profit.shariflg plans, and other similar debts
                                                                        • Other. Specify           Additional address
                 O Yes



    F4
                                                                                                                                                                          $680.00
     37                                                                 Last 4 digIts of account number
           ] Pacific Employers, Inc.
                 Nonpriority Creditor's Name
                                                                        When was the debt Incurred?
                 306 N. Willis St.
                 Visalia CA 93291
                 Number Street City State Zip Code                      As of the date you tile, the claim Is: Check all that apply

                 Who incurred the debt? Check one.
                  o Debtor 1 only                                           0   contingent

                  o Debtor 2 only                                           O unliquldated
                  • Debtor I and Debtor 2 only                              0 Disputed
                                                                            Type of NONPRIORITY unsecured claim:
                  o At least one of the debtors and another                 o Student loans
                  0   Check It this claim Is for a community
                  debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                                                                            report as priority claims
                  Is the claim subject to offset?
                                                                            0    Debts to pension or profit-sharing plans, and other similar debts
                    • No
                    o Yes                                                   • Other. Specify


                                                                                                                                                                          $3,125.13
          4.4                                                               Last 4 digIts of account number
          38
                    Pacific Gas and Electric
                               C red itor's Name
                                                                            When was the debt incurred?
                    3754 E. California Ave.
                    Fresno, CA 93725                                         As of the date you file, the claim is: Check all that apply
                    Number Street City State Zip Code
                    Who Incurred the debt? Check one.
                    o Debtor 1 only                                          o Contingent
                    o Debtor 2 only                                          0      Unliquidated

                    • Debtor 1 and Debtor 2 only                             o  Disputed
                                                                             Type of NONPRIORITY unsecured claim:
                    o At least one of the debtors and another                o Student loans
                     El Check It this claim isfora community
                                                                                O   Obligations arising out of a separation agreement or divorce that you did not
                    debt
                                                                                report as priority claims
                    Is the claim subject to offset?

                     INo
                                                                                o Debts to pension or profit-sharing plans, and other similar debts
                     o Yes                                                      • Other. Specify




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    Debtor 1     Salvador Louis Chiaramonte
    Debtor 2     Pamela Marie Chiaramonte                                               -                    Case number     (if known)


    4.4
             Pacific Gas and Electric                                   Last 4 digits of account number                                                               $0.00
             Non priority Creditor's Name
             P0 Box 997300                                              When was the debt incurred?
             Sacramento, CA 95899
             Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
             O     Debtor 1 only
                                                                        o Contingent
             o Debtor 2 only                                            0    Unhiquidated
               • Debtor 1 and Debtor 2 only                             O    Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

             • Check if this claim is for a community                   0 Student loans
             debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                            report as priority claims

                    No                                                  o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                    U    Other. specify    Additional address



    kI         Palm Occupational Medicine
               Nonpriority Creditor's Name
               1068 N. Cherry Ave.
                                                                        Last 4 digits of account number

                                                                        When was the debt incurred?
                                                                                                                                                                   $100.00


               Tulare, CA 93274-7256
               Number Street City State Zip Code                        As of the date you the, the ciaim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor I only                                          o Contingent
               O    Debtor 2 only                                       o Unllquidated
               • Debtor 1 and Debtor 2 only                             O Disputed
               0 At least one of the debtors and another                Type of NONPR1ORITY unsecured claim:

               o   Check if this claim is for a community
                                                                         o Student loans
               debt                                                      O  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                           report as priority claims

                    No                                                   O   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                     U   Other. Specify



               Palma Villa Builders                                      Last 4 digits of account number                                                         Unknown
               Non priority Creditor's Name
               3516 E. Vassar Court                                      When was the debt incurred?
               Visalia, CA 93292
                N umber Street City State Zip Code                       As of the date you fits, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor I only                                          0    Contingent
                O   Debtor 2 only                                        0    Unhlquidated
                U   Debtor I and Debtor 2 only                           • Disputed
                O At least one of the debtors and another                Type of NONPRIORITY unsecured ciaim:

               -. Check if this claim is for a community                 O    Studentloans
               debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                          report as priority claims

                RNo.                                                     O    Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                    U    Other, Specify




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    Debtor 1      Salvador Louis Chiaramonte
                                                                                                                Case number      (iIkrrown)
    Debtor 2      Pamela Marie Chiaramonte


    EI1         Paresh & Sefaliben Patel
                Nonpriority Creditors Name
                2061 Stagecoach Road
                                                                        Last 4 dIgits of account number

                                                                        When was the debt incurred?
                                                                                                                                                                      Unknown



                Santa Rosa, CA 95404
                                                                        As of the date you file, the claim Is: Check all that apply
            -   N-
                 umbEr­Street City State Zip Code
                Who incurred the debt? Check one.
                o Debtor 1 only                                         0 contingent
                0   Debtor 2 only                                       0 Unliquidated
                • Debtor 1 and Debtor 2 only                            • Disputed

                o At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                • Check If this claim Is for a community
                                                                            0   Student loans

                debt                                                        o  ObligatIons arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                             report as priority claims

                • No
                                                                            O Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                       • Other. Specify



                                                                                                                                                                       Unknown
      jj]Paresh & Sefaliben Patel                                           Last 4 dIgits of account number
                 Nonpriority Creditor's Name
                                                                            When was the debt incurred?
                 4639 Quigg Drive Apt 1223
                 SantaRosa,CA954!__
                                                                            As of the date you file, the claim Is: Check all that apply
                 Number Street City State Zip Code
                 Who incurred the debt? Check one.
                 O    Debtor I only                                          o Contingent
                 o Debtor 2 only                                             o Unliquidated
                 • Debtor 1 and Debtor 2 only                                • Disputed
                                                                             Type of NONPRIORITY unsecured claim:
                 0 At least one of the debtors and another
                                                                             0   Student loans
                 U Check if this claim is for a community
                 debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims
                                                                             0    Debts to pension or profit-sharing plans, and other similar debts
                  • No

                  0 yes                                                      U    Other. Specify     Additional address


                                                                                                                                                                        Unknown
          j Penelope_Kiavinger                                               Last 4 digits of account number
                  Non priority Creditor's Name
                                                                             When was the debt Incurred?
                  do   John Falduto
                    Penelope D. Klavinger Trust
                    184 Worn bley Court
                    Santa Rosa, CA 95403
                                                                              As of the date you file, the claim Is: Check all that apply
                    N umber Street City State Zip Code
                    Who Incurred the debt? Check one.
                  13    Debtor 1 only                                           o ContIngent
                    o Debtor 2 only                                             o Unliquldated
                    • Debtor 1 and Debtor 2 only                                • Disputed

                    0 At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:
                                                                                O   Student loans
                    U   Check if this claim Is for a community
                    debt                                                        O  Obligations arising out of a separation agreement or divorce that you did not
                    Is the claIm subject to offset?                             report as priority claims

                        No
                                                                                o Debts to pension or profit-sharing plans, and other similar debts
                    0 Yes                                                       I   Other, Specify




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    Debtor I Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                        Case number (t known)


    4.4                                                                                                                                                              Unknown
             Penelope Kiavinger                                          Last 4 dIgits of account number
             Non priority Creditor's Name
             do John Falduto                                             When was the debt incurred?
             Penelope D. Kiavinger Trust
             142 Leisure Park Circle
             Santa Rosa, CA 95401
             N umber Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
             Who incurred the debt? Check one.
             O Debtor 1 only                                             o Contingent
             o Debtor 2 only                                             O Unliquidated
             • Debtor 1 and Debtor 2 only                                • Disputed
             O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

             • Check if this claim is for a community
                                                                         O Student loans
             debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
             is the claim subject to offset?                             report as priority claims

                 No                                                      U Debts to pension or profit-sharing plans, and other similar debts
             0 Yes                                                       I    Other. Specify   Additional address



    F4,fl
      ~
             Penelope Kiavinger
             Nonpriority Creditors Name
             do John Falduto
                                                                         Last 4 digits of account number

                                                                         When was the debt incurred?
                                                                                                                                                                     Unknown


             Penelope D. Klavinger Trust
             1520 Sarkesian Dr
             Petaluma, CA 94954
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                             U   Contingent
              o Debtor 2 only                                             0 Unhiquidated
              • Debtor 1 and Debtor 2 only                                • Disputed
              o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community
                                                                          o Student loans
              debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims
                                                                          U Debts to   pension or profit-sharing plans, and other similar debts

              0 Yes                                                       • Other. Specify      Additional address


     4.4
               Penn Credit Corporation                                    Last 4 digIts of account number                                                                  $0.00
              Nonpriority Creditor's Name
               P0 Box 69703                                               When was the debt incurred?

               Harrisburg, PA 17106                              -

               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
               0 Debtor 1 only                                             o Contingent
               o Debtor 2 only                                             o Unhiquidated
               • Debtor 1 and Debtor 2 only                                • Disputed
               o At least one of the debtors and another                   Type of NONPRIOR1TY unsecured claim:

               • Check if this claim Is for a community
                                                                           o Student loans
               debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

               •No
                                                                           0   Debts to pension or profit-sharing plans, and other similar debts
                                                                                                 Collection agency for California American
               0 Yes                                                       • Other. Specify      Water for noticepurposes
                                                                                                         -




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                                                                                                                                                                 Best Case Bsnkruptcy
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    Debtor 1   Salvador Louis Chiaramonte
    Debtor 2    Pamela Marie Chiaramonte                                                                    Case   number (ii known)


    4.4                                                                                                                                                         $62,555.59
    48       Personnel Solutions Unlimited, Inc.                         Last 4 dIgits of account number
             Nonpriority Creditors Name
             4148 S. Demaree St., Ste. B                                 When was the debt incurred?
             Visalia, CA 93277
             Number Street City State Zip Code                           As of the date you file the claim is: Check all that apply
             Who Incurred the debt? Check one,
             o Debtor 1 only                                             O    contingent
             o Debtor 2 only                                             O    Unliquidated
                   Debtor 1 and Debtor 2 only                            o Disputed
             o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

             • Check If this claim Is for a community                    o Student loans
             debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
             Is the claim Subject to offset?                             report as priority claims

                   No                                                    0 Debts to pension or profit-sharing plans, and other similar debts
              0 Yes                                                      • Other. Specify



    4.4                                                                                                                                                             $150.00
    49        PFS_Consulting,_Inc.                                       Last 4 digits of account number
              Nonpriority Creditors Name
              1750 Howe Ave. Ste. 640                                    When was the debt incurred?
              Sacramento, CA 95825
              Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
               O   Debtor 1 only                                         o Contingent
               o Debtor 2 only                                            0   Unhiquidated
               • Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                  o Student loans
               debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               • No                                                       0 Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                      R    Other. Specify



    [E4
     50 ]
               Pinnacle Recovery, Inc.                                    Last4 digits of account number        6544                                              Unknown
               Nonpriority Creditors Name
               P0 Box 130848                                              When was the debt Incurred?
               Carlsbad, CA 92013
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor I only                                            o Contingent
               o Debtor 2 only                                            0 Unliquidated
               • Debtor 1 and Debtor 2 only                               • Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community
                                                                          o Student loans
               debt                                                       O  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                • No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                Collecting for Wyndham Times Shares - for
                0   Yes                                                    • Other. Specify     notice purpose       -




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                                                                                                                                                               Best Cese Bankruptcy
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     Debtor 1   Salvador Louis Chiaramonte
     Debtor 2    Pamela Marie Chiaramonte                                                        --             Case number (it known)


              Poppy Bank                                                   Last 4 digits of account number                                                         $2,654.16
     51
              Nonpriority Creditor's Name
              438 First St.                                                When was the debt Incurred?
              Santa Rosa, CA 95401
              Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor I only                                              o Contingent
              O     Debtor 2 only                                          o Unliquidated
               • Debtor 1 and Debtor 2 only                                O    Disputed
               O    At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              • Check if this claim Is for a community                     o Student loans
              debt                                                         o  OblIgations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                              report as priority claims

               INc                                                         0    Debts to pension or profit-sharing plans, and other similar debts

               O Yes                                                       • Other. Specify



    [4.4                                                                                                                                                              $924.00
    [j Power Plus                                                          Last 4 digIts of account number
               Nonpriority Creditor's Name
               1210 N. Red Gum St.                                         When was the debt Incurred?
               Anaheim, CA 92806
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                O   Debtor I only                                          o contingent
                o Debtor 2 only                                            O    Unhiquidaled
                • Debtor 1 and Debtor 2 only                                0 Disputed
                                                                           Type of NONPRIORITY unsecured claim:
                0 At least one of the debtors and another
                                                                            0
                o Check If this claim is for a community                         Student loans
                debt                                                        0  OblIgations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                     No                                                     o Debts to pension or profit-sharing plans, and other similar debts
                O    Yes                                                    I    Other. Specify



      4.4                                                                                                                                                           $71 40.81
     Li         Power Pole Service
                Nonpriority Creditors Name
                                                                            Last 4 digits of account number


                4156 Santa Rosa Ave.                                        When was the debt incurred?
                Santa Rosa, CA 95407
                Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                O    Debtor I only                                          O Contingent
                o Debtor 2 only                                             O    unhiquidated
                • Debtor 1 and Debtor 2 only                                o  Disputed
                O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community
                                                                            o Student loans
                debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as prIority claims

                • No                                                         O   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                        • Other. Specify




                                                              Schedule ElF: Creditors Who Have Unsecured Claims                                                     Page 156 of 199
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         1 Salvador Louis Chiaramonte
    Debtor
    Debtor 2 Pamela Marie Chiaramonte                                                                           Case number     (if known)



    44
    [j Precision Anesthesia Group                                          Last 4 dIgits of account number                                                           $251.18
     -       Non priority Creditors Name
             3033 N 44th Street, Suite 200                                 tA/hen was the debt Incurred?
             Phoenix, AZ 85018
              Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
             Who incurred the debt? Check one.
              0 Debtor I only                                              o Contingent
              0 Debtor 2 only                                              o Unhiquidated
              • Debtor 1 and Debtor 2 only                                 o Disputed
              O At least one of the debtors and another                    Type of NONPRIOR1TY unsecured claim:

              I    Check if this claim is for a community
                                                                           O    Student loans
              debt                                                         o OblIgations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                              report as priority claims

                   No
                                                                           O    Debts to pension or profit-sharing plans, and other similar debts

              0    Yes                                                     U    Other. Specify




    iI]       Premier Bath & Kitchen (PBK)
              Nonpriority Creditor's Name                         --
                                                                           Last 4 dIgits of account number

                                                                           When was the debt Incurred?
                                                                                                                                                                    $3,917.39

              P.O. BOX 6407
              Rohnert Park, CA 94927-6407
              Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
               O   Debtor 1 only                                            0   Contingent
               0   Debtor 2 only                                            0   Unliquidated
               • Debtor 1 and Debtor 2 only                                 o Disputed
               0   At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               I Check If this claim Is for a community                     o Student loans
               debt                                                         0  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

               INo
                                                                            0    Debts to pensIon or profit-sharing plans, and other similar debts

               o Yes                                                        U    Other. Specify




     Eii1       Progressive Commercial
               Nonpriority Creditors Name
                                                                            Last 4 digits of account number

                                                                            When was the debt incurred?
                                                                                                                                                                       $317.52

                Dept. 0561
                Carol Stream, IL 60132-0561
                Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one
                o Debtor I only                                              o Contingent
                o Debtor 2 only                                              o Unllquidated
                • Debtor 1 and Debtor 2 only                                 0 Disputed
                                                                             Type of NONPRIORITY unsecured claim:
                O At least one of the debtors and another
                                                                             0
                o   Check if this claim Is for a community
                                                                                 Student loans
                debt                                                         O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                • No                                                         o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                        I    Other. Specify




                                                              Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 157 of 198
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                                                                                                                                                                  Best Case Bankruptcy
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    Debtor 1   Salvador Louis Chiaramonte
    Debtor 2    Pamela Marie Chiaramonte                                                                      Case    number (if known)



             Raff Law, APC                                               Last 4 digits of account number                                                              $0.00
             Nonpriority Creditors Name
             Daniel S. Raff                                              When was the debt Incurred?
             17 Keller Street
             Petaluma, CA 94952
             Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
             O     Debtor 1 only                                         o Contingent
             0     Debtor 2 only                                         0    Unhlquidated
             • Debtor I and Debtor 2 only                                • Disputed
             o At least one of the debtors and another                   Type of NONPRIOR1TY unsecured claim:

             • Check if this claim is for a community                    0    Student loans
             debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
             is the claim subject to offset?                             report as priority claims

              • No                                                       O    Debts to pension or profit-sharing plans, and other similar debts

                                                                                                 Attorneys for Carol McHale and Erin
              0    Yes                                                   U    Other. Specify    jMurphey-for notice purposes


     4.4                                                                                                                                                        Unknown
              Ramamurthy & Syaniala Ati                                  Last 4 dIgits of account number
              Nonpriority Creditor's Name
              3833 Sedgemoore Drive                                      When was the debt incurred?
              Santa Rosa, CA 95404
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              0    Debtor 1 only                                          o Contingent
              0    Debtor 2 only                                          o Unllquldated
               • Debtor 1 and Debtor 2 only                               I    Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community                    0 Student loans
              debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

               I    No                                                    0    Debts to pension or profit-sharing plans, and other similar debts

               0 Yes                                                      I    Other. Specify



               Ramamurthy & Syamala Ati                                   Last 4 digits of account number                                                        Unknown
     59
               Nonpriority Creditors Name
               2779 Bryant Street                                         When was the debt incurred?
               San Francisco, CA 94110
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                            o Contingent
               O    Debtor 2 only                                         O    Unliquidated
               • Debtor 1 and Debtor 2 only                               • Disputed
               Cl At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                   0    Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                    No                                                    o Debts to pension or profit-sharing plans, and other similar debts
               O Yes                                                       U   Other. specify    Additional address




                                                            Schedule ElF: Creditors Who Have Unsecured Claims                                                    Page 158 of 199
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    Debtor I      Salvador Louis Chiaramonte
    Debtor 2      Pamela Marie Chiaramorite                                                                          Case number (if known)


    4.4                                                                                                                                                                Unknown
    60          Raymond Martinelli                                              Last 4 dIgits of account number
                Nonpriority Creditors Name
                151 UrsuUne Rd                                                  When was the debt incurred?
                Santa Rosa, CA 95403
                Number Street City State Zip Code                               As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                0    Debtor 1 only                                              o Contingent
                0    Debtor 2 only                                              O   unliquldated
                I    Debtor I and Debtor 2 only                                 • Disputed
                D    At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                I   Check If this claim Is for a community
                                                                                o Student loans
                debt                                                            O  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                                 report as priority claims

                     No                                                         O Debts to pension or profit-sharing plans, and other similar debts
                OYos                                                            • Other. Specify




    I           Razzari Ford
                Nonprlorlty Creditors Name
                                                                                Last 4 digits of account number

                                                                                When was the debt Incurred?
                                                                                                                                                                         $1,308.35

                P.O. Box 790072
                St.Louis, MO 63179-0072
                 Number Street City State Zip Code                               As of the date you file, the cialm Is: Check all that apply
                Who Incurred the debt? Check one.
                 o Debtor 1 only                                                 o Contingent
                 O   Debtor 2 only                                               o Unliquldated
                 • Debtor 1 and Debtor 2 only                                    o Disputed
                 o At least one of the debtors and another                       Type of NONPRIORITY unsecured claim:

                 • Check If this claim is flora community
                                                                                 0   Student loans
                 debt                                                            o ObligationS arising out of a separation agreement or divorce that you did not
                 is the claim subject to offset?                                 report as priority claims

                      No
                                                                                 o Debts to pension or profit-sharing plans, and other similar debts
                 o YeS                                                           I    Other, Specify   Deficency balance owed.


        4.4
                                                                                 Last 4 digIts of account number
                                                                                                                                                                          $1,958.85
              j Recology Sonoma Marin-Clegg
                 Fpriority Creditors Name
                                                                                 When was the debt incurred?
                  P.O. Box 51216
                  Los Angeles, CA 90051-5516
                  Number Street City State Zip Code                               As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.
                  o Debtor 1 only                                                 o Contingent
                  o Debtor 2 only                                                 o Unliquidated
                  U    Debtor 1 and Debtor 2 only                                 • Disputed
                  o At least one of the debtors and another                       Type of NONPRIORITY unsecured claim:

                  • Check If this claim is for a community
                                                                                  0   Student loans
                  debt                                                            O  Obligations arising out of a separation agreement or divorce that you did not
                  lathe claim subject to offset?                                  report as priority claims

                       No
                                                                                  O    Debts to pension or profit-sharing plans, and other similar debts

                  o Yes                                                             • Other. Specify    Corporate debt




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        Dfficial Form 106 ElF                                       Schedule ElF: Creditors Who Have Unsecured Cialms
                                                                                                                                                                       Best Case Bankruptcy
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    Debtor 1   Salvador Louis Chiaramonte
    Debtor 2    Pamela Marie Chiaramonte                                                                      Case number (f known)


    44                                                                                                                                                                 $166.38
      j Recology Sonoma Mann-Falcon                                       Last 4 dIgits of account number
             Nonpriority Creditors Name
             P.O. Box 51216                                               When was the debt incurred?
             Los Angeles, CA 90051-5516
             N umber Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
             Who Incurred the debt? Check one.
                  Debtor 1 only                                           o Contingent
              o Debtor 2 only                                             o Unliquidated
              • Debtor 1 and Debtor 2 only                                • Disputed
              o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community
                                                                          O   Student loans
              debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                             report as priority claims

                  No                                                      0   Debts to pension or profit-sharing plans, and other similar debts

              O   Yes                                                     • Other. Specify      Corporate debt



    E
    L6i Recology Sonoma Manin.Falcon
               Nonpriority Creditors Name
                                                                          Last 4 digIts of account number

                                                                          When was the debt incurred?
                                                                                                                                                                            $0.00

              P0 Box 7349
              Santa Rosa, CA 95407
               Number Street City State Zip Code                          As of the date you file, the claIm Is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                             0 Contingent
               o Debtor 2 only                                             0 Unhiquidated
               • Debtor 1 and Debtor 2 only                                0 Disputed
               O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               • Check If this claim Is for a community
                                                                           o Student loans
               debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

                    No
                                                                           O Debts to pension or profit-sharing plans, and other similar debts
               O Yes                                                       • Other. Specify     Additional address                                           -


                                                                                                                                                                     $14,737.57
         j Recology Sonoma Mann-Jobs                                       Last 4 digits of account number
              - Non priority Creditors Name            -
                                                                           When was the debt Incurred?
                P.O. Box 51219
               jele,CA
                Los        90051-5519
                Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                0   Debtor 1 only                                           O   Contingent
                0   Debtor 2 only                                           o Unhquldated
                • Debtor 1 and Debtor 2 only                                • Disputed
                o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community
                                                                            O   Student loans
                debt                                                        O  Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                             report as priority claims

                UNo                                                         O   Debts to pension or profit-sharing plans, and other similar debts

                O Yes                                                       • Other. Specify     Corporate debt




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                                                                                                                  Case number (if known)
    Debtor 2      Pamela Marie Chiaramonte

    4.4
                Redwood Residential Fence                                    Last 4 digits of account number
                                                                                                                                                                   $27,004.00
    66
                Non priority Creditors Name
                                                                             When was the debt incurred?
                4170 Santa Rosa Ave.
                Santa Rosa, CA 95407
                Number Street City State Zip Code                            As of the date you file the claim Is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor I only                                              O   Contingent
                o Debtor 2 only                                              o Unliquldaled
                • Debtor 1 and Debtor 2 only                                 O    Disputed
                o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community
                                                                             O    Student loans
                debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                 UNo                                                         0    Debts to pension or profit-sharing plans, and other similar debts

                 O Yes                                                       • Other, Specify



     4.4                                                                                                                       -                                   $21,039.00
    [j Reese & Associates, Inc.                                              Last 4 dIgits of account number -
                 Nonpriority Creditors Name
                                                                             When was the debt incurred?
                 134 Lystra Court, Ste. C
                 Santa Rosa, CA 95403
                 Number Street City. State Zip Code                           As of the date you file, the claim Is: Check all that apply

                 Who Incurred the debt? Check one.
                 o Debtor 1 only                                              o Contingent
                 o Debtor 2 only                                              O   Unliquidated
                  • Debtor 1 and Debtor 2 only                                o Disputed
                  o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                  • Check If this claim is for a community
                                                                              O Student loans
                  debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                             report as priority claims

                  • No
                                                                              o Debts to pension or profit-sharing plans, and other similar debts
                  O   Yes                                                     I    Other. Specify



      4.4                                                                     Last 4 digits of account number
                                                                                                                                                                     Unknown
      68          Rhonda Milewski
                  Nonpriority Creditor's Name
                                                                              When was the debt incurred?
                  867 Daphne Lane
                  Lemoore, CA 93245
                  Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply

                  Who incurred the debt? Check one.
                  O   Debtor 1 only                                            o ContIngent
                  o Debtor 2 only                                              o Unliquidated
                   • Debtor 1 and Debtor 2 only                                • Disputed
                   o At least one of the debtors and another                   Type of NONPR1ORITY unsecured claim:

                   • Check if this claim is for a community
                                                                               o Student loans
                   debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
                   Is the claim subject to offset?                             report as priority claims

                   RN0                                                           o Debts to pension or profit-sharing plans, and other similar debts
                   O Yes                                                         • Other. Specify




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     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                         Case number      (if known)



     4.4      Ricardo Vargas & Annette Carranza
     69       Villa                                                       Last 4 di9its of account number                                                          Unknown
              Nonpriority Creditors Name
              1546 Steven Avenue                                          When was the debt Incurred?
              Farmersville, CA 93223
              N umber Street City State Zip Code                          As of the date you fIle, the claim is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor I only                                            O    Contingent
               0   Debtor 2 only                                          o Unliquidated
               • Debtor 1 and Debtor 2 only                               I    Disputed
               O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:
               I Check if this claim is for a community                   0    Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               UNo                                                        0    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                      U    Other, Specify




    [I]        Richard M. Ortega & Jo Ann Ortega
               Nonpriority Creditors Name
                                                                          Last4digits of account number

                                                                          When was the debt Incurred?
                                                                                                                                                                      $326.71

               2904 E. Oakdale Ave.
               Tulare, CA 93274
               N umber Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                            o Contingent
               o Debtor 2 only                                            O    Unhiquidated
               • Debtor 1 and Debtor 2 only                               o Disputed
               0    At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                   o Student loans
               debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                •No                                                        O   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                      • Other. Specify



                Rick & Maria Barquero                                      Last 4 digits of account number                                                          Unknown
                Nonpriority Creditor's Name
                1831 Sonterra Court                                        When was the debt incurred?
                Santa Rosa, CA 95403
                Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
                Who incurred the debt? Check one.
                O   Debtor 1 only                                          o Contingent
                o Debtor 2 only                                            o Unliquidated
                • Debtor 1 and Deblor 2 only                               • Disputed
                o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                I   Check If this claim is for a community                 O    Student loans
                debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                      No                                                   O    Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                      • Other. Specify




                                                              Schedule ElF: Creditors Who Have Unsecured Claims                                                     Page 162 of 199
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    Debtor 2     Pamela Marie Chiaramonte                                                                       Case   number (if known)


    4.4                                                                                                                                                          Unknown
    72       Rick & Maria Barquero                                       Last 4 digits of account number
             Nonpriority Creditors Name
             8864 Old Redwood Hwy                                        When was the debt Incurred?

             Cotati, CA 94931
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
             Who Incurred the debt? Check one.
               O    Debtor 1 only                                        0   Contingent
               O    Debtor 2 only                                        o Unliquidated
               • Debtorl and Debtor 2 only                               • Disputed
               O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community
                                                                         o Student loans
               debt                                                      0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               UNo
                                                                         O    Debts to pension or profit-sharing plans, and other similar debts

               O    Yes                                                  I    Other. specify      Additional Address


     4.4                                                                                                                                                          Unknown
     73        Robert & Lisa Smith                                       Last 4 digIts of account number
               Non priority Creditor's Name
               4620 Aptos Court                                          When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
                0   Debtor 1 only                                         O    Contingent
                O   Debtor 2 only                                         0    Unliquidated

                • Debtor 1 and Debtor 2 only                              • Disputed
                O   At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community
                                                                          0    Student loans
                debt                                                      o  Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                     No
                                                                          O      Debts to pensIon or profit-sharing plans, and other similar debts

                o Yes                                                     I      Other. Specify



      4.4                                                                                                                                                          Unknown
                Robert Richner                                            Last 4 digits of account number
      74
                Nonpriority Creditor's Name
                                                                          When was the debt Incurred?
                Colette Lucchetti
                649 Jean Marie Dr
                Santa osA 95403
                Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                                                                           I     Contingent
                 O     Debtor 1 only
                 o Debtor 2 only                                           I     Unliquldated

                 U     Debtor 1 and Debtor 2 only                          U     Disputed
                                                                           Type of NONPRIORITY unsecured claim:
                 0 At least one of the debtors and another
                                                                           O     Student loans
                 • Check if this claim Is for a community
                 debt                                                        oObligations arising out of a separation agreement or divorce that you did not
                                                                           report as priority claims
                 Is the claim subject to offset?
                   O   No
                                                                             O    Debts to pension or profit-sharing plans, and other similar debts
                                                                                                  Plaintiffs in lawsuit titled Robert Richner,
                                                                                                  Colette Lucehetti v. Chiaramonte
                                                                                                  Construction & Plumbing, Inc. - for notice
                   I   Yes                                                   * Other. Specify     _pjpses



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    Debtor 1 Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                           Case number      (irknown)


    4.4                                                                                                                                                                 $0.00
    75       Robert Richner                                                Last 4 dIgits of account number
             Nonpriority Creditors Name
             Colette Lucchetti                                             When was the debt Incurred?
             5333 Kirby P1
             Rohnert Park, CA 94928
             Number Street City State Zip Code                             As of the date you file, the claim is; Check all that apply
             Who incurred the debt? Check one.
             O    Debtor 1 only                                            • Contingent

             o Debtor 2 only                                               • Unliquidated

              I   Debtor I and Debtor 2 only                               • Disputed
                                                                           Type of NONPRIORITY unsecured claim:
              0 At least one of the debtors and another
                                                                           O    Student loans
             • Check if this claim Is for a community
             debt                                                          0 Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                               report as priority claims

              ONo                                                          O    Debts to pension or profit-sharing plans, and other similar debts

              • Yes                                                        • Other. Specify       Additional address



    L76       Robert S. Math
              Nonpriority Creditor's Name
                                                                 -         Last 4 digits of account number

                                                                           When was the debt Incurred?
                                                                                                                                                                  Unknown

              822 W. King Ave.
              Tulare CA 93274
              Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              0   Debtor I only                                             0 Contingent
              O   Debtor 2 only                                             0 Unliquidated
              I Debtor 1 and Debtor 2 only                                  • Disputed
              o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

              I Check If this claim Is for a community                      0 Student loans
              debt                                                          O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                               report as priority claims

                   No                                                       0    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                        U    Other. Specify



     4.4
    [j Rogello Sanchez                                                      Last 4 digIts of account number                                                              $0.00
               Nonpriority Creditor's Name
               1930 W. Elowin Ave.                                          When was the debt incurred?
               Visalia, CA 93291
               Number Street City State Zip Code                            As of the date you file, the claim is; Check all that apply
               Who Incurred the debt? Check one.
                                                                            1
               o Debtor 1 only                                                   Contingent

               o Debtor 2 only                                              • Unliquidated

               • Debtor I and Debtor 2 only                                 I    Disputed
                                                                            Type of NONPRIORITY unsecured claim;
               O At least one of the debtors and another
                                                                            O    Student loans
               $ Check If this claim Is for a community
               debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

               DNo
                                                                             O   Debts to pension or profit-sharing plans, and other similar debts
                                                                                                   Claim for wages owed from Chiaramonte
                • Yes                                                        • Other. Specify      cucti2_l!bin,Inc.




                                                              Schedule ElF: Creditors Who Have Unsecured Claims                                                    Page 164 of 199
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                                                                                                                                                                Best Case Bankruptcy
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Filed 11/27/19                                                                          Case 19-14974                                                                                  Doc 1
               Case Number: 2019-14974                                                   Filed: 11/27/2019 2:23:15 PM                                                 Doe # 1
    Debtor 1 Salvador Louis Chiaramonte
                                                                                                                   Case number (it known)
    Debtor 2 Pamela Marie Chiaramonte

                                                                                                                                                                         Unknown
               Roman & Alejandra Maldonado                                Last 4 dIgits of account number
    78
               Nonpriority Creditors Name
                                                                          When was the debt Incurred?
               1476 Steven Avenue
               Farmersville, CA 93223
               Number Street City State Zip Code                              As of the date you file the claim is: Check all that apply

               Who incurred the debt? Check one.
                0   Debtor I only                                             O   contingent
                0   Debtor 2 only                                             O   Unliquidated

                R    Debtor I and Debtor 2 only                               • Disputed

                O At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                U Check If this claim is for a community                      O    student loans

                debt                                                          0  Obligations arising out of a separation agreement or divorce that you did not
                Is the claIm subject to offset?                               report as priority claims

                UNo
                                                                              o Debts to pension or profit-sharing plans, and other similar debts
                0 Yes                                                          • Other. Specify



    F4.4        Roman Padilla Suarez & Mayra
                                                                               Last 4 dIgits of account number
                                                                                                                                                                          Unknown
                 Nonpriority Creditors Name
                                                                               When was the debt incurred?
                 1506 Steven Avenue
                 Farmersville, CA 93223
                                                                               As of the date you file, the claim is: Check all that apply
                 Number Street City State Zip Code
                 Who incurred the debt? Check one.
                 0   Debtor I only                                             o Contingent
                 o Debtor 2 only                                               o Unliquldated
                 • Debtor I and Debtor 2 only                                  U    Disputed
                                                                               Type of NONPRIORITY unsecured claim:
                 0    At least one 01 the debtors and another

                 U   Check if this claim is for a community
                                                                               o Student loans
                 debt                                                           0 Obligations arising out of a separation agreement or divorce that you did not
                 is the claim subject to offset?                                report as priority claims

                  INo
                                                                                o Debts to pension or profit-sharing plans, and other similar debts
                  o Yes                                                         U   Other, Specify



         4.4                                                                                                                                                                     $0.00
                  Ron & Cindi Marsh                                             Last 4 digIts of account number -
         80
                  Nonpriority Creditors Name
                                                                                When was the debt incurred?
                  1436 Starvlew Court
                  Santa Rosa, CA 95403
                                                                                As of the date you file, the claim Is: Check all that apply
                  Number Street City State Zip Code
                  Who incurred the debt? Check one.
                    O   Debtor 1 only                                             o Contingent
                    o Debtor 2 only                                               o Unliquidated
                    • Debtor 1 and Debtor 2 only                                  U Disputed
                                                                                  Type of NONPRIORITY unsecured claim:
                    0   At least one of the debtors and another

                    • Check if this claim is for a community
                                                                                  o Student loans
                                                                                  O   Obligations arising out of a separation agreement or divorce that you did not
                    debt
                    Is the claim subject to offset?                               report as priority claims
                                                                                  O   Debts to pension or profit-sharing plans, and other similar debts
                    'No
                    o Yes                                                         • Other. Specify




                                                                                                                                                                            Page 165 of 199
         Official Form 106 ElF                                    Schedule ElF; Creditors Who Have Unsecured Claims
                                                                                                                                                                         Best Case Bankruptcy
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    Debtor I         Salvador Louis Chiaramonte
    Debtor 2          Pamela Marie Chiaramonte                                                                        Case number      (if known)




    04
    4~
                    Ron & Cindi Marsh
                    Nonpriorlty Creditor's Name
                                                                                 Last 4 digIts of account number

                                                                                 When was the debt incurred?
                                                                                                                                                                               $0.00

                    1640 Humboldt St
                    Santa Rosa CA 95404
                    Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                    Who Incurred the debt? Check one.
                    O   Debtor 1 only                                            o Contingent
                    O   Debtor 2 only                                            0   Unhiquidated
                    • Debtor 1 and Debtor 2 only                                 • Disputed
                    0 At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                    • Check If this claim is for a community                     o Student loans
                    debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
                    Is the claim subject to offset?                              report as priority claims

                    •No                                                          o Debts to pension or profit-sharing plans, and other similar debts
                    o Yes                                                        • Other. specify       Additional address



              Rosa Alanzo                                                        Last 4 digits of account number                                                          Unknown
     82E
                    Nonpriority Creditor's Name
                    1415 Ventura Avenue                                          When was the debt Incurred?
                    FarmersvHle, CA 93223                    -

                    Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
                    Who incurred the debt? Check one.
                    O Debtor 1 only                                               O Contingent
                    o Debtor 2 only                                               o Unhiquidated
                     • Debtor 1 and Debtor 2 only                                 • Disputed
                     0 At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                     • Check if this claim Is bra community
                                                                                  o Student loans
                     debt                                                         O OblIgations arising out of a separation agreement or divorce that you did not
                     Is the claim subject to offset?                              report as priority claims

                          No                                                      O    Debts to pension or profit-sharing plans, and other similar debts

                     o Yes                                                        I    Other. Specify



     E
     -4              Rosa Flores                                                  Last 4 digits of account number                                                          Unknown
                     Nonpriority Creditor's Name
                     1504 Mathew Avenue                                           When was the debt incurred?

                     Farmersville, CA 93223
                     Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                     Who incurred the debt? Check one.
                     U    Debtor 1 only                                           O    Contingent
                     o Debtor 2 only                                              0    Unliquidated
                     • Debtor I and Debtor 2 only                                  U   Disputed
                     o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                     • Check if this claim Is for a community
                                                                                   o Student loans
                     debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
                     Is the claim subject to offset?                               report as priority claims

                      INo                                                          o Debts to pension or profit-sharing plans, and other similar debts
                      O   Yes                                                      • Other. Specify




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                                                                                                                                                                        Best Case Bankruptcy
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    Debtor 1 Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                            Case   number (if known)


             Rosalba Soils Mendoza & Carole
                                                                           Last 4 digIts of account number                                                         Unknown
    84       Soils         _____________________
             Non priority Creditors Name
             1565 Mathew Avenue                                            When was the debt incurred?
             Farm ersviile, CA 93223
             Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
              O    Debtor 1 only                                           0   Contingent
              o Debtor 2 only                                              O   Urtliquidated
              • Debtor 1 and Debtor 2 only                                 • Disputed
              o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

              N Check if this claim is for a community                     O Student loans
              debt                                                         0 Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                              report as priority claims

              UNo
                                                                           0    Debts to pension or profit-sharing plans, and other similar debts

              O    Yes                                                     N    Other. Specify



     ~
     8 4]
              Royal Housing Development                                    Last 4 digIts of account number                                                          $8,195.00
              Non priority Creditors Name
                                                                           When was the debt incurred?
              1603 N. Redington St.
              Hanford, CA 93230
              Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor I only                                              O Contingent
               o Debtor 2 only                                              o Unliquidated
               N    Debtor 1 and Debtor 2 only                              o  Disputed
               O    At least one of the debtors and another                 Type of NONPRIOR1TY unsecured claim:

               • Check it this claIm Is for a community
                                                                            o Student loans
               debt                                                         o OblIgations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

                    No
                                                                            o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                        • Other. Specify




     EI        Ruddy's Inc.
               Nonpriority Creditors Name
                                                                            Last 4 digIts of account number

                                                                            When was the debt incurred?
                                                                                                                                                                   $10,000.00

               1411 S. Mooney Blvd.
               Visalia, CA 93277                              -

               N umber Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                O   Debtor 1 only                                            O Contingent
                o Debtor2 only                                               o Unliquidated
                • Debtor 1 and Debtor 2 only                                 o Disputed
                o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                • Check if this claim Is for a community
                                                                             o Student loans
                debt                                                         O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                UNo                                                          O     Debts to pension or profit-sharing plans, and other similar debts

                  O Yes                                                        U   Other. Specify




                                                                                                                                                                     Page 167 01199
      Official Form 106 E/F                                       Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                                                                  Best Case Bankruptcy
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          Case            Number: 2019-14974                                       Case 19-14974                                                                              Doc 1
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    Debtor 1 Salvador Louis Chiaramonte
    Debtor 2 Pmla Mri Chiaramonte                                                                             Case number (if known)



     fl
    87       Ruddys Inc.
             Nonpriority Creditors Name
                                                                         Last 4 digIts of account number

                                                                         When was the debt incurred?
                                                                                                                                                                      $0.00

             P0 Box 3299
             Visalia, CA 93277
             Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
             o Debtor 1 only                                             0 Contingent
             0     Debtor 2 only
                                                                         O Unliquidated
                   Debtor I and Debtor 2 only                            0 Disputed
             o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                 Check if this claim Is for a community                  o Student loans
             debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                             report as priority claims

                   No                                                    O    Debts to pension or profit-sharing plans, and other similar debts

              o Yes                                                           Other. Specify    Additional address


    48 ~4]                                                                                                                                                      Unknown
    88        Ryan & Dona Hirth                                          Last 4 digits of account number
              Non priority Creditors Name
              2017 Stagecoach Road                                       When was the debt incurred?
              Santa Rosa, CA 95404
              N umber Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              0    Debtor 1 only                                          0 Contingent
              O    Debtor 2 only                                          0 Unllquidated
              • Debtor 1 and Debtor 2 only                                I    Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              • Check II this claim Is for a community                    o Student loans
              debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

                   No                                                     o Debts to pension or profit-sharing plans, and other similar debts
               0   Yes                                                    U    Other. Specify




    E4,64
               Ryan & Dona Hirth
               Nonpriority Creditor's Name
               318 Spring Beauty Ct
                                                                          Last 4 digIts of account number

                                                                          When was the debt Incurred?
                                                                                                                                                                 Unknown


              Windsor, CA 95492
               Number Street City State Zip Coda                          As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               0    Debtor 1 only                                         O    Contingent
               o Debtor 2 only                                            0    Unliquidated
               • Debtor 1 and Debtor 2 only                               IN Disputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community
                                                                          0    Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims
               NNo                                                        O Debts to pension or profit-sharing plans, and other similar debts
               O    Yes                                                    I   Other. Specify   Additional Address




                                                            Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 168 of 199
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                                                                                                                                                              Best Case Bankruptcy
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            Case Number: 2019-14974                                                 Filed: 11/27/2019 2:23:15 PM                                              Doe # 1
    Debtor 1 Salvador Louis Chlaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                        Case number      (ifnown)



    4.4
             Ryan & Donna Hirth                                           Last 4 digIts of account number                                                        Unknown
    90
             Non priority Creditors Name
             669 Jean Marie Drive                                         When was the debt Incurred?
             Santa Rosa, CA 95403
             Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
             Who Incurred the debt? Check one.
             o Debtor 1 only                                              O Contingent
              O Debtor2 only                                              o Unliquidated
              • Debtor 1 and Debtor 2 only                                • Disputed
              O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check if this claim Is for a community
                                                                          U Student loans
              debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                             report as priority claims

              • No
                                                                          o Debts to pension or profit-sharing plans, and other similar debts
              o Yes                                                       • Other. Specify



    E4
    91
              Ryan & Donna Hirth                                          Last 4 digIts of account number
                                                                                                                                                                  Unknown
              Non priority Creditor's Name
              2089 Stagecoach Road                                        When was the debt Incurred?
              Santa Rosa, CA 95403                                 -
              Number Street City State Zip Code                            As of the date you tile, the claIm is: Check all that apply
              Who Incurred the debt? Check one
              0 Debtor 1 only                                              O Contingent
              o Debtor 2 only                                              U Unliquldated
               • Debtor 1 and Debtor 2 only                                I Disputed
               O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               • Check If this claim Is for a community
                                                                           o Student loans
               debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

               UNo                                                         o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                       • Other. Specify      Additionaladdress


      4.4
                                                                           Last 4 digits of account number
                                                                                                                                                                   Unknown
      92       Sabrina Wei
               Non priority Creditor's Name
               537 Jean Marie Drive                                        When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor 1 only                                             0 contingent
                O Debtor 2 only                                             0 Unliquidated
                I    Debtor 1 and Debtor 2 only                             • Disputed
                O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community
                                                                            o Student loans
                debt                                                        o ObligatIons arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                     No
                                                                            O Debts to pension or profit-sharing plans, and other similar debts

                U Yes                                                       • Other. Specify




                                                                                                                                                                    Page 169 of 199
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                                                                                                                                                                 Best Case Bankruptcy
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    Debtor 1     Salvador Louis Chiaramonte
    Debtor 2     Pamela Marie Chiaramonte                                                                    Case number (ir known)



             Sabrina Wei                                                 Last4 digits of account number                                                         Unknown
    L4I1
             Non priority Creditors Name
             5477 Corbett Circle                                         When was the debt incurred?
             Santa Rosa, CA 95403          __________
             Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
                   Debtor 1 only                                         o Contingent
               o Debtor 2 only                                           o Unhiquldated
               • Debtor I and Debtor 2 only                              • Disputed
               O   At least one of the debtors and another               Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                  o Student loans
               debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               • No                                                      o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                     • Other. specify     Additional address


     4.4                                                                                                                                                        $19,580.73
     94        Sandman Hotel                                     --      Last 4 digits of account number
               Nonpriority Creditor's Name
               3421 Cleveland Ave.                                       When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               O   Debtor 1 only
                                                                          0   Contingent
               o Debtor2 only                                            o Unllquldated
               • Debtor 1 and Debtor 2 only                              o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community
                                                                         o Student loans
               debt                                                       O  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                    No                                                    o Debts to pension or profit-sharing plans, and other similar debts
               0 Yes                                                      • Other. Specify



     4.4                                                                                                                                                          $8,457.91
     95        Sanitation Services, Inc.                                  Last 4 digits of account number
                Nonpriority Creditor's Name
                P.O. Box 751287                                           When was the debt incurred?
                Petalurna, CA 94975
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                o Debtor I only                                           O    Contingent
                o Debtor 2 only                                           o Unliquidated
                • Debtor 1 and Debtor 2 only                              o Disputed
                o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim

                • Check If this claim is for a community
                                                                          o Student loans
                debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                    No                                                     O   Debts to pension or profit-sharing plans, and other similar debts

                O   Yes                                                    • Other. Specify




                                                                                                                                                                  Page 170 of 189
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    Debtor 1 Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                            Case number (C known)



    [j Santos Santiago Perez Sandoval                                       Last 4 digIts of account number                                                         Unknown
                Nonpriority Creditors Name
                1515 Ventura Avenue                                         When was the debt Incurred?

                Farmersville, CA 93223
                Number Street City State Zip Code                           As of the date you file, the claim is; Check all that apply
                Who Incurred the debt? Check one.
                o Debtor 1 only                                             O   Contingent
                0    Debtor 2 only                                          o Unhiquidated
                • Debtor I and Debtor 2 only                                • Disputed
                0 At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                U Check If this claim is for a community                    O    Student loans
                debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                 •No                                                        o Debts to pension or profit-sharing plans, and other similar debts
                 0   Yes                                                    • Other. Specify




    E   4.li
                 Schnell Construction
                 Non priority Creditor's Name
                                                                            Last 4 dIgits of account number

                                                                            When was the debt Incurred?
                                                                                                                                                                    $43,325.00

                 125 lnyo Ct.
                 Vacaville, CA 95687
                 Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
                 Who incurred the debt? Check one.
                 O    Debtor 1 only                                          o Contingent
                 O    Debtor 2 only                                          O    Unliquidated
                 U    Debtor 1 and Debtor 2 only                             o Disputed
                 0 At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                 • Check II this claim is fora community
                                                                             o Student loans
                 debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims

                  UNo
                                                                             O    Debts to pension or profit-sharing plans, and other similar debts

                  0   Yes                                                    • Other. Specify



        [1
        4.4
        [j Sears                                                             Last 4 digits of account number         0949                                              $1,781.29
                  Nonpriority Creditor's Name
                                                                             When was the debt Incurred?
                  P0 Box 6276
                  Sioux Falls, SD 57117-6276
                  Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
                  Who incurred the debt? Check one.
                  0    Debtor 1 only                                          O   Contingent
                  0    Debtor 2 only                                          0   Uniiquldated
                  • Debtor 1 and Debtor 2 only                                o DIsputed
                  O At least one of the debtors and another                   Type of NON PRIORITY unsecured claim:

                  • Check It this claim is for a community
                                                                              o Student loans
                  debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
                  lathe claim subject to offset?                              report as priority claims

                       No
                                                                              o Debts to pension or profit-sharing plans, and other similar debts
                   o Yes                                                      • Other. Specify      Credit card




                                                                                                                                                                       Page 171 of 199
                                                                Schedule ElF: CredItors Who Have Unsecured Claims
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    Debtor I Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                         Case number     (t known)


    4.4
    99       Sears                                                        Last 4 digits of account number                                                               $0.00
             Nonpriority Creditors Name
             P0 Box 78024                                                 When was the debt incurred?
             Phoenix, AZ 85062-8024
             Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
             Who incurred the debt? Check one.
              D Debtor 1 only                                             o ContIngent
                 Debtor 2 only
                                                                          o Unhiquidated
              • Debtor 1 and Debtor 2 only                                o Disputed
              o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check If this claim is for a community                    o Student loans
              debt                                                        o  OblIgations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                             report as priority claims

              UNo                                                         o Debts to pension or profit-sharing plans, and other similar debts
              o Yes                                                       I Other. Specify Additional Address


     4.                                                                                                                                                           Unknown
     00       Sequlum Asset Solutions, LLC                                Last 4 dIgits of account number        8299
              NonpriorltyCreditors Name
              1130 North Chase Parkway #150                               When was the debt incurred?
              Marietta, GA 30067
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                             O Contingent
              0 Debtor 2 only                                              0 Unhiquidated
              I Debtor 1 and Debtor 2 only                                 I Disputed
              o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              I Check if this claim Is for a community                     O Student loans
              debt                                                         0 Obligations arising out of a separation agreement or divorce that you did not
              lathe claim subject to offset?                               report as priority claims

                  No                                                       O Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                       I Other. Specify    Collecting_for Comcast Business




    E4.5
     01
              Shamrock CalMat Co dba Shamrock
              Material
               Nonpriority Creditor's Name
               CalMat Co. File 55572
                                                                           Last 4 digIts of account number

                                                                           When was the debt incurred?
                                                                                                                                                                      $100.11



               Los Anges, CA 90074-5572
               Number Street City State Zip Code                           As of the date you fIle, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                             o Contingent
               O Debtor 2 only                                             o Untiquidated
               • Debtor 1 and Debtor 2 only                                o DIsputed
               o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               o Check if this claim is for a community                    O Studentloans
               debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

               •No                                                         o Debts to pension or profit-sharing plans, and other similar debts
               0 Yes                                                       • Other. Specify




                                                             Schedule ElF: Creditors Who Have Unsecured Claims                                                     Page 172 of 199
     Official Form 106 ElF
                                                                                                                                                                Best Case Bankruptcy
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Filed 11/27/19                                                                          Case 19-14974                                                                                Doc 1
              Case Number: 2019-14974                                                    Filed: 11/27/2019 2:23:15 PM                                               Doe # 1
    Debtor I Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                              Case number (if known)

    4.5
                                                                             Last 4 digits of account number
                                                                                                                                                                       Unknown
    02          Shandon Hunt
                Non priority Creditors Name
                1887 E. Walnut Ave.                                          When was the debt Incurred?
                Tulare, CA 93274
                Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                                                                             • Contingent
                O   Debtor 1 only
                O    Debtor2only                                             I    Unliquidated

                • Debtor 1 and Debtor 2 only                                 • Disputed
                                                                             Type of NON PRIORITY unsecured claim:
                O At least one of the debtors and another
                                                                             O    Student loans
                • Check if this claim is for a community
                debt                                                         0  Obligations arising out of a separation agreement or divorce that you did not
                                                                             report as priority claims
                Is the claim subject to offset?
                 DNa
                                                                             o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                      Plaintiff in lawsuit Shandon Hunt v.
                                                                                                      Chiaramionte Construction & Plumbing,
                 • Yes                                                        U   Other. Specify      Inc. - for notice purposes


     4.5                                                                                                                                                                Unknown
                 Shane & Kimberly Hilkey                                      Last 4 digits of account number
     03
                 Nonpriarity Creditors Name
                                                                             When was the debt incurred?
                 2046 San Miguel Ave
                 Fulton, CA 95439
                 Number Street City State ZIp Code                            As of the date you file, the claim Is: Check all that apply

                 Who Incurred the debt? Check one.
                 O    Debtor 1 only                                           O    Contingent
                 o Debtor 2 only                                              0    Unliquidated

                  • Debtor 1 and Debtor 2 only                                • Disputed
                  o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                  • Check if this claim Is for a community
                                                                              o Student loans
                  debt                                                        o  ObligatIons arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                             report as priority claims

                      No
                                                                              O      Debts to pension or profit-sharing plans, and other similar debts

                  0   Yes                                                      U     Other. Specify



                                                                               Last 4 digIts of account number
                                                                                                                                                                          Unknown
                  Shane & Kimberly Hilkey
                  Nonpriority Creditor's Name
                                                                               When was the debt Incurred?
                  P0 Box 465
                  Fulton, CA 95439
                  Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.
                  O   Debtor I only                                            0     Contingent
                  O    Debtor 2 only                                           O Unliquidated
                   • Debtor I and Debtor 2 only                                  I   Disputed
                   O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                   U Check If this claim is for a community                      U   Student loans
                   debt                                                          0  Obligations arising out of a separation agreement or divorce that you did not
                   lathe claim subject to offset?                                report as priority claims

                    UNo
                                                                                 o Debts to pension or profit-sharing plans, and other similar debts
                    0 Yes                                                        U Other. Specify Additional Address




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                                                                Schedule E/F: Creditors Who Have Unsecured Claims
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             Case Number: 20 19-14974                                                Filed: 11/27/2019 2:23:15 PM                                              Doc#1
     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                          Case number (if known)


     4.8
             Sherwin-Williams Co.                                           Last 4 dIgits of account number                                                      $17,045.82
             Nonpriority Creditors Name
             P0 BOX 840943                                                  When was the debt Incurred?
             R~flas,_TX 75284-0943
               Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               0 Debtor 1 only                                              o Contingent
               0 Debtor 2 only                                              o Unliquidated
               U   Debtor 1 and Debtor 2 only                               0 Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                     0 Student loans
               debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

               •No                                                          o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                        U Other. Specify


     4
    [


        -]
               Sherwin-Williams Co.                                         Last 4 digits of account number                                                              $0.00
               Non priority Creditors Name
               3310 Airway Drive #A                                         When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor I only                                              o Contingent
               O Debtor 2 only                                              o Unhiquidated
               • Debtor 1 and Debtor 2 only                                 0 Disputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured clalm

               I Check if this claim Is for a community                     0 Student loans
               debt                                                         0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

               •No                                                          O Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                        • Other. Specify Additional address



     15    J Sherwin-Williams Co.
               Nonpriority Creditors Name
                                                                            Last 4 digIts of account number                                                               $0.00

               2436 E Main Street                                           When was the debt incurred?
               Visalia, CA 93292
               Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                               o Contingent
               o Debtor 2 only                                               o Unliquldated
                U Debtor I and Debtor 2 only                                 O Disputed
                o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               • Check if this claim Is for a community                      O Student loans
               debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                   No                                                        0   Debts to pension or profit-sharing plans, and other simiar debts

                O Yes                                                        • Other. Specify     Additional address




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Filed 11/27/19                                                                        Case 19-14974                                                                              Doc 1
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    Debtor 1     Salvador Louis Chiaramonte
    Debtor 2     Pamela Marie Chiaramonte                                                                         Case   number (if Known)



    IEI1     Silvano Rastelli
             Nonpriority Creditors Name
                                                            --             Last 4 digits of account number

                                                                           When was the debt incurred?
                                                                                                                                                                   Unknown

             2009 Stagecoach Road
             SantaR0sa L CA 95404
               Number Street City State Zip Code                           As of the date you fiie, the claim Is: Check all that apply
             Who incurred the debt? Check one.
               El   Debtor I only                                          O    Contingent
               0    Debtor 2 only                                          0    Uniiquldated
               U    Debtor 1 and Debtor 2 only                             I    Disputed
               O At least one of the debtors and another                   Type of NONPRIOR1TY unsecured claim:

               I Check if this claim is for a community                    o Student loans
               debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

               U    No
                                                                           o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                       • Other. Specify



                                                                           Last 4 dIgits of account number
                                                                                                                                                                    Unknown
               Silvano Rastelti
               Nonpriority Creditor's Name
               2360 Mendocino Ave St A2-334                                When was the debt incurred?
               Santa Rosa, CA 95403
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
                o Debtor 1 only                                             0   Contingent
                O    Debtor 2 only                                          0   Unliquldated

                • Debtor I and Debtor 2 only                                I    Disputed
                0    At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                U   Check If this claim is for a community
                                                                            0 Student loans
                debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                • No
                                                                            0      Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                       • Other. Specify        Additional address                                  -


     4.5
                                                                            Last 4 digits of account number
                                                                                                                                                                            $0.00
     10         Smith Dolar PC
                Non priority Creditor's Name
                                                                            When was the debt Incurred?
                Richard Sutherland
                418 B Street, Fourth Floor
                Santa Rosa, CA 95401
                Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                 o Debtor I only                                             O     Contingent
                 O      Debtor 2 only                                        o Uniiquidated
                 • Debtor 1 and Debtor 2 only                                • Disputed
                 O At least one of the debtors and another                   Type of NONPR1ORITY unsecured claim:

                 • Check If this claim is for a community
                                                                             0     Student loans
                 debt                                                        O  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims
                                                                               0    Debts to pension or profit-sharing plans, and other similar debts
                                                                                                     Attorneys for Ted and Denise Morris - for
                    0   Yes                                                    • Other. Specify      noticpposes                   -




                                                               Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 175 of 199
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                                                                                                                                                                   Best Case Bankruptcy
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     Debtor I      Salvador Louis Chiaramonte
     Debtor 2       Pmla Mri Chiarmnnt                                                                        Case number      (irrnown)


     45
              Snyder Construction, Inc.                                  Last 4 digits of account number                                                         Unknown
              Nonpriority Creditors Name
             930 Shiloh Road, Bldg 40, Suite 9                           When was the debt incurred?
             Windsor, CA 95492
              Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
              El    Debtor 1 only                                        El   Contingent
              o Debtor 2 only                                            El   lJnliquldated
              • Debtor 1 and Debtor 2 only                               • Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              • Check if this claim Is for a community                   O    Student loans
              debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                            report as priority claims

                INo                                                      o Debts to pension or profit-sharing plans, and other similar debts
                El Yes                                                   • Other. Specify




    E  __ Snyder Construction, Inc.
      ~5
                Nonpriority Creditor's Name
                                                                         Last 4 digits of account number                                                          Unknown

              4564 Brighton Drive                                        When was the debt Incurred?
              Santa Rosa, CA 95403                               -


                Number Street City State Zip Code                        As of the date you file, the ciaim is: Check all that apply
                Who incurred the debt? Check one.
                0   Debtor 1 only                                        El Contingent
                0   Debtor 2 only                                        0 Unliquidated
                • Debtor I and Debtor 2 only                             • Disputed
                El At least one of the debtors and another               Type of NONPRiORITY unsecured claim:

                • Check If this claim is for a community                 0    Student loans
                debt                                                     O  ObligatIons arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                          report as priority claims

                    No                                                   o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                     • Other. Specify     Additional address


     45         Sonoma County Resource
     13         Recovery                                                 Last 4 digits of account number                                                         $12,558.85
                Nonpriority Creditor's Name
                P.O. B0X398894                                           When was the debt incurred?
                San Francisco, CA 94139-8894
                Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                0   Debtor 1 only
                                                                          El contingent
                0   Debtor 2 only
                                                                          0    Unliquldated
                U    Debtor I and Debtor 2 only                           0    Disputed
                O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community                  0 Student loans
                debt                                                      El Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                           report as priority claims

                     No                                                   0    Debts to pension or profit-sharing plans, and other similar debts

                O    Yes                                                  • Other. Specify




                                                             Schedule E)F: Creditors Who Have Unsecured Ciaims                                                    Page 176 of 199
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                                                                                                                                                               Best Case Bankruptcy
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    Debtor I Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                                 Case number     (if icnown)



   F1I Hanson
    14
        South Valley Concrete/Leign
                                                                                 Last 4 digits of account number                                                       _$1 3,570.73
             Nonpriority Creditors Name
             Hanson Aggregates Inc.                                              When was the debt incurred?
             15620 Collection Center Drive
             Chicago, IL 60693-0156
             Number Street City State Zip Code                                   As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
             O    Debtor 1 only                                                  o Contingent
             O    Debtor 2 only                                                  O   tinliquidated
             • Debtor I and Debtor 2 only                                        o Disputed
             0 At least one of the debtors and another                           Type of NONPRIORITY unsecured claim:

             • Check if this claim is for a community
                                                                                 o Student loans
             debt                                                                o  ObligatIons arising out of a separation agreement or divorce that you did not
             is the claim subject to offset?                                     report as priority claims

             • No
                                                                                 o Debts to pension or profit-sharing plans, and other similar debts
             o Yes                                                               U    Other. Specify




    Ei1      Southern California Edison
              Nonpriority Creditors Name
                                                                                 Last 4 digits of account number

                                                                                 When was the debt Incurred?
                                                                                                                         0731                                                $547.05

              P0 Box 600
              Rosemead, CA 91771
              Number Street City State Zip Code                                  As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
              O   Debtor 1 only                                                   0 contingent
              o Debtor 2 only                                                     0 Unliquidated
              • Debtor 1 and Debtor 2 only                                        o Disputed
              O At least one of the debtors and another                           Type of NONPR1ORITY unsecured claim:

              • Check if this claim is for a community
                                                                                  o Student loans
              debt                                                                o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                                     report as priority claims

                   No
                                                                                  O    Debts to pension or profit-sharing plans, and other similar debts

              O    Yes                                                            U    Other. Specify



                                                                                                                                                                            $6,600.00
              SPA LAND                                                            Last 4 digits of account number
               Nonpriority Creditors Name
                                                                                  When was the debt incurred?
               E & N BORTOLUSSI INC. dba SPA
               LAND
               7950 Redwood Drive, #31
               Cotati, CA 94931
               Number Street City State Zip Code                                   As of the date you file, the claim is: Check all that apply

               Who Incurred the debt? Check one.
               0   Debtor 1 only                                                   O Contingent
               o Debtor 2 only                                                     O Unliquldated
               • Debtor 1 and Debtor 2 only                                        0 Disputed
                                                                                   Type of NONPRIORITY unsecured claim:
               O At least one of the debtors and another
               o Check if this claim is for a community                            o Student loans
               debt                                                                o  ObligatIons arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                                     report as priority claims
                                                                                   O   Debts to pension or profit-sharing plans, and other similar debts
                •No
                o Yes                                                              U    Other. Specify




                                                                                                                                                                            Page 177 of 199
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    Debtor I Salvador Louis Chiaram ante
    Debtor 2 Pamela Marie Chiaramorite                                                                         Case   number (if known)


              Sparkletts                                                 Last 4 digits of account number         8704                                                $61.74
              Nonpriority Creditors Name
              P0 Box 660579                                              When was the debt Incurred?
              Dallas, TX 75266-0579
              Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.

              • Debtor 1 only,                                           F:    Contingent
              o Debtor 2 only                                            o Unliquidated
              O     Debtor I and Debtor 2 only                           O     Disputed
              o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

              • Check if this claim is for a community                   o Student loans
              debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

                    No                                                   O     Debts to pension or profit-sharing plans, and other similar debts

              o Yes                                                      • Other. Specify


     4.
              Sprint                                                                                              9409                                           Unknown
    LiJ                                                                  Last 4 digits of account number
              Non priority Creditor's Name
              P0 Box 54977                                               When was the debt incurred?
              Los Angeles, CA 90054
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                           0     contingent
               F:   Debtor 2 only                                        F:    Unliquidated
               U    Debtor 1 and Debtor 2 only                           • Disputed
               O    At least one of the debtors and another              Type of NON PRIORITY unsecured claim:

               U Check If this claim Is for a community                  0 Student loans
               debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
               lathe claim subject to offset?                            report as priority claims

               • No                                                      O     Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                     • Other. Specify       for notice purpose



    E4.5
     19
               St Mary's Managed Pharmacy
               Programs
               Non priority Creditor's Name
               10860 N Mavinee Dr.
                                                                         Last4diglts of account number

                                                                         When was the debt Incurred?
                                                                                                                                                                      $46.50


               Oro Valley, AZ 85737
               Number Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                            O    Contingent
               0    Debtor 2 only                                         0    Unliquidated
               • Debtor 1 and Debtor 2 only                               o DIsputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               0 Check if this claim Is fore community                    F:   Student loans
               debt                                                       0  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

                     No                                                   F:   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                      • Other. Specify




     Official Form 105 ElF                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 178 of 199

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    Debtor   I Salvador Louis Chiaranionte
                                                                                                              Case number (it known)
    Debtor   2 Pamela Marie Chiaramonte

    4.5      State Compensation Insurance
                                                                          Last 4 digits of account number       8619                                                     $0.00
    20       Fund
             Nonpriorlty Creditors Name
             P0 Box 65005                                                 When was the debt Incurred?
             Fresno, CA 93650
             Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
             Who Incurred the debt?. Check one.
             o Debtor 1 only                                              O Contingent
             O    Debtor 2 only                                           0 Unhiquldated
              • Debtor 1 and Debtor 2 only                                o  Disputed
              0 At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check If this claim is for a community
                                                                          o Student loans
              debt                                                        o Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                             report as priority claims

              •No
                                                                          o Debts to pension or profit-sharing plans, and other similar debts
              o YeS                                                       U    Other. Specify   For notice purposes



    F,5State Compensation Insurance
       Fund
              Nonpriority Creditor's Name
                                                                          Last 4 digits of account number                                                                $0.00

                                                                          When was the debt Incurred?
              P0 Box 7441
              San Francisco, CA 94120
              Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply

              Who incurred the debt? Check one.
              O   Debtor I only                                            O   contingent
              O   Debtor 2 only                                            o Unliquidated
              • Debtor 1 and Debtor 2 only                                 O Disputed
               0 At least one of the debtors and another                   Type of NONPR1ORITY unsecured claim:

               • Check It this claIm is for a community
                                                                           o Student loans
               debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                             report as priority claims

               •No
                                                                           o Debts to pension or profit-sharing plans, and other similar debts
               o Yes                                                       • Other. Specify      Additional address


                                                                                                                                                                    Unknown
               Stefan & Sanaz Kiesbye                                      Last 4 digits of account number
               Nonpriority Creditor's Name
                                                                           When was the debt Incurred?
               3662 Hemlock Street
               SantaRosa,C.A95403
               Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply

               Who incurred the debt? Check one.
               0   Debtor 1 only                                            o Contingent
               0   Debtor 2 only                                            o Unliquldated
                    Debtor I and Debtor 2 only                              • Disputed
                0 At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                • Chock If this claim is for a community
                                                                            0 Student loans
                debt                                                        O Obligations arising out of a separation agreement or divorce that you did not.
                Is the claim subject to offset?                             report as priority claims

                    No
                                                                            O Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                       • Other. Specify




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           Case Number: 20 19-14974                                                 Filed: 11/27/2019 2:23:15 FM                                              I1iiiiJ1
     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                         Case number (s known)

     4.5
     23       Stefan & Sanaz Kiesbye                                      Last 4 digits of account number                                                          Unknown
              Non priority Creditor's Name
              P.O. Box 2007                                               When was the debt incurred?
              Santa Rosa, CA 95403
              Number Street City State Zip Code                           As of the date you file, the claim   is:   Check all that apply
              Who incurred the debt? Check one.
              o Debtor I only                                             o Contingent
              O    Debtor 2 only                                          o Unllquidated
                   Debtor 1 and Debtor 2 only                             • Disputed
              o At least one 01 the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check if this claim Is for a community                    o Student loans
              debt                                                        o  OblIgations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

              • No                                                        o Debts to pension or profit-sharing plans, and other similar debts
              o Yes                                                       U    Other. Specify   Additional address


     4.5
              Stephen Poindexter                                          Last 4 digits of account number                                                           Unknown
               Non priority Creditors Name
               2607 Twain Ave.                                            When was the debt incurred?
               Clovis, CA 9361l
               N umber Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
               o Debtor 1 only                                            0    contingent
               o Debtor 2 only                                            0    Unhiquidated
               I   Debtor 1 and Debtor 2 only                             U    Disputed
               O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               U   Check If this claim is for a community                 o Student loans
               debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                            report as priority claims

               • No                                                       O    Debts to pension or profit-sharing plans, and other similar debts

               O   Yes                                                    U    Other. Specify



     4.5
     25        Sumruld Garcia, Inc.                                       Last 4 digits of account number                                                              $664.31
               Nonpriority Creditor's Name
               124 N. LSt.Ste.A                                           When was the debt Incurred?
               Tulare, CA 93274
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               0   Debtor 1 only
                                                                          o Contingent
               o Debtor 2 only                                            o Unliquidated
               U   Debtor 1 and Debtor 2 only                             o DIsputed
               o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claim Is fora community                    o Student loans
               debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                             report as priority claims

                    No                                                     0   Debts to pension or profit-sharing plans, and other similar debts

               O   Yes                                                     • Other. Specify     Corporate debt




                                                             Schedule ElF: Creditors Who Have Unsecured Claims                                                      Page 180 of 199
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                                                                                                              ..                                             Doc # 1
    Debtor 1 Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                         Case   number (it known)


                                                                                                                                                                $39,851.85
              Sunbelt Rentals, Inc.                                      Last 4 digIts of account number
              Non priority Creditors Name
                                                                         When was the debt incurred?
              P.O. Box 409211
              Atlanta, GA 30384-9211
              Number Street City State Zip Code                          As of the date you file, the claim is: Checl< all that apply
              Who incurred the debt? Check one.
              o Debtor 1 only                                            o Contingent
              0   Debtor 2 only                                          O    Unliquldated
              • Debtor I and Debtor 2 only                               O  Disputed
              O At least one of the debtors and another                  Type of NONPRIORITY unsecured ciairn:

              • Chock if this claim is for a community
                                                                         o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               •No
                                                                         O    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                      U   Other. Specify    Corporate debt


     4.5                                                                                                                                                               $0.00
           j Surgical Collections Group                                   Last 4 digits of account number
               Nonpriority Creditors Name
               2300 Lakeview Parkway, Suite 500                           When was the debt incurred?
                 pettGA 30009
               Number Street City State Zip Code                          As of the date you file the claim is: Check all that apply
               Who incurred the debt? Check one.
               0   Debtor I only                                          o Contingent
               0   Debtor 2 only                                          O    unhiquidated
               • Debtor 1 and Debtor 2 only                               o Disputed
               O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check If this claim is for a community
                                                                          0 Student loans
               debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                            report as priorIty claims

               • No
                                                                           o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                 Collecting for Implantable Provider Group,
                0 Yes                                                      • Other. Specify      Inc ._for notice purposes
                                                                                                      .




                                                                           Last 4 digits of account number
                                                                                                                                                                  Unknown
                   uruci Anand
                Nonpriority Creditors Name
                                                                           When was the debt incurred?
                2073 Stagecoach Road
                Santa Rosa, CA 95403
                Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                o Debtor 1 only                                            O Contingent
                O     Debtor 2 only                                        0 Unliquidated
                  • Debtor 1 and Debtor 2 only                             I     Disputed
                  0 At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                • Check if this claim is for a community
                                                                           o Student loans
                debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
                is the claim subject to offset?                            report as priority claims

                  UN0
                                                                             O   Debts to pension or profit-sharing plans, and other similar debts

                  O   Yes                                                    • Other. Specify




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    Debtor 1 Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                         Case   number (if known)


    4.5
    29    .] Suruchi Anand                                               Last 4 digits of account number                                                         Unknown
             Non priority Creditor's Name
             5430 Llgurian Dr                                            When was the debt Incurred?
             San Jose, CA 95138
             Number Street City Slate Zip Code                           As of the date you file, the claim is: Check all that apply
             Who Incurred the debt? Check one.
             0    Debtor 1 only                                          o Contingent
             0    Debtor 2 only                                          0    Unhiquidated
             • Debtor 1 and Debtor 2 only                                I    Disputed
             o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

             • Check if this claim Is for a community                    o Student loans
             debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                             report as priority claims

             • No                                                        O    Debts to pension or profit-sharing plans, and other similar debts

             O Yes                                                       • Other. Specify      Additional address


    4.5
             Sylvia Bray & Bernardo Manzo                                Last 4 dlgtts of account number                                                         Unknown
             Nonpriority Creditor's Name
             202 Wembloy Court                                           When was the debt incurred?
             Santa Rosa, CA 95403
              N umber Street City State Zip Code                         As of the date you file, the claim Is: Check all that apply
             Who Incurred the debt? Check one.
              o Debtor 1 only                                            0    Contingent
              0   Debtor 2 only                                          O    Unliquidated
              • Debtor 1 and Debtor 2 only                               I    Disputed
              0   At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              • Check If this claim Is for a community                    o Student loans
              debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

              •NO                                                         O   Debts to pension or profit-sharing plans, and other similar debts

              o Yes                                                       I   Other, Specify




    [f1       Sylvia Bray & Bernardo Marizo
              itonpriority Creditor's Name                         -
                                                                          Last 4 digIts of account number                                                         Unknown

              7169 Brenda Way                                             When was the debt incurred?
              Rohnert Park, CA 94928
              N umber Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
              o Debtor 1 only                                             O    Contingent
              o Debtor 2 only                                             o Unliquidated
              • Debtor I and Debtor 2 only                                1    Disputed
              O    At least one of the debtors and anolher                Type of NONPRIOR1TY unsecured claim:

              • Check if this claim Is for a community                    o Student loans
              debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

                   No                                                     o Debts to pension or profit-sharing plans, and other similar debts
              0    Yes                                                    • Other. Specify      Additional address




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    Debtor 1 Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                        Case number      (if known)




   E.iI 1   Synchrony Bank -
            Nonpriorlty Creditors Name
                                                                          Last 4 digits of account number

                                                                          When was the debt incurred?
                                                                                                                7263                                                $847.50

            P0 Box 965033
            Orlando, FL 32896
             Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
             El Debtor 1 only                                             o Contingent
             El Debtor 2 only                                             O unhiquldated
             • Debtor 1 and Debtor 2 only                                 El Disputed
             o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

             • Check if this claim is for a community
                                                                          El Student loans
             debt                                                         O Obligations arising out of a separation agreement or divorce that you did not
             is the claim subject to offset?                              report as priority claims

             • No                                                         El Debts to pension or profit-sharing plans, and other similar debts
             o Yes                                                        • Other. specify      Care Credit Card


    4.5]                                                                                                         7821                                                $585.00
             Synchrony Bank                                               Last 4 digits of account number
    E
             Non priority Creditor's Name
             Care Credit                                                  When was the debt incurred?
             P0 Box 965004
             Orlando, FL 32896
             Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
              0 Debtor I only                                              0 Contingent
              o Debtor2 only                                               o Unhiquidated
              • Debtor 1 and Debtor 2 only                                 o Disputed
              El At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check If this claim is for a community
                                                                           o Student loans
              debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
              is the claim subject to offset?                              report as priority claims

                  No
                                                                           o Debts to pension or profit-sharing plans, and other similar debts
              0 Yes                                                        • Other. Specify      Men's Wearhouse credit card


     4.5                                                                                                          5576                                              $3,535.64
       j Target                                                            Last 4 digits of account number
              Nonpriority Creditor's Name
                                                                           When was the debt incurred?
               P0 Box 660170
               Dallas, TX 75266
               Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
              Who incurred the debt? Check one.
               o Debtor 1 only                                              o Contingent
               0 Debtor2 only                                               o Unliquidated
               • Debtor I and Debtor 2 only                                 o DIsputed
               o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community
                                                                            o Student loans
               debt                                                         o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subjectto offset?                               report as priority claims

               • No
                                                                            o Debts to pension or profit-sharing plans, and other similar debts
               El Yes                                                       • Other. Specify      Credit Card




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    Debtor 2       Pamela Marie Chiaramonte                                                                   Case number (if known)



    F5        Tavco Credit Services
              Nonpriority Creditors Name                         -
                                                                         Last 4 dIgits of account number

                                                                         When was the debt Incurred?
                                                                                                                                                                         $0.00

              P0 Box 9340
              Santa Rosa, CA 95405
              N umber Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one,
              o Debtor 1 only                                            o Contingent
              El    Debtor 2 only                                        o Unhiquldated
               • Debtor 1 and Debtor 2 only                              I    Disputed
               El At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              • Check if this claim Is for a community                   o Student loans
              debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                            report as priority claims

               •No                                                       o Debts to pension or profit-sharing plans, and other similar debts
                                                                                               Collection agency for North Bay Petroleum
               El   Yes                                                  • Other. Specify      -for notice purposes


               Ted & Denise Morris                                       Last 4 digits of account number                                                            Unknown
               Non priority Creditor's Name
               3740 Espresso Ct                                          When was the debt Incurred?
               Santa Rosa, CA 95403_
               Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               O    Debtor 1 only                                        • Contingent

               o Debtor 2 only                                           • Unhiquidated

               • Debtor 1 and Debtor 2 only                              • Disputed
               El At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               I   Check If this claim is for a community
                                                                         o Student loans
               debt                                                      o ObligatIons arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               DNO                                                        0   Debts to pension or profit-sharing plans, and other similar debts

                                                                                                Plaintiffs in lawsuit titled Ted & Denis
                                                                                                Morris v, Chiaramonte Construction &
               • Yes                                                      • Other. Specify      Plumbing, inc. for notice purposes
                                                                                                                     -                                      -




     3 ~6]                                                                                                                                                                $0.00
               Ted & Denise Morris                                        Last 4 digits of account number
               Nonpriority Creditor's Name                        --


               1366 Cadence Wy                                            When was the debt incurred?
               Santa Rosa, CA 95401
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               El    Debtor 1 only                                        • Contingent

               0     Debtor 2 only                                        I    Unhiquidated

                • Debtor 1 and Debtor 2 only                              I    Disputed
                O At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community
                                                                          o Student loans
                debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
                lathe claim subject to offset?                            report as priority claims

                ONo                                                       D    Debts to pension or profit-sharing plans, and other similar debts

                • Yes                                                     • Other.    specify Additional address




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    Debtor 1     Salvador Louis Chiaramonte
    Debtor 2     PamelaMarie Chiaramonte                                                                        Case    number (if known)


    4.5                                                                                                                                                            $1,411.05
              Tesla                                                         Last 4 digits of account number
    38
              Nonpriority Creditors Name
              P0 Box 3500                                                   When was the debt incurred?
              Draper, UT 84020
              Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one
               0   Debtor 1 only                                            o Contingent
               0   Debtor 2 only                                            o Unliquidated
               U   Debtor 1 and Debtor 2 only                               o DIsputed
               0 At least one of the debtors and another                    Type of NONPR1ORITY unsecured claim:

               • Check if this claim is for a community
                                                                            0    Student ioans
               debt                                                         o ObligatIons arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

                    No
                                                                            O    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                         U   Other. Specify    Solar Lease



    E5         The Evans HR Group
               Nonpriority Creditors Name
                                                                             Last 4 digits of account number

                                                                            When was the debt incurred?
                                                                                                                                                                      $332.50

               5067 N. Mariposa, Ste. 101
               Fresno, CA 93710        -
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               0    Debtor 1 only                                            O   Contingent
               0    Debtor 2 only                                            0   Unhiquidated
               U     Debtor 1 and Debtor 2 only                              • Disputed
                O   At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               I Check if this claim is for a community                      0 Student loans
               debt                                                          0 Obligations arising out of a separation agreement or divorce that you did not
               lathe claim subject to offset?                                report as priority claims

                •No
                                                                             o Debts to pension or profit-sharing plans, and other similar debts
                o Yes                                                         • Other. Specify     Corporate debt


      4:
       65 ]
                                                                              Last 4 digIts of account number
                                                                                                                                                                           $0.00
                The Law Offices of Samuel Dagan
     [
                Nonpriority Creditors Name
                                                                              When was the debt incurred?
                Samuel Dagan
                16880 West Bernardo Drive, Suite
                275
                San Diego, CA 92127
                Number Street City State Zip Code                             As of the date you file, the ciaim is: Check all that appiy
                Who incurred the debt? Check one.
                0      Debtor 1 only                                          o ContIngent
                0      Debtor 2 only                                          O   Unliquidated
                 I     Debtor 1 and Debtor 2 only                             • Disputed
                 o     At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

                   I   Check If this claim is for a community
                                                                              o Student loans
                 debt                                                         o  Obligations arising out of a separation agreement or divorcethat you did not
                 is the ciaim subject to offset?                              report as priority claims

                   •No
                                                                              O    Debts to pension or profit-sharing plans, and other similar debts

                                                                                                    Attorney for Plaintiff Shandon Hunt- for
                   0   Yes                                                      • Other. Specify    notpurposes




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    Debtor 1     Salvador Louis Chiaramonte
    Debtor 2      Pamela Marie Chiararnonte                                                                       Case number (if known)


    4.5       The Recievable Managment
    41        Service, LLC                                                   Last 4 digits of account number        9405                                           Unknown
               Nonpriority Creditor's Name
                                                                             When was the debt incurred?
               130 Box 19646
               Minneapolis, MN 55419
               Number Street City State Zip Code                             As of the date you file, the claim is: Check all that apply
               Who incurred the debt? Check one.
               o Debtor 1 only                                               o Contingent
               o Debtor 2 only                                               o Unhiquldated
               *    Debtor 1 and Debtor 2 only                               • Disputed
               O At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                      0 Student loans
               debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                               report as priority claims

                    No                                                       O    Debts to pension or profit-sharing plans, and other similar debts

               0 Yes                                                         U    Other. specify   for notice purpose


               The Valerie S. Williams Living Trust                          Last 4 digIts of account number                                                        Unknown
               Non priority Creditors Name
               dated May 15,2015                                             When was the debt Incurred?
               Valerie Sue Williams
               407 Gate Way
               Santa Rosa, CA 95401_
               Number Street City State Zip Code                             As of the date you file, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               0    Debtor 1 only                                            0 ContIngent
               o Debtor 2 only                                               o Unhiquidated
               • Debtor 1 and Debtor 2 Only                                  • Disputed
               0 At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community                      0    Student loans
               debt                                                          0  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                               report as priority claims

                    No                                                       O    Debts to pension or profit-sharing plans, and other similar debts

                O   Yes                                                      U    Other, Specify




    F~
     4 35
               The Valerie S. WilliamsLiving Trust
                Non priority Creditors Name
                                                                             Last 4 digIts of account number

                                                                             When was the debt incurred?
                                                                                                                                                                    Unknown

               dated May 15,2015
               Valerie Sue Williams
               4564 Brighton Dr
               Santa Rosa, CA 95403
                Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                0   Debtor 1 only                                             0   Contingent
                0   Debtor 2 only                                             0   Unhiquidated
                U   Debtor 1 and Debtor 2 only                                • Disputed
                O At ieast one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                U Check if this claim Is for a community                      o Student loans
                debt                                                          0 Obligations arising out of a separation agreement or divorce that you did not
                lathe claim subject to offset?                                report as priority claims

                • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
                O Yes                                                         • Other. Specify      Additional address


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    Debtor 1 Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                                                                           Case number (ir known)



   E5
    44 ]       Thomas & Shelly Lanning
               Non priority Creditors Name
                                                                            Last 4 digits of account number

                                                                            When was the debt Incurred?
                                                                                                                                                                   Unknown


               2447 Pinecrest Drive
               Santa Rosa 1 CA 95403
               Number Street City State Zip Code                            As of the date you tile, the claim Is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                              o Contingent
               o Debtor 2 only                                              o Unliquldated
               • Debtor 1 and Debtor 2 only                                 • Disputed
               O At least one or the debtors and another                    Type of NONPRIORITY unsecured claim;

               • Check If this claim is for a community
                                                                            o Student loans
               debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

                • No
                                                                            O   Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                       • Other. Specify      Additional Address                   -


                                                                                                                                                                    Unknown
               Thomas & Shelly Lanning                                      Last 4 digIts of account number
     45 5]
     4
               - Nonpriority Creditors Name
                                                                            When was the debt incurred?
                3501 Barnes Road
                Santa Rosa, CA 95403
                Number Street City State Zip Code                            As of the date you file, the claim is; Check all that apply

                Who incurred the debt? Check one.
                0 Debtor 1 only                                              O Contingent
                o Debtor 2 only                                              o Unliquidated
                • Debtor 1 and Debtor 2 only                                 • Disputed
                o At least one of the debtors and another                    'Type of NONPRIORITY unsecured claim:

                • Check If this claim is for a community
                                                                             0 Student loans
                debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                              report as priority claims

                 •No
                                                                             O Debts to pension or profit-sharing plans, and other similar debts

                 O Yes                                                        • Other. Specify



                                                                                                                                                                            $0.00
                 Tim Brewer, CPA                                              Last 4 dIgits of account number
                 Nonpriority Creditors Name
                                                                              When was the debt incurred?
                 1177 Branham Lane,# 238
                 San Jose, CA 95118
                 Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
                 Who incurred the debt? Check one.
                 0 Debtor I only                                              O Contingent
                 El Debtor 2 only                                             o Unliquidated
                 • Debtor 1 and Debtor 2 only                                 O Disputed
                 o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                 • Check If this claim is for a community
                                                                              O Student loans
                 debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                              report as priority claims

                  • No
                                                                              o Debts to pension or profit-sharing plans, and other similar debts
                  o Yes                                                        • Other. Specify     CPA for Debtors - for notice purposes




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    Debtor 1 Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                      -.                                        Case number     (if known)


   [4.5                                                                                                                                                  $2,375.50
    47]    Title 24's By Larry, Inc.                             Last 4 digits of account number
             Nonpriority Creditors Name
             4401 W. Judy Ave.                                   When was the debt Incurred?
             Visalia, CA 93277-3926
             Number Stret City State Zip Code                    As of the date you file, the claim Is: Check all that apply
             Who Incurred the debt? Check one.
             o Debtor I only                                     • Contingent

             0    Debtor 2 only                                  • Unliquidated

             • Debtor I and Debtor 2 only                        • Disputed

             o At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

             • Check if this claim is for a community
                                                                 o Student loans
             debt                                                o ObligatIons arising out of a separation agreement or divorce that you did not
                                                                 report as priority claims
             Is the claim subject to offset?
             ONo                                                  o Debts to pension or profit-sharing plans, and other similar debts
                                                                                         Plaintiff in lawsuit titled Title 24's By Larry,
                                                                                         Inc. v. Chiaramonte Construction &
             U    Yes                                             I   Other. Specify     Plumbing. Judgnt entered.


             Tokio Marine HCC                                     Last 4 digits of account number                                                               $0.00
     48E
             Nonpriority Creditors Name
             801 South Figueroa, Suite 700                        When was the debt Incurred?
             Los Angeles, CA 90017
             Number Street City State Zip Code                    As of the date you file, the claim Is: Check all that apply
             Who incurred the debt? Check one.
              o Debtor I only.                                    o Contingent
              o Debtor 2 only                                     O Unhiquidated
              I    Debtor 1 and Debtor 2 only                     O Disputed
              O At least one of the debtors and another           Type of NONPRIORITY unsecured claim:

              U   Check if this claim is for a community
                                                                  O    Student loans
              debt                                                o OblIgations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                     report as priority claims

              • No
                                                                  o Debts to pension or profit-sharing plans, and other similar debts
              o Yes                                                • Other. Specify      Bonding company - for notice purposes


     4.5
                                                                   Last 4 digits of account number
                                                                                                                                                         $13,407.90
     49       Total Stucco
              Nonpriority Creditor's Name
              26967 Rd. 156                                        When was the debt incurred?
              Visa ha, CA 93292
              Number Street City State Zip Code                    As of the date you file, the claim is: Check all that apply
              Who Incurred the debt? Check one.
              0    Debtor 1 only                                   O   Contingent
              o Debtor 2 only                                      O   Unhiquldated
              • Debtor 1 and Debtor 2 only                         o  Disputed
              O At least one of the debtors and another            Type of NONPRIORITY unsecured claim:

              U Check if this claim is fora community              o Student loans
              debt                                                 o  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                      report as priority claims

               • No                                                o Debts to pension or profit-sharing plans, and other similar debts
               O    Yes                                            U    Other, Specify




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     Official Form 106 E/F                                    Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                         .                                              Best Case Oankruplcy
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Filed 11/27/19                                                                           Case 19-14974                                                                                Doc 1
               Case Number: 20 19-14974                                                  Filed: 11/27/2019 2:23:15 PM.                                              Doe # 1
    Debtor 1       Salvador Louis Chiaramonte
                                                                                                                  Case number (f Known)
    Debtor 2       Pamela Marie Chiaramonte

    4.5
                                                               -                                                    7676                                                     $0.00
    60          Transworld Systems, Inc.                                  Last 4 digIts of account number
                Nonpriority Creditors Name
                                                                          When was the debt Incurred?
                Collection Agency
                500 Virginia Dr., SUite 514
                Fort Washington PA 19034
                 Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                 o Debtor 1 only                                              o Contingent
                 O   Debtor 2 only                                            O   unliquidated

                 • Debtor 1 and Debtor 2 only                                 I   Disputed
                 o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                 • Check If this claim Is for a community
                                                                              o Student loans
                 debt                                                         D Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                              report as priority claims

                 • No
                                                                              o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                     Collection Agency for The Davey Tree
                                                                                                     Expert Co. and Adobe Associates, Inc. - For
                 0    Yes                                                      • Other, Specify      notice purposes


                                                                                                                                                                       $28,970.00
                 Tn-K Truss Company                                            Last 4 digits of account number
    E515:]
                  Nonpriority Creditor's Name                        -
                                                                               When was the debt incurred?
                  453 S. Main St.
                  PoylleCA 93257
                  N umber Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
                  Who Incurred the debt? Check one.
                  0    Debtor 1 only                                           o Contingent
                  0    Debtor 2 only                                           0    Unliquidated

                  • Debtor 1 and Debtor 2 only                                 • Disputed
                                                                               Type of NONPRIORITY unsecured claim:
                  O At least one of the debtors and another
                  • Check If this claim Is for a community
                                                                                o Student loans
                  debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                               report as priority claims

                         No
                                                                                o Debts to pension or profit-sharing plans, and other similar debts
                   O     Yes                                                    • Other. Specify       Corporate debt


      4.5                                                                                                                                                                 Unknown
                   Truc M. Dang (Tim)                                           Last 4 digIts of account number
      52
                   Nonpriority Creditors Name
                                                                                When was the debt incurred?
                   169 Pacific Heights Drive
                   Santa Rosa, CA 95403
                   Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply

                   Who Incurred the debt? Check one
                     O   Debtor 1 only                                            O Contingent
                     O   Debtor 2 only                                            o Unliquldated
                     • Debtor I and Debtor 2 only                                 • Disputed
                     o   At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                     • Check if this claim is for a community
                                                                                  o Student loans
                     debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
                     Is the claim subjectto offset?                               report as priority claims

                         No
                                                                                  o Debts to pension or profit-sharing plans, and other similar debts
                     O Yes                                                        • Other. Specify




                                                                                                                                                                          Page 189 of 199
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    Debtor I Salvador Louis Chiaramonte
    Debtor 2 Pmla Marie Chiaramonte                                                                            Case   number (it known)


    4.5                                                                                                                                                             Unknown
    53       Truc M. Dang (Tim)                                           Last 4 digits of account number
             Nonpriority Creditors Name
             177 Elsbree Circle                                           When was the debt Incurred?
             Windsor, CA 95492
             Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
             o Debtor 1 only                                              0   Contingent
             o Debtor 2 only                                              o Unhiquidated
             U    Debtor I and Debtor 2 only                              U    Disputed
             o At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

             • Check if this claim is tora community
                                                                          O    Student loans
             debt                                                         0  Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                              report as priority claims

             •No                                                          O    Debts to pension or profit-sharing plans, and other similar debts

             O    Yes                                                     • Other, Specify       Additional address



             True Legacy HR, Inc.                                         Last 4 digIts of account number                                                            $7,996.00
              Nonpriority Creditors Name
              83 W Oak Ave., Ste. #8                                      When was the debt incurred?

              VIsaUaL CA 93277
              N umber Street City State Zip Code                          As of the date you file, the claim Is: Chock all that apply
              Who Incurred the debt? Check one.
              O    Debtor 1 only                                          O    Contingent
              O    Debtor 2 only                                           o Unhiquidated
              • Debtor 1 and Debtor 2 only                                 • Disputed
              0 At least one of the debtors and another                    Type of NONPRIOR1TY unsecured claim:

              U   Check if this claim is for a community
                                                                           0    Student loans
              debt                                                         o Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                              report as priority claims

                   No
                                                                           o Debts to pension or profit-sharing plans, and other similar debts
              O    Yes                                                     U    Other, Specify   Corporate debt


    11
     4,5
    [j TulareEmergency Aid                                                 Last 4 digIts of account number
                                                                                                                                                                      Unknown
              Nonpriority Creditors Name
               Debbie Thrasher                                             When was the debt Incurred?
               299 South L. Street
               Tulare, CA 93274
               Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               0   Debtor 1 only                                           o ContIngent
               O   Debtor 2 only                                           O    (Jnliquidated
               U   Debtor I and Debtor 2 only                               • Disputed
               O   At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

               • Check If this claim Is for a community
                                                                            O   Student loans
               debt                                                         O  Obligations arising out   or a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

               UNo                                                          O   Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                        • Other, Specify




                                                             Schedule ElF: Creditors Who Have Unsecured Claims                                                        Page 190 of 199
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    Debtor 1 Salvador Louis Chiaramonte
    Debtor 2 Pamela Marie Chiaramonte                              .      .                                      Case   number (it known)



            Tulare Emergency Aid                                         Last 4 digits of account number                                                            Unknown
            Nonpriority Creditors Name
            Debbie Thrasher                                              When was the debt incurred?
            P0 Box 662
            Tulare, CA 93275
            Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.
             D   Debtor 1 only                                           o Contingent
             D   Debtor 2 only                                           o Untiquidated
             I   Debtor I and Debtor 2 only                              • Disputed
             O   At least one of the debtors and another                 Type of NONPR1ORITY unsecured claim:

             U   Check If this claim is for a community
                                                                         o Student loans
             debt                                                        O ObLigations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                             report as priority claims

             U   No                                                      O     Debts to pension or profit-sharing plans, and other similar debts

             o Yes                                                       • Other. Specify           Additional address



    1i1EI    Tulare Village, LLC
             Nonpriority Creditor's Name
                                                                         Last 4 digIts of account number

                                                                         When was the debt incurred?
                                                                                                                                                                     Unknown

             621 E. Prosperity Ave., Building
             1277B
             Tulare, CA 93274
             Number StreetCity State Zip Code                            As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
             0     Debtor 1 only                                          0 Contingent
             O     Debtor 2 only                                          0 Unliquldated
              • Debtor 1 and Debtor 2 only                                I       Disputed
              0 At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

              • Check If this claim is for a community
                                                                          O       Student loans
              debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                             report as priority claims

              UNo                                                         0       Debts to pension or profit-sharing plans, and other similar debts

              O Yes                                                       I       Other. Specify



     4.5
                                                                          Last 4 digits of account number
                                                                                                                                                                    $30,341.16
     58       United Rentals, Inc.
              Nonpriority Creditors Name
                                                                          When was the debt incurred?
              File 51122
              Los,gLos, CA 90074-1122
              Number Street City State Zip Code                           As of the date you file, the cialm is: Check all that apply

              Who incurred the debt? Check one.
              0    Debtor 1 only                                              0   Contingent
              0    Debtor 2 only                                              0   Unliquidated
               I   Debtor 1 and Debtor 2 only                                 • Disputed
               0 At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community
                                                                              O Student loans
               debt                                                           o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                                report as priority claims

                    No
                                                                              o Debts to pension or profit-sharing plans, and other similar debts
               O Yes                                                          1    Other, Specify    Corporate debt




                                                                                                                                                                      Page 191 of 199
     Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims
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    Debtor 1   Salvador Louis Chlaramonte
    Debtor 2    Pamela Marie Chiaramonte                                                                     Case   number (it known)


    45                                                                                                                                                                 $0.00
    59       United_Rentals,_Inc.                                       Last 4 digits of account number
             Nonpriority Credtors Name
             6125 Lakeview Road, #300                                   When was the debt Incurred?
             Charlotte, NC 28269
             Number Street City Slate Zip Code                          As of the date you file, the claim Is: Check all that apply
             Who incurred the debt? Check one.
             o Debtor 1 only                                            O   Contingent
             0     Debtor 2 only                                        0    Unliquidated
             I     Debtor 1 and Debtor 2 only                           • Disputed
             O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

             I   Check if this claim Is for a community                 o Student loans
             debt                                                       o  Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                            report as priority claims

             INO                                                        o Debts to pension or profit-sharing plans, and other similar debts
             o Yes                                                      U    Other. speciry   Additional address


     4.5                                                                                                                                                        $27,713.49
             Valley Oak Credit Union                                    Last 4 digits of account number
              Nonpriority Creditor's Name
             600 W. Main Street                                         When was the debt incurred?
             Visalia, CA 93291
              N umber Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
             Who incurred the debt? Check one.
              O    Debtor I only
                                                                        O Contingent
               0   Debtor 2 only
                                                                        9 Unliquidaled
               • Debtor 1 and Debtor 2 only                             O Disputed
               0   At least one of the debtors and another               Type of NONPRIORITY unsecured claIm:

               U Check if this claim is for a community                  o Student loans
               debt                                                      O Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

                   No                                                    o Debts to pension or profit-sharing plans, and other similar debts
               O Yes                                                     U   Other. specify   DefiCeflcy balances owed


                                                                                                                                                                     $431.83
     LiJ       Valley Urology
               Nonpriority Creditors Name
                                                                         Last 4 digits of account number


               6113 N. Fresno Street, Ste. 101                           When was the debt incurred?
               Fresno,CA 93710
               Number Street City State Zip Code                         As of the date you fIle, the claim is: Check all that apply
               Who incurred the debt? Check one.
               O    Debtor 1 only                                        0    Contingent
               o Debtor 2 only                                           O    Urtliquidated
               I    Debtor 1 and Debtor 2 only                           o Disputed
               o At least one of the debtors and another                 Type of NONPRIORITY unsecured claIm:

               I Check if this claim Is for a community                  0    Student loans
               debt                                                      O  ObligatIons arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                           report as priority claims

               UNo                                                       O    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                      • Other. Specify




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                                                                                                                    ..                                            Doc # 1
       Debtor 1   Salvador Louis Chiaramonte
                                                                                                                  Case number (it known)
       Debtor2     Pamela Marie Chiaramonte

   1   4.5
                Victor & Rosa Salazar                                        Last 4 digits of account number                                                         Unknown
       62
                Nonpriority Creditors Name
                115 Byrant Court                                             When was the debt incurred?
                Lindsay, CA 93247
                Number Street City State Zip Code                            As of the date you file, the claim is: Check all that apply
                Who Incurred the debt? Check one.
                o Debtor 1 only                                              O Contingent
                o Debtor 2 only                                              O Unliquidated
                U     Debtor I and Debtor 2 only                             • Disputed
                o At least one of the debtors and another                    Type of NONPR1ORITY unsecured claim;

                 • Check it this claim Is for a community
                                                                             O Student loans
                 debt                                                        0 Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                             report as priority claims

                      No
                                                                             o Debts to pension or profit-sharing plans, and other similar debts
                      Yes                                                    • Other. Specify



       4.5
                                                                             Last 4 digits of account number
                                                                                                                                                                         $162.75
       63        Visalia Pipe & Supply
                   onpriority Creditors Name
                  9941 W. Legacy Ave.                                        When was the debt incurred?

                  Visalia L CA 93291 -9544
                  Number Street City State Zip Code                           As of the data you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.
                  o Debtor I only                                             o Contingent
                  O   Debtor 2 only                                           O   Unliquidated

                  • Debtor 1 and Debtor 2 only                                • Disputed
                  O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim;

                  • Check if this claim Is for a community
                                                                              o Student loans
                  debt                                                        O Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                             report as priority claims

                       No
                                                                              O    Debts to pension or profit-sharing plans, and other similar debts

                  o Yes                                                       I    Other. Specify   Corporate_debt


       4.5
       EI1        Visalia Pipe & Supply                                        Last 4 dIgits of account number
                                                                                                                                                                              $0.00
                  Nonpriority Creditors Name
                                                                              When was the debt incurred?
                  P0 Box 768
                  Los Angeles, CA 90084 --
                   Number Street City State Zip Code                           As of the date you file, the claim is: Check all that apply
                  Who Incurred the debt? Check one.
                   0    Debtor I only                                          o Contingent
                   O    Debtor 2 only                                          o Unhiquidated
                   • Debtor I and Debtor 2 only                                • Disputed
                   O At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

                   • Check If this claim isfora community
                                                                               O   Student loans
                   debt                                                        0  Obligations arising out of a separation agreement or divorce that you did not
                   Is the claim subject to offset?                             report as priority claims

                    • No
                                                                               o Debts to pension or profit-sharing plans, and other similar debts
                    O   Yes                                                     • Other. Specify     Additional address




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    Debtor 1    Salvador Louis Chiaramonte
    Debtor 2   Pamela Marie Chiaramonte                                                                        Case   number (if known)


   [71j Visalia Window Company                                            Last 4 digits of account number                                                        $84,499.42
             Nonpriority Creditor's Name
             8525 W. Roosevelt Ave.                                       When was the debt incurred?
             Visalia, CA 93291
             Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
             Who incurred the debt? Check one.
             0     Debtor 1 only                                          O Contingent
             0     Debtor 2 only                                          o Unliquidated
             • Debtor I and Debtor 2 only                                 • Disputed
             O At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

             • Check if this claim Is for a community                     o Student loans
             debt                                                         0 Obligations arising out of a separation agreement or divorce that you did not
             Is the claim subject to offset?                              report as priority claims

                   No                                                     o DebtS to pension or profit-sharing plans, and other similar debts
              O    Yes                                                    • Other. Specify       Corporate debt



    k
    4.5
             Wayside Lumber
            - Nonpriority Creditors Name
                                                                          Last 4 dIgits of account number

                                                                          When was the debt Incurred?
                                                                                                                                                                  $95,084.02

              11277 Trade CenterDrive
              Rancho Cordova, CA 95742
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
               0   Debtor I only                                           o Contingent
               o Debtor 2 only                                             0    linliquidated
               N   Debtor I and Debtor 2 only                              U    Disputed
               o At least one of the debtors and another                   Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community
                                                                           o Student loans
               debt                                                        o  Obligations arising out of a separation agreement or divorce that you did not
               is the claim subject to offset?                             report as priority claims

               UNo                                                         0    Debts to pension or profit-sharing plans, and other similar debts

               o Yes                                                       U    Other. Specify   Corporate_debt


     4.5                                                                                                                                                               $355.41
       5]      Wells Fargo Bank                                            Last 4 digits of account number
               Nonpriority Creditor's Name
               414 W. Main Street                                          When was the debt Incurred?
               Visalia, CA 93291
               Number Street City State Zip Code                           As of the date you file, the claim Is: Check all that apply
               Who incurred the debt? Check one.
               0    Debtor I only                                          O contingent
               O    Debtor 2 only                                          o Unhiquidated
                • Debtor 1 and Debtor 2 only                               • Disputed
                O At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

               • Check if this claim is for a community
                                                                            o Student loans
               debt                                                         o  Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                              report as priority claims

                    No                                                      0    Debts to pension or profit-sharing plans, and other similar debts

                o Yes                                                       • Other. specify      Big Brands




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    Debtor 1       Salvador Louis Chiaramonte
                                                                                                                     Case number (f known)
    Debtor 2       Pamela Marie Chiaramonte


   F:51
    6~
                 Wells Fargo Bank
                 Nonpriority Creditors Name
                 P0 Box 5132
                                                                                 Last 4 digits of account number

                                                                                 When was the debt Incurred?
                                                                                                                                                                              $0.00



                 Sioux Falls, SD 57117
                 Number Street City State Zip Code                               As of the date you file, the claim Is: Check all that apply
                 Who Incurred the debt? Check one.
                 o Debtor 1 only                                                 o Contingent
                 0 Debtor 2 only                                                 O unliquidated
                 • Debtor 1 and Debtor 2 only                                    • Disputed
                 O At least one of the debtors and another                       Type of NONPRIORITY unsecured claim:

                 • Check if this claim is for a community
                                                                                 o Student loans
                 debt                                                            O Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                                 report as priority claims

                      No
                                                                                 o Debts to pension or profit-sharing plans, and other similar debts
                 0 Yes                                                           • Other. specify      Additional address



    E5           William & Loridana Garey
                 Non priority Creditor's Name
                 2011 Eagle Court
                                                                  _____          Last 4 digIts of account number

                                                                                 When was the debt incurred?
                                                                                                                                                                         Unknown



                 Santa Rosa, CA 95403
                  N umber Street City State Zip Code                              As of the date you file, the claIm Is: Check all that apply

                 Who Incurred the debt? Check one.
                  o Debtor 1 only                                                 O Contingent
                  o Debtor 2 only                                                 o Unliquidated
                  • Debtor 1 and Debtor 2 only                                    • Disputed

                  o   At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                  • Check if this claim Is for a community
                                                                                  o Student loans
                  debt                                                            o ObligatIons arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                                 report as priority claims
                                                                                  0 Debts to pension or profit-sharing plans, and other similar debts
                      No
                  o Yes                                                            • Other. Specify



     74 6   5]    William Rosa                                                     Last 4 digits of account number
                                                                                                                                                                          Unknown
     [
                   inpriority Creditor's Name
                                                                                   When was the debt incurred?
                  Aaron Rosa
                  2045 Stagecoach Rd
                  SantaRosa, CA 95404
                   Number Street City State Zip Code                               As of the date you file, the claim Is: Check all that apply
                   Who incurred the debt? Check one.
                                                                                   U. Contingent
                   0 Debtor I only
                   0 Debtor2 only                                                  • Unliquidated

                   • Debtor 1 and Debtor 2 only                                    • Disputed
                                                                                   Type of NONPRIORITY unsecured claim:
                   0 At least one of the debtors and another
                                                                                   0 StudentloanS
                   • Check if this claim Is for a community
                   debt                                                            o Obligations arising out of a separation agreement or divorce that you did not
                                                                                   report as priority claims
                   Is the claim subject to offset?
                   ONo
                                                                                   o Debts to pension or profit-sharing plans, and other similar debts
                                                                                                         Plaintiffs In lawsuit titled William Rosa,
                                                                                                         Aaron Rosa v. Chiaramonte Construction &
                   I Yes                                                            • Other. Specify




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    Debtor I   Salvador Louis Chiaramonte
                                                                                                              Case number (likoown)
    Debtor 2    Pamela Marie Chiaramonte


   Eifl      William Rosa
             Nonpriority Creditors Name
                                                                          Last 4 digIts of account number

                                                                          When was the debt Incurred?
                                                                                                                                                                        $0.00


             Aaron Rosa
             9830 Bodega Hwy
             Sebastopol, CA 95472
             Number Street City State Zip Code                            As of the date you file, the claim Is: Check all that apply
             Who Incurred the debt? Check one.
               o Debtor 1 only                                            • Contingent

               o Debtor 2 only                                            U    tinliquldated

               U   Debtor 1 and Debtor 2 only                             U    Disputed
                                                                          Type of NONPRIORITY unsecured claim:
               0 At least one of the debtors and another
               • Check If this claim Is for a community
                                                                          o Student loans
               debt                                                       0 Obligations arising out of a separation agreement or divorce that you did not
                                                                          report as priority claims
               Is the claim subject to offset?
                    No
                                                                          o Debts to pension or profit-sharing plans, and other similar debts
               • Yes                                                      IN   Other. specify      Additional address


    R1         Williams Scotsman                                          Last 4 digits of account number
                                                                                                                                                                   $2,435.27
               Non priority Creditor's Name
                                                                          When was the debt Incurred?
               P.O. Box 91975
               Chicago, IL 60693-1975
               Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
               Who Incurred the debt? Check one.
               o Debtor 1 only                                             O   Contingent
               O     Debtor 2 only                                         0    Unllquidated

               • Debtor 1 and Debtor 2 only                                N    Disputed
                0 At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

                U   Check if this claim Is for a community
                                                                           O    Student loans
                debt                                                       O Obligations arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                            report as priority claims

                UNo                                                        o Debts to pension or profit-sharing plans, and other similar debts
                O Yes                                                      • Other. Specify        Corporate debt


     [;T51      Williams Scotsman                                          Last 4 digIts of account number
                                                                                                                                                                          $0.00
                Nonpriority Creditor's Name
                901 South Bond Street, Suite 600                           When was the debt incurred?

                Baltimore, MD 21231
                Number Street City State Zip Code                          As of the date you file, the claim Is: Check all that apply
                Who incurred the debt? Check one.
                0    Debtor I only                                          O     ContIngent
                0     Debtor 2 only                                         o Unliquidated
                IN    Debtor 1 and Debtor 2 only                            U     Disputed
                 o At least one of the debtors and another                  Type of NONPRIORITY unsecured claIm:

                IN Check If this claim is for a community                   O     Student loans
                debt                                                        o ObligatIons arising out of a separation agreement or divorce that you did not
                Is the claim subject to offset?                             report as priority claims

                      No
                                                                            o Debts to pension or profit-sharing plans, and other similar debts
                   O Yes                                                      I   Other. Specify    Additional address




                                                                                                                                                                    Page 196 of 199
      Official Form 106 ElF                                  Schedule ElF: Creditors Who Have Unsecured Claims
                                                                                                                                                                 Best Case Bankruptcy
      Software Copyright (c) 1906-2019 Best Case, LLC -www.bestcase.com
Filed 11/27/19                                                                               Case 19-14974                                                                               Doc 1
               Case Number: 2019-14974                                                        Filed: 11/27/2019 2:23:15 PM                                             Doe # 1
    Debtor I Salvador Louis Chiaramonte,
    Debtor 2 Pamela Marie Chiaramonte                                                                                  Case number (if known)



   E7~
     ']
                Williams, Brodersen, Pritchett
                Nonpriority Creditors Name
                                                                                  Last 4 digits of account number

                                                                                  When was the debt Incurred?
                                                                                                                                                                           $1,792.50

                & Burke Law
                2222 West Main St.
                Visalia, CA 93291
                Number Street City State Zip Code                                 As of the date you file, the claim Is: Check all that apply
                Who Incurred the debt? Check one.
                O       Debtor 1 only                                             o Contingent
                o Debtor 2 only                                                   o Unhiquidated
                    • Debtor I and Debtor 2 only                                  o  Disputed

                    o At least one of the debtors and another                     Type of NONPRIORITY unsecured claIm:
                                                                                  O
                    o Check if this claim Is for a community                          Student loans
                    debt                                                          O  Obligations arising out of a separation agreement or divorce that you did not
                    is the claim subject to offset?                               report as priority claims

                    UNo                                                           o Debts to pension or profit-sharing plans, and other similar debts
                    O   Yes                                                       • Other. Specify



     4.5                                                                                                                                                                         $0.00
     75E            Willoughby Stuart Bening & Cook                               Last 4 digits of account number
                -   Non priority Creditors Name
                                                                                  When was the debt Incurred?
                    Charles Hellstrom
                    50 W. San Fernando Street, Ste. 400
                    San Jose, CA 95113
                    Number Street City State Zip Code                              As of the date you file, the claim Is: Check all that apply
                    Who Incurred the debt? Check one.
                    o Debtor I only                                                O contingent
                    0    Debtor 2 only                                             O tinliquidated
                     • Debtor I and Debtor 2 only                                  O Disputed
                     o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                     U Check If this claim Is for a community                      o Student loans
                     debt                                                          o Obligations arising out of a separation agreement or divorce that you did not
                     Is the claim subject to offset?                               report as priority claims

                         No
                                                                                   O    Debts to pension or profit-sharing plans, and other similar debts

                                                                                    • Other. specify       Attorneys    for Debtors      -   For notice purposes
                     O   Yes



     4.5                                                                                                                                                                    Unknown
                     Willow Village Apartments                                      Last 4 digits of account number
     76
                     Non priority Creditor's Name
                                                                                    When was the debt Incurred?
                     1150 N. Willow Ave.
                     Tupman, CA 93276
                     Number Street City State Zip Coda                              As of the date you file, the claim is: Check all that apply
                     Who Incurred the debt? Check one.
                     0    Debtor 1 only                                             o Contingent
                     0    Debtor 2 only                                             O     Unllquidated

                      • Debtor 1 and Debtor 2 only                                  • Disputed
                      o At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                      • Check if this claim is for a community
                                                                                    O Student loans
                      debt                                                          o  Obligations arising out of a separation agreement or divorce that you did not
                      lathe claim subject to offset?                                report as priority claims

                      • No
                                                                                     o Debts to pension or profit-sharing plans, and other similar debts
                      o Yes                                                           U   Other. Specify




                                                                                                                                                                             Page 197 of 199
                                                                      Schedule ElF: Creditors Who Have Unsecured Claims
         Official Form 106 ElF                                                                                                                                            Best Case Bankruptcy
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Filed 11/27/19                                                                            Case 19-14974                                                                               Doc 1
               Case Number: 2019-14974                                                     Filed: 11/27/2019 2:23:15 PM                                             Doc # 1
    Debtor 1        Salvador Louis Chiaramonte
    Debtor 2        P2mI2 Mri Chiaramonte                                                                            Case number (if known)



    7    E,Windsor RV, LLC
                 Non priority Creditors Name
                                                                                Last 4 digits of account number

                                                                                When was the debt incurred?
                                                                                                                                                                        $3,047.50

                 8225 Conde Lane
                 Windsor, CA 95492
                 Number Street City Stale Zip Code                              As of the date you file, the claim is: Check all that apply
                 Who Incurred the debt? Check one.
                 o Debtor 1 only                                                0    Contingent
                 o Debtor 2 only                                                O    Unliquldated
                 • Debtor 1 and Debtor 2 only                                   I    Disputed
                 o At least one of the debtors and another                      Type of NONPRIORITY unsecured claim:

                 • Check if this claim is for a community                       0    Student loans
                 debt                                                           O  Obligations arising out of a separation agreement or divorce that you did not
                 Is the claim subject to offset?                                report as priority claims

                 •No                                                            O    Debts to pension or profit-sharing plans, and other similar debts

                 o Yes                                                          U    Other. Specify    Corporate debt



    [jfl         WJV Acoustics, Inc.
                 Nonpriority Creditors Name
                                                                                Last 4 dIgits of account number

                                                                                When was the debt incurred?
                                                                                                                                                                        $1,625.00

                 113 N. Church St, Ste. 203
                 Visalia, CA 93291
                 Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
                 Who Incurred the debt? Check one.
                 o Debtor I only                                                o Contingent
                 o Debtor 2 only                                                o Unliquidated
                  • Debtor I and Debtor 2 only                                   U   Disputed
                  0 At least one of the debtors and another                     Type of NONPRIORITY unsecured claim:

                  • Check If this claim is for a community                       O   Student loans
                  debt                                                           O  Obligations arising out of a separation agreement or divorce that you did not
                  is the claim subject to offset?                                report as priority claims

                  RNO                                                            0   Debts to pension or profit-sharing plans, and other similar debts

                  O   Yes                                                        • Other. Specify      Corporate_debt



     [j Yenilia Gomez                                                            Last 4 digits of account number                                                         Unknown
                  Non priority Creditors Name
                  1396 Mathew Avenue                                             When was the debt incurred?
                  Farmersville, CA 93223
                  Number Street City State Zip Code                              As of the date you file, the claim is: Check all that apply
                  Who incurred the debt? Check one.
                  o Debtor 1 only                                                O Contingent
                  0   Debtor 2 only                                              O Unliquidated
                  • Debtor 1 and Debtor 2 only                                   • Disputed
                  O   At least one of the debtors and another                    Type of NONPRIORITY unsecured claim:

                  • Check if this claim Is for a community                       o Student loans
                  debt                                                           o  Obligations arising out of a separation agreement or divorce that you did not
                  Is the claim subject to offset?                                report as priority claims

                   • No                                                          o Debts to pension or profit-sharing plans, and other similar debts
                   o Yes                                                         I    Other. Specify




                                                                                                                                                                         Page 198 of 199
     Official Form 106 ElF                                          Schedule ElF; Creditors Who Have Unsecured Claims
                                                                                                                                                                      Best case Bankruptcy
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Filed 11/27/19
          CaseNumber:                       2019-14974                            Case 19-14974                                                                               Doc 1
                                                                                   Filed: 11/27/2019 2:23:15 FM                                             Doc# 1
    Debtor I     Salvador Louis Chiaramonte
    Debtor 2     Pamela Marie Chiaramonte                                                                    Case number (ii known)


    4.5
    80         Yesenia Cisneros                                         Last 4 digIts of account number                                                         Unknown
               Nonpriority Ceditor's Name
               1418 Mathew Avenue                                       When was the debt incurred?
               Farmersville, CA 93223
               Number Street City State Zip Code                        As of the date you file, the claim is; Check all that apply
               Who incurred the debt? Check one.
               o Debtor I only                                          O Contingent
               o Debtor 2 only                                          O Unliquidated
               • Debtor 1 and Debtor 2 only                             • Disputed
               o At least one of the debtors and another                Type of NONPRIORITY unsecured claim;

               • Check if this claim is for a community                 o Student loans
               debt                                                     0 Obligations arising out of a separation agreement or divorce that you did not
               Is the claim subject to offset?                          report as priority claims

                   No                                                   O Debts to pension or profit-sharing plans, and other similar debts
               0   Yes                                                  I     Other. Specify


   ITi             List Others to Be Notified About a Debt That You Already Listed
      Use this page only if you have others to be notifIed about your bankruptcy, for a debt that you already listed in Parts I or 2. For example, if a collection agency
      is trying to collect from you for a debt you owe to someone else, list the original creditor In Parts I or 2, then list the collection agency here, Similarly, If you
      have more than one creditor for any of the debts that you listed in Parts I or 2, list the additional creditors here. If you do not have addItional persons to be
      notified for any debts In Parts 1 or 2, do not fill out or submit this page.

                   Add the Amounts        for   Each Tipe   of   Unsecured Claim
         Total the amounts of certain types of unsecured claims. This InformatIon is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
         type of unsecured claim.
                                                                                                                                      Total ClaIm
                           Ba.     Domestic support oblIgations                                                 Ba.       $                         0.00
    Total
    claims
    from Part I                    Taxes and certain other debts you owe the government                         6b.       $                         0.00
                                   Claims for death or personal injury while you were Intoxicated               Bc.       $                         0.00
                                   Other. Add all other priority unsecured claims. Write that amount here.      6d.       $



                           Be.     Total Priority. Add lines Ba through Bd.                                     Be.                                 0.00 j

                                                                                                                                      Total Claim
                           6f.     Student loans                                                                61.       $                         0.00
     Total
     claims
     from Part 2           6g.     obligations arising out of a separation agreement or divorce that
                                   you did not report as priority claims                                        6g.       $
                           6h.     Debts to pension or profit-sharing plans, and other similar debts            6h.       $                          0.00
                           61.     Other. Add all other nonpriority unsecured claims. Write that amount         Bi.
                                                                                                                                            2,466,355.69

                             6j.   Total Nonprioty. Add lInes 61 through 61.                                    6j.




                                                             Schedule ElF; Creditors Who Have Unsecured Claims                                                   Page 199 of 199
     Official Form 106 ElF
                                                                                                                                                              Best Case Bankruptcy
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Filed 11/27/19                                                                 Case 19-14974                                                                         Doc 1
             CaseNumber: 2019-14974                                            Filed: 11/27/2019 2:23:15 PM                                   Doc # 1
       1l

     Debtor 1                Salvador Louis Chiaramonte
                             First Name                          Middle Name          Last Name

     Debtor 2                Pamela Marie Chiaramonte
     (Spouse if, tiling)     First Name                          Middle Name          Leat Name


     United States Bankruptcy Court for the:              EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                         Check if this is an
                                                                                                                           I            amended filing



     Official Form I 06G
     Schedule G: Executory Contracts and Unexpired Leases                                                                                                  12/15
     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
     information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
     additional pages, write your name and case number (if known).

            Do you have any executory contracts or unexpired leases?
            0 No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
            U Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule NB:Properly (Official Form 106 A/B).

            List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
            example, rent, vehIcle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
            and unexpired leases.


             Person or company with whom you have the contract or lease                  State what the contract or lease Is for
                              Name, Number, Street, City, State and ZIP code

        2.1 Tesla Energy Billing Department                                                 Solar lease on residence. $447/month.
             P0 Box 3500
             Draper, UT 84020




     Official Form 106G                                Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 1
     Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcase.com                                                                               Best Case Bankruptcy
Filed 11/27/19                                                                        Case 19-14974                                                                    Doc 1
             Case Number: 20 19-14974                                                 Filed: 11/27/2019 2:23:15 PM                               Doc#1

     Debtor 1                   Salvador Louis Chiaramonte
                                First Name                            Middle Name            Last Name

     Debtor 2                   Pamela Marie Chiaramonte
     (Spouse if, filin)         First Name                            Middle Name            Last Name


     United States Bankruptcy Court for the:                  EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)                                                                                                                         O Check if this is an
                                                                                                                                            amended filing


    Official Form 106H
    Schedule H: Your Codebtors                                                                                                                               12(15

     Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
     people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
     fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
     your name and case number (if known). Answer every question.

               Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           DNo
           I Yes

             Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
           Arizona, California, idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin,)

           o No. Go to line 3.
           I Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

                     ONe
                     • Yes.


                            In which community state or territory did you live?               California -   . Fill in the name and current address of that person.
                            Pamela Chiaramonte
                            1944 Tollin Road
                            Tulare, CA 93274
                            Name of your spouse, former spouse, or legal equivalent
                            Number, Street, City, State & Zip Code

            In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
            in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
            Form 1060), Schedule ElF (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule 0, Schedule ElF, or Schedule G to fill
            out Column 2.

                     Column 1: Your codebtor                                                                  Column 2. The creditor to whom you owe the debt
                     Name, Number, Street, City, State and ZIP Code                                           Check all schedules that apply:


          31 Amy Perry                                                                                        o Schedule D, line -
              1579 Mirasson Court                                                                             o Schedule ElF, line
              Tulare, CA 93274                                                                                o Schedule C
                                                                                                              Various



          3.2 Chiaramonte Construction & Plumbing, Inc                                                        o Schedule D, lihe
                1133 Batavia Court                                                                            O Schedule ElF, line
                Tulare, CA 93274                                                                              o Schedule C
                                                                                                              Various




     Official Form 106H                                                                   Schedule H: Your Codebtors                                       Page 1 of I
     Software Copyright (c) I 996-2019 Best Case, LLC - w.basloase.com                                                                                 Best Case Bankruptcy
Filed 11/27/19                                                        Case 19-14974                                                                              Doc 1
             Case Number: 20 19-14974                                 Filed: 11/27/2019 2:23:15 PM                                            I.IoI1I1




     Debtor 1                      Salvador Louis Chiaramonte

     Debtor 2                      Pamela Marie Chiaramonte
     (Spouse, if filing)

     United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

     Case number                                                                                            Check if this is:
     (If known)                                                                                             0 An amended filing
                                                                                                            D A supplement showing postpetition chapter
                                                                                                               13 income as of the following date:

     Official Form 1061                                                                                         IVIIVI I Lit.)! 5 1 1 1


     Schedule I: Your Income                                                                                                                                 12/15
    Beas complete and accurate as possible. If two married people are filing together (Debtor I and Debtor 2), both are equally responsible for
    supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
    spouse. If you are separated and your spouse Is not filing with you, do not include information about your spouse. If more space is needed,
    attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

    I1Thi                  Describe Employment

             Fill in your employment                                                       -                      -           - -                -
                                                                         Debtor 1                           -       Debtor, 2 or non tiling spouse
             information
             If you have more than one job,                              0 Employed                                 0 Employed
             attach a separate page with          Employment status
                                                                         • Not employed                             I Not employed
             information about additional
             employers.
                                                  Occupation
             Include part-time, seasonal, or
             self-employed work.                  Employer's name

             Occupation may include student Employer's address
             or homemaker, if it applies.


                                                  How long employed there?

     IIti                  Give Details About Monthly Income

     Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
     spouse unless you are separated.

     If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
     more space, attach a separate sheet to this form.

                                                                                                           Fbr lYbtor I              For Dbtor 2 Of
                                                                                                                                     non filing spouse

             List monthly gross wages, salary, and commissions (before all payroll
             deductions), If not paid monthly, calculate what the monthly wage would be.         2.    $                0.00         $               0.00

             Estimate and list monthly overtime pay.                                                  +$                0.00         +$              0.00

             Calculate gross Income. Add line 2+ line 3.                                               $            0.00                  $     0.00




     Official Form 1061                                                       Schedule I: Your Income                                                       page 1
Filed 11/27/19                                                      Case 19-14974                                                                                    Doc 1
           Case Number: 2019-14974                                   Filed: 11/27/2019 2:23:15 PM                                                 Doe # 1

     Debtor 1   Salvador Louis Chiaramonte
     Debtor 2   Pamela Marie Chiaramonte                                                              Case number (I! known)


                                                                                                       ForDobtori                  For Debtor 2 or
                                                                                                                                   non fding spouse
          Copy line 4 here                                                                      4.     5              0.00         $             0.00

     5.   List all payroll deductions:
          5a.    Tax, Medicare, and Social Security deductions                                  5a.  $                0.00       $                     0.00
          Sb.    Mandatory contributions for retirement plans                                   Sb.  $                0.00       $                     0.00
                 Voluntary contributions for retirement plans                                        $                0.00       $                     0.00
                 Required repayments of retirement fund loans                                        $                0.00       $                     0.00
                 Insurance                                                                           $                0.00       $                     0.00
                 Domestic support obligations                                                        $                0.00       $                     0.00
                 Union dues                                                                          $                0.00       $                     0.00
                 Other deductions. Specify:                                                     5h.+ $                0.00     + $                     0.00
          Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+59-f5h                        6      $               0.00        $                   0.00
          Calculate total monthly take-home pay. Subtract line 6 from line 4.                   7      $               0.00        $                   0.00
     8.   List all other income regularly received:
                 Net income from rental property and from operating a business,
                 profession, or farm
                 Attach a statement for each property and business showing gross
                 receipts, ordinary and necessary business expenses, and the total
                 monthly net income.                                                            8a.       $            0.00        $                    0.00
                 Interest and dividends                                                         8b.       $            0.00        $                    0.00
          Bc.    Family support payments that you, a non-filing spouse, or a dependent
                 regularly receive
                 Include alimony, spousal support, child support, maintenance, divorce
                 settlement, and property settlement.                                           8c.       $_  0.00                 $                    0.00
                 Unemployment compensation                                                      8d.       $0.00                    $                    0.00
                 Social Security                                                                8e.       $0.00                    $                    0.00
          Sf.    Other government assistance that you regularly receive
                 Include cash assistance and the value (if known) of any non-cash assistance
                 that you receive, such as food stamps (benefits under the Supplemental
                 Nutrition Assistance Program) or housing subsidies.
                 Specify:                                                                       8f.  $               0.00          $              0.00
                 Pension or retirement income                                                   89.  $               0.00          $              0.00
                 Other monthly income. Specify: Disability                                      Bh.+ $           4,824.00      +   $          3,732.00

     9.    Add all other income. Add lines 8a4-8b+8c+8d+8e+8f+8g+8h.                            9.    $          4,824.00          $              3,732.00

     10. Calculate monthly income. Add line 7 + line 9.                                        10. $4,824.00 + $                       3,732.00    =    $      8,556.00
         Add the entries in line 10 for Debtor I and Debtor 2 or non-filing spouse.                                 ___ _______________                              ___

     11. State all other regular contributions to the expenses that you list in Schedule J.
         Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
         other friends or relatives.
         Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
         Specify:                                                                                                                  11. +$                          0.00

      12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
          Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
          applies                                                                                                                                   $          8,558.00
                                                                                                                                                   Combined
                                                                                                                                                   monthly income
           Do you expect an increase or decrease within the year after you file this form?
           o     No.
           •     Yes. Explain:   I
                                 Hope to return to employment and trade.




     Official Form 1061                                                     Schedule 1: Your Income                                                             page 2
Filed 11/27/19                                                             Case 19-14974                                                                       Doc 1
          Case Number: 201.9-14974                                          Filed: 11/27/2019 2:23:15 PM                                     IiorI




      Debtor I                  Salvador Louis Chiaramonte                                                     Check if this is:
                                                                                                               o   An amended filing
      Debtor 2                  Pamela Marie Chiaramonte                                                        o  A supplement showing postpetition chapter
      (Spouse, if fiUng)                                                                                           13 expenses as of the following date:

      United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA                                         MM/DD1YYYY

      Case number
      (If known)



      Official Form 106J
      Schedule J: Your Expenses                                                                                                                           12115
      Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
      information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
      number (if known). Answer every question.

      I1i          Describe Your Household
            Is this a joint case?
            O    No. Go to line 2.
            • Yes. Does Debtor 2 live in a separate household?

                           No
                      o Yes, Debtor 2 must file Official Form I 06J-2, Expenses for Separate Household of Debtor 2.
            Do you have dependents? U No

            Do not list Debtor I and        o Yes Filleach
                                                       out this information for
                                                            dependent ..............
                                                                                       Dependent's relationship to
                                                                                       Debtor I or Debtor 2
                                                                                                                        Dependent's
                                                                                                                        age
                                                                                                                                         Does dependent
                                                                                                                                         live with you?
            Debtor 2.

            Do not state the                                                                                                             ONo
            dependents names.                                                                                                            o Yes
                                                                                                                                         ONo
                                                                                                                                         o Yes
                                                                                                                                         ONo
                                                                                                                                         O Yes
                                                                                                                                         ONo
                                                                                                                                         O Yes
            Do your expenses include                   No
            expenses of people other than
            yourself and your dependents?           o Yes
      ITil!       Estimate Your Ongoing Monthly Expenses
       Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
       expenses as of a date after the bankruptcy is filed. If this Is a supplemental Schedule J, check the box at the top of the form and fill in the
       applicable date.

       Include expenses paid for with non-cash government assistance if you know
       the value of such assistance and have included it on Schedule!: Your Income
       (Official Form 1061.)                                                                                                 Your expenses
                                                                                                                              -.         .

             The rental or home ownership expenses for your residence. Include first mortgage
                                                                                                                4 $                          5,100.00
             payments and any rent for the ground or lot.

             If not included in line 4:

                  Real estate taxes                                                                                 $                           0.00
                  Property, homeowner's, or renter's Insurance                                                      $                           0.00
                  Home maintenance, repair, and upkeep expenses                                                     $                         100.00
                  Homeowner's association or condominium dues                                                       $                           0.00
       5. Additional mortgage payments for your residence, such as home equity loans                             5. $                           0.00




      Official Form 106J                                                  Schedulej: Your Expenses                                                        page 1
Filed 11/27/19                                                             Case 19-14974                                                                                       Doc 1
            Case Number: 2019-14974                                         Filed: 11/27/2019 2:23:15 PM                                                   Doe    #     1

      Debtor 1     Salvador Louis Chiaramonte
      Debtor 2     Pamela Marie Chiaramonte                                                                  Case number (ii' known)

      6.    Utilities:
            6a.     Electricity, heat, natural gas                                                                 6a. $                                    405.00
            6b.     Water, sewer, garbage collection                                                                        $                               168.50
            Bc.     Telephone, cell phone, Internet, satellite, and cable services                                          $                               406.75
                    Other. Specify:                                                                               6d. $                                       0.00
      7.    Food and housekeeping supplies                                                                          7. $                                    410.00
      8.    Childcare and children's education Costs                                                                        $                                 0.00
            Clothing, laundry, and dry cleaning                                                                      9. $                                   110.00
      10.   Personal care products and services                                                                     10. $                                   100.00
      11.   Medical and dental expenses                                                                             11. $                                   228.00
      12.   TransportatIon. Include gas, maintenance, bus or train fare.
            Do not include car payments.                                                                            12. $                                   285.00
      13,   Entertainment, clubs, recreation, newspapers, magazines, and books                                      13. $                                   175.00
      14.   Charitable contributions and religious donations                                                        14. $                                   700.00
      15.   Insurance.
            Do not include insurance deducted from your pay or included in lines 4 or 20.
            15a. Life insurance                                                                                   15a. $                                    763.64
            15b. Health insurance                                                                                       $                                   397.50
                    Vehicle insurance                                                                              15c. $                                   285.10
            15d. Other insurance. Specify:                                                                        16d. $                                      0.00
      16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
            Specify: Tulare Irrigation District                                                                     16. $                                     4.50
      17.   installment or lease payments:
            1 7a. Car payments for Vehicle 1                                                                      1 7a. $                                   460.00
            1 7b. Car payments for Vehicle 2                                                                      1 7b. $                                     0.00
            17c. Other. Specify: Solar Lease to Testa                                                             17c. $                                    447.11
            17d. Other. Specify: Alarm Service and Pst Control service                                            17d. $                                    215.50
                   Legal and Tax Prep                                                                                       $                               100.00
       18. Your payments of alimony, maintenance, and support that you did not report as
                                                                                                  18. $                                                       0.00
           deducted from your pay on line 5, Schedule!, Your!ncome (Official Form 1061).
       19. Other payments you make to support others who do not live with you.                         $                                                      0.00
           Specify:                                                                         ___ 19.
       20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
           20a. Mortgages on other property                                                     20a. $                                                        0.00
           20b. Real estate taxes                                                                      $                                                     36.50
                 Property, homeowner's, or renter's insurance                                    20c. $                                                       0.00
           20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                        0.00
           20e. Homeowner's association or condominium dues                                     20e. $                                                       94.70
       21. Other: Specify:   Pool Maintenance, Yard Service, and Solar Cleaning                   21. +$                                                    355.00

       22. Calculate your monthly expenses
               Add lines 4 through 21,                                                                                          $                  11,347.80
               Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 1 06J-2                                 $
                  Add line 22a and 22b. The result is your monthly expenses.                                                    $                  11,347.80

       23. Calculate your monthly net income.
           23a. Copy line 12 (your combined monthly income)from Schedule 1.                                        23a. $                              8,556.00
           23b. Copy your monthly expenses from line 22c above.                                                         -$                            11,347.80

                    Subtract your monthly expenses from your monthly income.
                    The result is your monthly net income.                                                              1
                                                                                                                   23c. $                              -   2,791.80

       24. Do you expect an increase or decrease in your expenses within the year after you file this form?
            For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
            modification to the terms of your mortgage?
             •No.
             o Yes.              Explain here:




      Official Form 106J                                                   Schedule J: Your Expenses                                                                        page 2
Filed 11/27/19                                                                      Case 19-14974                                                                               Doc 1
            Case Number: 20 19-14974                                                Filed: 11/27/2019 2:23:15 PM                                       Doc#1




      Debtor 1                   Salvador Louis Chiaramonte
                                 First                          Mddie Name                    Last Name

      Debtor 2                   Pamela Marie Chiaramonte
      (Spouse if, filing)        First Warns                    Middle Name                   Last Wme


      United States Bankruptcy Court for the: EASTERN DISTRICT OF CALIFORNIA

      Case number
      (if krsewn)                                                                                                                           O Check if this is an
                                                                                                                                                amended filing



      Official Form 106Dec
      Declaration About an Individual Debtor's Schedules                                                                                                            12115


      if two married people are filing together, both are equally responsible for supplying correct Information.

      You must (Ito this form whenever you file bankruptcy schedules or amended schedules, Making a false statement, concealing property, or
      obtaining money or property by fraud In connection with a bankruptcy case can result in fines up to $250,000, or Imprisonment for up to 20
      years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                            Sign Below


              Did you pay or agree to pay someone who Is NOT an attorney to help you fill out bankruptcy forms?

              • No
                                                                                                                       Attach Bankruptcy Pelt/on Preparer's Notice,
              O Yes. Name of person
                                                                                                                       Dec!eratk>n, and Signature (Official Form 119)


                                  of perIury I declare that)'have read the summary                        filed with this declaration and



                      S. -
                      -           -.          5.' 5__.. f/i_5                 '.'
                    Salvador Louis Chiaramonte                                         -•-'        Pamela Marie Chiaramonte
                    Signature of Debtor I                                                          Signature of Debtor 2

                    Date j         /                      9                                        Date




      Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
      Sotiware Copyrlht (c) 1996-2019 Best Case, LLC - aww.beslcase.com                                                                                  Sest Case Bankruptcy
Filed 11/27/19
          Case             Number: 2019-14974                                  Case 19-14974
                                                                               Filed: 11/27/2019                   2:23:15 PM                          Doc#1                Doc 1




     Debtor 1                 Salvador Louis Chiaramonte
                              First Name                       Middle Name                  Last Name

     Debtor 2                 Pamela Marie Chiaramonte
     (Spouse if, tiling)      First Name                       Middle Name                  Last Name


     United States Bankruptcy Court for the:             EASTERN DISTRICT OF CALIFORNIA

     Case number
     (if known)
                                                                                                                                              o   Check if this is an
                                                                                                                                                  amended filing



    Official Form 107
    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                  4119
    Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
    information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
    number (if known). Answer every question.

    OEM              Give Details About Your Marital Status and Where You Lived Before

           What is your current marital status?

           E1      Married
           0       Not married

           During the last 3 years, have you lived anywhere other than where you live now?

                   No
           fl      Yes. List all of the places you lived in the last 3 years. Do not Include where you live now.

             Debtor I Prior Address:                                Dates Debtor I             Debtor 2 Prior Address:                                Dates Debtor 2
                                                                    lived there                                                                       lived there

         Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
    states and tern!aries include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

                   No
                   Yes, Make sure you fill out Schedule H. Your Codobtors (Official Form 106F1).

             '       Explain the Sources of Your Income

            DId you have any income from employment or from operating a business during this year or the two previous calendar years?
            Fill In the total amount of Income you received from all jobs and all businesses, including part-time activities.
            If you are filing a Joint case and you have income that you receive together, list it only once under Debtor 1.

           ONo
             Yes. Fill in the details.

                                                       Debtor I                                                       Debtor 2
                                                       Sources of Income               Gross income                   Sources of income                Gross Income
                                                       Check all that apply.           (before deductions and         Check all that apply.            (before deductions
                                                                                       exclusions)                                                     and exclusions)

     From January 1 of current year until             Z Wages, commissions,                       $132,886.65            Wages, commissions,                            $0.00
     the date you filed for bankruptcy:                bonuses, tips                                                  bonuses, tips
                                                      RJ Operating a business                                         0 Operating a business
     For last calendar year:
     (January Ito December 31,2018)
                                                      Z Wages, commissions,
                                                       bonuses, tips
                                                                                                  $157,777.00         0  Wages, commissions,
                                                                                                                      bonuses, tips
                                                                                                                                                                        $0.00


                                                      E1 Operating a business                                         0 Operating a business

    Official Form 107                                     Statement of Financial AffaIrs for Individuals Filing for Bankruptcy                                           page 1

    Software Copyright (c) 1996-2019 Best Case, LLC -www.bestcase.com                                                                                       Seal Case Bankruptcy
Filed 11/27/19                                                                 Case 19-14974                                                                               Doc 1
               Case Number: 2019-14974                                         Filed: 11/27/2019 2:23:13 PM                                           Doe # 1
     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                         Case number        known)



                                                       Debtor I                                                       Debtor 2
                                                       Sources of Income                Gross Income                  Sources of Income              Gross Income
                                                       Check all that apply.            (before deductions and        Check all that apply.          (before deductions
                                                                                        exclusions)                                                  and exclusions)

     For the calendar year before that:                   Wages, commissions,                     $159,777.00            Wages, commissions,                        $0.00
     (January Ito December 31, 2017)                   bonuses, tips                                                  bonuses, tips

                                                          Operating a business                                            Operating a business


          Did you receive any other Income during this year or the two previous calendar years?
          Include Income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
          and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
          winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

          List each source and the gross income from each source separately. Do not include income that you listed in line 4,

                  No
          L       Yes. Fill In the details.

                                                       Debtor I                                                        Debtor 2
                                                       Sources of income                Gross income from              Sources of income              Gross Income
                                                       Describe below,                  each source                    Describe below.                (before deductions
                                                                                        (before deductions and                                        and exclusions)
                                                                                        exclusions)
     From January I of current year until All Income reflected                                             $0.00
     the date you filed for bankruptcy:   inSA #4


     •1i            List Certain Payments You Made Before You Filed for Bankruptcy

          Are either Debtor l's or Debtor 2's debts primarily consumer debts?
               No. Neither Debtor I nor Debtor 2 has primarily consumer debts. Consumer debts are defined In 11 U.S.C. § 101(8) as "incurred by an
                     individual primarily for a personal, family, or household purpose."

                          During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6825* or more?
                               No.     Go to line 7.
                          Li   Yes    List below each creditor to whom you paid a total of $6,625* or more in one or more payments and the total amount you
                                      paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                      not include payments to an attorney for this bankruptcy case,
                          * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

          o        Yes. Debtor I or Debtor 2 or both have primarily consumer debts.
                        During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                          O    No.      Go to line 7.
                          U    Yes      List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                        include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                        attorney for this bankruptcy case.


              Creditor's Name and Address                           Dates of payment             Total amount          Amount you Was this payment for
                                                                                                         paid            still owe

              Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
              Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
              of which you are an officer, director, person In control, or owner of 20% or more of their voting securities; and any managing agent, including one for
              a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
              alimony.

                   No
                   Yes. List all payments to an insider.
               Insider's Name and Address                           Dates of payment             Total amount          Amount you          Reason for this payment
                                                                                                         paid            still owe




     Official Form 107                                     Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 2
     Software Copyright (C) 1996-2019 Best Case, LLC www.bestcase.com                                                                                      Best case Bankruptcy
Filed 11/27/19                                                                 Case 19-14974                                                                                     Doc 1
            Case Number: 2019-14974                                             Filed: 11/27/2019 2:23:15 PM                                                 Doc # 1
     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                          Case number        (if known)



           Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
           insider?
           Include payments on debts guaranteed or cosigned by an insider.

                No
                Yes. List all payments to an insider
            Insider's Name and Address                                Dates of payment           Total amount          Amount you               Reason for this payment
                                                                                                         paid            still owe              Include creditor's name

     ITh          Identify Legal Actions, Repossessions, and Foreclosures

           Within 1 year before you filed for bankruptcy, were you a party In any lawsuit, court action, or administrative proceeding?
           List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
           modifications, and contract disputes.

                No
                Yes. Fill in the details.
            Case title                                                Nature of the case         Court or agency                                Status of the case
            Case number
            Mark Anderson and Diane Moore v.                          Civil                      Sonoma County Superior                         RI   Pending
            Chiaramonte Construction &                                                           Court                                          El   On appeal
            Plumbing, Inc. and Salvador                                                          600 Administration Drive,                      El   Concluded
            Chiaramonte                                                                          Room 107J
            SCV264533                                                                            Santa Rosa, CA 95404

            Dunn's Sand, Inc. dba Dunn's Inc.                         Civil                      Tulare County Superior                          1   Pending
            v. Chiaramonte Construction &                                                        Court                                          El   On appeal
            Plumbing, Inc.                                                                       221 S. Mooney Blvd                             0    Concluded
                                                                                                 Visalia, CA 93291
            Debtors are not listed as
            defendants in this suit
            190846

            Ferguson Enterprises, Inc. v.                             Civil                      Tulare County Superior                         RI   Pending
            Chiaramonte Construction &                                                           Court                                          El   On appeal
            Plumbing, Inc.; Salvador                                                             221 S. Mooney Blvd                             El   Concluded
            Chiaramonte; and Pamela                                                              Visalia, CA 93291
            Chiaramonte
            279337

            Andy & Kimberly Guy; Jeffrey &                            Civil                      Sonoma County Superior                              Pending
            JoAnn Anderson v. Chiaramonte                                                        Court                                          El   On appeal
            Construction & Plumbing, Inc.;                                                       600 Administration Drive,                      0    Concluded
            Salvador Chiaramonte; and Amy                                                        Room 107J
            Perry                                                                                Santa Rosa, CA 95404
            SCV-264502


            Ted & Denise Morris v.                                    Civil                      Sonoma County Superior                         RI   Pending
            Chiaramonte Construction &                                                           Court                                          El   On appeal
            Plumbing, Inc.; and Salvador                                                         600 Administration Drive,                      0    Concluded
            Chiaramonte                                                                          Room 107J
            SCV264894                                                                            Santa Rosa, CA 95404

            Pace Supply Corp. v. Chiaramonte                          Civil                      Sonoma County Superior                         El  Pending
            Construction & Plumbing, Inc.; and                                                   Court                                          0   On appeal
            Salvador Chiaramonte                                                                 600 Administration Drive,                        J Concluded
            SCV264508                                                                            Room 107J
                                                                                                 Santa Rosa, CA 95404                           Judgement entered




     Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                            page 3

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Filed 11/27/19                                                                     Case 19-14974                                                                               Doc 1
            Case Number: 2019-14974                                                 Filed: 11/27/2019 2:23:15 PM                                             Doe # 1
     Debtor I      Salvador Louis Chiaramonte
     Debtor 2      Pamela Marie Chiaramonte                                                                        Case number (if known)


           Case title                                                  Nature of the case           Court or agency                         Status of the case
           Case number
           Juan & Silveria Pulido v.                                   Civil                        Sonoma County Superior                        Pending
           Chiaramonte Construction &                                                               Court                                   LI    On appeal
           Plumbing, Inc.; Salvadro                                                                 600 Administration Drive,               LI    Concluded
           Chiaramonte; and Amy Perry                                                               Room 107J
           SCV264496                                                                                Santa Rosa, CA 95404

           Robert Richner & Colette Lucchettl                          Civil                        Sonoma County Superior                        Pending
           v. Chiaramonte Construction &                                                            Court                                   LI    On appeal
           Plum bing, Inc.; Salvador                                                                600 Administration Drive,               LI    Concluded
           Chiaramonte; and Amy Perry                                                               Room 107J
           SCV264420                                                                                Santa Rosa, CA 95404

           William Rosa & Aaron Rosa v.                                Civil                        Sonoma County Superior                  IJ    Pending
           Salvador Louis Chiaramonte;                                                              Court                                   O     On appeal
           Chiaramonte Construction &
           Plumbing, Inc.; Pamela
                                                                                                    600 Administration Drive,
                                                                                                    Room 107J
                                                                                                                                            o     Concluded

           Chiaramonte; and Amy Perry                                                               Santa Rosa, CA 95404
           SCV264860

           DHC Supplies, Inc. v. Chiaramonte                            Civil                       Sonoma County Superior                   J    Pending
           Construction & Plumbing, Inc.                                                            Court                                   0     On appeal
           MSC189874                                                                                600 Administration Drive,                     Concluded
                                                                                                    Room 107J
                                                                                                    Santa Rosa, CA 95404

           Crisanto Renteria v. Chiaramonte                             Workers comp.               Workers Compensation                      j Pending
           Construction & Plumbing, Inc.                                                            Appeals Board                                On dppeal
           ADJI 1934664                                                                             State of California                     O    Concluded
                                                                                                    2550 Mariposa Mall, #4078
                                                                                                    Fresno, CA 93721

            Shandon Huntv. Chiaramonte                                  Workers comp.               Workers Compensation                         J Pending
            Construction & Plumbing, Inc.                                                           Appeals Board                           0     On appeal
            ADJ12071949                                                                             State of California                           Concluded
                                                                                                    2550 Mariposa Mall, # 4078
                                                                                                    Fresno, CA 93721

            Chiaramonte Construction &                                  Civil                       Tulare County Superior                        Pending
            Plumbing, Inc. v. Greggory Joe                                                          Court                                   LII   On appeal
            G utierrez                                                                              221 S. Mooney Blvd                            Concluded
            PCU274273                                                                               Visalia, CA 93291

            Carol McHale & Erin Murphey v                               Civil                       Sonoma County Superior                       j Pending
            Chiaramonte Construction &                                                              Court                                   LII    On appeal
            Plumbing, Inc. and Salvador                                                             600 Administration Drive,                      Concluded
            Chiaramonte.                                                                            Room 107J
            SCV265295                                                                               Santa Rosa, CA 95404

            American Contractors Indemnity                              Civil                       Tulare County Superior                        Pending
            Company v. Chiaramonte                                                                  Court                                   0     On appeal
            Construction & Plumbing, Inc.;                                                          221 S. Mooney Blvd                      0     Concluded
            Salvador Chiaramonte dba                                                                Visalia, CA 93291
            Chiaramonte Construction and
            Plumbing
            VCU279337




     Official Form 107                                         Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 4

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Filed 11/27/19
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                                                                              Filed: 11/27/2019 2:23:15 PM                                                 Doc # 1
     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                       Case number        (if known)



          Case title                                              Nature of the case          Court or agency                                Status of the case
          Case number
          Golden State Lumber, Inc. v.                            Civil                       Sonoma County Resource                             j Pending
          Salvador Chiaramonte;                                                               Recovery                                             On appeal
          Chiaramonte Construction &                                                          P.O. BOX 398894                                Ej    Concluded
          Plumbing, Inc.                                                                      San Francisco, CA
          SCV2651 22                                                                          94139-8894

          Greggory Gutierroz; Marie                               Civil                       Tulare County Superior                         W1  Pending
          Gutierrez; Darlene Gutierrez v.                                                     Court                                          :i On appeal
          Chiaramonte Construction &                                                          221 S. Mooney Blvd                             Ll Concluded
          Plumbing, Inc.                                                                      Visalia, CA 93291
          PCU274273

          Rogello Sanchez v. Chiaramonte                          Labor Board                 Workers Compensation                           5Z   Pending
          Construction & Plumbing, Inc.                                                       Appeals Board                                  L    On appeal
          WC-CM-656080                                                                        State of California                                 Concluded
                                                                                              2550 Mariposa Mall, # 4078
                                                                                              Fresno, CA 93721

          Title 24's By Larry, Inc. v.                            Small Claims                Tulare County Superior                         U    Pending
          Chiaramonte Construction &                                                          Court                                          0    On appeal
          Plumbing, Inc.                                                                      221 S. Mooney Blvd                             11   Concluded
          PSC057135                                                                           Visalia, CA 93291
                                                                                                                                             Judgement entered

          Jessica Deprimo & Matthew                               Civil                       Sonoma County Superior                         YJ   Pending
          Perazzo vs. Chiaramonte
          Construction& Plumbing, Inc.;
                                                                                              Court                                          0    On appeal
                                                                                              600 Administration Drive,                           Concluded
          Salvador Chiaramonte dba                                                            Room 107J
          Chiaramonte Construction and                                                        Santa Rosa, CA 95404
          Plumbing
          SCV264953

          Coulter's Flooring America aka                          Civil                       Tulare County Superior                              Pending
          Coulter's Interiors Inc. v. Salvadore                                               Court                                               On appeal
          Chiaramonte dba Chiaramonte                                                         221 S. Mooney Blvd                             El   Concluded
          Construction and Plumbing                                                           Visalia, CA 93291
          VCU281216

          Probuild Company, LLC dba                               Civil                       Sonoma County Superior                         W    Pending
          Dixieline Lumber Co. v.                                                             Court                                          FI   On appeal
          Chiaramonte Construction &                                                          600 Administration Drive,                           Concluded
          Plumbing, Inc. and Salvador                                                         Room 107J
          Chiaramonte                                                                         Santa Rosa, CA 95404
          MCV-249868

          Osmun Construction, Inc. v.                             Civil                        Sonoma County Superior                        9    Pending
          Chiaramonte Construction &                                                           Court                                              On appeal
          Plumbing, Inc.                                                                       600 Administration Drive,                     El   Concluded
                                                                                               Room 107J
          Debtors are not listed in the suit.                                                  Santa Rosa, CA 95404
          SCV-264998

          Cody and Monique Walker v.                              Civil                        Sonoma County Superior                        E1   Pending
          Chiaramonte Construction &                                                           Court                                         D    On appeal
          Plumbing, Inc.; Salvador                                                             600 Administration Drive,                     D    Concluded
          Chiaramonte (Cross-Complaint)                                                        Room 107J
          SCV-264998                                                                           Santa Rosa, CA 95404



    Official Form 107                                    Statement of Financial Affairs for Individuals Filing for Bankruptcy                                             page 5
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Filed 11/27/19                                                                      Case 19-14974                                                                                Doc 1
            Case NILmber: 2019-14974                                                 Filed: 11/27/2019 2:23:15 PM                                            Doc # 1
     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                              Case number    (if known)



           Case title                                                   Nature of the case           Court or agency                            Status of the case
           Case number
           Mike and Karen Allen v.                                      Civil                        Sonoma County Superior                       j Pending
           Chiaramonte Construction &                                                                Court                                      D   On appeal
           Plumbing, Inc.; Salvador                                                                  600 Administration Drive,                  0   Concluded
           Chiaramonte (C ross-com plaint)                                                           Room 107J
           SCV-264999                                                                                Santa Rosa, CA 95404


     10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
         Check all that apply and fill In the details below.

          i:     No. Goto line 11.
            J    Yes. Fill in the Information below.
           Creditor Name and Address                                    Describe the Property                                          Date                          Value of the
                                                                                                                                                                        property
                                                                        Explain what happened
           Pace Supply Corp                                             Abstract of Judgement recorded 812712019                       8/27119                        Unknown
           6000 State Farm DrIve, #200
           Rohnert Park, CA 94928                                       0  Property was repossessed.
                                                                        fl Property was foreclosed,
                                                                        O Property was garnished.
                                                                        0 Property was attached, seized or levied.
           Valley Oak Credit Union                                      2004 Dodge Ram (V2)                                            9/26/19                        Unknown
           600 W. Main Street
           Visalia, CA 93291                                                 Property was repossessed.
                                                                        0 Property was foreclosed.
                                                                        O Property was garnished.
                                                                        O Property was attached, seized or levied.
            Valley Oak Credit Union                                     2006 Ford F-250 (V5)                                           1013/19                        Unknown
            600 W. Main Street
            Visaila, CA 93291                                           E Property was repossessed.
                                                                        0 Property was foreclosed.
                                                                             Property was garnished.
                                                                             Property was attached, seized or levied.

            Valley Oak Credit UnIon                                      2001 Ford F-250 (V9)                                          9/26119                        Unknown
            600 W. Main Street
            Visalia, CA 93291                                                Property was repossessed.
                                                                        0 Property was foreclosed,
                                                                             Property was garnished.
                                                                             Property was attached, seized or levied.


          Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
          accounts or refuse to make a payment because you owed a debt?
          RI  No
          0   Yes. Fill in the details.
            Creditor Name and Address                                    Describe the action the creditor took                         Date action was                   Amount
                                                                                                                                       taken

           Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
           court-appointed receiver, a custodian, or another official?
                 No
           0     Yes




     Official Form 107                                          Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 6

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Filed 11/27/19                                                                Case 19-14974                                                                              Doc 1
            Case Number: 2019-14974                                            Filed: 11/27/2019 2:23:15 PM                                           Doc # 1
      Debtor 1 Salvador Louis Chiaramonte
      Debtor 2 Pamela Marie Chiaranionte                                                                       Case number       (if known)



     rUMM List Certain Gifts and Contributions
          Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
              No
          0   Yes. Fill in the details for each gift.
            Gifts with a total value of more than $600                  Describe the gifts                                          Dates you gave                 Value
            per person                                                                                                              the gifts

           Person to Whom You Gave the Gift and
           Address:

          Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
              No
           j Yes. Fill in the details for each gift or contribution.
           Gifts or contributions to charities that total               Describe what you contributed                               Dates you                      Value
           more than $600                                                                                                           contributed
           Charity's Name
           Address (Number, Street, City, State and ZIP Code)
           Visalia First Assembly of God                                money                                                       various                  $5,500.00
           3737 S. Alcers
           Visalia, CA 93277


     Off . M         List Certain Losses

          Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
          or gambling?

                No
          fl    Yes. Fill in the details.
            Describe the property you lost and                 Describe any insurance coverage for the loss                         Date of your      Value of property
            how the loss occurred                                                                                                   loss                           lost
                                                               Include the amount that insurance has paid. List pending
                                                               insurance claims on line 33 of Schedule NB: Property,

     OMIT=           List Certain Payments or Transfers

          Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
          consulted about seeking bankruptcy or preparing a bankruptcy petition?
          Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

                 No
                 Yes. Fill In the details.
           Person Who Was Paid                                          Description and value of any property                       Date payment             Amount of
           Address                                                      transferred                                                 or transfer was           payment
           Email orwebsite address                                                                                                  made
           Person Who Made the Payment, if Not You
           Wanger Jones Heisley, PC                                     See attached.
           265 E. River Park Circle, Ste. 310
           Fresno, CA 93720
           www.WjH.com                                                                                                                        -


           Binder & Malter, LLP                                         Refunded retainer.                                          8/2/19                 $15,000.00
           2775 Park Ave.
           Santa Clara, CA 95050
           www.bindermalter.com


           Sflveira Law Offices                                                                                                     8/26119                     $600.00
           2037 W. Bullard Ave, #311
           Fresno, CA 93711
           N/A




     Official Form   107                                  Statement of Financial Affairs for Individuals Filing for Bankruptcy                                     page 7
     Software CopalghI (c) 1996-209 Best Case, LLC -www.bestcsse.com                                                                                    Best Case Bankruptcy
Filed 11/27/19                                                                  Case 19-14974                                                                              Doc 1
             Case Number: 2019-14974                                              Filed: 11/27/2019 2:23:15 PM                                        Doc       #   1
     Debtor 1      Salvador Louis Chiaranionte
     Debtor 2      Pamela Marie Chiaramonte                                                                      Case number if known)


          Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
          promised to help you deal with your creditors or to make payments to your creditors?
          Do not include any payment or transfer that you listed online 16.

                No
          0     Yes. Fill In the details.
           Person Who Was Paid                                            Description and value of any property                     Date payment                Amount of
           Address                                                        transferred                                               or transfer was              payment
                                                                                                                                    made

          Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
          transferred in the ordinary course of your business or financial affairs?
          include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
          include gifts and transfers that you have already listed on this statement.
               No
               Yes. Fill in the details.
           Person Who Received Transfer                                   Description and value of                   Describe any property or         Date transfer was
           Address                                                        property transferred                       payments received or debts       made
                                                                                                                     paid in exchange
           Person's relationship to you
           Craig Knight                                                   5th Wheel Travel Trailer                   $3,600                           6/I I19
           2552 Arlen Court
           Visalia, CA 93292

           Son in law

           Anthony Chiaramonte                                            2013 Ford F-250 (VI)                       $9,750                           5128119
           2049 Marinette
           Exeter, CA 93221

           Son

           Jay Surplus                                                     2006 Ford F..350 (V6)                     $2,700                           10/3/19
           1133 Batavia Court
           Tulare, CA 93274



           Isidro Villegas, Jr.                                            2013 Ford F-150 (V7)                      $11,213 part cash and            7/20/19
           237 St. John Street                                                                                       part to pay off loan.
           Woodlake, CA 93286



            Motor Cars, Inc.                                               2011 Ford Van (V61)                        $15,000                         7115/19
            213 E King Ave.
            Tulare, CA 93274



            Mark Wentworth                                                 2017 Dove Tail Trailer (ElO)               $5,000 applied to               8129119
            P0 Box 575                                                                                                Wentworth Accounts
            Tulare, CA 93275                                                                                          Payable for Chiaramonte
                                                                                                                      Construction &
                                                                                                                      Plumbing, Inc.

            Jai Makinson                                                   14' Dump Trailer (Eli)                     $7,000                          7/27/19
            P0 Box 2072
            Tulare, CA 93275




     Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                       page 8

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Filed 11/27/19
          Case           Number: 2019-14974                                        Case 19-14974
                                                                                    Filed: 11/27/2019                                                               Doc 1
                                                                                                                       2:23:15 PM                Doc# 1
     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                          Case number       (if nown)



           Person Who Received Transfer                                       Description and value of              Describe any property or     Date transfer was
           Address                                                            property transferred                  payments received or debts   made
                                                                                                                    paid In exchange
           Person's relationship to you
           Mark Wentworth                                                     16' Dump trailer (E12)                $4,500 applied to            8/29/19
           P0 Box 575                                                                                               Accounts Payable for
           Tulare, CA 93275                                                                                         C hia ram o nte
                                                                                                                    Construction &
                                                                                                                    Plumbing, Inc.

           Eman Electric, Inc.                                                2005 10' trailer (E13)                $1,000 applied to            10/14/19
           Emanuel Guerrero                                                                                         Accounts Payable for
           19831 EAdams Ave                                                                                         Chiaramonte
           Reedley, CA 93654                                                                                        Construction &
                                                                                                                    Plumbing, Inc.


           Eman Electric, Inc.                                                12' trailer (E15)                     1,450 applied to             10/14/19
           Emanuel Guerrero                                                                                         Accounts Payable for
           19831 E. Adams Ave.                                                                                      Chiaramonte
           Reedley, CA 93654                                                                                        Construction &
                                                                                                                    Plumbing, Inc.




           Craig Knight                                                       Springfield 1911 .45 - sold           See above.                   11/19/19
           2552 E Anon CT                                                     for $600;
           Visalia, CA 93292                                                  Smith & Wesson M&P .40 -
                                                                              sold for $500;
                                                                              Charter Arms .38 - sold for
                                                                              $300;
                                                                              Kimber St Steel .45 - sold for
                                                                              $700.


          WithIn 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
          beneficiary? (These are often called asset-protection devices.)
               No
              Yes. Fill in the details.
           Name of trust                                                      Description and value of the property transferred                  Date Transfer was
                                                                                                                                                 made

    OW M           List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

          Within 1 year before you filed for bankruptcy, were any financial accounts or Instruments held In your name, or for your benefit, closed,
          sold, moved, or transferred?
          Include checking, savings, money market, or other financial accounts; certificates of deposit; shares In banks, credit unions, brokerage
          houses, pensIon funds, cooperatives, associations, and other financial institutions.
               No
               Yes. Fill in the details.
           Name of Financial Institution and                              Last 4 digits of        Type of account or        Date account was          Last balance
           Address (Number, Street, City, State and ZIP                   account number          instrument                closed, sold,         before closing or
           Code)
                                                                                                                            moved, or                      transfer
                                                                                                                            transferred




    Official Form 107                                       Statement of FinanclalAffairs for Individuals Filing for Bankruptcy                                page 9
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Filed 11/27/19                                                                Case 19-14974                                                                            Doc 1
           Case Number: 2019-14974                                             Filed: 11/27/2019 2:23:15 PM
                                                                                                          ..                                       Doc # 1
     Debtor I Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                             Case number (if known)


    21 Do you now have, or did you have within I year before you filed for bankruptcy, any safe deposit box or other depository for securities,
        cash, or other valuables?

         RI    No
         D     Yes. Fill in the details.
          Name of Financial Institution                                Who else had access to it?                  Describe the contents            Do you still
          Address (Number, Street, City, State and ZIP Coda)           Address (Number, Street, city,                                               have it?
                                                                       State and ZIP Code)


         Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

               No
               Yes. Fill in the details.
          Name of Storage Facility                                     Who else has or had access                  Describe the contents            Do you still
          Address (Number, Street, City, State and ZIP Code)           to it?                                                                       have it?
                                                                       Address (Number, Street, City,
                                                                       State and ZIP code)


    ON , M       Identify Property You Hold or Control for Someone Else

          Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
          for someone.

                No
                Yes. Fill in the details.
           Owner's Name                                                Where is the property?                      Describe the property                         Value
           Address (Number, Street, City, State and ZIP Code)          (Number, Street, City, State and ZIP
                                                                       Code)


     ITi[' Give Details About Environmental Information

     For the purpose of Part 10, the following definitions apply:

          Envfronmenfal law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
          toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
          regulations controlling the cleanup of these substances, wastes, or material.
          Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize It or used
          to own, operate, or utilize it, including disposal sites.
          Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
          hazardous material, pollutant, contaminant, or similar term.

     Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

          Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

                No
          0     Yes. Fill in the details.
           Name of site                                                 Governmental unit                              Environmental law, if you    Date of notice
           Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City, State and       know it
                                                                        ZIP Code)


     25, Have you notified any governmental unit of any release of hazardous material?

                No
                Yes. Fill in the details.
           Name of site                                                 Governmental unit                              Environmental law, if you    Date of notice
           Address (Number, Street, City, State and ZIP Code)           Address (Number, Street, City. State and       know it
                                                                        ZIP Code)




     Official Form 107                                    Statement of Financlal Affairs for Individuals Filing for Bankruptcy                                     page iO
     Software Copyright (c) 1996-2019 Best Case, LLC -w.beaIcaae.com                                                                                  Seal Case Bankruptcy
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            CaseNumber: 2019-14974                                                 Filed: 11/27/2019 2:23:15 PM                                      Doc# 1
     Debtor 1 Salvador Louis Chiaramonte
     Debtor 2 Pamela Marie Chiaramonte                                                                           Case number (if known)




          Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

                No
                Yes. Fill in the details.
           Case Title                                                      Court or agency                       Nature of the case                    Status of the
           Case Number                                                     Name                                                                        case
                                                                           Address (Number, Street, City,
                                                                           State and ZIP Code)


    Mil
      iM Give Details About Your Business or Connections to Any Business

          Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                     A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                O A member of a limited liability company (LLC) or limited liability partnership (LLP)
                O A partner in a partnership
                U An officer, director, or managing executive of a corporation
                D An owner of at least 5% of the voting or equity securities of a corporation
                 No. None of the above applies. Go to Part 12.
                Yes. Check all that apply above and fill in the details below for each business.
           Business Name                                               Describe the nature of the business             Employer Identification number
           Address                                                                                                     Do not include Social Security number or ITIN.
           (Number, Street, City, State and ZIP Code)                  Name of accountant or bookkeeper
                                                                                                                       Dates business existed
           Chiaramonte Construction &                                  Construction                                    EIN:         81-51 79901
           Plumbing inc.
           1133 Batavia Court                                                                                          From-To 1/112017 - Present
           Tulare, CA 93274

           Chiaramonte Construction and                                sole-prop.                                      EIN:         XX-XXXXXXX
           Plumbing
           1944 Tollin Road                                                                                            From-To 111/16 - 12/31/16
           Tulare, CA 93274

            D & S Construction                                         Construction                                    EIN:         Potential Partnership

                                                                                                                       From-To None



          Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
          institutions, creditors, or other parties.

                 No
          EI     Yes. Fill In the details below.
            Name                                                       Date Issued
            Address
            (Number, Street, City, State and ZIP Code)

            Poppy Bank                                                 2018
            438 First Street, #200
            Santa Rosa, CA 95401

            Valley Economic Development                                2018
            Center
            5121 Van Nuys Blvd, 3rd Floor
            Sherman Oaks, CA 91403

            Pacific Community Ventures                                 2018
            51 Federal Street, Suite 100
            San Francisco, CA 94107


     Official Form 107                                       Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 11

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          Case Number: 2019-14974                                                Filed: 11/27/2019 2:23:15 PM                                      Doe # 1

      Debtor 1 Salvador Louis Chiaramonte
      Debtor 2 Pamela Marie Chiaramonte                                                                      Case number (inown)


           Name                                                    Date Issued
           Address
           (Number, Street, City, State and ZIP Code)

           COC Federal Credit Union                                2018
           80 S. Lake Ave., #830
           Pasadena, CA 91101

           Fresno First Bank                                       2018
           7690 N. Pal, Ave., #101
           Fresno, CA 93711

           CDC Federal Credit Union                                2018
           2448 Historic Decatur Road, #200
           San Diego, CA 92106

              Nor-Cal FDC                                          2018
              300 Frank H. Ogawa Parkway, suite
              175
              Oakland, CA 94533

              Blaine Laney Consulting                              2018
              388 Atlantic Ave.
              Fairfield, CA 94533

      ORTM        Sian Below                                                       -

      (have read the answers on this Statement of Financial Affairs and any tachIZInts, and I declare under penalty of perjury that the answers
      are trupand cosrect. I understand that making a false statementcorIceallng prdprty, or obtaining money or property by fraud in connection
      with 'barjkruptcy case can result in up to $250 1 000dr lpi'prisonment forup o 20/years, or both.
                                                                   (                       /


      'dor Louis h aramo 4te(_                                     -t_-" Pamela Marie Chiaramonte
      Signature of Deb cr1                                                 Signature of Debtor 2

       Date      //2 1/2//                                                  Date          ///;2                 ?2/9
      Did you attach additional pages to Your Statement of Financial Affafrs for Individuals Filing for aankruptcy (Official Form 107)?
      RNo
      OYes

      Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
      • No
      O Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




                                                           Statement of Financial Affaire for Individuals FUing for Bankruptcy                                  page 12
      Official Form 107
      Software Copyr1ht (o)1998-2019 Rest Case, LIC -www.bcstoase.com                                                                               8es1 Case Bankruptcy
Filed 11/27/19                                                              Case 19-14974                                                                 Doc 1
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     Debtor 1 .              Salvador Louis Chiaramonte
                             Fimt Name                        Middle Name                Last Name

     Debtor 2                Pamela Marie Chiaramonte
     (Spouse if, hung)       First Name                       Middle Name                Last Name


     United States Bankruptcy Court for the:            EASTERN DISTRICT OF CALIFORNIA

     Case number
     (it known)                                                                                                            0   Check if this is an
                                                                                                                               amended filing



     Official Form 108
     Statement of Intention for Individuals Filing Under Chapter 7                                                                              12/15


     If you are an individual filing under chapter 7, you must fill out this form if:
     N   creditors have claims secured by your property, or
     U you have leased personal property and the lease has not expired.
     You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
             whichever is earlier, unless the court extends the time for cause. You must also send copies to the creditors and lessors you list
             on the form

     If two married people are filing together in a joint case, both are equally responsible for supplying correct information. Both debtors must
              sign and date the form.

     Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
             write your name and case number (if known).

     I1iI          List Your Creditors Who Have Secured Claims

     1. For any creditors that you listed in Part I of ScheduleD: Creditors Who Have Claims Secured by Property (Official Form 1060), fill in the
        information below.
         Identify the creditor and the property that is collateral What do you intend to do with the proporty that     Did you claim the property
                                                                   securcsadebt'                                       as exempt on schedule C?



         Creditors Poppy Bank                                               O   Surrender the property.                   U No
         name:                                                              o    Retain the property and redeem it.
                                                                            O   Retain the property and enter into a      0 Yes
         Description of 2nd DOT on residence.                                    Reaffirmation Agreement.
         property       guaranteed. Additionally                            • Retain the property and [exp lain]:
         securing debt: secured by corporate assets.                          Continue making payments



         Creditor's SPS Servicing                                           o Surrender the property.                     I    No
         name:                                                              O   Retain the property and redeem it.
                                                                            o   Retain the property and enter into a      0 Yes
         Description of 1st DOT on Residence                                    Reaffirmation Agreement.
         property                                                           • Retain the property and [explain]:
         securing debt:                                                       Continue making payments



          Creditors Valley Oak Credit Union                                 o Surrender the property.                      • No
          name:                                                             o Retain the property and redeem it.
                                                                            0   Retain the property and enter into a       0 Yes
          Description of 2001 Ford F-150                                        Reaffirmation Agreement.
          property                                                          U Retain the property and [explain]:


     Official Form 108                                     Statement of Intention for Individuals Filing Under Chapter?                              page 1

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Filed 11/27/19                                                              Case 19-14974                                                                            Doc 1
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      Debtor I Salvador Louis Chiaramonte
      Debtor 2 Pamela Marie Chiaramonte                                                                Case number pi known)


        securing debt:                                                       Continue making payments

     CC= List Your Unexpired Personal Property Leases
     For any unexpired personal property lease that you listed in Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G), fill
     in the Information below. Do not list real estate leases. Unexpired leases are leases that are stlU In effect; the lease period has not yet ended.
     You may assume an unexpired personal property lease if the trustee does not assume it. 11 U.S.C. § 365(p)(2).




      Lessors name:                                                                                                            DNo
      Description of leased
      Property:                                                                                                                O Yes

      Lessor's name:                                                                                                           DNa
      Description of leased
      Property:                                                                                                                O Yes

      Lessor's name:                                                                                                           ONo
      Description of leased
      Property:                                                                                                                o   Yes

      Lessor's name:                                                                                                           DNo
      Description of leased
      Property:                                                                                                                o Yes
      Lessor's name:                                                                                                           ONo
      Description of leased
      Property:                                                                                                                O Yes

      Lessor's name:                                                                                                           ONe
      Description of leased
      Property:                                                                                                                o Yes
       Lessors name:                                                                                                           DNa
       Description of leased
       Property:                                                                                                               U   Yes




      Under pe,nalty of perjury, I                                      my lntentbout any praperty of my,        te that secures a debt and any personal
      property jtatI s subject to
                     ..
                                                                                           P6iT1Ia Marie Chiaramonte
            SIgnature of Debtor I                                                          Signature ofDebtor2

            Date                         7X2 /                                         Date




      Official Form 108                                     Statement of Intention for lridMduals Filing Under Chapter 7                                 page 2

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Filed 11/27/19                                                             Case 19-14974                                                                                      Doc 1
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     Debtor 1              Salvador Louis Chiaramonte
     Debtor 2              Pamela Marie Chiaramonte                                                       0     1. There is no presumption of abuse
     (Spouse, if tiling)
                                                                                                          112. The calculation to determine if a presumption of abuse
     United States Bankruptcy Court for the: Eastern District of California                                    applies will be made under Chapter 7 Means Test
                                                                                                                Calculation (Official Form 1 22A-2).
     Case number
     (if known)                                                                                           O 3. The Means Test does not apply now because of
                                                                                                                   qualified military service but it could apply later.

                                                                                                           0 Check if this is an amended filing

     Official Form 122A - I
     Chapter 7 Statement of Your Current Monthly Income                                                                                                                   10/19

     Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If more space is needed,
     attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any additional pages, write your name and
     case number (if known). if you believe that you are exempted from a presumption of abuse because you do not have primarily consumer debts or because of
     qualifying military service, complete and file Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 122A.i Supp) with this form.

                       Calculate Your Current Monthly Income

       1. What is your marital and filing status? Check one only.
             o Not married. Fill out Column A, lines 2-11.
             o Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.
             o Married and your spouse is NOT filing with you. You and your spouse are:
              o Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.
              o Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you declare under
                       penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your spouse are
                       living apart for reasons that do not include evading the Means Test requirements. 11 U.S.0 § 707(b)(7)(B).                           --
         Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this bankruptcy case. 11 USC. §
         101(1 OA) For example, If you are filing on September 15, the 6-month penod would be March 1 through August 31. If the amount of your monthly income varied during
         the 6 months, add the income for all 6 months and divide the total by 6 Fill In the result Do not include any income amount more than once For example, if both
         snouses own the same rental property, eut the income from that property In one column only If you have nothing to report for any line, write $0 In the space,
                                                                                                            Column A                   Column B
                                                                                                            Debtor I                   Debtor 2 or
                                                                                                                                       non-filing spouse
             Your gross wages, salary, tips, bonuses, overtime, and commissions (before all
             payroll deductions).                                                                           $                0.00      $
             Alimony and maintenance payments. Do not include payments from a spouse if
             Column B is filled in.                                                                         $                0.00      $_____________
             All amounts from any source which are regularly paid for household expenses
             of you or your dependents, including child support. Include regular contributions
             from an unmarried partner, members of your household, your dependents, parents,
             and roommates, Include regular contributions from a spouse only if Column B is not
             filled in. Do not include payments you listed on line 3.                                       $                0.00      $
             Net income from operating a business, profession, or farm
                                                                                Debtor I
             Gross receipts (before all deductions)                         $       0.00
             Ordinary and necessary operating expenses                      -$      0.00
             Net monthly income from a business, profession, or farm $              0.00    Copy here -> $                   0.00      $
             Net income from rental and other real property
                                                                                      Debtor I
             Gross receipts (before all deductions)                          $      0.00
             Ordinary and necessary operating expenses                      -$      0.00
              Net monthly income from rental or other real property         $       0.00    Copy here -> $                   0.00      $______________
                                                                                                            $                0.00      $
              Interest, dividends, and royalties




     Official Form 1 22A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                       page 1
     Software Copyright (C) 1996-2019 Best Case, LLC -www.bestcase.com                                                                                      Best case Bankruptcy
Filed 11/27/19                                                                  Case 19-14974                                                                                          Doc 1
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      Deblor
               i Salvador Louis Chiaramonte
      Debtor 2     Pamela Marie Chiaramonte                                                              Case number (if kOoIwl)



                                                                                                                                      Column
                                                                                                        Pehtoil                   -   Debtor 2 or
                                                                                                                                      non-tiling spouse
       B. Unemployment compensation                                                                                                   $
          Do not enter the amount If you contend that the amount received was a benefit under
          the Social Security Act. Instead, list It here:
             For you                                                               0.00
                 For your spouse
               Pension or retirement Income. Do not include any amount received that was a
               benefit under the Social Security Act. Also, except as stated in the next sentence, do
               not include any compensation, pension, pay, annuity, or allowance paid by the
               United States Government in connection with a disability, combat-related injury or
               disability, or death of a member of the uniformed services. If you received any retired
               pay paid under chapter 61 of title 10, then include that pay only to the extent that it
               does not exceed the amountof retired pay to which you would otheiwise be entitled
                                                                                                       $                 0.00         $_______________
               II retired under any provision of title 10 other than chapter 61 of that title.
               Income from all other sources not listed above. Specify the source and amount.
               Do not include any benefits received under the Social Security Act; payments
               received as a victim of a war crime, a crime against humanity, or international or
               domestic terrorism; or compensation, pension, pay, annuity, or allowance paid by the
               United States Government in connection with a disability, combat-related injury or
               disability, or death of a member of the uniformed services. if necessary, list other
               sources on a separate page and put the total below.
                                                                                                       $                 0.00         $
                                                                                                         $0.00 $_____________
                            Total amounts from separate pages, if any.                                 + $               0.00         $                   __

        IL Calculate your total current monthly income. Add lines 2 through 10 for
           each column. Then add the total for Column A to the total for Column B.
                                                                                                  r$         0.00
                                                                                                                        .Ll
                                                                                                                              $                                       0.00
                                                                                                                                                     1   Total current monthly
                                                                                                                                                         income

                        Determine Whether the Means Test Applies to You

        12. Calculate your current monthly income for the year. Follow these steps:
                       Copy your total current monthly income from line 11          _____                       Copy line 11 here>                                    0.00


                       Multiply by 12 (the number of months in a year)                                                                                    x 12
                       The result is your annual income for this part of the form                                                              12b. $                 0.00

        13. Calculate the median family Income that applies to you. Follow these steps:
               Fill in the state in which you live.                         I                 I
               Fill In the number of people in your household.              1        0        I
               Fill in the median Family income for your state and size of household.                                        .                 13.                    0.00
               To find a list of applicable median income amounts, go online using the link specified in the separate instructions
               for this form. This list may also be available at the bankruptcy clerk's office.

        14. How do the Ilnes compare?
               1 4a.        Line 1 2b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumpilon of abuse.
                            0
                            Goto Part 3,
               I 4b. • Line 1 2b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
                            Go to Part 3 and fill out Form 122A-2.
                         SlruiBetow                            -.
                       By                                                                                             in any


                                                                                                         Marie Chiaramonte
                            Signature of Debtor I                                                        of Debtor 2

      Official Form 1 22A-I                                      Chapter 7 Statement of Your Current Monthly income                                                     page 2
      Sottware Copyiight (C) 1996-.7010 Best Case, LLC - www.bestcaee.com                                                                                       Best Case Bankruptcy
Filed 11/27/19                                                                Case 19-14974                                                           Doc 1
           Case Number: 2019-14974                                             Filed: 11/27/2019 2:23:15 PM                    Doc # 1

      OCbIotl      Salvador Louis Chiaramonte
      Oebthr2      Pamela Mrie Chiar monte                                                             Case ntmbor(ffknosvn)

              Date
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                                                  ' /
                                                                                          Date/
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                   If you checked line I 4a, do NOT fill out or file Form I 22A-2.
                   If you checked lIne 1 4b, fill out Form 1 22A-2 and file It with this form.




      Official Form 1 22A-1                                    Chapter 7 Statement of Your Current Monthly Income                      page 3
      Software Copaight (a) 1996-2019 9est Case, LLC -wew.bastcaaa.com                                                         ecat Case Banktuptcy
Filed 11/27/19                                              Case 19-14974                                                       Doc 1
         Case Number: 20 19-14974                           Filed: 11/27/2019 2:23:15 PM                              Doe # 1

                                           United States Bankruptcy Court
                                                  Eastern District of California
                                                        Fresno Division

          In re: Chiararnonte, Pam & Sal                                                                  Case No.
                 Chapter 7

                                       Disclosure of Compensation of Attorney for Debtor

                 1.   Pursuant to 11 U.S.C. § 329 (a) and Bankruptcy Rule 2016 (b), I certify that I am the attorney for
                      the above-named debtor and that compensation paid to me within one year before the filing of the
                      petition in bankruptcy is shown below.

                 2. The source of the compensation paid to me was:
                                            X] Debtor      [ ] Other

                 3. The source of compensation to be paid to me is:
                                           [ X ] Debtor     [ ] Other

                 4. I have not agreed to share the above-disclosed compensation with any other persons unless they
                      are members and associates of my law firm.

                 5. In return for the above-disclosed fee I have agreed to render legal service for all aspects of the
                      bankruptcy case, including:

                              Analysis of the debtors' financial situation, and rendering advice to the debtor in
                              determining whether to file a petition in bankruptcy;
                              Preparation and filing of the petition, schedules and statement of affairs;
                              Representation of the debtor at the initial meeting of the creditors and confirmation
                              hearing;
                              Services per engagement letter.
                 6. I have agreed that a reasonable fee for my services will not be less than the amount of time spent
                      by my law firm, multiplied by the standard hourly rates in effect when the services are rendered,
                 7. As of the Petition Date, the Firm's standard hourly rates are $185.00 to $595.00 per hour for
                     attorneys and $140.00 to $180.00 per hour for paraprofessionals.
                 8. The following payments were received in the past year:
                         DATE OF           AMOUNT OF AMOUNT OF PAYMENT AMOUNT OF PAYMENT
                         PAYMENT            PAYMENT    APPLIED TO FEES   APPLIED TO COSTS
                          09/26/19            $15,000.00
                           11/04/19                                         $14,655.50                       $344.50
                           11/12/19           $11,169.00                     $2,090.50                         $0.00
                           11/15/19                                          $9,025.60                        $52.90
                           11/27/19             $5,726.40                    $5,391.40                       $335.00


                 9. The above fees were related to services rendered as follows:
                                   Bankruptcy Related                                  100%
                                   Non-Bankruptcy Related



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Filed 11/27/19                                              Case 19-14974                                                         Doc 1
         Case Number: 2019-14974                             Filed: 11/27/2019 2:23:15 PM                               Doc # 1



                     10. The retainer on hand as of Petition Ode wds: $0.00

                                                United States Bankruptcy Court
                                                      Eastern District of California
                                                            Fresno Division

                 In re: Chiaramonte, Pam & Sal                                                              Case No,
                        Chapter 7

                                             Disclosure of Compensation of Attorney for Debtor



                                                          CERTIFICATION
                 I certify that the foregoing Is a complete statement of any agreement or arrangement for payment to   ma
                 for representation of the debtor In this bankruptcy pro eding


                 Date:          Nov
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                                                                  .11eC.




                 { 1n9/002/o1 032466,)0CX}
